PACHULSKI STANG ZIEHL & JONES LLP
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Counsel for the Debtor and Debtor in Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                  §
    In re:                                                        § Chapter 11
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,1                           § Case No. 19-34054-sgj11
                                                                  §
                                     Debtor.                      §
                                                          Objection Deadline: March 15, 2021 at 4:00 p.m. (ET)
                                                                     Hearing Date: Scheduled only if necessary

               SIXTEENTH MONTHLY APPLICATION FOR COMPENSATION
               AND REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG
                 ZIEHL & JONES LLP AS COUNSEL TO THE DEBTOR FOR
             THE PERIOD FROM JANUARY 1, 2021 THROUGH JANUARY 31, 2021




1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
DOCS_SF:105011.3 36027/002
 Name of Applicant:                                    Pachulski Stang Ziehl & Jones LLP

 Authorized to Provide Professional Services to:       Debtor and Debtor in Possession
                                                       October 16, 2019 by Order entered December 2,
 Date of Retention:
                                                       2019
 Period for which Compensation and
                                                       January 1, 2021 - January 31, 2021
 Reimbursement is Sought:
 Amount of Compensation Sought as Actual,
                                                       $2,557,604.00
 Reasonable and Necessary:
 Amount of Expense Reimbursement Sought as
                                                       $32,906.65
 Actual, Reasonable and Necessary:

This is a:            monthly               interim                 final application.

                  The total time expended for preparation of this monthly fee application is

approximately 5.0 hours and the corresponding compensation requested is approximately

$3,500.00.

                             PRIOR MONTHLY APPLICATIONS FILED

   Date                                   Requested        Requested         Approved          Approved
                   Period Covered
   Filed                                     Fees          Expenses             Fees           Expenses
 12/11/19       10.16.19 – 10.31.19      $ 383,583.75      $ 9,958.84       $ 383,583.75       $ 9,958.84
 12/30/19       11.01.19 – 11.30.19      $ 798,767.50      $26,317.71       $ 798,767.50       $26,317.71
 01/24/20       12.01.19 – 12.31.19      $ 589,730.75      $26,266.80       $ 589,730.75       $26,266.80
 02/20/20       01.01.20 – 01.31.20      $ 898,094.25      $28,854.75       $ 898,094.25       $28,854.75
 03/19/20       02.01.20 – 02.29.20      $ 941,043.50      $ 8,092.94       $ 941,043.50       $ 8,092.94
 04/14/20       03.01.20 – 03.31.20      $1,222,801.25     $18,747.77       $1,222,801.25      $18,747.77
 05/21/20       04.01.20 – 04.30.20      $1,113,522.50     $ 3,437.28       $1,113,522.50      $ 3,437.28
 06/23/20       05.01.20 – 05.31.20      $ 803,509.50      $ 4,372.94       $ 803,509.50       $ 4,372.94
 07/20/20       06.01.20 – 06.30.20      $ 818,786.50      $ 3,205.81       $ 818,786.50       $ 3,205.81
 08/11/20       07.01.20 – 07.31.20      $ 739,976.00      $ 1,189.12       $ 739,976.00       $ 1,189.12
 09/24/20       08.01.20 – 08.31.20      $ 672,815.00      $ 3,428.14       $ 672,815.00       $ 3,428.14
 10/21/20       09.01.20 – 09.30.20      $ 828,193.00      $ 7,707.11       $ 828,193.00       $ 7,707.11
 11/20/20       10.01.20 – 10.31.20      $1,119,675.50     $19,132.28       $1,119,675.50      $19,132.28
 12/07/20       11.01.20 – 11.30.20      $ 759,428.00      $ 1,672.80       $ 759,428.00       $ 1,672.80
 01/19/21       12.01.20 – 12.30.20      $1,046,024.00     $ 4,130.90       $1,046,024.00      $ 4,130.90




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                                   PSZ&J PROFESSIONALS

                                Position of the Applicant,      Hourly
                                 Number of Years in that        Billing    Total
  Name of Professional                                                                 Total
                                 Position, Prior Relevant        Rate      Hours
      Individual                                                                    Compensation
                              Experience, Year of Obtaining   (including   Billed
                                    License to Practice        Changes)
                             Partner 2014; Member CA Bar
 Isaac M. Pachulski                                            1695.00      46.40    $78,648.00
                             1974
                             Partner 2014; member CA Bar
 Jeffrey H. Davidson                                           1645.00      72.70   $119,591.50
                             1977
                             Partner 1983; member CA Bar
 Richard M. Pachulski                                          1595.00       1.40     $2,233.00
                             1979
                             Partner 2001; Member NY Bar
 Robert J. Feinstein                                           1395.00      30.10    $41,989.50
                             1982
                                                               1245.00      23.30    $29,008.50
                             Partner 1987; Member CA Bar
 Ira D. Kharasch                                               1325.00     168.80   $223,660.00
                             1982; Member NY Bar 2011
                                                               1145.00      12.90    $14,770.50
                             Partner 1997; Member FL Bar
 Debra I. Grassgreen                                           1295.00      11.60    $15,022.00
                             1992; Member CA Bar 1994
                             Partner 1995; Member CA Bar
 Jeffrey N. Pomerantz                                          1295.00     244.40   $316,498.00
                             1989
                                                               1075.00       1.90     $2,042.50
                             Partner 2008; Member NY Bar
 John A. Morris                                                1245.00     275.90   $343,495.50
                             1991
                             Partner 2001; Member CA Bar
 Kenneth H. Brown                                              1225.00      19.90    $24,377.50
                             1981
                             Of Counsel 2020; Member TX
 Judith Elkin                                                  1195.00     161.90   $193,470.50
                             Bar 1982; Member NY Bar 2004
                             Of Counsel 2020; Member NY
 Karen B. Dine                                                 1195.00      45.80    $54,731.00
                             Bar 1994
                                                               1075.00       2.40     $2,580.00
                             Partner 1999; Member NY Bar
 Iain A.W. Nasatir                                             1145.00      20.60    $23,587.00
                             1983; Member CA Bar 1990
                             Of Counsel 2004; Member of CA
 Harry D. Hochman                                              1095.00      27.90    $30,550.50
                             Bar 1987
                             Of Counsel 1988; Member CA
 James K. T. Hunter                                            1095.00       6.00     $6,570.00
                             Bar 1976
                             Of Counsel 2020; Member DE
 Mary F. Caloway                                               1095.00      60.70    $66,466.50
                             Bar 1990
                             Partner 2005; Member PA Bar
 James E. O’Neill                                              1050.00      42.90    $45,045.00
                             1985; Member DE Bar 2001
                             Partner 2006; Member CA Bar
 Joshua M. Fried                                               1050.00     220.80   $231,840.00
                             1995; Member NY Bar 1999
                             Of Counsel 2008; Member CA
 Victoria A. Newmark                                           1050.00      39.40    $41,370.00
                             Bar 1996
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                                Position of the Applicant,    Hourly
                                 Number of Years in that      Billing    Total
  Name of Professional                                                               Total
                                 Position, Prior Relevant      Rate      Hours
      Individual                                                                  Compensation
                              Experience, Year of Obtaining (including   Billed
                                    License to Practice      Changes)
                             Of Counsel 2002; Member NY
 Beth E. Levine                                                950.00     25.10    $23,845.00
                             Bar 1992
                             Of Counsel 2019; Member IL Bar
 Gregory V. Demo                                               950.00    280.50   $266,475.00
                             2008; Member NY Bar 2015
                             Of Counsel 2012; Member NY
 Colin M. Robinson           Bar 1997; Member NJ & PA Bars     925.00      4.00     $3,700.00
                             2001; Member DE Bar 2010
                             Of Counsel 2009; Member CA
 Elissa A. Wagner                                              925.00     32.00    $29,600.00
                             Bar 2001; Member AZ Bar 2009
                             Of Counsel 2001; Member NY
 Robert M. Saunders          Bar 1984; Member FL Bar 1995;     925.00     26.60    $24,605.00
                             Member CA Bar 2003
                                                               825.00     19.70    $16,252.50
                             Of Counsel 1999; Member CA
 Jonathan J. Kim                                               895.00      3.20     $2,864.00
                             Bar 1995
                             Of Counsel 2007; Member FL
 Cia H. Mackle                                                 750.00     56.30    $42,225.00
                             Bar 2006
                             Associate 2020; Member NY Bar
 Hayley R. Winograd                                            695.00    190.50   $132,397.50
                             2018
 Karina K. Yee               Paralegal                         460.00     21.90    $10,074.00
 La Asia S. Canty            Paralegal                         460.00    126.70    $58,282.00
                                                               425.00     17.80     $7,565.00
 Patricia J. Jeffries        Paralegal                         460.00      9.20     $4,232.00
 Leslie A. Forrester         Law Library Director              450.00      1.80       $810.00
 Mike A. Matteo              Paralegal                         425.00      8.20     $3,485.00
 Chuck M. Curts              Other                             395.00      1.00       $395.00
 Beatrice M. Koveleski       Case Management Assistant         375.00      8.70     $3,262.50
 Karen S. Neil               Case Management Assistant         375.00      2.00       $750.00
 Sheryle L. Pitman           Case Management Assistant         375.00     51.30    $19,237.50

                                      Grand Total:    $2,557,604.00
                                      Total Hours:         2424.20
                                      Blended Rate:      $1,055.03




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                             COMPENSATION BY CATEGORY

           Project Categories                     Total Hours          Total Fees
 Asset Analysis/ Recovery                             38.70          $ 40,615.50
 Bankruptcy Litigation                               887.50          $ 849,637.50
 Case Administration                                 106.30          $ 61,808.50
 Claims Administration/ Objections                   104.90          $ 116,868.50
 Compensation Professionals                             8.00         $    7,233.50
 Compensation Professionals/ Other                      5.50         $    4,750.00
 Employee Benefits/ Pension                           72.20          $ 83,393.00
 Executory Contracts                                  24.30          $ 23,819.00
 General Business Advice                              42.10          $ 49,298.50
 General Creditors’ Committee                           9.60         $ 12,517.50
 Mediation                                              1.80         $    2,241.00
 Plan & Disclosure Statement                       1,122.10          $1,304,869.50
 Retention of Professionals/ Others                     1.20         $      552.00
 Total                                              2424.2           $2,557,604.00




                                   EXPENSE SUMMARY

                                                  Service Provider             Total
          Expense Category
                                                   (if applicable)           Expenses
 Attorney Service                                                            $ 625.00
 Bloomberg – Online Research                                                 $1,211.29
 Conference Call                      AT&T, CourtCall, Loop Up               $1,649.76
 Delivery/ Courier Service            Advita                                 $ 15.00
 Federal Express                                                             $1,657.74
 Filing Fee                                                                  $ 19.00
 Legal Vision – Atty Mess. Srvc.                                             $ 93.75
 Lexis/Nexis – Legal Research                                                $3,792.73
 Outside Service                                                             $1,375.00
 Pacer – Court Research                                                      $1,958.20
 Postage                                                                     $ 270.70
 Reproduction Expense                                                        $ 532.50
 Reproduction/ Scan Copy                                                     $2,814.70
 Transcript                                                                 $16,744.25
 Working Meals                                                               $ 147.03
 Total                                                                      $32,906.65




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Counsel for the Debtor and Debtor in Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                  §
    In re:                                                        § Chapter 11
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,1                           § Case No. 19-34054-sgj11
                                                                  §
                                     Debtor.                      §
                                                          Objection Deadline: March 15, 2021 at 4:00 p.m. (ET)
                                                                     Hearing Date: Scheduled only if necessary

               SIXTEENTH MONTHLY APPLICATION FOR COMPENSATION
               AND REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG
                 ZIEHL & JONES LLP AS COUNSEL TO THE DEBTOR FOR
             THE PERIOD FROM JANUARY 1, 2021 THROUGH JANUARY 31, 2021




1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



DOCS_SF:105011.3 36027/002
                  Pursuant to sections 330 and 331 of Title 11 of the United States Code (the

“Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (collectively, the

“Bankruptcy Rules”), Rule 2016-1 of the Local Bankruptcy Rules of the United States

Bankruptcy Court for the Northern District of Texas (collectively, the “LBR”), and the Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses of

Professionals [Docket No. 141] (the “Administrative Order”), Pachulski Stang Ziehl & Jones

LLP (“PSZ&J” or the “Firm”), counsel for the above-captioned debtor and debtor in possession

(the “Debtor”) hereby submits its Sixteenth Monthly Application for Compensation and for

Reimbursement of Expenses for the Period from January 1, 2021 through January 31, 2021 (the

“Application”).

                  By this Application, PSZ&J seeks (i) a monthly interim allowance of

compensation in the amount of $2,557,604.00 and actual and necessary expenses in the amount

of $32,906.65 for a total allowance of $2,590,510.65 and (ii) payment of $2,046,083.20 (80% of

the allowed fees pursuant to the Administrative Order) and reimbursement of $32,906.65 (100%

of the allowed expenses pursuant to the Administrative Order) for a total payment of

$2,078,989.85 for the period January 1, 2021 through January 31, 2021 (the “Interim Period”).

In support of this Application, PSZ&J respectfully represents as follows:

                                                Background

                  1.         On October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy

Court for the District of Delaware (the “Delaware Court”). The Debtor has continued in the



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possession of its property and has continued to operate and manage its business as a debtor-in-

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or

examiner has been appointed in this chapter 11 case.

                  2.         On October 29, 2019, the Official Committee of Unsecured Creditors (the

“Committee”) was appointed by the U.S. Trustee in the Delaware Court.

                  3.         On November 14, 2019, the Delaware Court entered the Administrative

Order authorizing certain professionals and members of any official committee (collectively

referred to hereafter as “Professionals”) to submit monthly applications for interim compensation

and reimbursement of expenses pursuant to the procedures specified therein. The Administrative

Order provides, among other things, that (i) a Professional may submit monthly fee applications

and (ii) if no objections are made within twenty-one (21) days after service of the monthly fee

application, the Debtor is authorized to pay the Professional eighty percent (80%) of its

requested fees and one hundred percent (100%) of its requested expenses. The Administrative

Order further provides that, beginning with the period ending December 31, 2019, and at three-

month intervals thereafter—or such other intervals convenient to the Court—each Professional

may file an interim application with seeking Court-approval and allowance of the amounts

sought in the Professional’s monthly fee applications for that period. The Administrative Order

further provides that all fees and expenses paid during the pendency of the Debtor’s case are on

an interim basis until final allowance by the Court.

                  4.         On December 4, 2019, the Delaware Court entered an Order [Docket No.

186] transferring venue of the Debtor’s bankruptcy case to this Court.



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                  5.         The retention of PSZ&J, as counsel to the Debtor, was approved effective

as of October 16, 2019, by the Delaware Court’s Order Pursuant to Section 327(a) of the

Bankruptcy Code, Rule 2014 of the Federal Rules of Bankruptcy Procedure and Local Rule

2014-1 Authorizing the Employment and Retention of Pachulski Stang Ziehl & Jones LLP as

Counsel for the Debtor and Debtor in Possession Nunc Pro Tunc to the Petition Date, signed on

December 2, 2019 [Docket No. 183] (the “Retention Order”). The Retention Order authorized

PSZ&J to be compensated on an hourly basis and to be reimbursed for actual and necessary out-

of-pocket expenses.

                       PSZ&J’S APPLICATION FOR COMPENSATION AND
                            FOR REIMBURSEMENT OF EXPENSES

                                    Compensation Paid and Its Source

                  6.         All services for which PSZ&J requests compensation were performed for

or on behalf of the Debtor. PSZ&J has received no payment and no promises for payment from

any source other than the Debtor for services rendered or to be rendered in any capacity

whatsoever in connection with the matters covered by this Application. There is no agreement or

understanding between PSZ&J and any other person other than the partners of PSZ&J for the

sharing of compensation to be received for services rendered in this case.

                  7.         PSZ&J had received payments from the Debtor during the year prior to the

Petition Date in the amount of $500,000, including the Debtor’s filing fee for this case, in

connection with the preparation of initial documents and the prepetition representation of the

Debtor. PSZ&J is current as of the Petition Date and has completed its final reconciliation of

prepetition fees and expenses (subject to any prepetition expenses that have not been received to


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date). Any retainer balance remaining from the prepetition payments to PSZ&J will be credited

to the Debtor and utilized as PSZ&J’s retainer to apply to postpetition fees and expenses

pursuant to the approved compensation procedures.

                                               Fee Statements

                  8.         The fee statements for the Interim Period are attached hereto as Exhibit A.

These statements contain daily time logs describing the time spent by each attorney and

paraprofessional during the Interim Period. To the best of PSZ&J’s knowledge, this Application

complies with sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules and the

Administrative Order. PSZ&J’s time reports are entered by or at the direction of the attorney or

paralegal performing the described services. The time reports are organized on a daily basis.

PSZ&J is particularly sensitive to issues of “lumping” and, unless time was spent in one time

frame on a variety of different matters for a particular client, separate time entries are set forth in

the time reports. PSZ&J’s charges for its professional services are based upon the time, nature,

extent and value of such services and the cost of comparable services other than in a case under

the Bankruptcy Code. PSZ&J has reduced its charges related to any non-working travel time to

fifty percent (50%) of PSZ&J’s standard hourly rate. To the extent it is feasible, PSZ&J

professionals attempt to work during travel.

                                      Actual and Necessary Expenses

                  9.         A summary of actual and necessary expenses incurred by PSZ&J for the

Interim Period is attached hereto as part of Exhibit A. PSZ&J customarily charges $0.10 per

page for photocopying expenses related to cases, such as this, arising in Delaware. PSZ&J’s



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photocopying machines automatically record the number of copies made when the person that is

doing the copying enters the client’s account number into a device attached to the photocopier.

PSZ&J summarizes each client’s photocopying charges on a daily basis.

                  10.        PSZ&J charges $0.25 per page for out-going facsimile transmissions.

There is no additional charge for long distance telephone calls on faxes. The charge for outgoing

facsimile transmissions reflects PSZ&J’s calculation of the actual costs incurred by PSZ&J for

the machines, supplies and extra labor expenses associated with sending telecopies and is

reasonable in relation to the amount charged by outside vendors who provide similar services.

PSZ&J does not charge the Debtor for the receipt of faxes in this case.

                  11.        With respect to providers of on-line legal research services (e.g., LEXIS

and WESTLAW), PSZ&J charges the standard usage rates these providers charge for

computerized legal research. PSZ&J bills its clients the actual amounts charged by such

services, with no premium. Any volume discount received by PSZ&J is passed on to the client.

                  12.        PSZ&J believes the foregoing rates are the market rates that the majority

of law firms charge clients for such services. In addition, PSZ&J believes that such charges are

in accordance with the American Bar Association’s (“ABA”) guidelines, as set forth in the

ABA’s Statement of Principles, dated January 12, 1995, regarding billing for disbursements and

other charges.

                                      Summary of Services Rendered

                  13.        The names of the timekeepers of PSZ&J who have rendered professional

services in this case during the Interim Period are set forth in the attached Exhibit A. PSZ&J, by



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and through such persons, has prepared and assisted in the preparation of various motions and

orders submitted to the Court for consideration, advised the Debtor on a regular basis with

respect to various matters in connection with the Debtor’s case, and performed all necessary

professional services which are described and narrated in detail below. PSZ&J’s efforts have

been extensive due to the size and complexity of the Debtor’s case.

                                      Summary of Services by Project

                  14.        The services rendered by PSZ&J during the Interim Period can be grouped

into the categories set forth below. PSZ&J attempted to place the services provided in the

category that best relates to such services. However, because certain services may relate to one

or more categories, services pertaining to one category may in fact be included in another

category. These services performed, by categories, are generally described below, with a more

detailed identification of the actual services provided set forth on the attached Exhibit A.

Exhibit A identifies the attorneys and paraprofessionals who rendered services relating to each

category, along with the number of hours for each individual and the total compensation sought

for each category.

A.       Asset Analysis/ Recovery

                  15.        Time billed to this category relates to the analysis of the Debtor’s assets

and issues relating to the distribution of assets of funds managed by the Debtor and transitional

issues concerning the Debtor’s operations. During the Interim Period, the Firm, among other

things, (i) analyzed and addressed issues relating to post-confirmation transitional services

following plan confirmation; (ii) reviewed certain contracts and related termination issues



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regarding certain shared service agreements and analyzed issues concerning the potential

assumption/assignment or rejection of contracts pursuant to the Debtor’s plan with respect to the

CLO issuers; and (iii) addressed operational issues associated with the Debtor’s proposed plan.

                             Fees: $40,615.50              Hours: 38.70

B.       Bankruptcy Litigation

                  16.        During the Interim Period, the Firm, among other things: (i) prepared for

and participated in depositions for Mr. Dondero and related issues regarding the Debtor’s motion

for a temporary restraining order against Mr. Dondero; (ii) prepared pleadings in connection with

a motion for contempt against Mr. Dondero and a motion for imposition of a temporary

restraining order against certain CLO entities; (iii) prepared for an attended the January 8, 2021

hearing for imposition of a preliminary injunction against Mr. Dondero; (iv) drafted several

complaints against Dondero related entities to recover amounts owed to the Debtor on account of

multiple prepetition demand notes; (v) prepared for and propounded discovery with respect to

certain of the Debtor’s former employees; (vi) prepared for and attended depositions of James

Seery, Jr., Jason Post and Grant Scott; (vii) drafted an opposition to Mr. Dondero’s leave to

appeal the order granting the Debtor’s preliminary injunction; (viii) prepared for and attended the

hearing for a preliminary injunction against certain CLOs on January 26, 2021.

                             Fees: $849,637.50             Hours: 887.50

C.       Case Administration

                  17.        This category relates to work regarding administration of this case.

During the Interim Period, the Firm, among other things: (i) reviewed correspondences and



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pleadings and forwarded them to appropriate parties; (ii) maintained a memorandum of critical

dates and drafted memoranda of pending core issues and activities; (iii) maintained service lists;

(iv) conferred and corresponded with parties in interest regarding case status and administration

issues; (v) conducted regular calls with DSI concerning lease and contract assumption issues;

and (vi) participated on regular internal status calls and calls with DSI regarding case issues, and

pending matters.

                             Fees: $61,808.50             Hours: 106.30

D.       Claims Administration/ Objections

                  18.        A significant amount of work PSZ&J performed during the Interim Period

involved the continued review and analysis of the largest claims asserted against the Debtor’s

estate. During the Interim Period, the Firm, among other things: (i) addressed issues in

connection with the UBS Claims litigation and began to negotiate a settlement agreement with

UBS regarding its claims; (ii) analyzed issues and drafted a reply to approve the settlement with

HarbourVest and related allowance of claims and attended the January 14, 2021 hearing on the

HarbourVest 9019 settlement motion; and (iii) reviewed pending claims against the Debtor and

drafted an omnibus objection to claims.

                             Fees: $116,868.50            Hours: 104.90

E.       Compensation of Professionals

                  19.        Time billed to this category relates to compensation of the Firm. During

the Interim Period, the Firm (i) prepared its December fee statement, and (ii) drafted

certifications of counsel regarding prior monthly fee statements.



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                             Fees: $7,233.50               Hours: 8.00

F.       Compensation of Professionals/ Others

                  20.        Time billed to this category relates to compensation of estate

professionals, other than the Firm. During the Interim Period, the Firm, among other things: (i)

addressed inquiries from certain professionals regarding pending and approved fees and

expenses; (ii) assisted DSI with the preparation and filing of its monthly Staffing Reports and the

Debtor’s ordinary course professional report; and (iii) addressed issues in connection with the

Debtor’s ordinary course professional report.

                             Fees: $4,750.00               Hours: 5.50

G.       Employee Benefits/ Pension

                  21.        During the Interim Period, the Firm, among other things: (i) addressed

issues in connection with employee bonuses, employee claim issues and potential litigation in

connection therewith; (ii) prepared, filed and attended a hearing to approve a key employee

retention plan; (iii) performed research and prepared a memorandum of employee claims and

benefit issues; and (iv) analyzed issues regarding post-confirmation labor services.

                             Fees: $83,393.00              Hours: 72.20

H.       Executory Contracts

                  22.        During the Interim Period, the Firm (i) addressed issues in connection with

its office lease with the Debtor’s landlord and issues concerning the cure of asserted claims (ii),

reviewed and analyzed contracts to be assumed under the plan and prepared a plan supplement

regarding the same; (iii) prepared additional notices of the assumption of certain executory



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contracts and unexpired leases pursuant to the Plan; and (iv) drafted a reply to Mr. Dondero’s

objection to the assumption of contracts.

                             Fees: $23,819.00             Hours: 24.30

I.        General Business Advice

                  23.        During the Interim Period, the Firm spent time preparing for and

participating in periodic telephonic meetings with the Debtor’s independent board of directors

and also regularly communicated with members of the Board regarding a variety of general

business matters, including claims reconciliation and objections, plan structure issues, and

insurance issues.

                             Fees: $49,298.50             Hours: 42.10

J.        General Creditors’ Committee

                  24.        During the Interim Period, the Firm conducted regular status and update

calls with the Committee and its professionals concerning case status issues.

                             Fees: $12,517.50             Hours: 9.60

K.        Mediation

                  25.        During the Interim Period, the Firm conferred with the mediators who

presided over the mediation that commenced in August 2020 and reviewed the mediators’ final

report.

                             Fees: $2,241.00              Hours: 1.80




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L.       Plan & Disclosure Statement

                  26.        The majority of the time billed during the Interim Period relates to the

Debtor’s proposed plan of reorganization (the “Plan”) and related confirmation hearing.

Following the voting deadline and objection deadline of January 5, 2021, the Firm addressed and

assisted the Debtor in responding to the more than a dozen objections to the Plan, the most

extensive of which consisted of objections filed by Mr. Dondero or by entities controlled by him.

The Firm addressed issues to resolve the non-Dondero and related entity objections and

negotiated language to the proposed confirmation order to resolve these objections, including

language to address the objections filed by: the Internal Revenue Service, various Texas taxing

authorities, certain senior employees, and certain CLO issuers.

                  27.        The bulk of the Plan confirmation objections addressed by the Firm

related to the objections filed by Mr. Dondero and the objections filed by several entities related

to Mr. Dondero, including researching and drafting responses to the legal issues raised in these

objections. The Firm also participated in numerous discovery disputes, including taking and

defending depositions of multiple parties, in connection with the confirmation hearing. The Firm

drafted both a confirmation brief and omnibus response to the filed Plan objections, each of

which was filed on January 22, 2021. In response to certain objections and upon consultation

with the Committee in order to narrow the contested Plan confirmation issues, the Firm drafted

modifications to the Plan, which were also filed on January 22, 2021. The Firm drafted and filed

numerous supplements to the Plan, which included the Claimant Trust Agreement and Litigation

Sub-Trust Agreement, and lists of contracts to be assumed pursuant to the Plan.



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                             Fees: $1,304,869.50            Hours: 1122.10

M.       Retention of Professionals/ Others

                  28.        Time billed to this category relates to the retention of estate professionals

other than the Firm. During the Interim Period, the Firm, among other things, conferred with

counsel regarding the retention of CLO counsel, reviewed engagement letters and assisted with

the filing of additional disclosures for ordinary course professionals.

                             Fees: $552.00                  Hours: 1.20

                                             Valuation of Services

                  29.        Attorneys and paraprofessionals of PSZ&J expended a total 2424.20 hours

in connection with their representation of the Committee during the Interim Period, as follows:

                                     Position of the Applicant,           Hourly
                                      Number of Years in that             Billing      Total
  Name of Professional                                                                               Total
                                      Position, Prior Relevant             Rate        Hours
      Individual                                                                                  Compensation
                                   Experience, Year of Obtaining        (including     Billed
                                         License to Practice             Changes)
                                  Partner 2014; Member CA Bar
 Isaac M. Pachulski                                                       1695.00       46.40       $78,648.00
                                  1974
                                  Partner 2014; member CA Bar
 Jeffrey H. Davidson                                                      1645.00       72.70      $119,591.50
                                  1977
                                  Partner 1983; member CA Bar
 Richard M. Pachulski                                                     1595.00        1.40        $2,233.00
                                  1979
                                  Partner 2001; Member NY Bar
 Robert J. Feinstein                                                      1395.00       30.10       $41,989.50
                                  1982
                                                                          1245.00       23.30       $29,008.50
                                  Partner 1987; Member CA Bar
 Ira D. Kharasch                                                          1325.00      168.80      $223,660.00
                                  1982; Member NY Bar 2011
                                                                          1145.00       12.90       $14,770.50
                                  Partner 1997; Member FL Bar
 Debra I. Grassgreen                                                      1295.00       11.60       $15,022.00
                                  1992; Member CA Bar 1994
                                  Partner 1995; Member CA Bar
 Jeffrey N. Pomerantz                                                     1295.00      244.40      $316,498.00
                                  1989
                                                                          1075.00        1.90        $2,042.50




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                                Position of the Applicant,      Hourly
                                 Number of Years in that        Billing    Total
  Name of Professional                                                                 Total
                                 Position, Prior Relevant        Rate      Hours
      Individual                                                                    Compensation
                              Experience, Year of Obtaining   (including   Billed
                                    License to Practice        Changes)
                             Partner 2008; Member NY Bar
 John A. Morris                                                1245.00     275.90   $343,495.50
                             1991
                             Partner 2001; Member CA Bar
 Kenneth H. Brown                                              1225.00      19.90    $24,377.50
                             1981
                             Of Counsel 2020; Member TX
 Judith Elkin                                                  1195.00     161.90   $193,470.50
                             Bar 1982; Member NY Bar 2004
                             Of Counsel 2020; Member NY
 Karen B. Dine                                                 1195.00      45.80    $54,731.00
                             Bar 1994
                                                               1075.00       2.40     $2,580.00
                             Partner 1999; Member NY Bar
 Iain A.W. Nasatir                                             1145.00      20.60    $23,587.00
                             1983; Member CA Bar 1990
                             Of Counsel 2004; Member of CA
 Harry D. Hochman                                              1095.00      27.90    $30,550.50
                             Bar 1987
                             Of Counsel 1988; Member CA
 James K. T. Hunter                                            1095.00       6.00     $6,570.00
                             Bar 1976
                             Of Counsel 2020; Member DE
 Mary F. Caloway                                               1095.00      60.70    $66,466.50
                             Bar 1990
                             Partner 2005; Member PA Bar
 James E. O’Neill                                              1050.00      42.90    $45,045.00
                             1985; Member DE Bar 2001
                             Partner 2006; Member CA Bar
 Joshua M. Fried                                               1050.00     220.80   $231,840.00
                             1995; Member NY Bar 1999
                             Of Counsel 2008; Member CA
 Victoria A. Newmark                                           1050.00      39.40    $41,370.00
                             Bar 1996
                             Of Counsel 2002; Member NY
 Beth E. Levine                                                 950.00      25.10    $23,845.00
                             Bar 1992
                             Of Counsel 2019; Member IL Bar
 Gregory V. Demo                                                950.00     280.50   $266,475.00
                             2008; Member NY Bar 2015
                             Of Counsel 2012; Member NY
 Colin M. Robinson           Bar 1997; Member NJ & PA Bars      925.00       4.00     $3,700.00
                             2001; Member DE Bar 2010
                             Of Counsel 2009; Member CA
 Elissa A. Wagner                                               925.00      32.00    $29,600.00
                             Bar 2001; Member AZ Bar 2009
                             Of Counsel 2001; Member NY
 Robert M. Saunders          Bar 1984; Member FL Bar 1995;      925.00      26.60    $24,605.00
                             Member CA Bar 2003
                                                                825.00      19.70    $16,252.50
                             Of Counsel 1999; Member CA
 Jonathan J. Kim                                                895.00       3.20     $2,864.00
                             Bar 1995
                             Of Counsel 2007; Member FL
 Cia H. Mackle                                                  750.00      56.30    $42,225.00
                             Bar 2006



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                                     Position of the Applicant,          Hourly
                                      Number of Years in that            Billing     Total
  Name of Professional                                                                            Total
                                      Position, Prior Relevant            Rate       Hours
      Individual                                                                               Compensation
                                   Experience, Year of Obtaining       (including    Billed
                                         License to Practice            Changes)
                                  Associate 2020; Member NY Bar
 Hayley R. Winograd                                                      695.00     190.50         $132,397.50
                                  2018
 Karina K. Yee                    Paralegal                              460.00      21.90          $10,074.00
 La Asia S. Canty                 Paralegal                              460.00     126.70          $58,282.00
                                                                         425.00      17.80           $7,565.00
 Patricia J. Jeffries             Paralegal                              460.00       9.20           $4,232.00
 Leslie A. Forrester              Law Library Director                   450.00       1.80             $810.00
 Mike A. Matteo                   Paralegal                              425.00       8.20           $3,485.00
 Chuck M. Curts                   Other                                  395.00       1.00             $395.00
 Beatrice M. Koveleski            Case Management Assistant              375.00       8.70           $3,262.50
 Karen S. Neil                    Case Management Assistant              375.00       2.00             $750.00
 Sheryle L. Pitman                Case Management Assistant              375.00      51.30          $19,237.50

                                             Grand Total:      $2,557,604.00
                                             Total Hours:           2424.20
                                             Blended Rate:        $1,055.03

                  30.        The nature of work performed by these persons is fully set forth in

Exhibit A attached hereto. These are PSZ&J’s normal hourly rates for work of this character.

The reasonable value of the services rendered by PSZ&J for the Debtor during the Interim Period

is $2,557,604.00.

                  31.        In accordance with the factors enumerated in section 330 of the

Bankruptcy Code, it is respectfully submitted that the amount requested by PSZ&J is fair and

reasonable given (a) the complexity of this case, (b) the time expended, (c) the nature and extent

of the services rendered, (d) the value of such services, and (e) the costs of comparable services

other than in a case under the Bankruptcy Code. Moreover, PSZ&J has reviewed the

requirements of the Administrative Order and the Guidelines for Reviewing Applications for




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Compensation and Expense Reimbursement of Professionals, effective January 1, 2001 (the

“Guidelines”) and believes that this Application complies with such Order and Guidelines.

                  WHEREFORE, PSZ&J respectfully requests that, for the period of January 1,

2021 through January 31, 2021, (i) an interim allowance be made to PSZ&J for compensation in

the amount $2,557,604.00 and actual and necessary expenses in the amount of $32,906.65 for a

total allowance of $2,590,510.65 and (ii) payment of $2,046,083.20 (80% of the allowed fees

pursuant to the Administrative Order) and reimbursement of $32,906.65 (100% of the allowed

expenses pursuant to the Administrative Order) for a total payment of $2,078,989.85, and for

such other and further relief as this Court may deem just and proper.

 Dated: February 22, 2021                    PACHULSKI STANG ZIEHL & JONES LLP

                                               /s/ Jeffrey N. Pomerantz
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                                             Counsel for the Debtor and
                                             Debtor in Possession


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                                CERTIFICATE OF SERVICE


        I hereby certify that a true and correct copy of the foregoing Application has been served
electronically via the Court’s CM/ECF system upon all parties appearing on the attached service
list.
                                             /s/ Jeffrey N. Pomerantz
                                             Jeffrey N. Pomerantz




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In re Highland Capital Management, L.P.
Case No. 19-34054-sgj11
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Counsel for the Debtor and Debtor in Possession

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                                  §
    In re:                                                        § Chapter 11
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,1                           § Case No. 19-34054-sgj11
                                                                  §
                                     Debtor.                      §

                          CERTIFICATION OF JEFFREY N. POMERANTZ

             Jeffrey N. Pomerantz, under penalty of perjury, certifies as follows:

             1.     I am a partner with the law firm of Pachulski Stang Ziehl & Jones LLP

(“PSZ&J”). I make this certification in accordance with Appendix F of the Local Bankruptcy



1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



DOCS_SF:105011.3 36027/002
Rules of the United States Bankruptcy Court for the Northern District of Texas (“Appendix F”)

regarding the contents of applications for compensation and expenses.

         2.       I have read the Sixteenth Monthly Application for Compensation and for

Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the Debtor for

the Period from January 1, 2021 to January 31, 2021 (the “Application”).

         3.       Pursuant to section I.G. of Appendix F, I hereby certify that, to the best of my

knowledge, information, and belief, formed after reasonable inquiry, that (a) the compensation

and expense reimbursement sought in the Application is in conformity with Appendix F, except

as specifically noted in the Application, and (b) the compensation and expense reimbursement

requested are billed at rates in accordance with practices no less favorable than those customarily

employed by PSZ&J and generally accepted by PSZ&J’s clients.

                  4.         I have reviewed the requirements of the Guidelines for Reviewing

Applications for Compensation and Expense Reimbursement of Professionals effective

January 1, 2001 (the “Guidelines”) and I believe that the Application complies with such

Guidelines

Dated: February 22, 2021
                                                          /s/ Jeffrey N. Pomerantz
                                                          Jeffrey N. Pomerantz




DOCS_SF:105011.3 36027/002                           2
                                Exhibit A
                             January 2021 Invoice




DOCS_SF:105011.3 36027/002
                                  Pachulski Stang Ziehl & Jones LLP
                                           10100 Santa Monica Blvd.
                                                  13th Floor
                                            Los Angeles, CA 90067
                                                                       January 31, 2021
Board of Directors                                                     Invoice 127125
Highland Capital Management LP                                         Client   36027
300 Crescent Court ste. 700                                            Matter   00002
Dallas, TX 75201
                                                                                JNP

RE: Postpetition

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 01/31/2021
                   FEES                                               $2,557,604.00
                   EXPENSES                                             $32,906.65
                   TOTAL CURRENT CHARGES                              $2,590,510.65

                   BALANCE FORWARD                                    $1,050,154.90
                   LAST PAYMENT                                        $839,625.60
                   TOTAL BALANCE DUE                                  $2,801,039.95
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  Summary of Services by Professional
  ID        Name                        Title               Rate     Hours               Amount

 BEL        Levine, Beth E.             Counsel            950.00    25.10         $23,845.00

 BMK        Koveleski, Beatrice M.      Case Man. Asst.    375.00     8.70             $3,262.50

 CHM        Mackle, Cia H.              Counsel            750.00    56.30         $42,225.00

 CMC        Curts, Chuck M.             Other              395.00     1.00              $395.00

 CRR        Robinson, Colin R.          Counsel            925.00     4.00             $3,700.00

 DG         Grassgreen, Debra I.        Partner           1295.00    11.60         $15,022.00

 EAW        Wagner, Elissa A.           Counsel            925.00    32.00         $29,600.00

 GVD        Demo, Gregory Vincent       Counsel            950.00   280.50        $266,475.00

 HDH        Hochman, Harry D.           Counsel           1095.00    27.90         $30,550.50

 HRW        Winograd , Hayley R.        Associate          695.00   190.50        $132,397.50

 IAWN       Nasatir, Iain A. W.         Partner           1145.00    20.60         $23,587.00

 IDK        Kharasch, Ira D.            Partner           1145.00    12.90         $14,770.50

 IDK        Kharasch, Ira D.            Partner           1325.00   168.80        $223,660.00

 IMP        Pachulski, Isaac M.         Partner           1695.00    46.40         $78,648.00

 JAM        Morris, John A.             Partner           1245.00   275.90        $343,495.50

 JE         Elkin, Judith               Counsel           1195.00   161.90        $193,470.50

 JEO        O'Neill, James E.           Partner           1050.00    42.90         $45,045.00

 JHD        Davidson, Jeffrey H.        Partner           1645.00    72.70        $119,591.50

 JJK        Kim, Jonathan J.            Counsel            895.00     3.20             $2,864.00

 JKH        Hunter, James K. T.         Counsel           1095.00     6.00             $6,570.00

 JMF        Fried, Joshua M.            Partner           1050.00   220.80        $231,840.00

 JNP        Pomerantz, Jeffrey N.       Partner           1075.00     1.90             $2,042.50

 JNP        Pomerantz, Jeffrey N.       Partner           1295.00   244.40        $316,498.00

 KBD        Dine, Karen B.              Counsel           1075.00     2.40             $2,580.00

 KBD        Dine, Karen B.              Counsel           1195.00    45.80         $54,731.00

 KHB        Brown, Kenneth H.           Partner           1225.00    19.90         $24,377.50

 KKY        Yee, Karina K.              Paralegal          460.00    21.90         $10,074.00

 KSN        Neil, Karen S.              Case Man. Asst.    375.00     2.00              $750.00

 LAF        Forrester, Leslie A.        Other              450.00     1.80              $810.00

 LSC        Canty, La Asia S.           Paralegal          425.00    17.80             $7,565.00
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 LSC        Canty, La Asia S.       Paralegal          460.00     126.70         $58,282.00

 MAM        Matteo, Mike A.         Paralegal          425.00       8.20             $3,485.00

 MFC        Caloway, Mary F.        Counsel           1095.00      60.70         $66,466.50

 PJJ        Jeffries, Patricia J.   Paralegal          460.00       9.20             $4,232.00

 RJF        Feinstein, Robert J.    Partner           1245.00      23.30         $29,008.50

 RJF        Feinstein, Robert J.    Partner           1395.00      30.10         $41,989.50

 RMP        Pachulski, Richard M.   Partner           1595.00       1.40             $2,233.00

 RMS        Saunders, Robert M.     Counsel            825.00      19.70         $16,252.50

 RMS        Saunders, Robert M.     Counsel            925.00      26.60         $24,605.00

 SLP        Pitman, L. Sheryle      Case Man. Asst.    375.00      51.30         $19,237.50

 VAN        Newmark, Victoria A.    Counsel           1050.00      39.40         $41,370.00

                                                                2424.20        $2,557,604.00
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  Summary of Services by Task Code
  Task Code         Description                       Hours                         Amount

 AA                 Asset Analysis/Recovery[B120]      38.70                      $40,615.50

 BL                 Bankruptcy Litigation [L430]      887.50                  $849,637.50

 CA                 Case Administration [B110]        106.30                      $61,808.50

 CO                 Claims Admin/Objections[B310]     104.90                  $116,868.50

 CP                 Compensation Prof. [B160]           8.00                       $7,233.50

 CPO                Comp. of Prof./Others               5.50                       $4,750.00

 EB                 Employee Benefit/Pension-B220      72.20                      $83,393.00

 EC                 Executory Contracts [B185]         24.30                      $23,819.00

 GB                 General Business Advice [B410]     42.10                      $49,298.50

 GC                 General Creditors Comm. [B150]      9.60                      $12,517.50

 M                  Mediation                           1.80                       $2,241.00

 PD                 Plan & Disclosure Stmt. [B320]   1122.10                $1,304,869.50

 RPO                Ret. of Prof./Other                 1.20                        $552.00

                                                     2424.20                $2,557,604.00
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Highland Capital Management LP      Invoice 127125
36027 - 00002                       January 31, 2021


  Summary of Expenses
  Description                                          Amount
Attorney Service [E107]                          $625.00
Bloomberg                                      $1,211.29
Working Meals [E111]                             $147.03
Conference Call [E105]                         $1,649.76
Delivery/Courier Service                          $15.00
Federal Express [E108]                         $1,657.74
Filing Fee [E112]                                 $19.00
Lexis/Nexis- Legal Research [E                 $3,792.73
Legal Vision Atty Mess Service                    $93.75
Outside Services                               $1,375.00
Pacer - Court Research                         $1,958.20
Postage [E108]                                   $270.70
Reproduction Expense [E101]                      $532.50
Reproduction/ Scan Copy                        $2,814.70
Transcript [E116]                             $16,744.25

                                              $32,906.65
Pachulski Stang Ziehl & Jones LLP                                                                Page:     6
Highland Capital Management LP                                                                   Invoice 127125
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                                                                                         Hours           Rate       Amount

  Asset Analysis/Recovery[B120]
 12/23/2020   JNP     AA        Conference with Wilmer Hale, Robert J. Feinstein          0.60       1075.00         $645.00
                                and Ira D. Kharasch regarding Multi Strat.

 12/29/2020   IDK     AA        Review and consider DSI draft transition proposal to      0.30       1145.00         $343.50
                                Dondero related entities for sharing costs going
                                forward.

 12/30/2020   IDK     AA        Review of further draft proposal from DSI to              1.40       1145.00        $1,603.00
                                NextPoint on how to share numerous cost items
                                going forward (.2); Telephone conferences with G
                                Demo re same and issues (.2); E-mail to G Demo re
                                my initial feedback to same (.1); E-mails with J.
                                Pomerantz re my problems with same proposal (.2);
                                Telephone conferences with B Sharp of DSI re same
                                (.2); E-mails with J. Pomerantz re result of call with
                                DSI (.1); Review of revised proposal (.1); E-mails
                                with DSI re next steps re same (.1); E-mails with
                                attorneys re draft of cover letter to NPA re same and
                                timing (.2).

 12/31/2020   IDK     AA        Telephone conference with J. Pomerantz and G.             0.20       1145.00         $229.00
                                Demo on potential deal with CLO issuers and
                                assumption of management contract.

 12/31/2020   IDK     AA        E-mail to G. Demo re my feedback on letter to m.          0.20       1145.00         $229.00
                                Lynn re our proposal on cost sharing issues.

 01/02/2021   IDK     AA        Telephone conferences with I Nasatir re Gov Re            0.50       1325.00         $662.50
                                issues (.2); Review and consider I Nasatir memo on
                                Gov Re policy issues on coverage and
                                Ellington/Leventon use for wage issues (.2); E-mail
                                to I Nasatir re follow up issues for same (.1).

 01/03/2021   IDK     AA        E-mail to I Nasatir re his responses to questions re      0.90       1325.00        $1,192.50
                                Gov Re policy issues (.2); E-mail to team re same
                                (.1); E-mails with G Demo re his draft memo to
                                CEO re Gov Re and renewal, other issues (.2);
                                Numerous E-mails with CEO, J. Pomerantz re issues
                                on Ellington/Leventon raid on Gov Re policy and
                                implications re estate issues (.4).

 01/03/2021   JNP     AA        Review emails regarding Gov. Re Insurance.                0.10       1295.00         $129.50

 01/03/2021   JNP     AA        Emails with Ira D. Kharasch regarding Gov Re              0.10       1295.00         $129.50
                                Insurance.

 01/03/2021   GVD     AA        Draft correspondence re insurance issues and revise       0.80        950.00         $760.00
                                same

 01/03/2021   GVD     AA        Conference with J. Morris re insurance issues             0.10        950.00          $95.00
Pachulski Stang Ziehl & Jones LLP                                                               Page:     7
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                                                                                        Hours           Rate       Amount

 01/04/2021   IDK     AA        Telephone conferences with J. Pomerantz re Gov           1.30       1325.00        $1,722.50
                                Re D&O policy issues on improper taking of funds,
                                and UBS settlement issues (.5); Telephone
                                conference with G Demo re Gov Re documents on
                                authority of Dondero, others to direct payment of
                                proceeds (.2); Telephone conferences with J Morris
                                re Gov Re issues for his upcoming depositions and
                                related questions to ask re Gov Re (.3); E-mails with
                                J. Pomerantz and G Demo re CEO issues on Gov Re
                                and damage issue, and structure of Gov Re control
                                issues (.3).

 01/04/2021   JNP     AA        Conference with Ira D. Kharasch regarding Gov Re         0.50       1295.00         $647.50
                                and UBS (2x).

 01/04/2021   GVD     AA        Conference with I. Kharasch re insurance issues          0.20        950.00         $190.00

 01/05/2021   IDK     AA        E-mails with G Demo re CEO issues on demand              0.10       1325.00         $132.50
                                notes and pursuit of same.

 01/05/2021   GVD     AA        Correspondence re potential sale transaction             0.20        950.00         $190.00

 01/05/2021   GVD     AA        Conference with T. Silva re corporate governance         0.20        950.00         $190.00
                                issues

 01/06/2021   GVD     AA        Conference with J. Donohue re demand notes               0.10        950.00          $95.00

 01/06/2021   GVD     AA        Draft demand letters re defaulted term notes             0.80        950.00         $760.00

 01/07/2021   IDK     AA        Review and consider settlement proposal by NPA,          0.90       1325.00        $1,192.50
                                others re CLO management (.2); Review of draft
                                extensive response to NPA/K&L Gates proposal,
                                and consider need for substantial changes (.2);
                                Numerous E-mails with G Demo re same, as well as
                                his revision to same (.4); Telephone conference with
                                G Demo re need for further changes (.1).

 01/07/2021   JNP     AA        Conference with Jones Walker and Gregory V.              0.30       1295.00         $388.50
                                Demo regarding CLO issues.

 01/07/2021   GVD     AA        Attend to issues re drafting and sending of demand       1.30        950.00        $1,235.00
                                notes

 01/07/2021   GVD     AA        Correspondence with WilmerHale re Highland               0.20        950.00         $190.00
                                limited partnership agreement

 01/11/2021   GVD     AA        Conference with Ropes & Gray re potential asset          0.20        950.00         $190.00
                                deal

 01/11/2021   GVD     AA        Conference with counsel re conversion of                 0.20        950.00         $190.00
                                promissory note and correspondence re same
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                                                                                      Hours           Rate       Amount

 01/12/2021   GVD     AA        Conference with J. Pomerantz re liquidity issues       0.10        950.00         $95.00

 01/12/2021   GVD     AA        Conference with HCMLP and J. Romey re CDO              0.20        950.00        $190.00
                                Fund assets

 01/12/2021   GVD     AA        Conference with J. Romey re liquidity issues           0.10        950.00         $95.00

 01/12/2021   GVD     AA        Conference with WilmerHale re HCMLP LPA                0.30        950.00        $285.00

 01/13/2021   JMF     AA        Review/respond to emails re Carey payments.            0.20       1050.00        $210.00

 01/14/2021   IDK     AA        E-mails with CEO, others re NPA’a late payment on      0.20       1325.00        $265.00
                                p-note and issue re no grace period and next steps
                                (.2).

 01/14/2021   GVD     AA        Draft and circulate proposed order on prepayment of    0.20        950.00        $190.00
                                NexBank loan

 01/15/2021   JNP     AA        Conference with Gregory V. Demo regarding call         0.10       1295.00        $129.50
                                with J. Seery regarding note payments .

 01/15/2021   JNP     AA        Review and forward email from M. Clemente              0.10       1295.00        $129.50
                                regarding note related issues.

 01/15/2021   JNP     AA        Conference with M. Clemente regarding note             0.30       1295.00        $388.50
                                payments and related issues.

 01/15/2021   JNP     AA        Conference with Gregory V. Demo regarding NPA          0.10       1295.00        $129.50
                                note.

 01/15/2021   JNP     AA        Review email from L. Hedgewood regarding note          0.10       1295.00        $129.50
                                and emails with Gregory V. Demo regarding same.

 01/15/2021   GVD     AA        Conference with HCMLP re distribution of proceeds      0.20        950.00        $190.00

 01/15/2021   GVD     AA        Correspondence with DSI re order on NexBank            0.10        950.00         $95.00
                                prepayment

 01/15/2021   GVD     AA        Review background materials on distribution of         0.20        950.00        $190.00
                                proceeds

 01/17/2021   GVD     AA        Review indemnity re wind down of funds                 0.20        950.00        $190.00

 01/17/2021   GVD     AA        Correspondence with J. Seery re distributions from     0.20        950.00        $190.00
                                portfolio company

 01/18/2021   IDK     AA        E-mails with G Demo and Gov Re reps on need for        0.10       1325.00        $132.50
                                call (.1).

 01/18/2021   JNP     AA        Conference with N. Stephens and John A. Morris         0.30       1295.00        $388.50
                                regarding third party litigation involving Dondero.

 01/18/2021   JNP     AA        Review and respond to Gregory V. Demo email            0.10       1295.00        $129.50
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                                                                                       Hours           Rate       Amount
                                regarding Argentina fund.
 01/18/2021   JNP     AA        Conference with J. Seery regarding United               0.10       1295.00        $129.50
                                Development.

 01/18/2021   JNP     AA        Email from B. Sun regarding call to discuss matters.    0.10       1295.00        $129.50

 01/18/2021   GVD     AA        Review open items re payments on portfolio              0.20        950.00        $190.00
                                company

 01/19/2021   IDK     AA        E-mails with G Demo, J. Pomerantz re issues on          0.20       1325.00        $265.00
                                wind down of Argentina fund (.2).

 01/19/2021   GVD     AA        Attend to service of mandatory withdrawal notices       0.30        950.00        $285.00

 01/19/2021   GVD     AA        Conference with Gov Re re insurance issues              0.20        950.00        $190.00

 01/19/2021   GVD     AA        Conference with F. Caruso re shared service             0.30        950.00        $285.00
                                agreements

 01/20/2021   IDK     AA        E-mails with DSI re transition issues and schedule      0.20       1325.00        $265.00
                                for open issues (.2).

 01/20/2021   JNP     AA        Conference with Gregory V. Demo regarding CDO           0.10       1295.00        $129.50
                                fund.

 01/20/2021   GVD     AA        Review correspondence on CLO expenses                   0.30        950.00        $285.00

 01/20/2021   GVD     AA        Conference with J. Seery and J. Romey re lost stock     0.50        950.00        $475.00
                                certificate

 01/20/2021   GVD     AA        Conference with HCMLP re asset distributions            0.30        950.00        $285.00

 01/21/2021   GVD     AA        Conference with T. Silva re revisions to limited        0.40        950.00        $380.00
                                partnership agreement

 01/21/2021   GVD     AA        Conference re CLO funding issues                        0.30        950.00        $285.00

 01/21/2021   GVD     AA        Review issues re limited partnership                    0.30        950.00        $285.00

 01/21/2021   GVD     AA        Conference with F. Caruso re potential sale             0.20        950.00        $190.00
                                transaction

 01/25/2021   JMF     AA        Review summary re outstanding notes receivable.         0.40       1050.00        $420.00

 01/25/2021   GVD     AA        Conference with PSZJ and J. Seery re transition         0.30        950.00        $285.00
                                issues

 01/25/2021   GVD     AA        Conference with DSI re executory contract issues        0.80        950.00        $760.00

 01/26/2021   GVD     AA        Correspondence with Gov Re re insurance issues          0.10        950.00         $95.00

 01/27/2021   GVD     AA        Conference with T. Silva re term sheet                  0.20        950.00        $190.00

 01/27/2021   GVD     AA        Conference with B. Sharp re payment demand              0.30        950.00        $285.00
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Highland Capital Management LP                                                                  Invoice 127125
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                                                                                        Hours           Rate       Amount

 01/27/2021   GVD     AA        Correspondence with group re note conversion             0.10        950.00          $95.00

 01/27/2021   GVD     AA        Correspondence with F. Caruso re open invoices           0.10        950.00          $95.00

 01/28/2021   JNP     AA        Conference with J. Seery regarding transition issues.    0.10       1295.00         $129.50

 01/28/2021   JNP     AA        Conference with J. Seery, John A. Morris and             0.20       1295.00         $259.00
                                Gregory V. Demo regarding transition issues
                                regarding shared services agreements.

 01/28/2021   JNP     AA        Conference with Gregory V. Demo regarding call           0.10       1295.00         $129.50
                                about transition issues.

 01/28/2021   JNP     AA        Conference with Gregory V. Demo regarding                0.20       1295.00         $259.00
                                transition services.

 01/28/2021   JNP     AA        Conference with Ira D. Kharasch and Gregory V.           0.20       1295.00         $259.00
                                Demo regarding transition issues.

 01/28/2021   JNP     AA        Conference with T. Silva, DSI, Gregory V. Demo           0.70       1295.00         $906.50
                                and John A. Morris regarding transition issues with
                                retail funds.

 01/28/2021   JNP     AA        Conference with J. Seery, T. Silva, Gregory V.           0.80       1295.00        $1,036.00
                                Demo and jam regarding transition issues with retail
                                funds.

 01/28/2021   JNP     AA        Conference with John A. Morris regarding call with       0.10       1295.00         $129.50
                                KL Gates regarding transition issues.

 01/28/2021   GVD     AA        Review revisions to purchase agreement language          1.20        950.00        $1,140.00

 01/28/2021   GVD     AA        Review potential resolution re CLO issues                0.20        950.00         $190.00

 01/28/2021   GVD     AA        Conference with J. Seery re potential sale               0.20        950.00         $190.00
                                transaction

 01/28/2021   GVD     AA        Conference with J. Morris and J. Pomerantz re            0.40        950.00         $380.00
                                transition issues

 01/28/2021   GVD     AA        Analyze and review issues re transition of services      1.60        950.00        $1,520.00

 01/28/2021   GVD     AA        Conference with J. Seery and J. Morris re transition     0.40        950.00         $380.00
                                term sheet

 01/28/2021   GVD     AA        Correspondence with M. Lynn re transition                0.20        950.00         $190.00
                                conference

 01/28/2021   GVD     AA        Conference with J. Pomerantz and I. Kharasch re          0.20        950.00         $190.00
                                transition issues

 01/28/2021   GVD     AA        Prepare for meeting with K&L Gates re term sheet         0.30        950.00         $285.00
                                and transition issues
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                                                                                       Hours           Rate       Amount

 01/28/2021   GVD     AA        Conference with K&L Gates re transition issues          0.90        950.00         $855.00

 01/28/2021   GVD     AA        Multiple conferences with PSZJ team, WilmerHale         1.20        950.00        $1,140.00
                                and J. Seery re transition issues and next steps

 01/28/2021   GVD     AA        Conference with WilmerHale re regulatory issues re      0.70        950.00         $665.00
                                employees

 01/29/2021   GVD     AA        Conference with J. Donohue and T. Silva re              0.40        950.00         $380.00
                                extension of shared services and past due fees

 01/29/2021   GVD     AA        Conference with J. Seery re status of transition and    0.30        950.00         $285.00
                                open items

 01/29/2021   GVD     AA        Conference with B. Sharp re open transition issues      0.20        950.00         $190.00
                                and documentation

 01/29/2021   GVD     AA        Conference with J. Sevilla re transition issues and     0.20        950.00         $190.00
                                next steps

 01/29/2021   GVD     AA        Revise letter from T. Silva re extension of shared      0.20        950.00         $190.00
                                service agreements

 01/29/2021   GVD     AA        Conference with K&L Gates re extension of shared        0.50        950.00         $475.00
                                service terminations

 01/29/2021   GVD     AA        Conference with PSZJ and WilmerHale re transition       0.30        950.00         $285.00
                                issues

 01/29/2021   GVD     AA        Conference with counsel to B. Heiss re potential        0.20        950.00         $190.00
                                release issues

 01/29/2021   GVD     AA        Multiple conferences with J. Kane re past due fees      0.30        950.00         $285.00

 01/29/2021   GVD     AA        Correspondence with K&L Gates re transition issues      0.20        950.00         $190.00

 01/29/2021   GVD     AA        Conference with J. Seery re potential asset sale        0.10        950.00          $95.00

 01/29/2021   GVD     AA        Correspondence with group re transition issues and      0.20        950.00         $190.00
                                open items

 01/29/2021   GVD     AA        Conference with B. Heiss and counsel re potential       0.40        950.00         $380.00
                                asset sale

 01/29/2021   GVD     AA        Address issues re potential transition                  0.40        950.00         $380.00

 01/29/2021   GVD     AA        Conference with HCMLP and NPA teams re                  1.00        950.00         $950.00
                                transition issues

 01/30/2021   GVD     AA        Review revisions to transition documents from           0.10        950.00          $95.00
                                WilmerHale

 01/30/2021   GVD     AA        Draft response letter to counsel to investment funds    0.70        950.00         $665.00
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                                                                                        Hours            Rate        Amount

 01/30/2021   GVD     AA        Conference with K&L Gates re open issues re              0.30         950.00          $285.00
                                transition

 01/30/2021   GVD     AA        Conference with WilmerHale and DSI re revisions          0.70         950.00          $665.00
                                to term sheet

 01/30/2021   GVD     AA        Review updated cash flows from DSI                       0.20         950.00          $190.00

 01/30/2021   GVD     AA        Review DSI updates on ownership percentages in           0.20         950.00          $190.00
                                CLOs

 01/31/2021   GVD     AA        Correspondence with T. Silva re revisions to term        0.10         950.00           $95.00
                                sheet

 01/31/2021   GVD     AA        Review and revise transition term sheet                  0.20         950.00          $190.00

                                                                                         38.70                      $40,615.50

  Bankruptcy Litigation [L430]
 12/10/2020   LSC     BL        Prepare for and attend hearing on emergency TRO          3.00         425.00         $1,275.00
                                hearing.

 12/11/2020   LAF     BL        Locate Acis hearing transcripts.                         0.80         450.00          $360.00

 12/14/2020   LSC     BL        Prepare for and assist at deposition of James            7.10         425.00         $3,017.50
                                Dondero (3.4); prepare exhibits and related
                                documents for Norris deposition (3.7).

 12/14/2020   LSC     BL        Prepare hearing materials for J. Pomerantz (1.3);        2.90         425.00         $1,232.50
                                prepare additional exhibits for hearing and amend
                                witness and exhibit list (1.6).

 12/14/2020   LSC     BL        Compile and prepare exhibits to Dondero lift stay        1.10         425.00          $467.50
                                motion.

 12/15/2020   LSC     BL        Prepare for and assist at Norris deposition.             3.70         425.00         $1,572.50

 12/22/2020   RJF     BL        Emails Latham, internal emails regarding SJ order.       0.30        1245.00          $373.50

 12/23/2020   JNP     BL        Conference with J. Dubel regarding UBS and Multi         0.20        1075.00          $215.00
                                Strat.

 12/23/2020   JNP     BL        Conference with Gregory V. Demo and John A.              0.50        1075.00          $537.50
                                Morris regarding CLO issues and Dondero issues.

 12/23/2020   JNP     BL        Review and respond to M. Lynn email regarding            0.20        1075.00          $215.00
                                discovery requests (2x).

 12/23/2020   JNP     BL        Conference with J. Seery regarding litigation and        0.20        1075.00          $215.00
                                discovery related issues.

 12/24/2020   RJF     BL        Internal emails regarding pending litigation matters,    0.70        1245.00          $871.50
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                                                                                         Hours           Rate       Amount
                                including UBS discovery.
 12/26/2020   RJF     BL        Telephone conference with Jeffrey N. Pomerantz,           0.30       1245.00         $373.50
                                Gregory V.Demo, Multi-Strat litigation counsel.

 12/28/2020   RJF     BL        Telephone conference with John A. Morris                  0.30       1245.00         $373.50
                                regarding discovery motion.

 12/28/2020   RJF     BL        Review Dondero motion to quash, related emails.           0.30       1245.00         $373.50

 12/28/2020   RJF     BL        Internal call regarding litigation issues.                0.70       1245.00         $871.50

 12/29/2020   IDK     BL        Attend conference call with internal team on next         1.00       1145.00        $1,145.00
                                steps re UBS and Dondero interference, upcoming
                                depos with Clubok, issues on employees conspiring
                                with Dondero (1.0).

 12/29/2020   IDK     BL        Review of UBS extensive letter denying conspiracy         0.30       1145.00         $343.50
                                allegations with Dondero, and correspondence with
                                attorneys re same and related discovery, and draft
                                response to same on discovery (.3).

 12/29/2020   IDK     BL        E-mails with attorneys re draft memo to Board on          0.40       1145.00         $458.00
                                E-mails found on system re Dondero, others on TRO
                                issues (.1); E-mail to DSI re CLO similar trades
                                made by Dondero (.1); E-mails with attorneys re
                                next steps in UBS/Clubok discovery given
                                non-production by same, including draft E-mail to
                                Clubok, and later re Clubok response to same, and
                                how to respond (.2).

 12/29/2020   IDK     BL        E-mails with Board, others re summary of E-mails          0.40       1145.00         $458.00
                                of Dondero, others on system demonstrating breach
                                of TRO and evidence (.2); E-mails with attorneys re
                                Dondero counsel letter re lost cell phone and next
                                steps re same, including draft of letter re same (.2).

 12/29/2020   IDK     BL        Telephone conference with J. Pomerantz re depos           0.10       1145.00         $114.50
                                and Scott Ellington (.1).

 12/29/2020   RMS     BL        Work on avoidable transfer defense                        3.20        825.00        $2,640.00

 12/29/2020   RJF     BL        Review emails regarding Multi-Strat and draft             0.10       1245.00         $124.50
                                discovery request regarding same.

 12/29/2020   RJF     BL        Call with Jeffrey N. Pomerantz, John A. Morris, Ira       1.00       1245.00        $1,245.00
                                Kharasch, Gregory V. Demo and Hayley R.
                                Winograd regarding pending litigation matters.

 12/29/2020   RJF     BL        Review internal claims memo, related research.            2.00       1245.00        $2,490.00

 12/29/2020   RJF     BL        Review Latham letter regarding multi-strat and            0.40       1245.00         $498.00
                                related docs.
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                                                                                       Hours           Rate       Amount

 12/29/2020   RJF     BL        Call with Sosland, Clubok, John A. Morris, and          1.00       1245.00        $1,245.00
                                Jeffrey N. Pomerantz regarding Clubok discovery
                                meet and confer (.7), follow up call with Jeffrey N.
                                Pomerantz and John A. Morris regarding Clubok
                                discovery (.3).

 12/29/2020   RJF     BL        Review UBS correspondence.                              0.50       1245.00         $622.50

 12/29/2020   LAF     BL        Legal research re: Good-faith transfers between         1.00        450.00         $450.00
                                affiliates.

 12/30/2020   IDK     BL        Telephone conference with J. Pomerantz and J            0.40       1145.00         $458.00
                                Morris re draft letter to clerk of court on dispute
                                over attorney client privilege in discovery disputes
                                with UBS/Dondero (.2); E-mails with J Morris,
                                others re same, as well as my feedback for changes
                                to same (.2).

 12/30/2020   IDK     BL        Telephone conference with J. Pomerantz re result of     0.20       1145.00         $229.00
                                call with NextPoint counsel and related litigation
                                issues (.2).

 12/30/2020   IDK     BL        E-mails with Board, others on proposed response to      0.30       1145.00         $343.50
                                Dondero counsel’s latest on lost cell phone, and
                                revisions to same (.2); E-mail to J Morris re going
                                for contempt of TRO based on various violations
                                (.1).

 12/30/2020   IDK     BL        Review of numerous correspondence with Board,           0.20       1145.00         $229.00
                                others on drafts response to UBS counsel on
                                discovery/depos.

 12/30/2020   RMS     BL        Telephone conference with Robert J. Feinstein           0.40        825.00         $330.00
                                regarding avoidable transfer defense

 12/30/2020   RMS     BL        Work on memorandum regarding avoidable transfer        11.50        825.00        $9,487.50
                                defense

 12/30/2020   RMS     BL        Email Leslie Forrester regarding research question      0.10        825.00          $82.50
                                for avoidable transfer defense memorandum

 12/30/2020   RJF     BL        Review debtor emails and related research regarding     1.00       1245.00        $1,245.00
                                Multi-Strat.

 12/30/2020   RJF     BL        Telephone conference with Rob Saunders regarding        0.40       1245.00         $498.00
                                multi-strat research.

 12/30/2020   RJF     BL        Internal emails regarding cell phones.                  0.30       1245.00         $373.50

 12/30/2020   RJF     BL        Review and comment on correspondence with UBS           0.70       1245.00         $871.50
                                regarding discovery, related internal emails.
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                                                                                        Hours           Rate       Amount

 12/30/2020   RJF     BL        Review and comment on response to Clubok motion          0.30       1245.00         $373.50
                                for protective order.

 12/30/2020   LSC     BL        Coordinate ESI platform setup (.7); retrieve, review,    2.90        460.00        $1,334.00
                                and prepare production files for attorney review
                                (2.2).

 12/31/2020   IDK     BL        Review of NPA counsel letter re eviction of              0.20       1145.00         $229.00
                                Dondero from office and consequences (.1); E-mails
                                with attorneys, Board re same (.1).

 12/31/2020   IDK     BL        Review briefly correspondence from Dondero re            0.20       1145.00         $229.00
                                document production, as well as summary of
                                document review re same, and lost cell phone issues.

 12/31/2020   RMS     BL        Work on memorandum regarding avoidable transfer          4.50        825.00        $3,712.50
                                defense

 12/31/2020   RJF     BL        Review docs produced by Clubok and related               1.00       1245.00        $1,245.00
                                internal emails.

 12/31/2020   LSC     BL        Research document production and retrieve and            1.90        460.00         $874.00
                                transmit same, including "hot" documents for
                                attorney review.

 01/01/2021   IDK     BL        E-mails with J Morris, and G Demo re discovery on        0.20       1325.00         $265.00
                                E-mails with Ellington, Leventon re Dondero and
                                conflicts, including getting Gov Re to authorized
                                payments to employees for law firms.

 01/01/2021   IDK     BL        Attend conference call with J. Pomerantz, others on      0.50       1325.00         $662.50
                                UBS issues (.5).

 01/01/2021   IDK     BL        Review of correspondence with CEO with J Morris          0.20       1325.00         $265.00
                                on Harbourvest negotiations.

 01/01/2021   JNP     BL        Conference with John A. Morris (several) regarding       0.50       1295.00         $647.50
                                litigation issues.

 01/01/2021   JNP     BL        Conference with Ira D. Kharasch, Robert J.               0.50       1295.00         $647.50
                                Feinstein and John A. Morris regarding UBS issues.

 01/01/2021   JNP     BL        Various calls with J. Dubel regarding UBS issues.        0.90       1295.00        $1,165.50

 01/01/2021   RMS     BL        Work on available transfer defense memorandum            7.10        925.00        $6,567.50

 01/01/2021   RJF     BL        Internal call regarding UBS developments.                0.50       1395.00         $697.50

 01/01/2021   JAM     BL        Review documents produced by Dondero (0.8);              3.90       1245.00        $4,855.50
                                e-mail to J. Pomerantz, I. Kharasch, G. Demo, H.
                                Winograd re: review of documents (0.2); e-mail to J.
                                Pomerantz, I. Kharasch, G. Demo H. Winograd re:
                                Dondero request for HarbourVest deposition (0.2);
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                                                                                        Hours           Rate       Amount
                                review documents produced by Clubok (1.1);
                                telephone conference with J. Dubel re: UBS
                                litigation issues (0.2); e-mail to J. Pomerantz, I.
                                Kharasch, R. Feinstein, G. Demo, H. Winograd re:
                                documents produced by Clubok (0.3); telephone
                                conference with J. Dubel re: follow up on UBS
                                litigation issues (0.2); e-mails to J. Dubel re: UBS
                                litigation issues (0.1); telephone conference with G.
                                Demo, E. Weisgerber, D. Stroik re: Dondero request
                                for HarbourVest deposition (0.1); telephone
                                conference with J. Pomerantz re: litigation issues
                                (0.1); telephone conference with J. Dubel re: further
                                discussion about UBS-related litigation issues (0.1);
                                telephone conference with J. Pomerantz re:
                                Dondero, UBS, and related litigation matters (0.2);
                                telephone conference with J. Pomerantz, I.
                                Kharasch, R Feinstein (partial participation) re:
                                Dondero, UBS and related litigation matters (0.3).
 01/01/2021   LSC     BL        Research document production and retrieve and            1.60        460.00         $736.00
                                transmit "hot" documents for attorney review.

 01/01/2021   GVD     BL        Conference with J. Morris re discovery issues            0.20        950.00         $190.00

 01/01/2021   GVD     BL        Review discovery                                         1.80        950.00        $1,710.00

 01/02/2021   IDK     BL        Attend conference call with J. Pomerantz, R              0.60       1325.00         $795.00
                                Feinstein, G Demo re UBS and litigation issues (.6).

 01/02/2021   IDK     BL        E-mails J Morris, others on Seery deposition and         0.20       1325.00         $265.00
                                form of TRO, and list of issues for deposition (.2).

 01/02/2021   JNP     BL        Conference with J. Seery, John A. Morris, Gregory        1.50       1295.00        $1,942.50
                                V. Demo and Robert J. Feinstein regarding UBS and
                                other litigation issues.

 01/02/2021   JNP     BL        Conference with J. Dubel regarding status of various     0.70       1295.00         $906.50
                                litigation issues.

 01/02/2021   JNP     BL        Conference with J. Seery regarding UBS and related       0.40       1295.00         $518.00
                                issues.

 01/02/2021   JNP     BL        Review Seery Declaration and order regarding CLO         0.30       1295.00         $388.50
                                Advisors, Funds and emails regarding same.

 01/02/2021   JNP     BL        Conference with Robert J. Feinstein regarding UBS        0.10       1295.00         $129.50
                                issues.

 01/02/2021   JNP     BL        Email to and from Robert J. Feinstein issues relating    0.10       1295.00         $129.50
                                to UBS settlement.

 01/02/2021   JNP     BL        Conference with John A. Morris, Gregory V. Demo,         0.60       1295.00         $777.00
                                Richard J. Gruber and Ira D. Kharasch regarding
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                                                                                        Hours           Rate       Amount
                                UBS and litigation issues.
 01/02/2021   JNP     BL        Review email from Gregory V. Demo regarding              0.10       1295.00         $129.50
                                issues to address in UBS settlement.

 01/02/2021   RMS     BL        Work on avoidable transfer defense memorandum            9.60        925.00        $8,880.00

 01/02/2021   RMS     BL        Email exchange with Robert J. Feinstein regarding        0.20        925.00         $185.00
                                avoidable transfer defense

 01/02/2021   RJF     BL        Internal call regarding open UBS items (.6), analysis    3.90       1395.00        $5,440.50
                                of claim vs. multi-strat (1.8), call with Seery
                                regarding multi-strat claim (1.5).

 01/02/2021   JAM     BL        Review documents/prepare for Dondero deposition          7.40       1245.00        $9,213.00
                                (2.1); review/revise Seery Declaration in support of
                                TRO (0.7); review/revise proposed TRO (0.2);
                                review/revise Emergency Motion for TRO (0.3);
                                review/revise Notice of Hearing (0.2); review/revise
                                Complaint (1.4); telephone conference with G.
                                Demo re: litigation issues (0.2); e-mails to J.
                                Pomerantz, I. Kharasch, G. Demo, H. Winograd re:
                                papers against Advisors, Funds, and CLO Holdco
                                (0.2); telephone conference with J. Pomerantz, I.
                                Kharasch, R. Feinstein, G. Demo re: UBS and
                                litigation issues (0.6); telephone conference with J.
                                Seery, J. Pomerantz, R. Feinstein, G. Demo re:
                                Multistrat litigation and potential UBS settlement
                                analysis (1.5).

 01/02/2021   GVD     BL        Multiple conferences with J. Seery re bankruptcy         0.70        950.00         $665.00
                                litigation and discovery issues

 01/02/2021   GVD     BL        Review discovery                                         0.90        950.00         $855.00

 01/02/2021   GVD     BL        Draft response to third K&L Gates letter                 0.90        950.00         $855.00

 01/02/2021   GVD     BL        Review draft motion for TRO and related documents        1.00        950.00         $950.00

 01/02/2021   GVD     BL        Draft list of open settlement items                      0.50        950.00         $475.00

 01/02/2021   GVD     BL        Conference with PSZJ team and J. Seery re potential      1.50        950.00        $1,425.00
                                litigation issues and next steps

 01/02/2021   GVD     BL        Internal PSZJ conference re open litigation items        0.60        950.00         $570.00
                                and next steps

 01/02/2021   HRW     BL        PSZJ internal call (0.6); Review TRO documents re:       2.10        695.00        $1,459.50
                                Advisors, Funds, CLO Holdco (1.5).

 01/03/2021   IDK     BL        E-mails with J Morris, J. Pomerantz, re revised          0.30       1325.00         $397.50
                                complaint re CLOs, including numerous E-mails re
                                legal issues on CLOs and changes to Seery
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                                                                                       Hours           Rate       Amount
                                declaration re same (.3).
 01/03/2021   JNP     BL        Conference with John A. Morris regarding litigation     0.10       1295.00         $129.50
                                issues.

 01/03/2021   JNP     BL        Conference with J. Dubel regarding pending              0.50       1295.00         $647.50
                                litigation matters (several).

 01/03/2021   JNP     BL        Review letter to KL Gates regarding J. Dondero.         0.10       1295.00         $129.50

 01/03/2021   JNP     BL        Review email regarding returns of UBS settlement.       0.10       1295.00         $129.50

 01/03/2021   RMS     BL        Email exchange with and Robert J. Feinstein             0.20        925.00         $185.00
                                regarding NY statute

 01/03/2021   RMS     BL        Work on avoidable transfer defense memorandum           3.20        925.00        $2,960.00

 01/03/2021   RMS     BL        Research regarding NY fraudulent conveyance law         0.40        925.00         $370.00

 01/03/2021   RJF     BL        Review emails regarding settlement proposal.            0.40       1395.00         $558.00

 01/03/2021   RJF     BL        Review research regarding NY debtor and creditor        0.40       1395.00         $558.00
                                law.

 01/03/2021   RJF     BL        Email and telephone conference with Seery               0.20       1395.00         $279.00
                                regarding f.c. claims.

 01/03/2021   RJF     BL        Attend BOD meeting re UBS matters                       1.40       1395.00        $1,953.00

 01/03/2021   JAM     BL        Review/revise letter to K&L Gates re: Dondero           4.80       1245.00        $5,976.00
                                (0.7); e-mail to J. Pomerantz, I. Kharasch, G. Demo,
                                H. Winograd re: revised letter to K&L Gates (0.1);
                                e-mails to L. Canty, G. Demo, H. Winograd re:
                                exhibits to Seery Declaration (0.2); review/revise
                                Seery declaration in support of TRO based on
                                comments received (0.8); e-mail to J. Pomerantz, I.
                                Kharasch, G. Demo, H. Winograd re: revised Seery
                                declaration (0.1); review/revise Complaint against
                                the Advisors, the Funds, and CLO Holdco (0.7);
                                e-mail to J. Pomerantz, I. Kharasch, G. Demo, H.
                                Winograd re: revised Complaint (0.1); e-mails with
                                G. Demo (copies to J. Pomerantz, I. Kharasch, H.
                                Winograd re: facts concerning ownership and
                                control of Advisors and the Funds, and related
                                matters (0.3); telephone conference with G. Demo
                                re: e-mail concerning Gov Re (0.1); telephone
                                conference with J. Pomerantz, G.Demo, T. Silva, E.
                                Weisgerber, D. Stroik re: HCLOF (0.3); telephone
                                conference with J. Pomerantz, G. Demo, R. Patel, B.
                                Shaw re: Dondero request for deposition on
                                HarbourVest settlement (0.5); telephone conference
                                with J. Dubel re: litigation issues, UBS settlement
                                (0.4); further discussion with J. Dubel re: UBS
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                                                                                       Hours           Rate        Amount
                                issues (0.2); telephone conference with J. Pomerantz
                                re: UBS issues (0.1); e-mails J. Pomerantz, I.
                                Kharasch, R. Feinstein, G. Demo, H. Winograd re:
                                UBS issues (0.2).
 01/03/2021   GVD     BL        Review J. Morris revisions to litigation materials      0.70        950.00          $665.00

 01/03/2021   GVD     BL        Conference with J. Morris re litigation strategy        0.20        950.00          $190.00

 01/03/2021   HRW     BL        Call re: HCLOF/HarbourVest (0.2).                       0.20        695.00          $139.00

 01/04/2021   IDK     BL        Numerous correspondence with DSI on Gov Re              0.30       1325.00          $397.50
                                policy concerns on improper use of proceeds, need
                                for further related docs re bylaws, certificate of
                                incorporation.

 01/04/2021   IDK     BL        E-mails J Morris, others re his memo on                 0.20       1325.00          $265.00
                                confirmation discovery schedule (.1); E-mails with
                                J Morris, client, Leventon re Leventon and Ellington
                                request to attend Dondero deposition (.1).

 01/04/2021   IDK     BL        Review of draft agenda for 1/6 hearing and              0.10       1325.00          $132.50
                                correspondence re same (.1).

 01/04/2021   JNP     BL        Conference with John A. Morris regarding discovery      0.50       1295.00          $647.50
                                issues (multiple).

 01/04/2021   JNP     BL        Conference with Robert J. Feinstein regarding UBS       0.10       1295.00          $129.50
                                settlement.

 01/04/2021   JNP     BL        Review John A. Morris proposed litigation time line.    0.10       1295.00          $129.50

 01/04/2021   JNP     BL        Email regarding participation of senior employees in    0.10       1295.00          $129.50
                                deposition.

 01/04/2021   JNP     BL        Conference with J. Dubel regarding UBS and related      0.40       1295.00          $518.00
                                issues.

 01/04/2021   JNP     BL        Conference with J. Dubel regarding UBS settlement.      0.20       1295.00          $259.00

 01/04/2021   JEO     BL        Review agenda for fee hearing and provide               0.50       1050.00          $525.00
                                comments

 01/04/2021   RMS     BL        Review of avoidable transfer defense memorandum         0.80        925.00          $740.00
                                (finalizing it)

 01/04/2021   RJF     BL        Emails Jeffrey N. Pomerantz, Elissa A. Wagner           0.30       1395.00          $418.50
                                regarding UBS settlement.

 01/04/2021   JAM     BL        Draft Second Amended Notice of deposition for          10.20       1245.00        $12,699.00
                                Clubok (0.2); telephone conference with G. Demo
                                re: various litigation issues (0.4); telephone
                                conference with L. Canty re: Dondero deposition,
                                exhibits (0.2); telephone conference with J.
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                                                                                         Hours           Rate       Amount
                                Pomerantz re: various litigation issues (0.1); e-mails
                                with Z. Annable, J. Pomerantz, I. Kharasch, G.
                                Demo, H. Winograd re: Second Amended Notice of
                                deposition for Clubok (0.1); telephone conference
                                with J. Pomerantz re: various litigation issues (0.2);
                                emails with Z. Annable, J. Pomerantz re: court
                                availability (0.1); communications with J. Seery, I.
                                Soto re: changes to Seery declaration and related
                                documents for action against Advisors, Funds (0.2);
                                prepare for Dondero deposition (7.4);
                                communications with counsel re: Dondero
                                deposition logistics (0.4); communications with M.
                                Sosland re: Dondero and UBS depositions (0.2);
                                telephone conference with I. Kharasch re: various
                                litigation issues (0.2); telephone conference with J.
                                Seery re: Dondero deposition, Ellington, Leventon
                                (0.2); e-mails concerning Ellington, Leventon and
                                the Dondero deposition (0.2); telephone conference
                                with J. Seery re: Dondero deposition, Ellington,
                                Leventon (0.1).
 01/04/2021   EAW     BL        Review emails re: settlement terms (UBS).                 0.20        925.00         $185.00

 01/04/2021   LSC     BL        Prepare subpoenas to Scott Ellington and Isaac            1.10        460.00         $506.00
                                Leventon (.5); prepare notice of service of
                                subpoenas (.2); coordinate setup of court reporters
                                for depositions and correspondence regarding the
                                same (.4).

 01/04/2021   LSC     BL        Research and review document production and               3.40        460.00        $1,564.00
                                retrieve and transmit documents (1.9); transmit prior
                                document productions to requesting parties (.3);
                                prepare binder of hot docs for J. Morris (1.2).

 01/04/2021   LSC     BL        Preparation for Dondero deposition.                       2.90        460.00        $1,334.00

 01/04/2021   GVD     BL        Finalize and send response letter to K&L Gates            0.20        950.00         $190.00

 01/04/2021   GVD     BL        Conference with J. Morris re bankruptcy litigation        0.10        950.00          $95.00

 01/04/2021   GVD     BL        Review J. Seery revisions to TRO and                      0.30        950.00         $285.00
                                correspondence re same

 01/04/2021   GVD     BL        Conference with H. Winograd re review of open             0.30        950.00         $285.00
                                discovery issues

 01/04/2021   GVD     BL        Correspondence with H. Winograd re document               0.10        950.00          $95.00
                                review issues

 01/04/2021   GVD     BL        Review discovery                                          0.30        950.00         $285.00

 01/04/2021   HRW     BL        Document review in preparation for Dondero                4.30        695.00        $2,988.50
                                deposition (3.8); HCLOF/HCM Call (0.5).
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                                                                                       Hours           Rate       Amount

 01/05/2021   IDK     BL        Attend and participate in most of Dondero               3.60       1325.00        $4,770.00
                                deposition, including internal calls during breaks
                                (3.5); Telephone conference with J. Pomerantz after
                                deposition re same (.1).

 01/05/2021   IDK     BL        E-mails with CEO, J Morris re deposition issues and     0.10       1325.00         $132.50
                                Senior Employee counsel demands on attendance.

 01/05/2021   IDK     BL        E-mails with M. Lynn re issues (.2).                    0.20       1325.00         $265.00

 01/05/2021   IDK     BL        E-mails with local counsel, J O’Neill re agenda and     0.10       1325.00         $132.50
                                potential cancellation of hearing tomorrow.

 01/05/2021   JNP     BL        Participate in J. Dondero deposition.                   4.50       1295.00        $5,827.50

 01/05/2021   JNP     BL        Review and respond to email regarding senior            0.10       1295.00         $129.50
                                employee participation in Dondero deposition.

 01/05/2021   JNP     BL        Conference with John A. Morris regarding trial          0.10       1295.00         $129.50
                                subpoenas.

 01/05/2021   JNP     BL        Review and respond to Robert J. Feinstein email         0.30       1295.00         $388.50
                                regarding UBS Settlement Agreement.

 01/05/2021   JNP     BL        Conference with Richard M. Pachulski regarding J.       0.10       1295.00         $129.50
                                Dondero deposition.

 01/05/2021   JNP     BL        Conference with John A. Morris regarding litigation     0.10       1295.00         $129.50
                                issues.

 01/05/2021   JNP     BL        Review outline for J. Dondero deposition.               0.30       1295.00         $388.50

 01/05/2021   JNP     BL        Email to Baker and McKenzie and local counsel           0.10       1295.00         $129.50
                                regarding trial subpoenas.

 01/05/2021   KKY     BL        Review and revise 1/6/21 agenda                         0.20        460.00          $92.00

 01/05/2021   JAM     BL        Review/revise deposition subpoenas for Ellington        8.00       1245.00        $9,960.00
                                and Leventon and Notice of Service of Subpoena
                                (0.3); e-mail to J. Pomerantz, I. Kharasch, R.
                                Feinstein, G. Demo, H. Winograd re: revised
                                deposition subpoenas for Ellington and Leventon
                                and Notice of Service of Subpoena (0.1); prepare for
                                Dondero deposition (1.5); e-mail to J. Pomerantz, I.
                                Kharasch, R. Feinstein, G. Demo, H. Winograd re:
                                Dondero deposition outline and exhibits (0.3);
                                e-mail to L. Canty, G. Demo, H. Winograd re:
                                Dondero exhibits (0.1); review scripts for
                                termination of Ellington and Leventon (0.2);
                                Dondero deposition (4.6); telephone conference with
                                G. Demo, H. Winograd re: litigation issues (0.4);
                                telephone conference with H. Winograd, A. Clubok
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                                                                                        Hours           Rate       Amount
                                re: UBS settlement and related matters (0.3);
                                telephone conference with P. Montgomery re:
                                Dondero deposition and related matters (0.1);
                                telephone conference with J. Pomerantz re: Ellington
                                and Leventon issues (0.1);
 01/05/2021   EAW     BL        Review draft settlement agreement and related            0.40        925.00         $370.00
                                emails from R. Feinstein and J. Pomerantz.

 01/05/2021   LSC     BL        Begin preparation of witness and exhibit list for 1/8    2.10        460.00         $966.00
                                hearing and retrieval of exhibits in connection
                                therewith.

 01/05/2021   LSC     BL        Additional preparation for and assist at Dondero         5.70        460.00        $2,622.00
                                deposition.

 01/05/2021   GVD     BL        Review outline re Dondero deposition and attend to       1.10        950.00        $1,045.00
                                issues re same

 01/05/2021   GVD     BL        Attend deposition of J. Dondero                          4.50        950.00        $4,275.00

 01/05/2021   GVD     BL        Attend to issues re serving of termination notices       0.20        950.00         $190.00

 01/05/2021   GVD     BL        Conference with J. Morris and H. Winograd re             0.40        950.00         $380.00
                                litigation strategy

 01/05/2021   HRW     BL        Draft trial subpoenas for Dondero preliminary            7.80        695.00        $5,421.00
                                injunction hearing (2.2); Dondero deposition (3.5);
                                Document review in preparation for Dondero
                                deposition (0.1); Document review to corroborate
                                Ellington’s address (0.5); Call with G. Demo and J.
                                Morris re: Dondero deposition (0.1); Call with G.
                                Demo re: Cameron Baynard and Sean Fox document
                                review (0.1); Document review re: Cameron
                                Baynard and Sean Fox (0.8); Edit Memo of Law in
                                support of TRO against Advisors, Funds, CLO
                                Holdco (0.5).

 01/06/2021   IDK     BL        Telephone conference with J. Pomerantz re                1.10       1325.00        $1,457.50
                                Redeemer feedback on UBS settlement (.1); Attend
                                initial conference call with attorneys on R Feinstein
                                draft UBS settlement agreement (.5); Attend 2d
                                conference call re same (.5).

 01/06/2021   JNP     BL        Emails to and from M. Hartman regarding                  0.20       1295.00         $259.00
                                deposition transcript and trial subpoena.

 01/06/2021   JNP     BL        Review emails regarding scheduling of TRO                0.10       1295.00         $129.50
                                hearing.

 01/06/2021   JNP     BL        Review and comment on UBS Settlement                     0.50       1295.00         $647.50
                                Agreement.
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                                                                                        Hours           Rate        Amount

 01/06/2021   JNP     BL        Conference with J. Dubel regarding pending               0.20       1295.00          $259.00
                                litigation issues.

 01/06/2021   JNP     BL        Conference with Ira D. Kharasch, Robert J.               1.00       1295.00         $1,295.00
                                Feinstein and Gregory V. Demo regarding UBS
                                settlement (2x).

 01/06/2021   JNP     BL        Conference with John A. Morris (several) regarding       0.30       1295.00          $388.50
                                response to requests for transcript by employees and
                                related issues.

 01/06/2021   JNP     BL        Review email from M. Hankin and call regarding           0.10       1295.00          $129.50
                                same regarding UBS settlement.

 01/06/2021   JAM     BL        Review/revise Dondero subpoena and Notice of            14.50       1245.00        $18,052.50
                                Service (0.2); e-mail to Bond Ellis, J. Pomerantz, I.
                                Kharasch, G. Demo, H. Winograd re: Dondero
                                subpoena (0.1); revise/revise Amended Complaint
                                against Dondero (0.1); e-mail to J. Seery, J.
                                Pomerantz, I. Kharasch, G. Demo, H. Winograd, Z.
                                Annable, M. Hayward re: Amended Complaint
                                against Dondero (0.1); review/revise Ellington and
                                Leventon subpoena and Notice of Service (0.2);
                                e-mail to J. Seery, J. Pomerantz, I. Kharasch, G.
                                Demo, H. Winograd, Z. Annable, M. Hayward re:
                                Amended Complaint against Dondero (0.2); further
                                revisions to Ellington and Leventon subpoena (0.1);
                                e-mail to J. Pomerantz, I. Kharasch, G. Demo, H.
                                Winograd, Z. Annable, M. Hayward re: revised
                                subpoena for Ellington and Leventon (0.1);
                                review/revise draft Witness and Exhibit list for
                                January 8 hearing (0.3); e-mail to J. Pomerantz, I.
                                Kharasch, G. Demo, H. Winograd, Z. Annable, M.
                                Hayward re: draft Witness and Exhibit list for
                                January 8 hearing (0.2); telephone conference with J.
                                Dubel re: various litigation matters (0.4); telephone
                                conference with G. Demo, E. Weisgerber re:
                                HarbourVest matters (0.4); review/revise
                                Memorandum of Law in Support of TRO against
                                K&L Gates clients (1.8); prepare for hearing
                                (including analysis of Dondero deposition transcript
                                and preparation of cross-examination) (8.6);
                                telephone conference with J. Pomerantz re: witness
                                and exhibit list (0.1); review/revise witness and
                                exhibit list (0.2); e-mails with Z. Annable, J.
                                Pomerantz, G. Demo, H. Winograd, L. Canty re:
                                witness and exhibit list (0.2); telephone conference
                                with J. Seery re: litigation and employee matters
                                (0.1); telephone conference with P. Montgomery, C.
                                Rognes re: discovery (0.4); communications with J.
                                Seery re: Complaint and TRO against K&L Gates
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                                                                                        Hours           Rate       Amount
                                clients (0.2); communications with Z. Annable, J.
                                Pomerantz, I. Kharasch, G. Demo, H. Winograd re:
                                filing of Complaint and TRO papers against K&L
                                Gates clients (0.3); e-mails with Z. Annable, J.
                                Pomerantz, G. Demo, H. Winograd re: attempted
                                service of subpoenas on Ellington and Leventon
                                (0.2).
 01/06/2021   EAW     BL        Review emails from R. Feinstein and J. Pomerantz         0.10        925.00          $92.50
                                re: settlement (UBS).

 01/06/2021   LSC     BL        Continued preparation of witness and exhibit list for    4.30        460.00        $1,978.00
                                1/8 hearing, retrieval of additional exhibits in
                                connection therewith, finalize same, and transit to
                                local counsel for filing (3.9); prepare exhibits to
                                Seery declaration (.4).

 01/06/2021   GVD     BL        Review supplemental Dondero discovery production         0.20        950.00         $190.00

 01/06/2021   GVD     BL        Attend to issues re subpoena                             0.10        950.00          $95.00

 01/06/2021   HRW     BL        Draft Dondero memorandum of law in support of            8.70        695.00        $6,046.50
                                Dondero motion for order to show cause (7.5);
                                Prepare and review documents in support of TRO
                                against Advisors, Funds, CLO Holdco (1.2).

 01/07/2021   IDK     BL        Review briefly numerous correspondence with              0.40       1325.00         $530.00
                                Dondero counsel, court clerk, others on need for
                                expedited hearing for contempt vs Dondero, and
                                drafts of pleadings on same (.3); Review of
                                correspondence on demand letters to Dondero and
                                related entities (.1).

 01/07/2021   JNP     BL        Review Dondero opposition to preliminary                 0.10       1295.00         $129.50
                                injunction.

 01/07/2021   JNP     BL        Conference with John A. Morris regarding hearing         0.10       1295.00         $129.50
                                and Plan confirmation.

 01/07/2021   JNP     BL        Conference with John A. Morris regarding call with       0.10       1295.00         $129.50
                                Latham.

 01/07/2021   JNP     BL        Email to KCC regarding ballots.                          0.10       1295.00         $129.50

 01/07/2021   JNP     BL        Conference with Latham regarding UBS settlement.         0.20       1295.00         $259.00

 01/07/2021   JNP     BL        Review and comment on motion to hold J. Dondero          0.30       1295.00         $388.50
                                in contempt for violating TRO.

 01/07/2021   JNP     BL        Email to A. Clubok and J. Bjork regarding                0.10       1295.00         $129.50
                                settlement.

 01/07/2021   JNP     BL        Prepare notes for hearing to raise scheduling issues.    0.30       1295.00         $388.50
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 01/07/2021   JNP     BL        Conference with John A. Morris regarding contempt        0.10       1295.00          $129.50
                                motion.

 01/07/2021   JNP     BL        Conference with Robert J. Feinstein regarding call       0.10       1295.00          $129.50
                                with Latham.

 01/07/2021   JNP     BL        Review and revise letter to KL Gates regarding CLO       0.20       1295.00          $259.00
                                proposal.

 01/07/2021   JNP     BL        Email to Board regarding call to discuss UBS             0.10       1295.00          $129.50
                                settlement agreement.

 01/07/2021   JNP     BL        Review proposed response to KL Gates regarding           0.10       1295.00          $129.50
                                offer to assume and assign agreements.

 01/07/2021   JNP     BL        Conference with Robert J. Feinstein regarding UBS        0.10       1295.00          $129.50
                                settlement status.

 01/07/2021   JNP     BL        Emails to team regarding UBS.                            0.10       1295.00          $129.50

 01/07/2021   KKY     BL        Draft (.1) certification of no objection re removal      0.20        460.00           $92.00
                                extension motion; and prepare (.1) order re same

 01/07/2021   JEO     BL        Review removal extension order for submission            0.20       1050.00          $210.00

 01/07/2021   JEO     BL        Arrange for filing of CNO and submission of order        0.40       1050.00          $420.00
                                for removal extension motion

 01/07/2021   JAM     BL        Work on documents (including JAM Declaration,           12.10       1245.00        $15,064.50
                                Memorandum of Law, Motion, Emergency Motion,
                                and proposed form of Order) relating to motion to
                                hold Dondero in contempt (8.6); draft amended
                                witness and exhibit list (0.2); e-mails with M. Lynn,
                                B. Assink, J. Pomerantz, G. Demo re: HarbourVest
                                and confirmation depositions (0.3); e-mails with Z.
                                Annable, G. Demo, H. Winograd, L. Canty re:
                                exhibits (0.3); telephone conference with H.
                                Winograd re: Dondero motion papers (0.1);
                                telephone conference with Z. Annable re: motion
                                papers (0.2); telephone conference with J.
                                Pomerantz, G. Demo, KCC re: Dondero subpoenas
                                for ballots (0.2); telephone conference with J.
                                Pomerantz re: Dondero contempt motion (0.1);
                                telephone conference with J. Seery re: Dondero
                                contempt motion (0.2); e-mails with M. Lynn, J.
                                Bonds, B. Assink, J. Pomerantz, G. Demo re: “meet
                                and confer” on emergency motion for contempt
                                (0.2); communications with Z. Annable, H.
                                Winograd re: Dondero contempt motion papers and
                                “meet and confer” with Dondero's attorneys (0.5);
                                e-mails with Board, J. Pomerantz, I. Kharasch, G.
                                Demo, H. Winograd re; Dondero contempt motion
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                                                                                        Hours           Rate       Amount
                                (0.3); e-mails with J. Seery, J. Dubel, J. Pomerantz,
                                G. Demo, H. Winograd re: UBS and Clubok issues
                                (0.4); telephone conference with J. Dubel re: UBS
                                and Clubok issues (0.2); e-mail to M. Clemente, P.
                                Montgomery, J. Pomerantz, G. Demo re: complaint
                                against defaulting demand note parties (0.2); e-mail
                                to M. Lynn, B. Assink, J. Pomerantz, G. Demo,
                                KCC re: subpoenas (0.1).
 01/07/2021   CRR     BL        Review G. Demo email communication regarding             0.30        925.00         $277.50
                                service of demand on registered agent and confer
                                with staff regarding same

 01/07/2021   LSC     BL        Amend witness and exhibit list and exhibits (1.7);       3.80        460.00        $1,748.00
                                prepare binders of materials for attorneys in
                                preparation for hearing (2.1).

 01/07/2021   GVD     BL        Draft fourth K&L Gates response letter                   0.90        950.00         $855.00

 01/07/2021   GVD     BL        Review discovery issues                                  0.20        950.00         $190.00

 01/07/2021   GVD     BL        Conference with KCC re subpoena issues                   0.20        950.00         $190.00

 01/07/2021   GVD     BL        Review Dondero response to preliminary injunction        0.20        950.00         $190.00

 01/07/2021   GVD     BL        Conference with I. Kharasch re fourth K&L Gates          0.20        950.00         $190.00
                                letter

 01/07/2021   HRW     BL        Draft Dondero motion for order to show cause and         6.40        695.00        $4,448.00
                                ancillary documents (3.8); Call with J. Morris re:
                                contempt motion (0.1); Review Dondero deposition
                                transcript and cross in preparation for January 8,
                                2021 hearing (2.5).

 01/08/2021   IDK     BL        E-mails with J Morris, others on UBS statement to        5.40       1325.00        $7,155.00
                                read at hearing (.1); Attend substantial part of
                                hearing on Dondero contempt of TRO/preliminary
                                injunction (5.3).

 01/08/2021   IDK     BL        Attend conference call with Board, J Pomerantz, J        0.60       1325.00         $795.00
                                Morris and G Demo re result of hearing and next
                                steps (.6).

 01/08/2021   JNP     BL        Conference with J. Dubel and John A. Morris in           0.10       1295.00         $129.50
                                preparation for hearing.

 01/08/2021   JNP     BL        Participate in Dondero preliminary injunction            7.00       1295.00        $9,065.00
                                hearing.

 01/08/2021   JNP     BL        Conference with Board, Ira D. Kharasch, John A.          0.60       1295.00         $777.00
                                Morris, and Gregory V. Demo after hearing
                                regarding next steps.
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 01/08/2021   JNP     BL        Conference with John A. Morris in preparation for        0.20       1295.00          $259.00
                                hearing.

 01/08/2021   JMF     BL        Review motion for contempt and response                  0.70       1050.00          $735.00

 01/08/2021   JAM     BL        Prepare for hearing on motion for preliminary           11.30       1245.00        $14,068.50
                                injunction against Dondero (3.7); e-mails with G.
                                Demo, L. Canty re: trial exhibits (0.2); draft e-mail
                                to A. Clubok re: statement concerning UBS (0.2);
                                telephone conference with J. Dubel, J. Pomerantz re:
                                statement concerning UBS (0.1); telephone
                                conference with J. Pomerantz re: statement
                                concerning UBS (0.1); telephone conference with J.
                                Dubel re: statement concerning UBS (0.1); hearing
                                on Debtor's motion for preliminary injunction
                                against Dondero (6.7); telephone conference with
                                Board, J. Pomerantz re: hearing on Debtor's motion
                                for preliminary injunction (0.2).

 01/08/2021   EAW     BL        Research and draft motion to approve settlement          3.10        925.00         $2,867.50
                                (UBS).

 01/08/2021   EAW     BL        Telephone call with R. Feinstein re: 9019 motion         0.50        925.00          $462.50
                                (UBS).

 01/08/2021   CRR     BL        Follow-up regarding service of demand on                 0.20        925.00          $185.00
                                registered agent

 01/08/2021   LSC     BL        Prepare for (1.0) and assist at 1/8/21 evidentiary       8.30        460.00         $3,818.00
                                hearing (7.3).

 01/08/2021   GVD     BL        Prepare for hearing on Dondero injunction                1.10        950.00         $1,045.00

 01/08/2021   GVD     BL        Attend multiple board calls re status of action          0.80        950.00          $760.00
                                against J. Dondero

 01/08/2021   GVD     BL        Attend hearing re J. Dondero injunction                  5.90        950.00         $5,605.00

 01/08/2021   HRW     BL        Draft proposed PI hearing (2.3); Preliminary             8.30        695.00         $5,768.50
                                Injunction Hearing (6.0).

 01/09/2021   IDK     BL        E-mails with J Morris re pending discovery and           0.20       1325.00          $265.00
                                related staffing on same (.2).

 01/09/2021   IDK     BL        Review of agenda for upcoming call (.1); Attend          2.10       1325.00         $2,782.50
                                conference call with internal team on prep/status for
                                contested HarbourVest and NextBank loan payment
                                hearings next week, prosecution of demand notes,
                                plan confirmation issues/responses to objections
                                (2.0).

 01/09/2021   JNP     BL        Review J. Bonds email regarding response to              0.10       1295.00          $129.50
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                                proposed order and email to John A. Morris
                                regarding same.
 01/09/2021   JNP     BL        Conference with J. Seery regarding retention of          0.10       1295.00         $129.50
                                Multi Strat litigation counsel.

 01/09/2021   JAM     BL        Review/revise draft order on Preliminary Injunction      2.90       1245.00        $3,610.50
                                against Dondero (0.3); e-mail to J. Pomerantz, I.
                                Kharasch, G. Demo, H. Winograd re: draft order on
                                Preliminary Injunction against Dondero (0.1); e-mail
                                to Board, J. Pomerantz, I. Kharasch, G. Demo, H.
                                Winograd re: draft order on Preliminary Injunction
                                against Dondero (0.1); review/respond to
                                litigation-related e-mails from Friday (0.6);
                                telephone conference with G. Demo re: 1/8 hearing
                                and related matters (0.2); telephone conference with
                                G. Demo, H. Winograd, E. Weisgerber, D. Stroik re:
                                hearing on HarbourVest Rule 9019 motion (0.6);
                                telephone conference with J. Seery re: draft order on
                                Preliminary Injunction against Dondero and related
                                matters (0.3); further revisions to draft order on
                                Preliminary Injunction (0.1); e-mail to M. Lynn, J.
                                Bonds, J. Pomerantz, I. Kharasch, G. Demo, H.
                                Winograd re: draft order on Preliminary Injunction
                                (0.1); e-mail to F. Smith, D. Dandeneau, J.
                                Pomerantz, I. Kharasch, G. Demo, H. Winograd re:
                                draft order on Preliminary Injunction (0.1);
                                communications with L. Canty, H. Winograd re:
                                Witness and Exhibit list for CLO/TRO hearing (0.2);
                                review/revise Witness and Exhibit list for CLO/TRO
                                hearing (0.2).

 01/09/2021   EAW     BL        Research and draft motion to approve settlement          6.20        925.00        $5,735.00
                                (UBS).

 01/09/2021   LSC     BL        Preparation of exhibit and witness list and exhibits     3.90        460.00        $1,794.00
                                for January 13, 2021 hearing and correspondence
                                with attorneys regarding the same.

 01/09/2021   GVD     BL        Conference with J. Morris re litigation strategy         0.20        950.00         $190.00

 01/09/2021   HRW     BL        Call with Debevoise re: HarbourVest-Highland 9019        2.10        695.00        $1,459.50
                                hearing (0.5); Review proposed PI Order (0.3); Draft
                                summary of claims against Advisors, Funds, CLO
                                Holdco for confirmation brief (0.6); Gather and
                                review exhibits for TRO hearing on 1.13.2021 (0.7).

 01/10/2021   IDK     BL        Conference call with J. Pomerantz and G Demo re          1.10       1325.00        $1,457.50
                                Harbourvest and CLO litigation (.8); E-mails with G
                                Demo re his summary and analysis of same
                                objections, as well as J. Pomerantz feedback (.2);
                                Review of correspondence with G Demo, Wilmer
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                                                                                          Hours           Rate       Amount
                                Hale on transferability issues of interests from
                                Harbourvest (.1).
 01/10/2021   IDK     BL        Review briefly E-mails with attorneys re discovery         0.10       1325.00         $132.50
                                and cell phone issues.

 01/10/2021   IDK     BL        E-mails with K Brown re overseeing demand note             0.20       1325.00         $265.00
                                complaints and related litigation (.2).

 01/10/2021   JNP     BL        Conference with John A. Morris, Gregory V. Demo            0.80       1295.00        $1,036.00
                                and Ira D. Kharasch regarding Harbourvest and
                                CLO litigation.

 01/10/2021   JNP     BL        Conference with John A. Morris Harbourvest and             0.30       1295.00         $388.50
                                CLO litigation.

 01/10/2021   BEL     BL        Review discovery request and telephone conference          0.30        950.00         $285.00
                                with John A. Morris regarding discovery.

 01/10/2021   JAM     BL        E-mail to B. Levine re: responding to confirmation         3.30       1245.00        $4,108.50
                                and other discovery requests (0.1); telephone
                                conference with B. Levine re: responding to
                                confirmation and other discovery requests (0.2);
                                e-mails with P. Montgomery, C. Rognes re:
                                document preservation letters (0.1); review
                                documents and e-mail to J. Seery, J. Pomerantz, I.
                                Kharasch, G. Demo re: Ellington's cell phone (0.2);
                                e-mail to J. Bonds, M. Lynn, J. Pomerantz, G.
                                Demo, H. Winograd re: Dondero as a witness at the
                                CLO/TRO hearing (0.1); prepare for HarbourVest
                                Rule 9019 hearing (0.7); e-mails w/ D. Rukavina, L.
                                Hodgwood, J. Pomerantz, G. Demo, H. Winograd
                                re: K&L Gates Clients' exhibit and witness list for
                                CLO/TRO hearing (0.2); telephone conference with
                                G. Demo re: (0.1); telephone conference with J.
                                Pomerantz re: objections to HarbourVest settlement
                                (0.3); telephone conference with B. Levine re:
                                document production (0.2); telephone conference
                                with J. Pomerantz, I. Kharasch, G. Demo re:
                                HarbourVest Rule 9019 motion and CLO/TRO
                                hearing and related issues (0.8); e-mails with E.
                                Weisgerber, J. Pomerantz, G. Demo re: HarbourVest
                                issues for hearing (0.1); e-mails with J. Pomerantz, I.
                                Kharasch, G. Demo, H. Winograd re: Grant Scott as
                                witness for CLO/TRO hearing (0.1); e-mail to J.
                                Kane, J. Pomerantz, G. Demo re: Grant Scott as
                                CLO Holdco witness (0.1).

 01/10/2021   EAW     BL        Research and draft motion to approve settlement           10.50        925.00        $9,712.50
                                (UBS).

 01/10/2021   GVD     BL        Conference with PSZJ team re open litigation items         0.80        950.00         $760.00
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                                                                                        Hours           Rate        Amount

 01/10/2021   HRW     BL        Draft amended notice of confirmation hearing (1.2);      2.30        695.00         $1,598.50
                                Review Dondero objection to 9019 motion (0.5);
                                Review CLO Holdco objection to 9019 motion
                                (0.5); Gather exhibits for response to Dondero 9019
                                objection (0.1).

 01/11/2021   IDK     BL        Telephone conference and e-mails with K Brown re         0.20       1325.00          $265.00
                                prosecuting demand notes vs Dondero (.2).

 01/11/2021   IDK     BL        E-mails with B Levine re demand notes and need to        0.50       1325.00          $662.50
                                commence actions and prior draft of complaint (.2);
                                E-mails with local counsel re same re writs of
                                attachment for same (.3).

 01/11/2021   IDK     BL        Brief review of correspondence with Dondero              0.20       1325.00          $265.00
                                counsel, others on resolution of timing/expiration of
                                TRO, as well as with counsels to Ellington/Leventon
                                re issues on missing phones re discovery.

 01/11/2021   IDK     BL        E-mails with J. Pomerantz re Gov Re and need for         0.10       1325.00          $132.50
                                demand letter re same (.1).

 01/11/2021   JNP     BL        Review emails regarding request for Ellington phone      0.10       1295.00          $129.50
                                and response and related emails.

 01/11/2021   JNP     BL        Review of Order regarding CLO TR litigation.             0.10       1295.00          $129.50

 01/11/2021   JNP     BL        Conference with John A. Morris and Gregory V.            0.10       1295.00          $129.50
                                Demo after call with KL Gates.

 01/11/2021   JNP     BL        Conference with KL Gates, Munsch and J. Kane             0.30       1295.00          $388.50
                                regarding TRO and related issues.

 01/11/2021   JNP     BL        Conference with John A. Morris regarding                 0.10       1295.00          $129.50
                                Harbourvest deposition.

 01/11/2021   JNP     BL        Review Dondero Answer to Complaint.                      0.10       1295.00          $129.50

 01/11/2021   JNP     BL        Review emails regarding TRO Order for CLO                0.10       1295.00          $129.50
                                litigation.

 01/11/2021   JNP     BL        Review modifications to agreed TRO; Conference           0.20       1295.00          $259.00
                                with John A. Morris regarding same.

 01/11/2021   KHB     BL        Telephone call with Ira Karasch re litigation matter     0.30       1225.00          $367.50
                                (.2); emails with Ira Karasch re same (.1).

 01/11/2021   JAM     BL        Prepare for CLO/TRO hearing (2.2); e-mail to G.         10.20       1245.00        $12,699.00
                                Demo, H. Winograd, L. Canty re: exhibit and
                                witness list for HarbourVest Rule 9019 motion (0.2);
                                telephone conference with G. Demo re: HarbourVest
                                issues (0.2); telephone conference with E.
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                                                                                        Hours           Rate       Amount
                                Weisgerber, D. Stroik, G. Demo re: HarbourVest
                                deposition (0.2); prepare for HarbourVest hearing
                                (1.5); telephone conference with J. Pomerantz, G.
                                Demo, counsel to K&L Gates Parties re: CLO/TRO
                                hearing (0.3); telephone conference with J.
                                Pomerantz re: hearings this week (0.1); telephone
                                conference with J. Seery re: Daugherty,
                                HarbourVest, CLO/TRO hearings (0.1); e-mails with
                                Court re: order granting Debtor's motion for
                                Preliminary Injunction against Dondero (0.2);
                                HarbourVest deposition (3.7); telephone conference
                                with G. Demo re: HarbourVest deposition (0.3);
                                e-mails to G. Demo, H. Winograd, counsel to parties
                                to HCLOF re: sealing of documents (0.2); telephone
                                conference with J. Pomerantz re: call with Lynn and
                                Bonds (0.1); e-mails with J. Pomerantz, G. Demo, Z.
                                Annable re: K&L Gates Clients' proposed revisions
                                to proposed order resolving TRO hearing (0.3);
                                e-mails with Z. Annable, others re: Debtor's exhibit
                                and witness list for hearing on HarbourVest Rule
                                9019 motion (0.3); e-mail to F. Smith, J. Pomerantz,
                                I. Kharasch, G. Demo, H. Winograd, D. Dandeneau
                                re: Ellington phone (0.3).
 01/11/2021   EAW     BL        Research and draft motion to approve settlement          3.40        925.00        $3,145.00
                                (UBS).

 01/11/2021   LSC     BL        Preparation of exhibit and witness list and exhibits     6.60        460.00        $3,036.00
                                for January 14, 2021 hearing and correspondence
                                with attorneys regarding the same.

 01/11/2021   GVD     BL        Conference with counsel to NPA/HCMFA re                  0.30        950.00         $285.00
                                resolution of temporary restraining order

 01/11/2021   GVD     BL        Conference with J. Pomerantz and J. Morris re            0.20        950.00         $190.00
                                issues re TRO on NPA/HCMFA

 01/11/2021   HRW     BL        Call with K&L Gates re: TRO and 30(b)(6) witness         5.20        695.00        $3,614.00
                                (0.2); Review and prepare amended notice of
                                confirmation hearing (0.2); Review reply in support
                                of HarbourVest 9019 motion (0.5); Review proposed
                                TRO re: related entities (0.2); Review PI order
                                against Dondero (0.1); Gather and review exhibits
                                for HarbourVest 9019 W&E list (0.2); Review
                                Dondero’s answer to Complaint for Injunctive relief
                                (0.5); M. Pugatch Deposition (3.2); Communicate
                                with Debevoise re: 9019 W&E list filing (0.1).

 01/12/2021   IDK     BL        E-mails with I Nasatir re various legal issues on Gov    0.50       1325.00         $662.50
                                Re policy, prop of estate issues, coverage, logistics
                                (.4); E-mails with G Demo re Gov Re
                                representatives (.1).
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                                                                                       Hours           Rate       Amount

 01/12/2021   IDK     BL        Review insurance policy and various docs re Gov Re      1.70       1325.00        $2,252.50
                                D&O policy and related demands for payment from
                                Gov Re from I Leventon, others for prosecution of
                                their claims (.4); Prep of extensive draft letter to
                                Gov Re to cease payment of illegitimate claims from
                                senior employees, recover payments including legal
                                basis for same (.5); E-mails with J. Pomerantz, J
                                Morris, and G Demo re same, including feedback
                                (.2); Telephone conference with J. Pomerantz re his
                                feedback on same (.1); Revise draft letter re same
                                (.2); E-mails to Board re draft letter to Gov Re,
                                including feedback of CEO on changes (.3).

 01/12/2021   IDK     BL        Telephone conference with CEO re status of his          0.20       1325.00         $265.00
                                review of letter to Gov Re Policy, as well as his
                                communications with Melissa re Dugaboy issues
                                (.2).

 01/12/2021   IDK     BL        E-mails with attorneys re feedback to Draper letter     0.20       1325.00         $265.00
                                asking for support on examiner motion (.2).

 01/12/2021   IDK     BL        E-mails with K Brown, H Winograd re getting             0.20       1325.00         $265.00
                                complaints filed on demand notes and logistics (.2).

 01/12/2021   JNP     BL        Emails with John A. Morris regarding deposition         0.10       1295.00         $129.50
                                transcript.

 01/12/2021   JNP     BL        Emails with John A. Morris regarding scheduling         0.10       1295.00         $129.50
                                contempt motion.

 01/12/2021   JNP     BL        Review of letter regarding examiner; conference         0.20       1295.00         $259.00
                                with John A. Morris and then Ira D. Kharasch
                                regarding same.

 01/12/2021   JNP     BL        Conference with J. Seery regarding document             0.10       1295.00         $129.50
                                production.

 01/12/2021   JNP     BL        Conference with M. Clemente regarding letter            0.10       1295.00         $129.50
                                regarding examiner.

 01/12/2021   JNP     BL        Conference with John A. Morris regarding CLO            0.50       1295.00         $647.50
                                litigation (several).

 01/12/2021   JNP     BL        Emails regarding employee indemnity letter.             0.10       1295.00         $129.50

 01/12/2021   JNP     BL        Draft proposed response to D. Draper letter             0.30       1295.00         $388.50
                                regarding examiner.

 01/12/2021   JNP     BL        Conference with Ira D. Kharasch regarding Gov Re        0.20       1295.00         $259.00
                                and review draft letter.

 01/12/2021   KHB     BL        Emails with I. Kharasch and Hayley R. Winograd re       0.20       1225.00         $245.00
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                                                                                        Hours           Rate        Amount
                                complaints on promissory notes and writs of
                                attachment.
 01/12/2021   BEL     BL        Emails regarding draft complaint.                        0.20        950.00          $190.00

 01/12/2021   JAM     BL        Prepare for hearing on HarbourVest Rule 9019             9.70       1245.00        $12,076.50
                                motion (4.4); telephone conference with J. Dubel re:
                                status of various litigation matters (0.3); telephone
                                conference with G. Demo re: matters concerning
                                HarbourVest Rule 9019 motion (0.2); review/revise
                                draft omnibus reply to objections to HarbourVest
                                Rule 9019 motion (2.8); telephone conference with
                                S. Vitiello re: document production (0.1);
                                communications with S. Vitiello, B. Levine re:
                                document production (0.1); telephone conference
                                with T. Frohne re: document production and Robert
                                Half role (0.1); telephone conference with S. Seery
                                re: M. Schroth and Dugaboy financial statements
                                (0.1); e-mails with J. Kane, D. Rukavina, L.
                                Hodgwood, J. Pomerantz, G. Demo, H. Winograd
                                re: consensual TRO against G&L Gates parties
                                (0.4); revisions to consensual TRO against G&L
                                Gates parties (0.3); e-mails with Z. Annable, J.
                                Pomerantz, I. Kharasch, G. Demo re: consensual
                                TRO against G&L Gates parties and
                                communications with the court (0.2); telephone
                                conference with I. Kharasch re: complaints to collect
                                on notes (0.1); telephone conference with J. Seery
                                re: various litigation matters (0.3); telephone
                                conference with J. Pomerantz re: M. Schroth and
                                Dugaboy document production (0.1); telephone
                                conference with E. Weisgerber re: HarbourVest
                                hearing (0.2).

 01/12/2021   EAW     BL        Review email from R. Feinstein re: motion to             0.10        925.00           $92.50
                                approve settlement (UBS).

 01/12/2021   LSC     BL        Preparation of materials for 1/13 and 1/14 hearings      3.40        460.00         $1,564.00
                                an coordinate printing and delivery of same with M.
                                DesJardien.

 01/12/2021   GVD     BL        Conference with PSZJ team re NPA/HCMFA TRO               0.40        950.00          $380.00

 01/12/2021   GVD     BL        Correspondence with PSZJ litigation team re              0.20        950.00          $190.00
                                demand letters

 01/12/2021   HRW     BL        Highland WIP call (0.4); Review proposed TRO re:         8.60        695.00         $5,977.00
                                related entities (0.2) Edit and review reply in
                                support of HarbourVest 9019 (3.2); Review Dondero
                                demand note complaint (0.2); Research writ of
                                attachment procedure (1.5); Draft Motion/MOL for
                                writ of attachment (2.5); Review demand letters
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                                                                                       Hours           Rate       Amount
                                (0.3); Review Dondero notice of appeal (0.1);
                                Review draft of Seery direct (0.2).
 01/13/2021   CHM     BL        Review email fromR. Feinstein re examiner motion        0.10        750.00          $75.00
                                and reply.

 01/13/2021   CHM     BL        Legal research and begin drafting opposition to         1.50        750.00        $1,125.00
                                examiner motion.

 01/13/2021   IDK     BL        Telephone conference with J. Pomerantz re need to       0.40       1325.00         $530.00
                                respond to counsel to Senior Employees re their
                                indemnity and reserve for same and re Gov Re
                                payments/renewals (.3); Telephone conference with
                                J. Pomerantz re need for letter to attorneys for Gov
                                Re (.1).

 01/13/2021   IDK     BL        Prep of letter to Senior Employee law firms re          1.40       1325.00        $1,855.00
                                improper Gov Re actions and return of their
                                retainers, including feedback of CEO, others (.5);
                                Revise and finalize letter to reps of Gov Re re
                                improper funding under policy and need for relevant
                                documents (.4); E-mails with J Morris re
                                coordination of depositions of Leventon/Ellington re
                                same and relevancy issues (.2); E-mails and
                                telephone conference with counsel to Senior Lenders
                                re their questions on Gov Re letter (.3).

 01/13/2021   IDK     BL        E-mails with G Demo re Leventon correspondence          0.20       1325.00         $265.00
                                with Gov Re, including brief review (.2).

 01/13/2021   IDK     BL        Telephone conference with J. Pomerantz re               0.80       1325.00        $1,060.00
                                anticipated examiner motion (.2); E-mails with J.
                                Pomerantz re his draft letter to Draper re same, as
                                well as UCC letter in response (.2); E-mails with R
                                Feinstein and J. Pomerantz re his role in opposing
                                examiner motion and research needed, as well as
                                outline of argument (.4).

 01/13/2021   IDK     BL        E-mails with K Brown, others re legal issues,           0.40       1325.00         $530.00
                                including Stern, turnover, on draft complaint vs
                                Dondero entities on notes, and prior memo on Stern
                                vs Marshall (.4).

 01/13/2021   JNP     BL        Emails regarding stipulated facts for Harbourvest       0.10       1295.00         $129.50
                                hearing.

 01/13/2021   JNP     BL        Draft insert into opposition to examiner motion.        0.20       1295.00         $259.00

 01/13/2021   JNP     BL        Conference with J. Seery regarding letter to Draper     0.10       1295.00         $129.50
                                regarding examiner.

 01/13/2021   JNP     BL        Email to Board regarding status of UBS Settlement       0.10       1295.00         $129.50
                                Agreement.
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                                                                                        Hours           Rate       Amount

 01/13/2021   JNP     BL        Review Dondero motion for leave to appeal                0.10       1295.00         $129.50
                                preliminary injunction.

 01/13/2021   JNP     BL        Conference with J. Dubel regarding letter to Draper      0.10       1295.00         $129.50
                                regarding examiner.

 01/13/2021   JNP     BL        Review and revise letter to Draper regarding             0.10       1295.00         $129.50
                                examiner.

 01/13/2021   JNP     BL        Conference with John A. Morris regarding document        0.10       1295.00         $129.50
                                preservation.

 01/13/2021   JNP     BL        Conference with Ira D. Kharasch regarding Gov Re         0.30       1295.00         $388.50
                                issues.

 01/13/2021   JNP     BL        Review Committee response to request to support an       0.10       1295.00         $129.50
                                examiner.

 01/13/2021   JNP     BL        Email response to reporter regarding CLO litigation.     0.10       1295.00         $129.50

 01/13/2021   JNP     BL        Conference with M. Clemente regarding letter to          0.10       1295.00         $129.50
                                Draper regarding examiner.

 01/13/2021   JNP     BL        Conference with Robert J. Feinstein regarding            0.20       1295.00         $259.00
                                opposition to emergency motion for examiner.

 01/13/2021   JNP     BL        Conference with Ira D. Kharasch regarding                0.20       1295.00         $259.00
                                anticipated examiner motion.

 01/13/2021   JNP     BL        Conference with John A. Morris regarding                 0.20       1295.00         $259.00
                                Harbourvest hearing.

 01/13/2021   JNP     BL        Conference with Ira D. Kharasch regarding letter to      0.10       1295.00         $129.50
                                attorneys regarding Gov Re.

 01/13/2021   JNP     BL        Further review of examination for Harbourvest            0.10       1295.00         $129.50
                                hearing.

 01/13/2021   KHB     BL        Review complaint and demand letters re promissory        6.10       1225.00        $7,472.50
                                notes (.4); consider jurisdictional and Stern issues
                                and emails to Hayley Winpograd (HG) and Greg
                                Demo (GD) re same (.4); review authorities re
                                jurisdictional and Stern issues (.5); conference call
                                with HG and GD re complaints on promissory notes
                                and applications for writs of attachment (.6); emails
                                with Beth Levine re core vs. non-core issues (.2);
                                review Texas authority re writs of attachment and
                                preliminary injunctions and consider required
                                evidence and timing issues (2.3); consider nature of
                                additional claims necessary to obtain injunction
                                from bankruptcy court and analyze authority re same
                                (1.3); emails with HG re same (.2); emails with L.
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                                                                                        Hours           Rate        Amount
                                Forrester re obtaining pleadings from Texas
                                bankruptcy court on writs of attachment and
                                preliminary injunctions (.2).
 01/13/2021   KHB     BL        Emails to client re plan supplement (.2); conference     1.60       1225.00         $1,960.00
                                call with client and R. Pachulski re next steps and
                                litigation strategy (1.1); confer with Cia Mackel re
                                fraud analysis (.2); emails to Cia Mackel re same
                                (.1).

 01/13/2021   KKY     BL        Serve [signed] removal extension order                   0.10        460.00           $46.00

 01/13/2021   KKY     BL        Draft (.1) and prepare for filing (.1) certificate of    0.20        460.00           $92.00
                                service for [signed] removal extension order

 01/13/2021   RJF     BL        Telephone conference with Jeffrey N. Pomerantz           0.30       1395.00          $418.50
                                regarding examiner motion.

 01/13/2021   RJF     BL        Begin drafting opposition to expected motion to          0.90       1395.00         $1,255.50
                                shorten time.

 01/13/2021   RJF     BL        Telephone conference with Cia H. Mackle regarding        0.30       1395.00          $418.50
                                examiner research.

 01/13/2021   RJF     BL        Review emails regarding examiner motion.                 0.30       1395.00          $418.50

 01/13/2021   BEL     BL        Emails regarding draft Dondero complaint.                0.20        950.00          $190.00

 01/13/2021   BEL     BL        Review Nexpoint claim and response to claim              0.60        950.00          $570.00
                                objection.

 01/13/2021   BEL     BL        Review Nexpoint discovery requests and Telephone         0.80        950.00          $760.00
                                conference with Stephanie Vitello and John A.
                                Morris regarding discovery request.

 01/13/2021   BEL     BL        Review memo regarding jurisdiction issues and draft      0.30        950.00          $285.00
                                email regarding same.

 01/13/2021   JMF     BL        Review reply to HarvourVest objection to 9019            0.40       1050.00          $420.00
                                motion.

 01/13/2021   JAM     BL        Communications with J. Seery re: M. Schroth (0.3);      10.10       1245.00        $12,574.50
                                review/revise Omnibus Reply on HarbourVest Rule
                                9019 motion (1.3); telephone conference with J.
                                Pomerantz re: litigation matters (0.2); telephone
                                conference with B. Levine, S. Vitiello re: document
                                production issues (0.3); telephone conference with J.
                                Pomerantz, G. Demo, H. Winograd, E. Weisgerber
                                re: hearing on HarbourVest Rule 9019 hearing (0.3);
                                prepare for hearing on HarbourVest Rule 9019
                                motion (4.3); e-mails with Z. Annable, G. Demo re:
                                exhibits and sealing issues (0.4); telephone
                                conference with B. Sharp re: document
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                                                                                         Hours           Rate       Amount
                                retention/preservation issues (0.2); telephone
                                conference with J. Seery re: litigation matters (0.1);
                                telephone conference with B. Sharp, J. Romey,
                                Sidley, FTI re: document retention/preservation
                                issues (0.6); follow up call with B. Sharp on
                                document retention/preservation issues (0.2); e-mails
                                with J. Seery, J. Pomerantz, I. Kharasch, G. Demo,
                                H. Winograd re: Seery direct examination (0.1);
                                telephone conference with J. Pomerantz re:
                                document retention/preservation issues (0.1); e-mails
                                with J. Pomerantz, Z. Annable, court re: hearing on
                                Debtor's contempt motion against Dondero (0.2);
                                review correspondence concerning Dugaboy's
                                request for the appointment of an examiner (0.2);
                                telephone conference with J. Seery to prepare for
                                direct testimony on HarbourVest Rule 9019 motion
                                (1.1); e-mails with Trial Graphics, G. Demo, J.
                                Seery re: revised demonstrative exhibits (0.2).
 01/13/2021   EAW     BL        Revise motion to approve settlement, draft                3.30        925.00        $3,052.50
                                declaration and prepare exhibits (UBS).

 01/13/2021   LSC     BL        Preparation for 1/14 hearing.                             2.60        460.00        $1,196.00

 01/13/2021   GVD     BL        Review draft letter re insurance reclamation issues       0.30        950.00         $285.00

 01/13/2021   GVD     BL        Conference with Committee re data preservation            0.30        950.00         $285.00
                                issues

 01/13/2021   GVD     BL        Conference with K. Brown and H. Winograd re               0.80        950.00         $760.00
                                demand note issues

 01/13/2021   HRW     BL        Call re: HarbourVest settlement (0.2): Call with G.       9.00        695.00        $6,255.00
                                Demo and K. Brown re: demand note complaints
                                (0.6); Call with G. Demo re: demand note
                                complaints (0.1); Research re: bankruptcy court’s
                                jurisdiction over turnover claims and contractual
                                disputes (1.8); Research re: alter ego claims (1.0);
                                Review Demand Notes and related documents (0.8)
                                Draft Demand Note Complaints against Dondero
                                and related entities (4.5).

 01/14/2021   IDK     BL        Attend most of hearing on HarbourVest settlement,         4.10       1325.00        $5,432.50
                                motion to payoff NextBank loan, status of plan
                                negotiations with Dondero (4.1).

 01/14/2021   IDK     BL        E-mails with J Morris, G Demo on coordination of          0.20       1325.00         $265.00
                                litigation call with Sidley (.2).

 01/14/2021   IDK     BL        E-mails with H Winograd and J Morris re next steps        0.10       1325.00         $132.50
                                on complaints on demand notes (.1).
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                                                                                         Hours           Rate        Amount

 01/14/2021   IDK     BL        E-mails with Dondero counsel, others re their             0.30       1325.00          $397.50
                                motion and request for an emergency hearing on
                                examiner motion, and our opposition, and their later
                                filing of full examiner motion (.3).

 01/14/2021   JNP     BL        Review email regarding suits against noteholders          0.10       1295.00          $129.50
                                and next steps.

 01/14/2021   JNP     BL        Conference with Robert J. Feinstein regarding             0.10       1295.00          $129.50
                                examiner motion.

 01/14/2021   JNP     BL        Conference with J. Dubel regarding hearing on             0.40       1295.00          $518.00
                                Harbourvest and Plan related matters.

 01/14/2021   JNP     BL        Conference with Robert J. Feinstein regarding court       0.10       1295.00          $129.50
                                hearing and examiner motion.

 01/14/2021   KHB     BL        Confer with L. Forrester re Texas authority on writs      4.50       1225.00         $5,512.50
                                of attachment and preliminary injunctions (.2);
                                review authorities and email to internal litigation
                                team re same (1.6); call with Greg Demo (GD), J.
                                Morris (JM) and Hayley Winograd (“HG”) re
                                litigation strategy on promissory notes (.4); confer
                                with HG re form of complaints (.2); review and
                                revise complaint (1.6); emails with HG re revisions
                                to complaints (.5).

 01/14/2021   RJF     BL        Review examiner motion and related emails.                0.30       1395.00          $418.50

 01/14/2021   RJF     BL        Work on opposition to expected motion to shorten          0.40       1395.00          $558.00
                                time.

 01/14/2021   RJF     BL        Telephone conference with Jeffrey N. Pomerantz            0.20       1395.00          $279.00
                                regarding examiner motion.

 01/14/2021   JMF     BL        Review motion to appoint examiner.                        0.30       1050.00          $315.00

 01/14/2021   JAM     BL        Prepare for hearing on HarbourVest Rule 9019              9.70       1245.00        $12,076.50
                                motion (1.7); e-mails w/ J. Pomerantz, G. Demo, E.
                                Weisgerber, D. Stroik re: potential stipulation
                                concerning ROFR (0.1); e-mails with L. Canty re:
                                exhibits for hearing (0.1); e-mail to J. Seery, J.
                                Pomerantz, I. Kharasch, G. Demo re: Seery direct
                                testimony (0.1); e-mails with J. Pomerantz, I.
                                Kharasch, G. Demo re: Gov Re, Ellington, and
                                Leventon (0.2); hearing on HarbourVest Rule 9019
                                motion (with intermittent communications with J.
                                Seery, J. Pomerantz, I. Kharasch, G. Demo) (4.8);
                                review/revise order concerning motion to pay (0.2);
                                e-mail to G. Demo re: revised order on motion to
                                pay (0.1); telephone conference with G. Demo re:
                                litigation matters (0.1); telephone conference with J.
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                                                                                         Hours           Rate       Amount
                                Pomerantz re: HarbourVest hearing telephone
                                conference with Board, J. Pomerantz, G. Demo re:
                                HarbourVest hearing and employment related issues
                                (0.7); telephone conference with G. Demo re:
                                complaints against makers of notes (0.2); telephone
                                conference with J. Seery re: litigation matters (0.2);
                                e-mail to J. Seery re: confirmation and CLO/TRO
                                depositions (0.2); telephone conference with K.
                                Brown, H. Winograd, G. Demo (partial
                                participation) re: complaints against makers of notes
                                (0.5); telephone conference with G. Demo re:
                                litigation matters (0.1); telephone conference with B.
                                Sharp re: document preservation issues (0.1);
                                telephone conference with J. Seery re: depositions,
                                litigation issues (0.2).
 01/14/2021   EAW     BL        Review emails from R. Feinstein re: examiner              0.10        925.00          $92.50
                                motion (J. Dondero).

 01/14/2021   LSC     BL        Prepare for and provide assistance at hearing             5.00        460.00        $2,300.00
                                (including presentation of exhibits) and
                                correspondence regarding the same.

 01/14/2021   GVD     BL        Conference with PSZJ litigation team re litigation        0.60        950.00         $570.00
                                strategy

 01/14/2021   GVD     BL        Conference with J. Morris re litigation strategy          0.30        950.00         $285.00

 01/14/2021   HRW     BL        Draft Demand Note Complaints against Dondero              9.60        695.00        $6,672.00
                                and related entities (5.5); Research re: alter ego
                                claims (0.6); PSZJ call re: Demand Note Complaints
                                and litigation strategy (0.5); Review Demand Notes
                                and related documents (1.0); Call with K. Brown re:
                                Demand Note Complaints (0.1); Draft proposed
                                HarbourVest Settlement Order (1.9).

 01/15/2021   CHM     BL        Legal research and correspondence re examiner             1.30        750.00         $975.00
                                motion.

 01/15/2021   IDK     BL        Telephone conference with J. Pomerantz re Dondero         0.40       1325.00         $530.00
                                motions re examiner and to expedite, and balloting
                                issues (.2); Telephone conference with J. Pomerantz
                                re response of Senior Employee counsel re depos of
                                Leventon/Ellington, need for 2004 re same, UBS
                                status (.2).

 01/15/2021   IDK     BL        E-mails with K Brown and J. Pomerantz re Texas            0.40       1325.00         $530.00
                                writ of attachment requirements & Dondero,
                                including my feedback (.3); E-mails with G Demo
                                on Gov Re status (.1).

 01/15/2021   IDK     BL        E-mails with H Winograd, K Brown re Texas law on          0.30       1325.00         $397.50
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                                                                                          Hours           Rate       Amount
                                attachment requirements and my feedback of
                                abandoning same (.3).
 01/15/2021   JNP     BL        Email to Board regarding Dondero request regarding         0.10       1295.00         $129.50
                                UBS settlement.

 01/15/2021   JNP     BL        Conference with Robert J. Feinstein regarding              0.10       1295.00         $129.50
                                examiner motion and emails regarding same.

 01/15/2021   JNP     BL        Conference with Dubel regarding UBS status.                0.20       1295.00         $259.00

 01/15/2021   JNP     BL        Emails with J. Bonds and J. Dondero regarding UBS          0.20       1295.00         $259.00
                                settlement.

 01/15/2021   JNP     BL        Emails with A. Clubok regarding UBS settlement             0.20       1295.00         $259.00
                                disclosure.

 01/15/2021   KHB     BL        Work on complaints on promissory notes (4.4).              5.20       1225.00        $6,370.00
                                emails with G. Demo re payment on NPA note (.2);
                                review draft letter to NPA re same (.2); email from
                                J. Pomerantz re writs of attachment (.1); email from
                                I. Kharasch re same (.1); emails with H. Winograd
                                and G. Demo re complaints (.2).

 01/15/2021   RJF     BL        Telephone conference with Jeffrey N. Pomerantz             0.10       1395.00         $139.50
                                regarding examiner motion.

 01/15/2021   RJF     BL        Emails regarding denial of motion to shorten time.         0.10       1395.00         $139.50

 01/15/2021   RJF     BL        Review examiner research.                                  0.50       1395.00         $697.50

 01/15/2021   RJF     BL        Emails Jeffrey N. Pomerantz regarding UBS status.          0.10       1395.00         $139.50

 01/15/2021   BEL     BL        Review SE Multifamily partnership agreement.               0.20        950.00         $190.00

 01/15/2021   JAM     BL        E-mail to counsel for K&L Gates Parties, J.                3.40       1245.00        $4,233.00
                                Pomerantz, I. Kharasch, G. Demo, H. Winograd re:
                                depositions (0.3); e-mail to J. Seery, J. Pomerantz, I.
                                Kharasch, G. Demo, H. Winograd re: depositions
                                (0.1); e-mail to counsel for Ellington and Leventon
                                re: depositions (0.3); e-mail to J. Bonds, J.
                                Pomerantz, I. Kharasch, G. Demo, H. Winograd re:
                                witness(es) for hearing on contempt motion (0.1);
                                review/revise draft order on HarbourVest settlement
                                (0.4); e-mail to J. Pomerantz, I. Kharasch, G. Demo,
                                H. Winograd, Z. Annable, M. Hayward re: draft
                                order on HarbourVest settlement (0.1); telephone
                                conference with J. Seery re: depositions (0.1);
                                telephone conference with J. Pomerantz, I.
                                Kharasch, G. Demo re: litigation issues (0.4); e-mail
                                to objecting parties on HarbourVest Rule 9019
                                motion (0.1); revise proposed order on HarbourVest
                                settlement (0.1); e-mails to J. Bonds, J. Kane, D.
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                                                                                         Hours           Rate       Amount
                                Draper, J. Pomerantz, G. Demo re: proposed order
                                on HarbourVest settlement (0.1); telephone
                                conference with B. Sharp, J. Vaughn re: forensic
                                investigation of computers (0.3); telephone
                                conference with B. Sharp re: forensic investigation
                                of computers (0.1); e-mail to J. Seery, J. Pomerantz,
                                I. Kharasch, G. Demo, B. Sharp re: iDiscovery
                                Solutions and forensic investigation (0.3); draft
                                deposition notice for Seery (confirmation) (0.3);
                                e-mail to J. Pomerantz, I. Kharasch, G. Demo, Z.
                                Annable re: deposition notice (0.1); telephone
                                conference with J. Seery re: litigation matters (0.2).
 01/15/2021   GVD     BL        Draft and send response to NPA letter                     1.10        950.00        $1,045.00

 01/15/2021   GVD     BL        Review and revise demand note complaint                   0.30        950.00         $285.00

 01/15/2021   GVD     BL        Conference with PSZJ team re open discovery issues        0.50        950.00         $475.00

 01/15/2021   GVD     BL        Conference with T. Surgent re discovery issues            0.30        950.00         $285.00

 01/15/2021   HRW     BL        Review and edit HarbourVest proposed Settlement           8.20        695.00        $5,699.00
                                Order (0.7); Draft Demand Note Complaints against
                                Dondero and related entities (7.5).

 01/16/2021   IDK     BL        Attend conference call on depos and discovery prior       0.70       1325.00         $927.50
                                to plan confirmation and re TROs (.7).

 01/16/2021   JAM     BL        E-mail to J. Seery, J. Pomerantz, I. Kharasch, G.         4.60       1245.00        $5,727.00
                                Demo, H. Winograd, DSI re: forensic analysis of
                                computers (0.2); e-mail to J. Kane, J. Pomerantz, G.
                                Demo re: document production (0.1); revise
                                deposition notice for Seery confirmation deposition
                                (0.2); e-mail to Z. Annable, J. Pomerantz, G. Demo,
                                H. Winograd re: Seery confirmation deposition
                                (0.1); e-mail to counsel for K&L Gates parties re:
                                discovery (0.2); draft deposition notice for Grant
                                Scott (0.3); e-mail to Z. Annable, J. Pomerantz, G.
                                Demo, H. Winograd re: Scott deposition notice
                                (0.1); e-mail to counsel to all parties objecting to
                                confirmation re: depositions (0.4); e-mail to M.
                                Lynn, J. Bonds, J. Pomerantz, I. Kharasch, G. Demo
                                re: Dondero purported notice and appeal of
                                preliminary injunction (0.8); e-mail to K. Klausner,
                                H. Winograd, L. Canty re: depositions (0.1); e-mail
                                to L. Canty re: depositions (0.1); e-mail to J.
                                Pomerantz, I. Kharasch, G. Demo, H. Winograd re:
                                draft response to Senior Employees (0.7); telephone
                                conference with J. Seery re: forensic investigation
                                (0.4); telephone conference with J. Pomerantz re:
                                litigation, forensic investigation (0.5); telephone
                                conference with B. Sharp re: forensic investigation
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                                                                                          Hours           Rate       Amount
                                (0.1); telephone conference with J. Seery re: forensic
                                investigation (0.1); revise draft e-mail to counsel for
                                the Senior Employees (0.2).
 01/16/2021   GVD     BL        Conference with J. Morris re bankruptcy litigation         0.20        950.00         $190.00

 01/16/2021   GVD     BL        Correspondence with J. Pomerantz re discovery              0.10        950.00          $95.00
                                issues

 01/16/2021   HRW     BL        Draft complaints against Dondero and related               4.80        695.00        $3,336.00
                                entities re: demand notes (4.8).

 01/17/2021   JNP     BL        Conference with John A. Morris,. J. Seery, company         0.50       1295.00         $647.50
                                employees, DSI and outside consultant regarding
                                services relating to protection of evidence.

 01/17/2021   BEL     BL        Review discovery requests and emails regarding             0.30        950.00         $285.00
                                same.

 01/17/2021   BEL     BL        Telephone conference with John A. Morris                   0.40        950.00         $380.00
                                regarding discovery requests.

 01/17/2021   JAM     BL        E-mail to counsel to K&L Gates Clients, J.                 3.80       1245.00        $4,731.00
                                Pomerantz, I. Kharasch, G. Demo, H. Winograd re:
                                discovery in connection with PI motion and
                                confirmation (1.2); revise and send e-mail to counsel
                                for Senior Employees, J. Pomerantz, I. Kharasch, G.
                                Demo, H. Winograd re: discovery (0.2); e-mail to J.
                                Pomerantz, I. Kharasch, G. Demo, H. Winograd re:
                                confirmation witnesses (0.2); e-mail to J. Seery,
                                PSZJ, DSI re: follow up litigation matters, including
                                document production and email searches (0.8);
                                telephone conference with B. Levine re: document
                                production (0.4); telephone conference with J. Seery
                                re: Senior Employee issues (0.1); telephone
                                conference with J. Seery, J. Pomerantz (partial), H.
                                Winograd, DSI, J. Vaughn, T. Surgent, J. Rothstein
                                re: forensic investigation (0.8); telephone conference
                                with J. Seery re: forensic investigation (0.1).

 01/17/2021   EAW     BL        Review email from G. Demo re: motion to approve            0.10        925.00          $92.50
                                settlement (UBS).

 01/17/2021   GVD     BL        Correspondence re negotiation of senior employee           0.20        950.00         $190.00
                                stipulation

 01/17/2021   GVD     BL        Review draft complaints re demand letters                  0.40        950.00         $380.00

 01/17/2021   GVD     BL        Correspondence re discovery issues                         0.30        950.00         $285.00

 01/17/2021   HRW     BL        Call re: forensic investigation and return of Debtor’s     5.20        695.00        $3,614.00
                                property (0.7); Draft complaints against Dondero
                                and related entities re: demand notes (4.5).
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 01/18/2021   IDK     BL        Attend telephone conference with conference with           1.10       1325.00        $1,457.50
                                Sidley, others re litigation matters, plan confirmation
                                issues (.7); E-mails with J Morris and J. Pomerantz
                                re witnesses for confirmation, including insurance
                                brokers and their concerns, as well as drafts to
                                Senior employees on lost phone issues (.4).

 01/18/2021   IDK     BL        Telephone conference with G Demo re upcoming               0.50       1325.00         $662.50
                                call with Bermuda counsel (.1); Attend conference
                                call with Bermuda counsel on discovery issues (.4).

 01/18/2021   JNP     BL        Conference with Sidley, John A. Morris, Ira D.             0.70       1295.00         $906.50
                                Kharasch and Gregory V. Demo regarding litigation
                                matters including notes, Plan confirmation and
                                related.

 01/18/2021   JNP     BL        Review emails regarding discovery and comments to          0.10       1295.00         $129.50
                                John A. Morris email regarding same.

 01/18/2021   JNP     BL        Review F. Smith response regarding indemnification         0.10       1295.00         $129.50
                                letter.

 01/18/2021   JNP     BL        Emails to and from M. Lynn regarding discovery             0.10       1295.00         $129.50
                                issues.

 01/18/2021   KHB     BL        Review local rules re summary judgment motions             1.80       1225.00        $2,205.00
                                (.2); review comments to complaints on promissory
                                notes by J. Morris and email to J. Morris and H.
                                Winograd re same (.2); work on complaints (.7); call
                                with Committee counsel, J. Morris and J. Pomerantz
                                re litigation strategy (.7).

 01/18/2021   BEL     BL        Review document requests and relevant and                  1.30        950.00        $1,235.00
                                background and emails regarding searches for
                                documents.

 01/18/2021   JMF     BL        Review brief and order re Dondero motion for leave         0.30       1050.00         $315.00
                                to appeal injunction order.

 01/18/2021   JAM     BL        E-mails with G. Demo, E. Weisgerber re:                    8.00       1245.00        $9,960.00
                                HarbourVest settlement (0.1); e-mails with PSZJ and
                                Sidley lawyers re: litigation strategy call (0.1);
                                telephone conference with I. Kharasch, G. Demo,
                                Bermuda counsel (who participated for a part of the
                                call) (0.5); e-mails with J. Seery, J. Pomerantz, I.
                                Kharasch, G. Demo re: deposition dates (0.1);
                                review/revise draft Complaint against Dondero for
                                recovery under demand notes (0.9); e-mail to K.
                                Brown, H. Winograd, J. Pomerantz, I. Kharasch, G.
                                Demo re: revisions to draft Complaint against
                                Dondero for recovery under demand notes (0.2);
                                telephone conference with J. Pomerantz, I.
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                                Kharasch, G. Demo, F. Smith, D. Dandeneau re:
                                Senior Employee issues (0.7); telephone conference
                                with J. Pomerantz, I. Kharasch, G. Demo re:
                                litigation issues (0.5); e-mail to counsel for K&L
                                Gates Clients re: discovery (0.5); e-mail to D.
                                Dandeneau, F. Smith, J. Pomerantz, G. Demo, I.
                                Kharasch re: Firm Phones (0.6); telephone
                                conference with PSZJ and Sidley over litigation,
                                document preservation, and confirmation issues
                                (0.8); telephone conference with J. Pomerantz re:
                                call with Sidley (0.1); e-mails to Sidley, J.
                                Pomerantz, G. Demo, H. Winograd re: complaints
                                for recovery under demand notes (0.3); telephone
                                conference with J. Seery, J. Pomerantz, I. Kharasch,
                                G. Demo re: plan and litigation issues (1.3); e-mails
                                with E. Sonderlund, F. Smith, D. Dandeneau, J.
                                Pomerantz, I. Kharasch, G. Demo re: discovery
                                (0.3); draft e-mail to plan objectors re: confirmation
                                witnesses and discovery (0.3); e-mails with E.
                                Sonderlund, J. Pomerantz, I. Kharasch, G. Demo, F.
                                Smith re: discovery (0.1); revise and send e-mail to
                                plan objectors re: confirmation witnesses and
                                discovery (0.2); e-mails with P. Montgomery, M.
                                Clemente, J. Pomerantz, G. Demo re: deposition
                                schedule (0.1); telephone conference with J.
                                Pomerantz, counsel for UDF re: Dondero tender
                                offer and related matters (0.2); e-mails with J. Seery,
                                D. Rukavina re: Rule 30(b)(6) topics for deposition
                                (0.1).
 01/18/2021   GVD     BL        Conference with Carey Olsen re Bermuda discovery           0.50        950.00         $475.00
                                issues

 01/18/2021   GVD     BL        Conference with Committee re open litigation items         0.80        950.00         $760.00

 01/18/2021   GVD     BL        Prepare for conference with Bermuda counsel                0.10        950.00          $95.00

 01/18/2021   HRW     BL        Draft complaints against Dondero and related               8.30        695.00        $5,768.50
                                entities re: demand notes (7.5); Call with Committee
                                re: litigation strategy (0.8).

 01/19/2021   IDK     BL        Attend conference call with Gov Re reps, J.                0.20       1325.00         $265.00
                                Pomerantz and G Demo, re status and concerns on
                                Gov Re policy (.2).

 01/19/2021   JNP     BL        Conference with J. Seery, John A. Morris, Gregory          0.50       1295.00         $647.50
                                V. Demo and Ira D. Kharasch regarding deposition
                                preparation for J. Seery.

 01/19/2021   JNP     BL        Email to Latham regarding status of Settlement             0.10       1295.00         $129.50
                                Agreement.
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 01/19/2021   BEL     BL        Review documents to be produced to senior                0.60        950.00         $570.00
                                employees.

 01/19/2021   BEL     BL        Emails regarding discovery response.                     0.10        950.00          $95.00

 01/19/2021   BEL     BL        Finalize search terms for response to document           0.50        950.00         $475.00
                                requests.

 01/19/2021   JAM     BL        Analysis of Rule 30(b)(6) topics for Seery               7.90       1245.00        $9,835.50
                                deposition (3.6); telephone conference with J.
                                Pomerantz re: confirmation evidence (0.1); draft
                                Amended Deposition Notice for Seery confirmation
                                deposition and e-mail to Z. Annable re: same (0.1);
                                e-mails with counsel re: logistics for Seery
                                deposition (0.2); draft Deposition Notice for Jason
                                Post and e-mail to Z. Annable re: same (0.3);
                                telephone conference with J. Pomerantz, I.
                                Kharasch, G. Demo, Gov Re representatives re:
                                D&O Issues (0.2); telephone conference with J.
                                Pomerantz re: confirmation evidence (0.1); analysis
                                of confirmation evidence and exhibits (1.6);
                                telephone conference with J. Seery, J. Dubel, J.
                                Pomerantz, I. Kharasch, G. Demo re: confirmation
                                evidence and exculpation (0.5); telephone
                                conference with J. Dubel re: confirmation evidence
                                and exculpation (0.1); telephone conference with J.
                                Seery, J. Pomerantz, G. Demo re: preparation for
                                deposition (0.7); e-mails with L. Canty re:
                                documents/exhibits for deposition and confirmation
                                hearing (0.2); e-mails with counsel for objecting
                                parties re: confirmation witnesses (0.2).

 01/19/2021   CRR     BL        Respond to G Demo re delivery of letter to               0.20        925.00         $185.00
                                registered agent and attention to same with office
                                services;

 01/19/2021   HRW     BL        Draft deposition subpoena and notices for M.             1.70        695.00        $1,181.50
                                Schroth (1.2); Call with J. Morris re: demonstratives
                                for Seery testimony during confirmation hearing
                                (0.2); Review Omnibus Reply to Confirmation
                                Objections (0.3).

 01/20/2021   IDK     BL        Attend part of deposition of CEO by NPA (1.3);           1.40       1325.00        $1,855.00
                                Telephone conference with J. Pomerantz re Dugaboy
                                request for discovery re plan and how to respond
                                (.1).

 01/20/2021   IDK     BL        E-mails with J Morris re his draft letter in response    0.40       1325.00         $530.00
                                to Dondero Trust extensive discovery request re
                                confirmation, including my feedback and others to
                                same for revisions.
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                                                                                        Hours           Rate       Amount

 01/20/2021   JNP     BL        Conference with John A. Morris regarding CLO             0.30       1295.00         $388.50
                                deposition, discovery and related.

 01/20/2021   JNP     BL        Conference with J. Seery regarding CLO deposition        0.10       1295.00         $129.50
                                and related.

 01/20/2021   BEL     BL        Review documents.                                        1.20        950.00        $1,140.00

 01/20/2021   JAM     BL        Prepare for Seery deposition (0.3); telephone            6.30       1245.00        $7,843.50
                                conference with J. Seery re: deposition preparation
                                (0.2); telephone conference with L. Canty re:
                                depositions (0.1); Seery deposition (CLO
                                preliminary injunction) (2.3); telephone conference
                                with J. Seery re: deposition (0.1); telephone
                                conference with J. Pomerantz re: various litigation
                                issues (0.3); e-mail to D. Draper, J. Pomerantz, I.
                                Kharasch, G. Demo re: Dondero Trusts' requests for
                                document (0.5); e-mail to D. Draper re: document
                                requests by Dugaboy and Get Good (0.5); e-mails
                                with D. Rukavina, J. Kane re: deposition exhibits
                                (0.2); telephone conference with J. Seery re: JP
                                Sevilla and discovery (0.1); e-mail to D. Draper, J.
                                Bonds, J. Wilson re: confidentiality and document
                                production (0.3); e-mails with Trial Graphix team re:
                                demonstrative exhibits (0.3); e-mail to D.
                                Dandeneau, F. Smith, J. Pomerantz, G. Demo re:
                                Leventon deposition and related matters (0.3);
                                review documents and prepare for depositions (0.8).

 01/20/2021   LSC     BL        Preparation for Grant Scott deposition.                  1.10        460.00         $506.00

 01/20/2021   GVD     BL        Attend deposition of J. Seery                            2.00        950.00        $1,900.00

 01/21/2021   IDK     BL        Review of numerous correspondence with Dondero           0.20       1325.00         $265.00
                                counsels, J Morris on discovery, meet and confer
                                issues.

 01/21/2021   JNP     BL        Email to and from Robert J. Feinstein regarding          0.10       1295.00         $129.50
                                examiner motion.

 01/21/2021   JNP     BL        Review and respond to email from Bond Ellis              0.20       1295.00         $259.00
                                regarding discovery; Conference with Ira D.
                                Kharasch regarding same.

 01/21/2021   BEL     BL        Review documents.                                        2.20        950.00        $2,090.00

 01/21/2021   BEL     BL        Emails to Gregory V. Demo regarding document             0.20        950.00         $190.00
                                production.

 01/21/2021   BEL     BL        Telephone conference with La Asia Canty regarding        0.20        950.00         $190.00
                                document production issues.
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                                                                                          Hours           Rate        Amount

 01/21/2021   BEL     BL        Review documents.                                          0.20        950.00          $190.00

 01/21/2021   BEL     BL        Telephone conference with John A. Morris and               0.50        950.00          $475.00
                                Stephanie Vitiello regarding discovery request.

 01/21/2021   JAM     BL        E-mails with J. Pomerantz, H. Winograd re:                 9.60       1245.00        $11,952.00
                                Dondero appeal of preliminary injunction (0.1);
                                e-mail to PSZJ Team re: confirmation hearing
                                exhibits (0.1); e-mail to counsel for objectors re:
                                Post deposition (0.1); e-mails with court reporting
                                service re: depositions (0.2); e-mails with L. Canty
                                re: exhibits for Scott deposition (0.2); review/revise
                                demonstrative exhibit for Scott deposition (0.1);
                                prepare for Scott deposition (3.4); telephone
                                conference with F. Smith re: discovery (0.1); e-mails
                                with F. Smith re: discovery (0.1); Scott deposition
                                (3.0); telephone conference with H. Winograd re:
                                litigation projects (0.2); telephone conference with J.
                                Pomerantz re: Scott deposition (0.1); review
                                analyses of Dondero trading (0.2); telephone
                                conference with B. Sharp, J. Romey, G. Demo re:
                                analyses of Dondero trading (0.3); telephone
                                conference with J. Kane re: Scott deposition, CLO
                                Holdco (0.3); telephone conference with G. Demo
                                re: Scott deposition (0.1); telephone conference with
                                S. Vitiello, B. Levine re: document production (0.4);
                                telephone conference with J. Seery re: Scott
                                deposition and litigation update (0.4); telephone
                                conference with J. Pomerantz re: status of various
                                litigation matters (0.1); e-mails with I. Nasatir re:
                                exhibits for insurance matters (0.1).

 01/21/2021   LSC     BL        Additional preparation for and provide assistance at       3.50        460.00         $1,610.00
                                deposition of Grant Scott.

 01/21/2021   GVD     BL        Review transcript from G. Scott deposition                 0.30        950.00          $285.00

 01/21/2021   GVD     BL        Review CLO agreements re termination date                  1.00        950.00          $950.00

 01/21/2021   GVD     BL        Conference with PSZJ team re evidentiary issues            0.50        950.00          $475.00

 01/21/2021   HRW     BL        Call with J. Morris re: opposition to Dondero’s            9.60        695.00         $6,672.00
                                motion for leave to appeal PI (0.1); Research re:
                                opposition to Dondero’s motion for leave to appeal
                                PI (1.5); PSZJ call re: witness & exhibit list (0.5);
                                Draft demonstrative re: Terry-Acis litigation for
                                Seery testimony at confirmation hearing (7.5).

 01/22/2021   CHM     BL        Draft email to R. Feinstein re opposition to examiner      0.50        750.00          $375.00
                                motion.
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 01/22/2021   CHM     BL        Review email from R. Feinstein and reply.                  0.10        750.00           $75.00

 01/22/2021   KHB     BL        Emails with H. Winograd and J. Morris re                   0.20       1225.00          $245.00
                                complaints on promissory notes.

 01/22/2021   RJF     BL        Emails Cia H. Mackle, Jeffrey N. Pomerantz                 0.30       1395.00          $418.50
                                regarding examiner motion.

 01/22/2021   BEL     BL        Emails regarding document production.                      0.50        950.00          $475.00

 01/22/2021   JAM     BL        Review documents concerning AVAYA and SKY                 11.90       1245.00        $14,815.50
                                trading and e-mail to J. Pomerantz, I. Kharasch, G,
                                Demo, B. Sharp, J. Romey re: same (0.3); revise
                                e-mail to Court re: possible adjournment of
                                confirmation and send to Z. Annable, J. Pomerantz,
                                I. Kharasch, G. Demo (0.2); review complaints
                                concerning demand notes and send e-mail to Z.
                                Annable, J. Pomerantz, I. Kharasch, G. Demo, H.
                                Winograd concerning the same (0.2); work on
                                exhibit list for preliminary injunction hearing against
                                K&L Gates Clients and CLO Holdco (0.7); prepare
                                for Post deposition (2.6); e-mail to H. Winograd re:
                                work priorities (0.3); e-mail to H. Winograd, L.
                                Canty re: insurance-related exhibits (0.1); e-mail to
                                H. Winograd, L. Canty re: exhibits from J.
                                Pomerantz list (0.1); revise confirmation witness and
                                exhibit list (0.1); e-mail to J. Pomerantz, I.
                                Kharasch, G. Demo, H. Winograd, L. Canty re:
                                revised confirmation witness and exhibit list (0.1);
                                e-mail to L. Canty re: exhibits for Post deposition
                                (0.3); telephone conference with J. Pomerantz, I.
                                Kharasch, G. Demo, L. Canty re: confirmation
                                exhibits (0.5); Post deposition (3.0); telephone
                                conference with P. Montgomery re: litigation issues
                                (0.1); telephone conference with J. Seery re: Post
                                deposition (0.2); telephone conference with J.
                                Pomerantz, I. Nasatir, M. Tauber re: insurance issues
                                and trial preparation (0.9); telephone conference
                                with J. Pomerantz re: litigation issues (0.1);
                                telephone conference with C. Taylor re: meet and
                                confer on discovery issues (0.2); telephone
                                conference with J. Pomerantz, I. Kharasch, G. Demo
                                re: litigation issues (0.4); review Z. Annable
                                comments to note complaints and cover sheets (0.2);
                                e-mail to Z. Annable re: note complaints and cover
                                sheets (0.1); telephone conference with J. Seery re:
                                note complaints (0.1); review witness and exhibits
                                lists filed by objectors (0.3); telephone conference
                                with J. Pomerantz re: litigation issues (0.2); review
                                court filings (0.5); communications with Z. Annable,
                                L. Canty, H. Winograd re: witness and exhibit lists
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                                                                                          Hours           Rate        Amount
                                (0.1).
 01/22/2021   EAW     BL        Prepare exhibits to declaration in support of 9019         0.20        925.00          $185.00
                                motion (UBS).

 01/22/2021   LSC     BL        Prepare for and assist at deposition of Jason Post.        3.50        460.00         $1,610.00

 01/22/2021   HRW     BL        Prepare Witness & Exhibit List for confirmation            7.10        695.00         $4,934.50
                                hearing (3.9); Draft Opposition to Dondero motion
                                for leave to appeal and for expedited hearing (2.8);
                                PSZJ plan coordination call (0.4).

 01/23/2021   JNP     BL        Conference with Robert J. Feinstein regarding UBS          0.20       1295.00          $259.00
                                Settlement Agreement.

 01/23/2021   JAM     BL        Review filings, including UCC memorandum in               10.20       1245.00        $12,699.00
                                support of confirmation, witness and exhibit lists for
                                confirmation and the preliminary injunction hearing
                                and related matters (1.3); e-mail to counsel for the
                                objecting parties re: Seery deposition (0.2); prepare
                                Grant Scott cross-examination (5.3); e-mails with L.
                                Canty re: exhibits (0.2); e-mails with D. Rukavina, J.
                                Pomerantz re: Seery deposition (0.1); telephone
                                conference with J. Seery re: deposition (0.1); draft
                                Second Amended Deposition Notice for Seery (0.1);
                                e-mail to counsel for all objecting parties adjourning
                                the Seery deposition (0.1); e-mail to Board, PSZJ
                                team re: schedule (0.1); review Seery transcript and
                                prepare direct (1.5); telephone conference with J.
                                Pomerantz, I. Kharasch re: confirmation and
                                preliminary injunction trial issues (0.5); analyze fact
                                issues to support motion for preliminary injunction
                                (0.7).

 01/23/2021   GVD     BL        Review transcript of J. Post deposition                    0.60        950.00          $570.00

 01/23/2021   HRW     BL        Draft Opposition to Dondero motion for leave to            6.00        695.00         $4,170.00
                                appeal and for expedited hearing (6.0).

 01/24/2021   JNP     BL        Conference with J. Dubel regarding UBS.                    0.10       1295.00          $129.50

 01/24/2021   JNP     BL        Conference with J. Kane, Ira D. Kharasch, and John         0.50       1295.00          $647.50
                                A. Morris regarding Preliminary Injunction hearing
                                and Plan Confirmation potential settlement.

 01/24/2021   JNP     BL        Conference with J. Seery and John A. Morris                0.20       1295.00          $259.00
                                regarding potential resolution with CLO Holdco.

 01/24/2021   JNP     BL        Conference with Robert J. Feinstein regarding UBS          0.20       1295.00          $259.00
                                Settlement Agreement.

 01/24/2021   JNP     BL        Review and comment on Robert J. Feinstein                  0.70       1295.00          $906.50
                                mark-up of UBS Settlement Agreement and email
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                                                                                        Hours           Rate       Amount
                                regarding same.
 01/24/2021   JNP     BL        Review and revise CLO Holdco Term Sheet.                 0.50       1295.00         $647.50

 01/24/2021   JMF     BL        Review motion to appoint examiner and status of          0.30       1050.00         $315.00
                                hearing.

 01/24/2021   JAM     BL        E-mails to J. Pomerantz, I. Kharasch, G. Demo, DSI       4.50       1245.00        $5,602.50
                                re: discovery (0.2); review e-mails re: litigation
                                matters (0.3); telephone conference with D. Neier re:
                                JP Sevilla subpoena (0.2); telephone conference with
                                J. Pomerantz, I. Kharasch, G. Demo, DSI re:
                                discovery (0.8); tel c. G. Demo re: litigation issues
                                (0.2); telephone conference with J. Pomerantz, I.
                                Kharasch, J. Kane re: potential settlement with CLO
                                Holdco (0.6); telephone conference with J. Seery, J.
                                Pomerantz re: potential settlement with CLO Holdco
                                (0.2); telephone conference with G. Demo re: CLO
                                Holdco and related matters (0.2); prepare for
                                CLO-related preliminary injunction hearing (1.6);
                                review e-mails re: Dondero appeal of preliminary
                                injunction (0.2).

 01/24/2021   GVD     BL        Conference with PSZJ team re outstanding                 0.80        950.00         $760.00
                                discovery issues

 01/24/2021   GVD     BL        Multiple conferences with J. Morris re outstanding       0.20        950.00         $190.00
                                discovery issues

 01/24/2021   GVD     BL        Conference with J. Romey re open discovery issues        0.10        950.00          $95.00

 01/24/2021   GVD     BL        Review research and draft response re response to        0.60        950.00         $570.00
                                NPA objection to preliminary injunction

 01/24/2021   HRW     BL        Draft Opposition to Dondero motion for leave to          7.50        695.00        $5,212.50
                                appeal and for expedited hearing (7.5).

 01/25/2021   JNP     BL        Conference with Ira D. Kharasch and Gregory V.           0.70       1295.00         $906.50
                                Demo regarding UBS Settlement Agreement.

 01/25/2021   JNP     BL        Brief review of opposition to preliminary injunction     0.20       1295.00         $259.00
                                and reply.

 01/25/2021   JNP     BL        Conference with John A. Morris and Gregory V.            0.10       1295.00         $129.50
                                Demo regarding CLO Holdco settlement.

 01/25/2021   JNP     BL        Review of J. Kane response to CLO Holdco                 0.10       1295.00         $129.50
                                settlement.

 01/25/2021   JNP     BL        Review of UBS Settlement Agreement before Board          0.20       1295.00         $259.00
                                call; Conference with Gregory V. Demo regarding
                                same.
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                                                                                        Hours           Rate        Amount

 01/25/2021   JNP     BL        Conference with Robert J. Feinstein regarding UBS        0.20       1295.00          $259.00
                                Settlement Agreement.

 01/25/2021   JNP     BL        Conference with Ira D. Kharasch, Gregory V. Demo         1.20       1295.00         $1,554.00
                                and John A. Morris regarding CLO Holdco
                                agreement (2x).

 01/25/2021   RJF     BL        Attend board meeting regarding UBS agreement.            0.70       1395.00          $976.50

 01/25/2021   BEL     BL        Draft responses to Dondero discovery requests.           3.20        950.00         $3,040.00

 01/25/2021   JMF     BL        Review CLO Holdco opposition to preliminary              0.30       1050.00          $315.00
                                injunction.

 01/25/2021   JAM     BL        Communications with Z. Annable, J. Pomerantz, I.         9.90       1245.00        $12,325.50
                                Kharasch, G. Demo re: Dondero appeal of
                                preliminary injunction (0.1); review/revise proposed
                                term sheet to settle dispute with CLO Holdco, Ltd.
                                (0.6); e-mails to J. Pomerantz, I. Kharasch, G. Demo
                                re: revised term sheet for CLO Holdco (0.1); prepare
                                for preliminary injunction hearing (6.1) telephone
                                conference with G. Demo re: litigation issues, CLO
                                Holdco (0.2); telephone conference with J.
                                Pomerantz, I. Kharasch, G. Demo re: CLO Holdco
                                term sheet/agreement (0.8); telephone conference
                                with H. Winograd re: Dondero emergency motion
                                for leave to appeal preliminary injunction (0.3);
                                meet and confer with K&L Gates, J. Kane re:
                                preliminary injunction hearing (0.4); telephone
                                conference with J. Pomerantz, I. Kharasch, G. Demo
                                re: CLO Holdco settlement issues (0.3); telephone
                                conference with J. Dondero, Board, counsel for
                                Dondero, counsel for Board re: settlement (0.5);
                                telephone conference with Board, PSZJ team re:
                                CLO Holdco settlement and related matters (partial
                                participation) (0.2); telephone conference with J.
                                Kane re: CLO Holdco settlement (0.1); telephone
                                conference with D. Rukavina re: CLO Holdco
                                settlement and related matters (0.1); telephone
                                conference with J. Seery re: trial preparation (0.1).

 01/25/2021   EAW     BL        Emails from R. Feinstein re: motion to approve           0.10        925.00           $92.50
                                settlement (UBS).

 01/25/2021   LSC     BL        Preparation of amended exhibit and witness list and      4.50        460.00         $2,070.00
                                additional exhibits (including redacted exhibits) for
                                January 26, 2021 hearing and correspondence with
                                attorneys regarding the same (3.9); confer and
                                correspond with financial advisor and attorneys
                                regarding the same (.6).
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 01/25/2021   GVD     BL        Conference with PSZJ working group re additional        0.40        950.00          $380.00
                                changes to CLO Holdco settlement

 01/25/2021   GVD     BL        Conference with PSZJ working group re CLO               0.80        950.00          $760.00
                                Holdco settlement

 01/25/2021   GVD     BL        Review CLO Management Agreements re                     1.10        950.00         $1,045.00
                                termination

 01/25/2021   GVD     BL        Conference with J. Morris re open bankruptcy issues     0.20        950.00          $190.00

 01/25/2021   GVD     BL        Multiple conferences with J. Kane re CLO Holdco         0.30        950.00          $285.00
                                settlement

 01/25/2021   GVD     BL        Draft response to NPA objection to preliminary          4.20        950.00         $3,990.00
                                injunction and file same

 01/25/2021   GVD     BL        Review and revise settlement with CLO Holdco            2.30        950.00         $2,185.00

 01/25/2021   GVD     BL        Review discovery issues                                 1.00        950.00          $950.00

 01/25/2021   GVD     BL        Conference with Board re UBS settlement                 0.70        950.00          $665.00

 01/25/2021   HRW     BL        Draft Opposition to Dondero motion for leave to         8.60        695.00         $5,977.00
                                appeal and for expedited hearing (7.0);
                                Communicate with DSI re: confirmation witness &
                                exhibit list redactions (0.3); Review redacted
                                exhibits for amended W&E list filing (0.4); Review
                                and edit motion to redact and proposed order
                                regarding W&I list for confirmation hearing (0.5);
                                Draft notice of settlement with CLO Holdco (0.4).

 01/26/2021   JNP     BL        Participate in KERP and CLO Preliminary                 7.30       1295.00         $9,453.50
                                Injunction hearing.

 01/26/2021   JNP     BL        Conference with John A. Morris regarding hearing.       0.10       1295.00          $129.50

 01/26/2021   BEL     BL        Draft responses to Nextpoint document request.          2.70        950.00         $2,565.00

 01/26/2021   JAM     BL        Prepare Dondero cross (5.8); draft Notice of           16.60       1245.00        $20,667.00
                                Agreement (0.4); communications with L. Canty re:
                                trial exhibits (0.2); telephone conference with G.
                                Demo re: Notice of Settlement and related matters
                                (0.1); prepare opening statement (1.5); trial
                                (morning session) (2.2); telephone conference with
                                J. Pomerantz, I. Kharasch, G. Demo re: morning
                                session hearing (0.2); prepare for afternoon session
                                (0.3): telephone conference with J. Seery re: trial
                                (0.1); trial (afternoon session) (5.3); telephone
                                conference with J. Seery, G. Demo re: court hearing
                                (0.1); telephone conference with Board, J.
                                Pomerantz, G. Demo re: court hearing, next steps
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                                                                                        Hours           Rate       Amount
                                (0.4).
 01/26/2021   EAW     BL        Revise motion to approve settlement and supporting       2.70        925.00        $2,497.50
                                declaration (UBS).

 01/26/2021   EAW     BL        Research re: ordinary course transactions and            0.90        925.00         $832.50
                                subsidiary settlement agreements (UBS).

 01/26/2021   LSC     BL        Prepare for and assist at preliminary injunction         9.20        460.00        $4,232.00
                                hearing (8.4); prepare and transmit document
                                productions and correspondence regarding the same
                                (.8).

 01/26/2021   GVD     BL        Conference with J. Morris re preparation for hearing     0.10        950.00          $95.00

 01/26/2021   GVD     BL        Prepare for hearing on preliminary injunction            0.20        950.00         $190.00

 01/26/2021   GVD     BL        Attend hearing re NPA preliminary injunction             6.80        950.00        $6,460.00

 01/26/2021   GVD     BL        Review and finalize CLO Holdco settlement                0.40        950.00         $380.00

 01/26/2021   HRW     BL        Draft and prepare opposition and ancillary papers for   13.50        695.00        $9,382.50
                                opposition to Dondero motion for leave to appeal
                                and for expedited hearing (6.5); K&L Gates
                                Preliminary Injunction Hearing (7.0).

 01/27/2021   CHM     BL        Email J. Pomerantz and J. Fried re examiner motion.      0.30        750.00         $225.00

 01/27/2021   CHM     BL        Telephone conference with J. Fried re examiner           0.10        750.00          $75.00
                                motion and timing.

 01/27/2021   JNP     BL        Conference with J. Dubel before and after call with      0.10       1295.00         $129.50
                                Latham regarding UBS.

 01/27/2021   JNP     BL        Conference with John A. Morris regarding meet and        0.10       1295.00         $129.50
                                confer with D. Draper and email regarding same.

 01/27/2021   JNP     BL        Conference with John A. Morris regarding discovery       0.20       1295.00         $259.00
                                issues and related and opposition to Dondero district
                                court motion on preliminary injunction.

 01/27/2021   JNP     BL        Conference with J. Dubel, J. Seery, Latham, Robert       1.30       1295.00        $1,683.50
                                J. Feinstein and Gregory V. Demo regarding UBS
                                Settlement Agreement.

 01/27/2021   JNP     BL        Review emergency motion to continue contempt             0.10       1295.00         $129.50
                                motion.

 01/27/2021   JNP     BL        Review and respond to emails regarding Dondero           0.10       1295.00         $129.50
                                request to continue contempt hearing.

 01/27/2021   JNP     BL        Emails internally regarding examiner motion.             0.10       1295.00         $129.50

 01/27/2021   JNP     BL        Conference with Ira D. Kharasch, Gregory V. Demo         0.40       1295.00         $518.00
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                                                                                       Hours           Rate        Amount
                                and John A. Morris regarding employees, Plan and
                                UBS (partial).
 01/27/2021   JNP     BL        Conference with J. Seery regarding UBS settlement,      0.30       1295.00          $388.50
                                Plan hearing, contempt and related issues.

 01/27/2021   JNP     BL        Email to and from D. Draper regarding hearing on        0.10       1295.00          $129.50
                                examiner motion.

 01/27/2021   JNP     BL        Conference with Gregory V. Demo regarding CLO           0.10       1295.00          $129.50
                                litigation and potential settlement.

 01/27/2021   JNP     BL        Review opposition regarding Dondero preliminary         0.20       1295.00          $259.00
                                injunction appeal.

 01/27/2021   MAM     BL        Telephone call with John A. Morris regarding time       0.10        425.00           $42.50
                                extraction project.

 01/27/2021   RJF     BL        Internal emails regarding examiner response.            0.20       1395.00          $279.00

 01/27/2021   BEL     BL        Email Stephanie Vitiello regarding draft responses      0.10        950.00           $95.00
                                to Nexpoint discovery requests.

 01/27/2021   BEL     BL        Review Dondero discovery requests.                      0.40        950.00          $380.00

 01/27/2021   BEL     BL        Telephone conference with John A. Morris                0.20        950.00          $190.00
                                regarding discovery issues.

 01/27/2021   JAM     BL        Draft e-mail to Funds' counsel re: Waterhouse           8.80       1245.00        $10,956.00
                                deposition (0.1); communications with B. Levine re:
                                confirmation discovery (0.3); revise draft e-mail to
                                Gov Re re: documents (0.3); review/revise
                                opposition to Dondero emergency appeal of
                                preliminary injunction (2.7); draft Leventon
                                deposition notice (0.2); e-mail to objecting parties
                                re: Leventon deposition (0.2); telephone conference
                                with H. Winograd re: opposition to Dondero
                                emergency appeal of preliminary injunction (0.1);
                                telephone conference with M Matteo re: analysis of
                                expenses incurred addressing Dondero misconduct
                                (0.1); e-mail to M. Matteo, J. Pomerantz, I.
                                Kharasch, G. Demo, H. Winograd, M. Hayward re:
                                analysis of expenses incurred addressing Dondero
                                misconduct (0.5); e-mail with court reporter re:
                                Leventon deposition (0.1); telephone conference
                                with L. Hogewood re: Funds and PI motion (0.2);
                                e-mail to Board, J. Pomerantz, I. Kharasch, G. Demo
                                re: Funds and PI motion (0.1); telephone conference
                                with J. Pomerantz re: Waterhouse deposition (0.1);
                                telephone conference with J. Seery re: call with
                                Hogewood concerning Funds and PI motion (0.1);
                                telephone conference with J. Pomerantz re: call with
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                                                                                        Hours           Rate       Amount
                                Hogewood, Funds, and the PI motion (0.1); revise
                                e-mail to Funds' counsel re: Waterhouse deposition
                                (0.1); telephone conference with J. Pomerantz re:
                                various litigation matters (0.2); e-mails with D.
                                Rukavina, J. Pomerantz, G. Demo, others re:
                                Waterhouse deposition (0.3); reviewing Winograd
                                declaration in support of opposition to Dondero
                                emergency appeal of preliminary injunction (0.2);
                                prepare for Leventon deposition (0.6); review
                                revisions to opposition papers to Dondero
                                emergency appeal of preliminary injunction (0.2);
                                review e-mails among H. Winograd, Z. Annable, K.
                                Brown, L. Canty re: finalizing and filing opposition
                                to Dondero emergency appeal of preliminary
                                injunction (0.5); video meeting with J. Pomerantz, I.
                                Kharasch, G. Demo, DSI re: liquidation analysis
                                (1.0); telephone conference with J. Pomerantz, I.
                                Kharasch, G. Demo re: Gov Re and litigation issues
                                (0.5).
 01/27/2021   LSC     BL        Preparation of appendix in connection with               1.10        460.00         $506.00
                                opposition filed in Dondero appeal and
                                correspondence regarding the same.

 01/27/2021   GVD     BL        Conference re potential insurance litigation issues      0.50        950.00         $475.00

 01/27/2021   GVD     BL        Conference with J. Romey re discovery issues             0.30        950.00         $285.00

 01/27/2021   GVD     BL        Correspondence with B. Assink re potential               0.30        950.00         $285.00
                                adjournment of contempt motion

 01/27/2021   GVD     BL        Draft response to Dondero objection to assumption        0.40        950.00         $380.00
                                of contracts

 01/27/2021   GVD     BL        Analyze open discovery issues                            0.10        950.00          $95.00

 01/27/2021   HRW     BL        PSZJ call re: Gov Re (0.5); PSZJ WIP Call (1.0);         8.40        695.00        $5,838.00
                                Draft and prepare opposition and ancillary papers for
                                opposition to Dondero motion for leave to appeal
                                and for expedited hearing (6.5); Draft Notice of
                                Hearing for Dondero Contempt Motion (0.3);
                                Review Dondero motion for continuance of
                                contempt hearing (0.1).

 01/28/2021   JNP     BL        Conference with Ira D. Kharasch regarding CLO            0.10       1295.00         $129.50
                                potential settlement terms.

 01/28/2021   JNP     BL        Review and respond to emails regarding potential         0.10       1295.00         $129.50
                                CLO settlement terms.

 01/28/2021   JNP     BL        Review email from H. Winograd regarding Dondero          0.10       1295.00         $129.50
                                District Court motion regarding preliminary
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                                                                                       Hours           Rate        Amount
                                injunction.
 01/28/2021   JNP     BL        Conference with J. Dubel regarding UBS and              0.30       1295.00          $388.50
                                related.

 01/28/2021   JNP     BL        Email to J. Bjork regarding UBS settlement status.      0.20       1295.00          $259.00

 01/28/2021   MAM     BL        Review time sheets and extract instructed entries       6.20        425.00         $2,635.00
                                into five specific "buckets" for John A. Morris.

 01/28/2021   BEL     BL        Draft responses to discovery request.                   3.60        950.00         $3,420.00

 01/28/2021   JMF     BL        Review complaints and background re notes               1.10       1050.00         $1,155.00
                                receivables re HCMS, HCRE, and HCMFA.

 01/28/2021   JAM     BL        Prepare for Seery deposition (0.4); draft opposition   11.60       1245.00        $14,442.00
                                to Dondero motion for continuance (1.7); telephone
                                conference with J. Kathman re: Daugherty
                                settlement (0.2); telephone conference with J. Seery
                                re: deposition (0.1); Seery deposition (5.0);
                                telephone conference with J. Seery re: deposition
                                (0.3); e-mails with Z. Annable, H. Winograd, L.
                                Canty re: amended exhibit list (0.3); telephone
                                conference with J. Pomerantz, I. Kharasch re: Seery
                                deposition (0.5); telephone conference with B.
                                Levine re: document production (0.1); review
                                Ellington and Leventon deposition notices and
                                e-mails with Z. Annable, H. Winograd concerning
                                the same (0.1); review stipulation dismissing
                                Daugherty adversary proceeding and e-mails with Z.
                                Annable, H. Winograd concerning the same (0.1);
                                prepare for confirmation hearing (0.6); telephone
                                conference with G. Demo re: funds' transition and
                                related issues (0.2); telephone conference with J.
                                Pomerantz, I. Kharasch, G. Demo, J. Fried re:
                                confirmation preparation and analysis (0.8);
                                telephone conference with M. Hartmann re:
                                Waterhouse (0.1); telephone conference with D.
                                Rukavina re: Waterhouse, confirmation evidence
                                (0.1).

 01/28/2021   GVD     BL        Attend to issues re discovery                           0.90        950.00          $855.00

 01/28/2021   GVD     BL        Conference with J. Morris re discovery issues           0.30        950.00          $285.00

 01/28/2021   GVD     BL        Conference with T. Surgent and J. Morris re             0.50        950.00          $475.00
                                discovery issues

 01/28/2021   GVD     BL        Conference re preparation of J. Seery for deposition    2.00        950.00         $1,900.00

 01/28/2021   GVD     BL        Draft response to Dondero objection to contract         0.60        950.00          $570.00
                                assumption
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                                                                                         Hours           Rate        Amount

 01/28/2021   HRW     BL        Review Dondero’s reply in support of motion for           6.30        695.00         $4,378.50
                                leave to appeal (1.8); Draft demonstratives re:
                                Highland litigation (2.5); Communicate with DSI re:
                                redactions on org chart and legal entities list (0.6);
                                Review redactions on org chart and legal entities list
                                (0.5); Review Dondero’s requests for production
                                (0.9).

 01/29/2021   MAM     BL        Revise time entries project for John A. Morris            1.90        425.00          $807.50
                                regarding 2021 rate increases.

 01/29/2021   BEL     BL        Telephone conference with S. Vitiello regarding           0.80        950.00          $760.00
                                discovery responses and draft notes regarding same.

 01/29/2021   BEL     BL        Draft discovery responses.                                3.30        950.00         $3,135.00

 01/29/2021   JMF     BL        Review motion and opposition re continuation of           0.40       1050.00          $420.00
                                preliminary injunction.

 01/29/2021   JAM     BL        Prepare for Seery deposition (0.4); draft opposition     10.60       1245.00        $13,197.00
                                to Dondero motion for continuance (1.7); telephone
                                conference with J. Kathman re: Daugherty
                                settlement (0.2); telephone conference with J. Seery
                                re: deposition (0.1); Seery deposition (5.0);
                                telephone conference with J. Seery re: deposition
                                (0.3); e-mails with Z. Annable, H. Winograd, L.
                                Canty re: amended exhibit list (0.3); telephone
                                conference with J. Pomerantz, I. Kharasch re: Seery
                                deposition (0.5); telephone conference with B.
                                Levine re: document production (0.1); review
                                Ellington and Leventon deposition notices and
                                e-mails with Z. Annable, H. Winograd concerning
                                the same (0.1); review stipulation dismissing
                                Daugherty adversary proceeding and e-mails with Z.
                                Annable, H. Winograd concerning the same (0.1);
                                prepare for confirmation hearing (0.6); telephone
                                conference with G. Demo re: funds’ transition and
                                related issues (0.2); telephone conference with J.
                                Pomerantz, I. Kharasch, G. Demo, J. Fried re:
                                confirmation preparation and analysis (0.8);
                                telephone conference with M. Hartmann re:
                                Waterhouse (0.1); telephone conference with D.
                                Rukavina re: Waterhouse, confirmation evidence
                                (0.1).

 01/29/2021   LSC     BL        Retrieval and preparation of additional responsive        2.90        460.00         $1,334.00
                                documents for production and correspondence
                                regarding the same.

 01/29/2021   GVD     BL        Conference with J. Morris re litigation issues            0.20        950.00          $190.00
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 01/29/2021   GVD     BL        Attend Seery deposition (in part)                         0.50        950.00          $475.00

 01/29/2021   HRW     BL        Draft demonstratives re: Highland litigation (1.9);       6.60        695.00         $4,587.00
                                Review and edit w&e list for confirmation hearing
                                (0.5); Prepare notice of depositions for
                                Ellington/Leventon (0.9); Prepare notice of
                                withdrawal re: Daugherty adversary proceeding
                                (1.3); Call with DSI re: redacting exhibits for
                                confirmation hearing (0.5); Review redactions on
                                org chart and legal entities chart (1.5).

 01/30/2021   CMC     BL        Attend to email production in response to document        1.00        395.00          $395.00
                                request

 01/30/2021   JAM     BL        Review/revise written responses to Dondero's              8.10       1245.00        $10,084.50
                                discovery requests (2.2); e-mail to J. Pomerantz, I.
                                Kharasch, G. Demo, H. Winograd, L. Canty, DSI re:
                                written responses to Dondero's discovery requests
                                (0.3); create and revise demonstrative exhibits (0.7);
                                telephone conference with G. Demo, T. Silva, DSI
                                re: funds transition and litigation issues (0.7);
                                telephone conference with J. Seery re: deposition,
                                trial preparation (0.3); telephone conference with J.
                                Pomerantz, I. Kharasch, G. Demo re analysis of
                                issues of confirmation/J. Pomerantz presentation
                                (1.8); prepare for confirmation (1.8); telephone
                                conference with G. Demo, H. Winograd re: projects
                                for Dondero contempt hearing (0.3).

 01/30/2021   LSC     BL        Assist with review, research, and retrieval of            6.90        460.00         $3,174.00
                                responsive documents in connection with contempt
                                hearing.

 01/30/2021   LSC     BL        Continued assistance with review, research, and           6.70        460.00         $3,082.00
                                retrieval of responsive documents in connection with
                                contempt hearing.

 01/30/2021   GVD     BL        Conference with J. Morris re litigation strategy          0.10        950.00           $95.00

 01/30/2021   GVD     BL        Conference with H. Winograd and J. Morris re              0.30        950.00          $285.00
                                discovery issues

 01/30/2021   HRW     BL        Call with J. Morris and G. Demo re: document              1.70        695.00         $1,181.50
                                review and production (0.2); Draft demonstratives
                                re: Highland litigation for confirmation hearing
                                (1.5).

 01/31/2021   JAM     BL        Prepare direct examination for J. Seery (4.8);            5.20       1245.00         $6,474.00
                                telephone conference with J. Pomerantz re: Seery
                                testimony (0.1); e-mails with H. Winograd, L. Canty
                                re: document review for Dondero contempt hearing
                                (0.1); telephone conference with G. Demo re:
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                                                                                          Hours            Rate       Amount
                                litigation issues (0.1); telephone conference with J.
                                Pomerantz re: evidence, testimony of Aon
                                representative (0.1).
 01/31/2021   HRW     BL        Review documents for Dondero production (5.8)             11.20         695.00        $7,784.00
                                Review documents for contempt motion (3.9) Draft
                                demonstratives re: Highland litigation for
                                confirmation hearing (1.5)

                                                                                          887.50                  $849,637.50

  Case Administration [B110]
 12/29/2020   IDK     CA        Review of updated WIP list for upcoming call (.1);          1.50       1145.00        $1,717.50
                                Attend internal WIP call on primary open issues in
                                case, plan, litigation, other (.8); Review and consider
                                DSI updated transition tracking list for upcoming
                                WIP call (.2); Attend DSI WIP call on related issues
                                (.4).

 01/02/2021   GVD     CA        Attend to issues re scheduling                              0.20        950.00         $190.00

 01/03/2021   GVD     CA        Conference with J. Seery re open items and next             0.40        950.00         $380.00
                                steps

 01/04/2021   KKY     CA        Review and revise critical dates                            0.50        460.00         $230.00

 01/04/2021   KKY     CA        Draft 1/16/21 agenda                                        1.70        460.00         $782.00

 01/04/2021   BMK     CA        Prepared daily memo narrative and coordinated               0.10        375.00          $37.50
                                client distribution.

 01/04/2021   GVD     CA        Multiple conferences with J. Seery re open items and        0.80        950.00         $760.00
                                next steps

 01/04/2021   GVD     CA        Conference with J. Pomerantz re open items and              0.10        950.00          $95.00
                                next steps

 01/04/2021   GVD     CA        Multiple conferences with J. Romey re open items            0.30        950.00         $285.00
                                and next steps

 01/04/2021   GVD     CA        Conference with J. Pomerantz re open plan issues            0.10        950.00          $95.00

 01/05/2021   SLP     CA        Maintain document control (2) receive multiple              2.90        375.00        $1,087.50
                                documents to organize (2.7)

 01/05/2021   SLP     CA        Maintain document control.                                  0.20        375.00          $75.00

 01/05/2021   KSN     CA        Maintain document control.                                  0.20        375.00          $75.00

 01/05/2021   BMK     CA        Prepared daily memo narrative and coordinated               0.30        375.00         $112.50
                                client distribution.
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                                                                                         Hours           Rate       Amount

 01/05/2021   GVD     CA        Daily status conference with J. Romey re open items       0.30        950.00         $285.00
                                and next steps

 01/06/2021   IDK     CA        Attend WIP call on numerous issues and                    1.40       1325.00        $1,855.00
                                confirmation objection (.9); Attend part of DSI WIP
                                call re various issues (.5).

 01/06/2021   JNP     CA        Participate in weekly PSZJ DSI WIP call.                  0.50       1295.00         $647.50

 01/06/2021   JNP     CA        Participate in weekly PSZJ WIP call.                      0.90       1295.00        $1,165.50

 01/06/2021   SLP     CA        Maintain document control.                                0.90        375.00         $337.50

 01/06/2021   JMF     CA        Telephone call with J.N. Pomerantz, J. O'Neill, I.        0.90       1050.00         $945.00
                                Kharasch re pending case issues and confirmation
                                issues (.5); telephone call with B. Sharp, J. Donahue,
                                I. Kharasch, J. O'Neill, J.N. Pomerantz re
                                confirmation and contract issues (.4).

 01/06/2021   JAM     CA        Internal WIP call (J. Pomerantz, I. Kharasch, G.          0.90       1245.00        $1,120.50
                                Demo, J. Fried, J. O’Neill) re: litigation matters and
                                confirmation (0.9).

 01/06/2021   GVD     CA        Multiple conferences with J. Seery re status of case      0.50        950.00         $475.00
                                and next steps

 01/06/2021   GVD     CA        Attend WIP call                                           0.90        950.00         $855.00

 01/06/2021   GVD     CA        Attend DSI/PSZJ WIP Call                                  0.50        950.00         $475.00

 01/06/2021   HRW     CA        Highland WIP call (0.9).                                  0.90        695.00         $625.50

 01/07/2021   KKY     CA        Review and revise 2002 service list                       0.20        460.00          $92.00

 01/07/2021   KKY     CA        Review and revise critical dates                          0.30        460.00         $138.00

 01/07/2021   SLP     CA        Maintain document control (2) receive multiple            1.40        375.00         $525.00
                                documents to organize (1.2)

 01/07/2021   SLP     CA        Maintain document control.                                0.20        375.00          $75.00

 01/07/2021   BMK     CA        Prepared daily memo narrative and coordinated             0.10        375.00          $37.50
                                client distribution.

 01/07/2021   GVD     CA        Multiple conferences with J. Seery re open items          0.50        950.00         $475.00

 01/07/2021   GVD     CA        Conference with J. Romey open items and next steps        0.30        950.00         $285.00

 01/08/2021   JEO     CA        Review and arrange for filing of monthly operating        0.30       1050.00         $315.00
                                report

 01/08/2021   SLP     CA        Maintain document control                                 0.20        375.00          $75.00
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 01/08/2021   SLP     CA        Maintain document control (2) receive multiple           1.90        375.00         $712.50
                                documents to organize (1.7)

 01/08/2021   BMK     CA        Prepared daily memo narrative and coordinated            2.00        375.00         $750.00
                                client distribution.

 01/09/2021   JAM     CA        Internal WIP call (J. Pomerantz, I. Kharasch, J.         1.60       1245.00        $1,992.00
                                Fried, G. Demo) (partial participation) (1.6).

 01/09/2021   GVD     CA        Attend to issues re scheduling calls                     0.20        950.00         $190.00

 01/11/2021   KKY     CA        Review and revise critical dates                         0.70        460.00         $322.00

 01/11/2021   MFC     CA        Call with J. Donohue regarding service list issues.      0.10       1095.00         $109.50

 01/11/2021   SLP     CA        Maintain document control (2) receive multiple           2.00        375.00         $750.00
                                documents to organize (2.8)

 01/11/2021   SLP     CA        Maintain document control.                               0.60        375.00         $225.00

 01/11/2021   BMK     CA        Prepared daily memo narrative and coordinated            0.60        375.00         $225.00
                                client distribution.

 01/11/2021   GVD     CA        Conference with J. Romey re open items and next          0.30        950.00         $285.00
                                steps

 01/11/2021   GVD     CA        Conference with J. Pomerantz re open items and           0.10        950.00          $95.00
                                next steps

 01/12/2021   IDK     CA        Review of updated WIP list (.1); Attend internal         0.50       1325.00         $662.50
                                WIP call (.4).

 01/12/2021   KKY     CA        Review and revise critical dates                         4.30        460.00        $1,978.00

 01/12/2021   SLP     CA        Maintain document control (2) receive multiple           2.90        375.00        $1,087.50
                                documents to organize (2.7)

 01/12/2021   SLP     CA        Maintain document control.                               0.20        375.00          $75.00

 01/12/2021   JMF     CA        Draft memorandum re pending case issues and plan         0.90       1050.00         $945.00
                                confirmation issues (.5); telephone call with G.
                                Demo, J. O'Neill, I. Kharasch re same (.4).

 01/12/2021   KSN     CA        Maintain document control.                               0.20        375.00          $75.00

 01/12/2021   JAM     CA        Internal WIP call (I. Kharasch, G. Demo, J. Fried, J.    0.20       1245.00         $249.00
                                O’Neill) (abbreviated) (0.2).

 01/12/2021   BMK     CA        Prepared daily memo narrative and coordinated            0.10        375.00          $37.50
                                client distribution.

 01/12/2021   GVD     CA        Attend WIP call                                          0.40        950.00         $380.00
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 01/12/2021   GVD     CA        Conference with J. Pomerantz re open issues and         0.10        950.00          $95.00
                                next steps

 01/12/2021   GVD     CA        Daily status conference with J. Romey re open items     0.30        950.00         $285.00
                                and next steps

 01/12/2021   GVD     CA        Multiple conferences with J. Seery re open items and    0.50        950.00         $475.00
                                next steps

 01/13/2021   SLP     CA        Maintain document control.                              0.20        375.00          $75.00

 01/13/2021   SLP     CA        Maintain document control (2) receive multiple          6.20        375.00        $2,325.00
                                documents to organize (6.0)

 01/13/2021   KSN     CA        Maintain document control.                              0.10        375.00          $37.50

 01/13/2021   GVD     CA        Multiple conferences with J. Seery re open items and    0.80        950.00         $760.00
                                next steps

 01/14/2021   MFC     CA        Emails with local counsel and KCC regarding filing      0.20       1095.00         $219.00
                                and service of third notice of assumed contracts.

 01/14/2021   SLP     CA        Maintain document control.                              0.20        375.00          $75.00

 01/14/2021   SLP     CA        Maintain document control (2) receive multiple          5.30        375.00        $1,987.50
                                documents to organize (4.8) enter documents into
                                legal key ( .3)

 01/14/2021   KSN     CA        Maintain document control.                              0.20        375.00          $75.00

 01/14/2021   BMK     CA        Prepared daily memo narrative and coordinated           0.10        375.00          $37.50
                                client distribution.

 01/14/2021   GVD     CA        Conference with J. Pomerantz re open issues and         0.20        950.00         $190.00
                                next steps

 01/14/2021   GVD     CA        Multiple conferences with J. Seery re open items and    0.40        950.00         $380.00
                                next steps

 01/15/2021   KKY     CA        Review and revise 2002 service list                     0.20        460.00          $92.00

 01/15/2021   MFC     CA        Call with KCC regarding service issues.                 0.20       1095.00         $219.00

 01/15/2021   SLP     CA        Maintain document control (2) receive multiple          4.80        375.00        $1,800.00
                                documents to organize (4.6)

 01/15/2021   SLP     CA        Maintain document control.                              0.20        375.00          $75.00

 01/15/2021   BMK     CA        Prepared daily memo narrative and coordinated           1.00        375.00         $375.00
                                client distribution.

 01/15/2021   GVD     CA        Conference with J. Romey re open items and next         0.20        950.00         $190.00
                                steps
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 01/15/2021   GVD     CA        Multiple conferences with J. Seery re open items and    0.50        950.00        $475.00
                                next steps

 01/15/2021   GVD     CA        Multiple conferences with J. Pomerantz re open          0.20        950.00        $190.00
                                issues

 01/16/2021   GVD     CA        Conference with J. Seery re open issues and next        0.20        950.00        $190.00
                                steps

 01/17/2021   GVD     CA        Multiple conferences with J. Seery re open items and    0.50        950.00        $475.00
                                next steps

 01/18/2021   JMF     CA        Draft updated memorandum of pending matters and         0.30       1050.00        $315.00
                                case issue.

 01/18/2021   GVD     CA        Daily status conference with J. Romey                   0.30        950.00        $285.00

 01/18/2021   GVD     CA        Review open issues list and next steps                  0.30        950.00        $285.00

 01/18/2021   GVD     CA        Multiple conference with J. Seery re open items and     0.60        950.00        $570.00
                                next steps

 01/19/2021   SLP     CA        Maintain document control.                              0.20        375.00         $75.00

 01/19/2021   SLP     CA        Maintain document control (2) receive multiple          1.90        375.00        $712.50
                                documents to organize (1.7)

 01/19/2021   SLP     CA        Maintain document control.                              0.20        375.00         $75.00

 01/19/2021   KSN     CA        Maintain document control.                              0.20        375.00         $75.00

 01/19/2021   BMK     CA        Prepared daily memo narrative and coordinated           0.60        375.00        $225.00
                                client distribution.

 01/20/2021   SLP     CA        Maintain document control (2) receive multiple          1.80        375.00        $675.00
                                documents to organize (1.6) Maintain document
                                control.

 01/20/2021   SLP     CA        Maintain document control.                              0.20        375.00         $75.00

 01/20/2021   KSN     CA        Maintain document control.                              0.30        375.00        $112.50

 01/20/2021   BMK     CA        Prepared daily memo narrative and coordinated           0.30        375.00        $112.50
                                client distribution.

 01/20/2021   GVD     CA        Conference with J. Pomerantz re open issues and         0.20        950.00        $190.00
                                next steps

 01/20/2021   GVD     CA        Status conference with J. Romey re open items and       0.10        950.00         $95.00
                                next steps

 01/21/2021   KKY     CA        Review and revise critical dates                        0.30        460.00        $138.00
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 01/21/2021   MFC     CA        EMails to/from local counsel and KCC regarding            0.30       1095.00         $328.50
                                filing and service of Notice of Withdrawal.

 01/21/2021   SLP     CA        Maintain document control.                                0.20        375.00          $75.00

 01/21/2021   SLP     CA        Maintain document control (2) receive multiple            2.50        375.00         $937.50
                                documents to organize (2.3)

 01/21/2021   BMK     CA        Prepared daily memo narrative and coordinated             0.10        375.00          $37.50
                                client distribution.

 01/21/2021   GVD     CA        Conference with J. Seery re open items                    0.20        950.00         $190.00

 01/21/2021   GVD     CA        Daily status conference with J. Romey re open             0.30        950.00         $285.00
                                issues

 01/22/2021   SLP     CA        Maintain document control (2) receive multiple            1.90        375.00         $712.50
                                documents to organize (1.7)

 01/22/2021   SLP     CA        Maintain document control.                                0.20        375.00          $75.00

 01/22/2021   BMK     CA        Prepared daily memo narrative and coordinated             0.20        375.00          $75.00
                                client distribution.

 01/22/2021   GVD     CA        Multiple conferences with J. Seery re open issues         0.20        950.00         $190.00
                                and next steps

 01/24/2021   JMF     CA        Update task list re confirmation and pending              0.80       1050.00         $840.00
                                litigation issues.

 01/25/2021   KKY     CA        Draft (.1) and prepare for filing (.1) certificate of     0.20        460.00          $92.00
                                service for letter dated 1/19/21 to PCMG Trading
                                from Seery re Highland Select Equity Fund, L.P.

 01/25/2021   MFC     CA        EMails to/from local counsel and KCC regarding            0.20       1095.00         $219.00
                                filing and service of 4th notice of assumed contracts.

 01/25/2021   SLP     CA        Maintain document control.                                0.90        375.00         $337.50

 01/25/2021   BMK     CA        Prepared daily memo narrative and coordinated             1.50        375.00         $562.50
                                client distribution.

 01/26/2021   KKY     CA        Review and revise critical dates                          4.70        460.00        $2,162.00

 01/26/2021   MFC     CA        EMails to/from local counsel and KCC regarding            0.20       1095.00         $219.00
                                filing and service issues,

 01/26/2021   SLP     CA        Maintain document control.                                0.20        375.00          $75.00

 01/26/2021   SLP     CA        Maintain document control (2) receive multiple            5.60        375.00        $2,100.00
                                documents to organize (5.4)

 01/26/2021   KSN     CA        Maintain document control.                                0.20        375.00          $75.00
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 01/26/2021   BMK     CA        Prepared daily memo narrative and coordinated           0.80        375.00         $300.00
                                client distribution.

 01/27/2021   JNP     CA        Participate on weekly WIP call with PSZJ.               1.00       1295.00        $1,295.00

 01/27/2021   KKY     CA        Review and revise critical dates                        0.70        460.00         $322.00

 01/27/2021   MFC     CA        EMails to local counsel and KCC regarding filing        0.10       1095.00         $109.50
                                and service of 4th Notice.

 01/27/2021   SLP     CA        Maintain document control.                              0.20        375.00          $75.00

 01/27/2021   SLP     CA        Maintain document control (2) receive multiple          2.90        375.00        $1,087.50
                                documents to organize (2.7)

 01/27/2021   JMF     CA        Draft memorandum of pending case issues and             1.50       1050.00        $1,575.00
                                pending motions (1.1); telephone call (partial) with
                                I. Kharasch, J.N. Pomerantz, G. Demo re re same
                                (.4).

 01/27/2021   KSN     CA        Maintain document control.                              0.30        375.00         $112.50

 01/27/2021   JAM     CA        Internal WIP call (J. Pomerantz, I. Kharasch, J.        1.00       1245.00        $1,245.00
                                Fried, J. O’Neill, G. Demo) (1.0).

 01/27/2021   BMK     CA        Prepared daily memo narrative and coordinated           0.10        375.00          $37.50
                                client distribution.

 01/27/2021   GVD     CA        Attend WIP Call                                         1.00        950.00         $950.00

 01/27/2021   GVD     CA        Conference with J. Donohue re open issues and next      0.20        950.00         $190.00
                                steps

 01/28/2021   KKY     CA        Review and revise 2002 service list                     0.20        460.00          $92.00

 01/28/2021   KKY     CA        Review and revise critical dates                        0.10        460.00          $46.00

 01/28/2021   MFC     CA        Emails to/from local counsel and KCC regarding 5th      0.20       1095.00         $219.00
                                notice to be filed and served.

 01/28/2021   KSN     CA        Maintain document control.                              0.30        375.00         $112.50

 01/28/2021   BMK     CA        Prepared daily memo narrative and coordinated           0.70        375.00         $262.50
                                client distribution.

 01/29/2021   SLP     CA        Maintain document control.                              0.20        375.00          $75.00

 01/29/2021   SLP     CA        Maintain document control (2) receive multiple          1.90        375.00         $712.50
                                documents to organize (1.7)

 01/29/2021   BMK     CA        Prepared daily memo narrative and coordinated           0.10        375.00          $37.50
                                client distribution.
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 01/29/2021   GVD     CA        Conference with J. Romey re open issues                  0.10        950.00           $95.00

 01/29/2021   GVD     CA        Conference with J. Seery re status of open items         0.10        950.00           $95.00

 01/31/2021   GVD     CA        Conference with J. Seery re open items and next          0.20        950.00          $190.00
                                steps

                                                                                       106.30                      $61,808.50

  Claims Admin/Objections[B310]
 12/15/2020   JJK     CO        Emails Glazer, Demo on HCLOM note issues.                0.40        895.00          $358.00

 12/16/2020   JJK     CO        Consider HCLOM note issues per Glazer email.             0.20        895.00          $179.00

 12/16/2020   JJK     CO        Review HCLOM note issues and emails Glazer on            0.80        895.00          $716.00
                                same.

 12/17/2020   JJK     CO        Review Demo email on HCLOM note issues.                  0.10        895.00           $89.50

 12/18/2020   JJK     CO        Review HCLOM note issues per Glazer.                     0.90        895.00          $805.50

 12/20/2020   RJF     CO        Telephone conference with Jeffrey N. Pomerantz           0.30       1245.00          $373.50
                                regarding UBS claim.

 12/21/2020   JJK     CO        Conf. Kharasch, Glazer on HCLOM note matters.            0.60        895.00          $537.00

 12/21/2020   JJK     CO        EMails DSI, Glazer on HCLOM note issues.                 0.20        895.00          $179.00

 12/21/2020   RJF     CO        Emails and telephone conference with Jeffrey N.          0.40       1245.00          $498.00
                                Pomerantz regarding UBS claim, Dondero issues.

 12/23/2020   JNP     CO        Conference with Gregory V. Demo regarding                0.10       1075.00          $107.50
                                changes to Harbourvest Agreement.

 12/23/2020   RJF     CO        Call with Jeffrey N. Pomerantz, IDK regarding UBS        0.50       1245.00          $622.50
                                next steps.

 12/23/2020   RJF     CO        Research and draft letter to Clubok.                     1.30       1245.00         $1,618.50

 12/23/2020   RJF     CO        Factural research for letter to UBS.                     0.80       1245.00          $996.00

 12/23/2020   RJF     CO        Revise letter to Clubok and related emails.              3.00       1245.00         $3,735.00

 12/23/2020   RJF     CO        Finalize Clubok letter and discovery reports.            0.80       1245.00          $996.00

 12/29/2020   IDK     CO        Review and consider potential defense of Multi-Strat     0.80       1145.00          $916.00
                                to UBS fraudulent conveyance claim (.3); E-mails
                                with R Saunders re need for memo on narrow issue
                                on UBS claims vs Multi Strat and defenses (.3);
                                Review briefly extensive summary memo to Board
                                on key UBS issues for settlement discussions (.2).
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 12/29/2020   IDK     CO        E-mail to CEO re IFA claim and need for further        0.10       1145.00        $114.50
                                information/feedback

 12/29/2020   IDK     CO        Review of correspondence with Daugherty, Board, J      0.10       1145.00        $114.50
                                Morris on discovery.

 12/29/2020   IDK     CO        E-mails with CEO and Ellington re IFA status (.1).     0.10       1145.00        $114.50

 12/30/2020   IDK     CO        E-mails with Board re senior employees’ new            0.20       1145.00        $229.00
                                counsel alleging new claims vs Debtor.

 12/31/2020   IDK     CO        E-mails with CEO re IFA status and need for S.         0.70       1145.00        $801.50
                                Ellington update on Vegas related litigation, and
                                later re summary of call with S. Ellington (.3);
                                E-mails and telephone conferences with S. Ellington
                                re same (.4).

 01/01/2021   GVD     CO        Conference with Debevoise and J. Morris re status      0.30        950.00        $285.00
                                of HarbourVest 9019

 01/01/2021   GVD     CO        Correspondence with J. Seery re status of              0.30        950.00        $285.00
                                HarbourVest settlement

 01/01/2021   GVD     CO        Revise and circulate stipulation re potential          0.90        950.00        $855.00
                                settlement of CLO issuers objections

 01/01/2021   GVD     CO        Schedule call with HarbourVest                         0.10        950.00         $95.00

 01/02/2021   IDK     CO        E-mails with G Demo re status on UBS negotiations      0.30       1325.00        $397.50
                                and CEO feedback, and list of open items re same to
                                CEO (.2); E-mails with R. Feinstein and J.
                                Pomerantz re fraudulent conveyance research and
                                UBS and potential settlement (.1).

 01/02/2021   JNP     CO        Email to employees counsel in response to letter.      0.10       1295.00        $129.50

 01/02/2021   EAW     CO        Review emails from R. Feinstein and J. Pomerantz       0.10        925.00         $92.50
                                re: MultiStrat claim analysis.

 01/03/2021   IDK     CO        Review briefly R Saunders memo on fraudulent           0.20       1325.00        $265.00
                                conveyance liability re UBS (.2); E-mails with J
                                Morris, others on UBS settlement communications
                                and next steps (.2).

 01/03/2021   JNP     CO        Conference with R. Patel, B. Shaw, John A. Morris      0.50       1295.00        $647.50
                                and Gregory V. Demo regarding Harbourvest
                                settlement, discovery and related issues.

 01/03/2021   JNP     CO        Conference with Debevoise, Gregory V. Demo and         0.30       1295.00        $388.50
                                John A. Morris regarding Harbourvest settlement.

 01/03/2021   GVD     CO        Conference re HarbourVest settlement discovery         0.50        950.00        $475.00
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 01/03/2021   GVD     CO        Conference with HarbourVest re settlement issues     0.30        950.00         $285.00

 01/04/2021   IDK     CO        Review of final memo by R Saunders on UBS            0.20       1325.00         $265.00
                                fraudulent conveyance defenses (.2).

 01/04/2021   JNP     CO        Email to Gregory V. Demo regarding forms             0.10       1295.00         $129.50
                                regarding UBS 9019/ 363 motion.

 01/04/2021   JNP     CO        Review proposed changes to Harbourvest release.      0.10       1295.00         $129.50

 01/04/2021   JNP     CO        Conference with King and Spalding, Debevoise,        0.60       1295.00         $777.00
                                Wilmer Hale, Carey Olsen, Gregory V. Demo and J.
                                Seery regarding Harbourvest settlement.

 01/04/2021   JNP     CO        Conference with King Spalding, Wilmer Hale,          0.40       1295.00         $518.00
                                Carey Olson, Gregory V. Demo and John A. Morris
                                regarding Harbourvest settlement.

 01/04/2021   JEO     CO        Emails with DSI re Stinson claim                     0.40       1050.00         $420.00

 01/04/2021   RJF     CO        Telephone conferences with Jeffrey N. Pomerantz      0.30       1395.00         $418.50
                                regarding UBS.

 01/04/2021   JAM     CO        Telephone conference with J. Pomerantz, G. Demo,     1.10       1245.00        $1,369.50
                                T. Silva, M. Maloney, others re:
                                HarbourVest/HCLOF issues (0.5); follow-up call
                                with J. Pomerantz, G. Demo, T. Silva, M. Maloney,
                                others re: HarbourVest/HCLOF issues (0.3);
                                telephone conference with A. Clubok re: UBS
                                settlement issues (0.3).

 01/04/2021   GVD     CO        Correspondence with R. Patel re treatment of Acis    0.20        950.00         $190.00
                                claim under plan

 01/04/2021   GVD     CO        Conference with HCLOF re open issues re transfer     0.40        950.00         $380.00
                                of interests

 01/04/2021   GVD     CO        Attend to follow up items re HCLOF conference        0.10        950.00          $95.00

 01/04/2021   GVD     CO        Correspondence with R. Feinstein re precedent for    0.20        950.00         $190.00
                                claim settlement

 01/04/2021   GVD     CO        Conference with HarbourVest and HCLOF re             0.60        950.00         $570.00
                                settlement of HarbourVest claim

 01/05/2021   IDK     CO        E-mail to RJF re his memo on his draft settlement    0.20       1325.00         $265.00
                                agreement with UBS and related issues (.2).

 01/05/2021   RJF     CO        Create first draft of UBS settlement agreement,      5.00       1395.00        $6,975.00
                                related internal emails.

 01/05/2021   RJF     CO        Review Jeffrey N. Pomerantz comments to draft        0.30       1395.00         $418.50
                                UBS settlement agreement, related emails.
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 01/05/2021   GVD     CO        Conference with counsel to issuers re potential        0.30        950.00         $285.00
                                settlement

 01/06/2021   IDK     CO        Review briefly numerous E-mails with re draft of       0.20       1325.00         $265.00
                                UBS settlement agreement (.2).

 01/06/2021   JNP     CO        Review opposition to Harbourvest settlement.           0.20       1295.00         $259.00

 01/06/2021   RJF     CO        Review and revise UBS settlement agreement.            1.00       1395.00        $1,395.00

 01/06/2021   RJF     CO        Email to BOD with UBS draft.                           0.20       1395.00         $279.00

 01/06/2021   RJF     CO        Telephone conferences with Jeffrey N. Pomerantz,       1.00       1395.00        $1,395.00
                                Gregory V. Demo, Ira D. Kharasch regarding UBS
                                settlement agreement.

 01/06/2021   RJF     CO        Further review of revised UBS settlement               0.30       1395.00         $418.50
                                agreement.

 01/06/2021   GVD     CO        Revise and circulate UBS settlement agreement          0.80        950.00         $760.00

 01/06/2021   GVD     CO        Multiple calls with PSZJ team re UBS settlement        1.00        950.00         $950.00

 01/07/2021   IDK     CO        Attend conference call with Board re UBS               1.20       1325.00        $1,590.00
                                settlement status/agreement and potential
                                confirmation continuance (1.1); Review of
                                correspondence with UBS re its request for
                                “statement” at hearing (.1).

 01/07/2021   JNP     CO        Participate on call with Board on UBS and related      1.10       1295.00        $1,424.50
                                issues.

 01/07/2021   KKY     CO        Dispatch letter to registered agent of Highland        0.10        460.00          $46.00
                                Capital Management Services, Inc. re letter re
                                demand on promissory note

 01/07/2021   RJF     CO        Review further revisions to UBS settlement, related    0.30       1395.00         $418.50
                                emails.

 01/07/2021   RJF     CO        Call with BOD regarding UBS settlement                 1.10       1395.00        $1,534.50
                                agreement.

 01/07/2021   GVD     CO        Board meeting re settlement agreement review           1.10        950.00        $1,045.00

 01/07/2021   GVD     CO        Revise and circulate draft UBS settlement agreement    0.40        950.00         $380.00

 01/07/2021   GVD     CO        Conference with counsel to the CLOs re potential       0.50        950.00         $475.00
                                resolution of claims

 01/07/2021   GVD     CO        Multiple conferences with M. Maloney re HCLOF          0.50        950.00         $475.00
                                issues

 01/07/2021   GVD     CO        Review WilmerHale documents re HCLOF transfer          0.30        950.00         $285.00
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 01/07/2021   GVD     CO        Conference with A. Anderson re CLO assumption            0.20        950.00         $190.00
                                issues

 01/08/2021   IDK     CO        Review and consider Senior Employee’s counsels           0.20       1325.00         $265.00
                                extensive memo on their further administrative and
                                other claims (.2).

 01/08/2021   KKY     CO        Draft (.1) and prepare for filing (.1) certificate of    0.20        460.00          $92.00
                                service for letter to registered agent of Highland
                                Capital Management Services, Inc. re letter re
                                demand on promissory note

 01/08/2021   RJF     CO        Telephone conference with Wagner regarding UBS           0.50       1395.00         $697.50
                                settlement, 9019 motion.

 01/09/2021   IDK     CO        E-mails re just filed objections to HarbourVest          0.30       1325.00         $397.50
                                settlement, including brief review of same

 01/09/2021   JNP     CO        Review objections to Harbourvest settlement.             0.30       1295.00         $388.50

 01/09/2021   GVD     CO        Conference with PSZJ/Debevoise re settlement             0.60        950.00         $570.00
                                issues

 01/10/2021   GVD     CO        Review emails re discovery requests from J. Kane         0.20        950.00         $190.00

 01/10/2021   GVD     CO        Review objections to HarbourVest settlement and          1.80        950.00        $1,710.00
                                draft outline re same

 01/11/2021   IDK     CO        E-mails with J. Pomerantz, G Demo re UBS                 0.10       1325.00         $132.50
                                settlement (.1).

 01/11/2021   IDK     CO        E-mails with G Demo, J. Pomerantz re draft of            0.30       1325.00         $397.50
                                response to objections to Harbourvest settlement and
                                issues re same for changes (.3).

 01/11/2021   JNP     CO        Review reply relating to Harbourvest objection.          0.20       1295.00         $259.00

 01/11/2021   JNP     CO        Emails regarding Stinson claim.                          0.10       1295.00         $129.50

 01/11/2021   JMF     CO        Telephone call with J. Donahue re claims issues (.3);    1.10       1050.00        $1,155.00
                                review analysis re same (.8).

 01/11/2021   JMF     CO        Review Stinson agreement and emails re same.             0.30       1050.00         $315.00

 01/11/2021   GVD     CO        Conference with WilmerHale re documents needed           0.50        950.00         $475.00
                                for HarbourVest settlement

 01/11/2021   GVD     CO        Draft response to HarbourVest settlement objections      4.80        950.00        $4,560.00

 01/11/2021   GVD     CO        Conference with J. Morris re status of HarbourVest       0.10        950.00          $95.00
                                settlement

 01/11/2021   GVD     CO        Conference with HarbourVest re open issues re            0.30        950.00         $285.00
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                                                                                      Hours           Rate       Amount
                                settlement
 01/12/2021   IDK     CO        Prep of memo to J O’Neill re need for immediate        0.40       1325.00         $530.00
                                claims objections vs 18 employees in Class 8 and
                                basis for same, including review of prior order
                                approving claims procedure for such employees (.3);
                                E-mails with J O’Neill and K Dine re same (.1).

 01/12/2021   IDK     CO        E-mails with attorneys re revisions to HarbourVest     0.20       1325.00         $265.00
                                reply brief and preliminary statement (.2).

 01/12/2021   IDK     CO        Review and consider correspondence from Senior         0.40       1325.00         $530.00
                                Employees re their alleged pre and post-petition
                                indemnification claims, and demands for extending
                                insurance and reserves (.2); E-mails with CEO,
                                others re same (.2).

 01/12/2021   JNP     CO        Review outline of Harbourvest 9019 argument.           0.20       1295.00         $259.00

 01/12/2021   JNP     CO        Review reply regarding Harbourvest.                    0.40       1295.00         $518.00

 01/12/2021   JNP     CO        Review portions of Pugatch deposition in connection    0.20       1295.00         $259.00
                                with Harbourvest settlement.

 01/12/2021   JEO     CO        Revise stipulation modifying Stinson claim             0.80       1050.00         $840.00

 01/12/2021   RJF     CO        Review and comment on draft 9019 motion.               0.50       1395.00         $697.50

 01/12/2021   GVD     CO        Conference with J. Morris re HarbourVest               0.20        950.00         $190.00
                                settlement and next steps

 01/12/2021   GVD     CO        Review direct examination re HarbourVest               0.20        950.00         $190.00
                                settlement

 01/12/2021   GVD     CO        Review transcript from deposition of M. Pugatsch       0.90        950.00         $855.00

 01/12/2021   GVD     CO        Review research materials re HarbourVest claim         0.40        950.00         $380.00

 01/12/2021   GVD     CO        Review HarbourVest transactional documents             0.60        950.00         $570.00

 01/12/2021   GVD     CO        Conference with counsel to the CLO issuers             0.30        950.00         $285.00

 01/12/2021   GVD     CO        Conference with counsel to CLO Issuers re              0.20        950.00         $190.00
                                settlement issues

 01/12/2021   GVD     CO        Revise HarbourVest omnibus response                    4.30        950.00        $4,085.00

 01/13/2021   IDK     CO        Review of numerous correspondence with                 0.60       1325.00         $795.00
                                HarbourVest, others on our draft reply brief,
                                including review of same and my feedback (.4);
                                E-mails with G Demo re his draft of oral argument
                                outline on CLO Holdco objection to HarbourVest
                                (.2).
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                                                                                        Hours           Rate       Amount

 01/13/2021   IDK     CO        E-mails with Board, J. Pomerantz re UBS delay in         0.30       1325.00         $397.50
                                getting us response to draft settlement agreement, as
                                well as our draft motion to approve (.3).

 01/13/2021   JNP     CO        Conference with James E. O'Neill regarding Stinson       0.10       1295.00         $129.50
                                claim.

 01/13/2021   JNP     CO        Conference with Gregory V. Demo regarding                0.10       1295.00         $129.50
                                Harbourvest reply.

 01/13/2021   JNP     CO        Conference with Gregory V. Demo regarding                0.50       1295.00         $647.50
                                preparation for hearing with Harbourvest.

 01/13/2021   JNP     CO        Review Harbourvest reply regarding brief.                0.10       1295.00         $129.50

 01/13/2021   JNP     CO        Emails with Gregory V. Demo regarding reply              0.10       1295.00         $129.50
                                regarding Harbourvest.

 01/13/2021   JNP     CO        Conference with Ira D. Kharasch regarding Stinson        0.10       1295.00         $129.50
                                claim.

 01/13/2021   JNP     CO        Review Gregory V. Demo comments for hearing              0.30       1295.00         $388.50
                                and review CLO Holdco opposition.

 01/13/2021   JNP     CO        Participate on call regarding Harbourvest with           0.20       1295.00         $259.00
                                Debevoise, Gregory V. Demo and John A. Morris.

 01/13/2021   KKY     CO        Draft 3rd omnibus objection to claims (substantive)      0.50        460.00         $230.00

 01/13/2021   JEO     CO        Email correspondence with Paul Hoffman to                0.50       1050.00         $525.00
                                negotiate resolution of Stinson claim

 01/13/2021   RJF     CO        Review revised 9019 motion.                              0.30       1395.00         $418.50

 01/13/2021   GVD     CO        Attend to issues re HarbourVest settlement               4.90        950.00        $4,655.00

 01/13/2021   GVD     CO        Review motion to seal HarbourVest exhibits               0.20        950.00         $190.00

 01/13/2021   GVD     CO        Conference with J. Pomerantz re preparation for          0.50        950.00         $475.00
                                HarbourVest hearing

 01/14/2021   JNP     CO        Conference with Gregory V. Demo in advance of            0.10       1295.00         $129.50
                                Harbourvest hearing.

 01/14/2021   JNP     CO        Participate in Harbourvest hearing.                      4.90       1295.00        $6,345.50

 01/14/2021   JNP     CO        Conference with John A. Morris in advance of             0.10       1295.00         $129.50
                                Harbourvest hearing.

 01/14/2021   JEO     CO        drafting third omnibus objection to claims -             3.20       1050.00        $3,360.00
                                employee bonus claims

 01/14/2021   JEO     CO        Finalize stipulation resolving Stinson claim             0.90       1050.00         $945.00
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                                                                                       Hours           Rate       Amount

 01/14/2021   JMF     CO        Review draft claims objections (.8) and Stinson         1.10       1050.00        $1,155.00
                                stipulation (.3).

 01/14/2021   GVD     CO        Attend hearing on HarbourVest settlement                4.60        950.00        $4,370.00

 01/14/2021   GVD     CO        Prepare for hearing on HarbourVest settlement           1.80        950.00        $1,710.00

 01/14/2021   GVD     CO        Attend to issues re filing of DLA Piper stipulation     0.20        950.00         $190.00

 01/15/2021   JNP     CO        Conference with J. Dubel regarding UBS and related      0.20       1295.00         $259.00
                                matters.

 01/15/2021   GVD     CO        Review draft HarbourVest 9019 order                     0.50        950.00         $475.00

 01/15/2021   GVD     CO        Conference with CLO issuers re resolution of claim      0.30        950.00         $285.00

 01/15/2021   GVD     CO        Revise and circulate insert to confirmation order re    0.20        950.00         $190.00
                                CLO issuers

 01/16/2021   JNP     CO        Emails regarding status of Daugherty negotiations.      0.10       1295.00         $129.50

 01/17/2021   JNP     CO        Review and respond to emails regarding Daugherty        0.10       1295.00         $129.50
                                settlement.

 01/17/2021   JAM     CO        E-mails with J. Seery, counsel to Patrick Daugherty,    0.20       1245.00         $249.00
                                J. Pomerantz, I. Kharasch, G. Demo, H. Winograd
                                re: settlement in principal with Daugherty (0.2).

 01/17/2021   GVD     CO        Review and provide comments on UBS 9019                 0.50        950.00         $475.00

 01/17/2021   GVD     CO        Correspondence re potential settlement with CLO         0.20        950.00         $190.00
                                issuers

 01/18/2021   IDK     CO        Review of CEO correspondence re new Senior              0.10       1325.00         $132.50
                                Employee stipulation with Surgent/Waterhouse (.1).

 01/18/2021   IDK     CO        E-mail counsel to Senior Employees on their             0.20       1325.00         $265.00
                                asserted indemnification claims, and missing
                                docs/E-mails with to their prior letter (.2).

 01/18/2021   GVD     CO        Attend to issues re HarbourVest settlement              0.20        950.00         $190.00

 01/18/2021   GVD     CO        Follow up to conference with counsel to the Senior      0.50        950.00         $475.00
                                Employees

 01/19/2021   HDH     CO        Review prior correspondence and respond regarding       0.20       1095.00         $219.00
                                HCM LLP question

 01/19/2021   IDK     CO        E-mails with J. Pomerantz re his correspondence         0.10       1325.00         $132.50
                                with UBS, Board on settlement document status (.1).

 01/19/2021   IDK     CO        Review briefly numerous correspondence with CEO,        0.20       1325.00         $265.00
                                K Dine, others on modifications to new Senior
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                                                                                     Hours           Rate       Amount
                                Employee stipulation re claims, voting (.2).
 01/19/2021   RJF     CO        Emails Jeffrey N. Pomerantz regarding UBS status.     0.10       1395.00         $139.50

 01/19/2021   GVD     CO        Conference with J. Donohue re CLO expenses            0.10        950.00          $95.00

 01/19/2021   GVD     CO        Attend to filing of HarbourVest order                 0.40        950.00         $380.00

 01/19/2021   GVD     CO        Conference with A. Anderson re CLO issuer             0.20        950.00         $190.00
                                settlement

 01/20/2021   IDK     CO        Review of correspondence with Senior Employee         0.60       1325.00         $795.00
                                counsel, J. Pomerantz, Board on ongoing settlement
                                negotiations (.2); Review of numerous
                                correspondence with UCC, K Dine, G Demo on
                                UCC feedback to draft of new Senior Employee
                                Stipulation on claims, as well as with CEO re same
                                and modifications (.4).

 01/20/2021   GVD     CO        Conference with D. Neier re employee issues           0.30        950.00         $285.00

 01/20/2021   GVD     CO        Conference with Debevoise re Charlotte Investors      0.30        950.00         $285.00
                                claim

 01/20/2021   GVD     CO        Correspondence with Debevoise re Charlotte            0.20        950.00         $190.00
                                Investors Claim

 01/21/2021   IDK     CO        E-mails with G Demo, K Dine on finalized new          0.20       1325.00         $265.00
                                Senior Employee stipulation (.2).

 01/21/2021   GVD     CO        Revise and circulate plan insert re CLO agreements    0.60        950.00         $570.00

 01/22/2021   RJF     CO        Initial review of UBS markup of settlement            0.30       1395.00         $418.50
                                agreement.

 01/24/2021   RJF     CO        Telephone conference with Jeffrey N. Pomerantz        0.30       1395.00         $418.50
                                regarding settlement agreement.

 01/24/2021   RJF     CO        Review and revise settlement agreement after          0.80       1395.00        $1,116.00
                                Latham markup.

 01/24/2021   JMF     CO        Review administrative expense request by NexPoint     0.30       1050.00         $315.00
                                entities.

 01/24/2021   GVD     CO        Conference with counsel to CLOs re open issues re     0.20        950.00         $190.00
                                settlement

 01/25/2021   RJF     CO        Revise settlement agreement.                          0.40       1395.00         $558.00

 01/25/2021   RJF     CO        Review further revised draft.                         0.50       1395.00         $697.50

 01/25/2021   RJF     CO        Email to Clubok with further draft.                   0.10       1395.00         $139.50

 01/25/2021   RJF     CO        Telephone conference with Jeffrey N. Pomerantz        0.10       1395.00         $139.50
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                                                                                            Hours            Rate       Amount
                                regarding settlement agreement.
 01/25/2021   JMF     CO        Review status pending claims objections re final              0.30       1050.00         $315.00
                                hearings to resolve.

 01/25/2021   GVD     CO        Conference with PSZJ group re UBS settlement                  0.70        950.00         $665.00

 01/25/2021   GVD     CO        Revise UBS settlement agreement                               1.50        950.00        $1,425.00

 01/26/2021   RJF     CO        Emails Jeffrey N. Pomerantz regarding UBS                     0.30       1395.00         $418.50
                                settlement agreement, 9019 motion.

 01/26/2021   RJF     CO        Review and revise UBS 9019 motion.                            1.50       1395.00        $2,092.50

 01/26/2021   GVD     CO        Review revisions to UBS settlement agreement                  0.40        950.00         $380.00

 01/27/2021   RJF     CO        Prepare for call with UBS.                                    0.30       1395.00         $418.50

 01/27/2021   RJF     CO        Call with UBS counsel regarding settlement                    1.30       1395.00        $1,813.50
                                agreement.

 01/27/2021   GVD     CO        Attend call re revisions to UBS settlement                    1.30        950.00        $1,235.00
                                agreement

 01/27/2021   GVD     CO        Conference with Charltotte Investors re claims                0.70        950.00         $665.00
                                resolution

 01/27/2021   GVD     CO        Review status of HCLOF transfer                               0.20        950.00         $190.00

                                                                                            104.90                  $116,868.50

  Compensation Prof. [B160]
 01/03/2021   JMF     CP        Review November fee statement and CNO re same.                0.30       1050.00         $315.00

 01/04/2021   KKY     CP        File (.1) and prepare for filing (.1) certification of no     0.20        460.00          $92.00
                                objection re 14th fee app of PSZJ for November
                                2020

 01/04/2021   KKY     CP        Review and revise fee chart                                   0.10        460.00          $46.00

 01/05/2021   KKY     CP        Draft (.1) certification of no objection re 3rd interim       0.20        460.00          $92.00
                                fee app of PSZJ for 8/1/20-11/30/20; and prepare
                                (.1) order re same

 01/07/2021   JNP     CP        Start reviewing December bill.                                0.30       1295.00         $388.50

 01/09/2021   JNP     CP        Review December bill.                                         0.70       1295.00         $906.50

 01/10/2021   JNP     CP        Conference with Joshua M. Fried regarding                     0.10       1295.00         $129.50
                                December fee statement.

 01/11/2021   JNP     CP        Emails to and from Steven W. Golden regarding rate            0.10       1295.00         $129.50
                                increases.
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                                                                                          Hours            Rate       Amount

 01/11/2021   PJJ     CP        Draft notice of rate increase.                             0.20         460.00          $92.00

 01/11/2021   JMF     CP        Review PSZJ statement and draft notice re rate             0.40        1050.00         $420.00
                                changes.

 01/13/2021   JNP     CP        Email to Board regarding PSZJ 2021 rates.                  0.10        1295.00         $129.50

 01/14/2021   PJJ     CP        Draft December fee application.                            1.50         460.00         $690.00

 01/14/2021   JMF     CP        Review invoice and draft January PSZJ Fee                  2.10        1050.00        $2,205.00
                                Application.

 01/15/2021   PJJ     CP        File notice of rate increase.                              0.20         460.00          $92.00

 01/16/2021   JNP     CP        Review December 2020 fee statement and email to            0.20        1295.00         $259.00
                                J. Seery regarding same.

 01/16/2021   JMF     CP        Draft PSZJ fee application for December.                   1.10        1050.00        $1,155.00

 01/19/2021   PJJ     CP        File monthly fee statement.                                0.20         460.00          $92.00

                                                                                            8.00                      $7,233.50

  Comp. of Prof./Others
 01/04/2021   JNP     CPO       Review DLA Piper supplemental declaration.                 0.10        1295.00         $129.50

 01/04/2021   JMF     CPO       Review and comment re DLA retention issues.                0.40        1050.00         $420.00

 01/04/2021   GVD     CPO       Review issues re DLA Piper invoices                        0.20         950.00         $190.00

 01/05/2021   KKY     CPO       Draft (.1) certification of no objection re 3rd interim    0.20         460.00          $92.00
                                fee app of Hunton for 7/1/20-10/31/20; and prepare
                                (.1) order re same

 01/05/2021   KKY     CPO       Draft certification of no objection re 3rd interim fee     0.10         460.00          $46.00
                                app of Wilmer for 7/1/20-11/30/20

 01/05/2021   JMF     CPO       Review fee application (.3) and multiple emails and        0.60        1050.00         $630.00
                                agenda re CNOs and cancellation of hearing (.3).

 01/05/2021   GVD     CPO       Correspondence with DSI re OCP invoices                    0.20         950.00         $190.00

 01/06/2021   JNP     CPO       Review and respond to email from H. Oneill                 0.10        1295.00         $129.50
                                regarding final fees.

 01/06/2021   KKY     CPO       Respond (.1) to email from James E. O'Neill re             0.20         460.00          $92.00
                                Wilmer Hale fee order; and prepare (.1) attachment
                                to same

 01/06/2021   JMF     CPO       Review Carey emails re invoices and email Chandra          0.30        1050.00         $315.00
                                Solomon re response to same.
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                                                                                     Hours            Rate       Amount

 01/08/2021   JEO     CPO       Review and arrange for filing of OCP report           0.40        1050.00         $420.00

 01/11/2021   KKY     CPO       Review and revise fee chart                           0.20         460.00          $92.00

 01/11/2021   GVD     CPO       Review presentation re potential retention plan       0.10         950.00          $95.00

 01/13/2021   JEO     CPO       Review issues regarding Deloitte's retention and      0.70        1050.00         $735.00
                                compensation

 01/26/2021   KKY     CPO       Review and revise fee chart                           0.30         460.00         $138.00

 01/27/2021   GVD     CPO       Review DSI invoice for confidentiality                0.80         950.00         $760.00

 01/29/2021   KKY     CPO       Serve (.1) and prepare for filing and service (.2)    0.30         460.00         $138.00
                                monthly staffing report of DSI for November 2020

 01/29/2021   KKY     CPO       Serve (.1) and prepare for filing and service (.2)    0.30         460.00         $138.00
                                monthly staffing report of DSI for December 2020

                                                                                       5.50                      $4,750.00

  Employee Benefit/Pension-B220
 12/30/2020   IDK     EB        E-mails with attorneys re CEO desire to consider      0.20        1145.00         $229.00
                                KERP/bonus program and issues re same (.2).

 12/31/2020   KBD     EB        Revise memorandum on employee benefits issue.         2.20        1075.00        $2,365.00

 12/31/2020   KBD     EB        Review letter from counsel to employees.              0.20        1075.00         $215.00

 01/03/2021   IDK     EB        Review of extensive memo from J Fried re analysis     0.20        1325.00         $265.00
                                of employee new alleged claims.

 01/03/2021   JMF     EB        Draft memo re employee claims.                        1.20        1050.00        $1,260.00

 01/04/2021   JNP     EB        Conference with Wilmer Hale, Gregory V. Demo          0.50        1295.00         $647.50
                                and J. Seery regarding employee issues.

 01/04/2021   JNP     EB        Conference with J. Dubel regarding employee           0.20        1295.00         $259.00
                                issues.

 01/04/2021   JNP     EB        Conference with Gregory V. Demo regarding             0.20        1295.00         $259.00
                                employee claims and votes on Plan.

 01/04/2021   JMF     EB        Review letter, transcript of hearing and draft        1.60        1050.00        $1,680.00
                                summary re employee bonus payments.

 01/04/2021   GVD     EB        Conference with WilmerHale re employee issues         0.80         950.00         $760.00

 01/04/2021   GVD     EB        Conference with WilmerHale, J. Seery, and J.          0.50         950.00         $475.00
                                Pomerantz re employee issues

 01/04/2021   KBD     EB        Review and revise memorandum regarding                0.50        1195.00         $597.50
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                                                                                      Hours           Rate       Amount
                                employee issues.
 01/05/2021   IDK     EB        Review briefly numerous correspondence with            0.50       1325.00         $662.50
                                Wilmer Hale and G Demo on drafts of notices of
                                termination of Leventon and Ellington, and related
                                issues (.3); Review of further emails with Wilmer
                                Hale re termination and positions taken by Leventon
                                on age discrimination, other (.2).

 01/05/2021   JNP     EB        Conference with J. Dubel regarding employee            0.10       1295.00         $129.50
                                terminations.

 01/05/2021   JNP     EB        Conference with Board, Gregory V. Demo, Ira D.         1.00       1295.00        $1,295.00
                                Kharasch and John A. Morris regarding employee
                                terminations and related issues.

 01/05/2021   JNP     EB        Review memo regarding Leventon termination.            0.10       1295.00         $129.50

 01/05/2021   JNP     EB        Review memo regarding Ellington termination.           0.10       1295.00         $129.50

 01/05/2021   JNP     EB        Review and respond to emails from Wilmer Hale          0.10       1295.00         $129.50
                                regarding Leventon termination.

 01/05/2021   JMF     EB        Telephone call with J. Donahue and A. Stauber re       0.60       1050.00         $630.00
                                post confirmation employment issues.

 01/05/2021   KBD     EB        Review and respond to correspondence relating to       0.30       1195.00         $358.50
                                employee claims.

 01/06/2021   IDK     EB        E-mails with K Dine re issues on employee              0.20       1325.00         $265.00
                                termination claims and need for assistance (.2).

 01/06/2021   JNP     EB        Review termination letters to employees.               0.10       1295.00         $129.50

 01/08/2021   MFC     EB        Email to DSI regarding employment contract             0.20       1095.00         $219.00
                                analysis.

 01/08/2021   MFC     EB        Research regarding employment contract issues.         1.00       1095.00        $1,095.00

 01/08/2021   MFC     EB        Emails regarding employment contract issues,           0.20       1095.00         $219.00

 01/08/2021   GVD     EB        Conference with WilmerHale, PSZJ, and J. Seery re      0.30        950.00         $285.00
                                employee compensation issues

 01/08/2021   KBD     EB        Review correspondence regarding employee bonus         0.20       1195.00         $239.00
                                matters.

 01/08/2021   KBD     EB        Call with Gregory Demo,J. Seery, and A. Stauber,       0.30       1195.00         $358.50
                                regarding bonus matters.

 01/09/2021   KBD     EB        Review and prepare comments to employment              0.40       1195.00         $478.00
                                agreements.

 01/10/2021   IDK     EB        E-mails with K Dine and G Demo on need for             0.20       1325.00         $265.00
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                                                                                       Hours           Rate       Amount
                                motion to approve bonuses and background (.2).
 01/10/2021   JNP     EB        Review emails regarding termination of bonus Plan       0.20       1295.00         $259.00
                                and new retention Plan.

 01/10/2021   GVD     EB        Review notices re potential severance agreements        0.40        950.00         $380.00

 01/10/2021   KBD     EB        Review and prepare comments to employment               0.40       1195.00         $478.00
                                agreements.

 01/10/2021   KBD     EB        Review issues relating to bonus programs.               0.30       1195.00         $358.50

 01/10/2021   KBD     EB        Draft motion relating to employee termination           0.80       1195.00         $956.00
                                agreements.

 01/10/2021   KBD     EB        Research regarding employee termination issues.         0.50       1195.00         $597.50

 01/11/2021   IDK     EB        Review of correspondence from Wilmer Hale, K            0.30       1325.00         $397.50
                                Dine, G Demo re terminating existing bonus plan
                                and substituting KERP/severance type plan (.3).

 01/11/2021   JMF     EB        Review bonus program documents.                         0.80       1050.00         $840.00

 01/11/2021   JMF     EB        Review agreements re post confirmation                  0.70       1050.00         $735.00
                                employment.

 01/11/2021   KBD     EB        Prepare comments to draft employee agreements.          0.10       1195.00         $119.50

 01/11/2021   KBD     EB        Review and draft correspondence regarding               0.20       1195.00         $239.00
                                employee issues.

 01/11/2021   KBD     EB        Draft motion regarding employee agreements.             2.70       1195.00        $3,226.50

 01/11/2021   KBD     EB        Research issues relating to employee agreements.        1.00       1195.00        $1,195.00

 01/12/2021   IDK     EB        E-mails with DSI, others re DSI draft DEC on            0.90       1325.00        $1,192.50
                                proposed employee retention plan and liquidity
                                issues, including review of same and revisions (.3);
                                Review briefly numerous correspondence with J
                                Fried, K Dine on employee termination issues and
                                draft motion re same for new plan (.2); Review of
                                correspondence with Wilmer Hale on employee
                                rights on termination, as well as UCC counsel
                                feedback on retention plan and its suggestions (.4).

 01/12/2021   JNP     EB        Conference with A. Stauber, PSZJ and J. Seery           0.40       1295.00         $518.00
                                regarding employee retention plan and related
                                issues.

 01/12/2021   JNP     EB        Conference with Ira D. Kharasch regarding retention     0.10       1295.00         $129.50
                                bonus motion.

 01/12/2021   JNP     EB        Review and comment on retention bonus motion.           0.30       1295.00         $388.50
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 01/12/2021   JMF     EB        Telephone call (partial) with K. Dine, J. Seery, J.N.    1.50       1050.00        $1,575.00
                                Pomerantz, G. Demo re post confirmation
                                employment agreements (.8); review motion re same
                                (.5); telephone call with K. Dine re motion to
                                approve termination agreements (.2).

 01/12/2021   JMF     EB        Review employee claims.                                  1.80       1050.00        $1,890.00

 01/12/2021   GVD     EB        Conference with WilmerHale and PSZJ re employee          0.40        950.00         $380.00
                                retention issues

 01/12/2021   GVD     EB        Review presentation to Committee re employee             0.30        950.00         $285.00
                                issues

 01/12/2021   GVD     EB        Multiple conference with E. Bromagen re employee         0.20        950.00         $190.00
                                retention issues

 01/12/2021   KBD     EB        Draft motion regarding termination agreements.           2.30       1195.00        $2,748.50

 01/12/2021   KBD     EB        Research relating to employee issues.                    0.60       1195.00         $717.00

 01/12/2021   KBD     EB        Review correspondence regarding employee matters.        0.30       1195.00         $358.50

 01/12/2021   KBD     EB        Call with J. Seery, A. Stauber, Gregory Demo,            0.30       1195.00         $358.50
                                Joshua Fried and others regarding employee matters.

 01/12/2021   KBD     EB        Telephone call with Joshua Fried regarding motion        0.20       1195.00         $239.00
                                relating to employees.

 01/12/2021   KBD     EB        Review templates for termination agreement.              0.20       1195.00         $239.00

 01/13/2021   IDK     EB        E-mails with K Dine re her various drafts of motion      0.50       1325.00         $662.50
                                to approve KERP, related requests, and feedback of
                                others to same (.3); E-mails with J Fried re same and
                                issue of deferred compensation plan and voting, and
                                consider (.2).

 01/13/2021   JNP     EB        Continued review of employee stipulation.                0.10       1295.00         $129.50

 01/13/2021   JNP     EB        Review and revise employee retention motion.             0.50       1295.00         $647.50

 01/13/2021   JMF     EB        Review motion to replace bonus programs.                 0.40       1050.00         $420.00

 01/13/2021   JMF     EB        Review and comment re employee stipulation (.6);         0.80       1050.00         $840.00
                                telephone call with K. Dine re same (.2).

 01/13/2021   GVD     EB        Conference with K. Dine re employee retention            0.10        950.00          $95.00
                                issues

 01/13/2021   KBD     EB        Revise draft motion to approve retention plan.           3.20       1195.00        $3,824.00

 01/13/2021   KBD     EB        Review board resolutions regarding bonus plans.          0.20       1195.00         $239.00
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 01/13/2021   KBD     EB        Review and draft correspondence regarding bonus          0.50       1195.00         $597.50
                                plan matters.

 01/13/2021   KBD     EB        Telephone call with Joshua Fried regarding bonus         0.10       1195.00         $119.50
                                issues.

 01/13/2021   KBD     EB        Telephone call with Gregory Demo regarding               0.10       1195.00         $119.50
                                employee issues.

 01/13/2021   KBD     EB        Review and revise the form of Senior Employee            0.90       1195.00        $1,075.50
                                Stipulation.

 01/14/2021   JNP     EB        Conference with Wilmer Hale, J. Seery, Gregory V.        0.70       1295.00         $906.50
                                Demo and K. Dine regarding employee benefit
                                issues.

 01/14/2021   JMF     EB        Review documents re new and existing bonus plans         2.40       1050.00        $2,520.00
                                (1.7); multiple emails re issues and analysis of same
                                (.7).

 01/14/2021   JMF     EB        Review memo re employee claims re new retention          0.70       1050.00         $735.00
                                plan.

 01/14/2021   GVD     EB        Conference with J. Seery and WIlmerHale re               0.90        950.00         $855.00
                                employee compensation issues

 01/14/2021   KBD     EB        Review and draft correspondence regarding                1.00       1195.00        $1,195.00
                                employee benefit issues.

 01/14/2021   KBD     EB        Revisions to Senior Employee Stipulation.                0.10       1195.00         $119.50

 01/14/2021   KBD     EB        Call with J. Seery, Pachulski Stang Ziehl & Jones        1.00       1195.00        $1,195.00
                                and Wilmer Hale regarding employee matters.

 01/15/2021   IDK     EB        E-mails with K Dine re her draft motion for new          0.20       1325.00         $265.00
                                retention plan as well as feedback of J. Pomerantz to
                                same (.2).

 01/15/2021   JNP     EB        Emails to and from Gregory V. Demo regarding             0.10       1295.00         $129.50
                                employees stipulation.

 01/15/2021   JNP     EB        Review latest version of employee incentive Plan         0.30       1295.00         $388.50
                                motion and emails regarding same.

 01/15/2021   JMF     EB        Review updated employee bonus plan motion.               0.70       1050.00         $735.00

 01/15/2021   KBD     EB        Revise draft motion on retention plan.                   2.50       1195.00        $2,987.50

 01/15/2021   KBD     EB        Review of board resolutions relating to employees.       0.10       1195.00         $119.50

 01/15/2021   KBD     EB        Review templates for retention/severance                 0.30       1195.00         $358.50
                                agreements.
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 01/15/2021   KBD     EB        Call with J. Seery, A. Stauber, and B. Collins        0.80       1195.00         $956.00
                                regarding employee matters.

 01/16/2021   GVD     EB        Attend to issues re employee retention issues         0.40        950.00         $380.00

 01/17/2021   JNP     EB        Review and respond to email regarding employee        0.10       1295.00         $129.50
                                program motion.

 01/17/2021   JMF     EB        Review updated motion to approve new retention        0.40       1050.00         $420.00
                                plan.

 01/17/2021   KBD     EB        Revisions to draft KERP Motion.                       0.80       1195.00         $956.00

 01/17/2021   KBD     EB        Review correspondence regarding employee benefit.     0.20       1195.00         $239.00

 01/18/2021   GVD     EB        Review motion re employee retention plan              0.30        950.00         $285.00

 01/18/2021   KBD     EB        Research relating to employee benefits issue.         0.50       1195.00         $597.50

 01/18/2021   KBD     EB        Telephone call with J. Seery regarding senior         0.10       1195.00         $119.50
                                employee proposal.

 01/18/2021   KBD     EB        Review correspondence regarding senior employee       0.10       1195.00         $119.50
                                proposal.

 01/19/2021   IDK     EB        Brief review of K Dine’s revised motion for           0.40       1325.00         $530.00
                                retention program for non-insiders and related
                                issues, as well as correspondence with Sidley re
                                same (.4).

 01/19/2021   JNP     EB        Review motion to expedite hearing on retention        0.10       1295.00         $129.50
                                motion and email to Sidley regarding same.

 01/19/2021   JMF     EB        Review motion to approve new retention plan and       0.40       1050.00         $420.00
                                correspondences re same.

 01/19/2021   KBD     EB        Revisions to draft motion on KERP.                    2.20       1195.00        $2,629.00

 01/19/2021   KBD     EB        Review and prepare correspondence regarding the       0.40       1195.00         $478.00
                                KERP motion and related pleadings.

 01/19/2021   KBD     EB        Draft and revise motion to expedite hearing on        1.10       1195.00        $1,314.50
                                KERP Motion.

 01/19/2021   KBD     EB        Review and revise senior employee stipulation         0.40       1195.00         $478.00

 01/19/2021   KBD     EB        Telephone call with J. Seery regarding employee       0.10       1195.00         $119.50
                                stipulation and KERP Motion.

 01/20/2021   JNP     EB        Review and respond to emails regarding Surgent and    0.10       1295.00         $129.50
                                Watehouse settlement documents.

 01/20/2021   KBD     EB        Revisions to senior employee stipulation.             0.50       1195.00         $597.50
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 01/20/2021   KBD     EB        Review correspondence regarding senior employee      0.10       1195.00         $119.50
                                stipulation.

 01/20/2021   KBD     EB        Telephone calls with J. Seery regarding employee     0.20       1195.00         $239.00
                                stipulation.

 01/20/2021   KBD     EB        Review draft of hearing notice.                      0.10       1195.00         $119.50

 01/21/2021   KBD     EB        Review and prepare correspondence relating to        0.30       1195.00         $358.50
                                senior employee stipulations.

 01/21/2021   KBD     EB        Revise employee stipulation.                         0.40       1195.00         $478.00

 01/21/2021   KBD     EB        Telephone call with Gregory Demo regarding status    0.10       1195.00         $119.50
                                of stipulation.

 01/22/2021   JNP     EB        Emails to team regarding bonus claim.                0.10       1295.00         $129.50

 01/22/2021   JMF     EB        Telephone call with K. Dine re employee claims       0.30       1050.00         $315.00
                                issues.

 01/22/2021   KBD     EB        Review correspondence regarding employee matters     0.30       1195.00         $358.50
                                for hearing.

 01/22/2021   KBD     EB        Review executed stipulations for redaction and       0.20       1195.00         $239.00
                                filing.

 01/22/2021   KBD     EB        Draft correspondence to Committee regarding          0.10       1195.00         $119.50
                                stipulations.

 01/22/2021   KBD     EB        Review correspondence regarding employee bonus       0.10       1195.00         $119.50
                                matters.

 01/22/2021   KBD     EB        Telephone call with Joshua Fried regarding bonus     0.10       1195.00         $119.50
                                issue.

 01/24/2021   JMF     EB        Review employee memorandum and claims issues.        0.60       1050.00         $630.00

 01/25/2021   JNP     EB        Emails to and from J. Seery regarding KERP.          0.10       1295.00         $129.50

 01/25/2021   JNP     EB        Email to and from Gregory V. Demo regarding U. S.    0.10       1295.00         $129.50
                                Trustee requests regarding KERP program.

 01/25/2021   JNP     EB        Continue preparing for KERP hearing.                 1.00       1295.00        $1,295.00

 01/25/2021   JNP     EB        Conference with J. Morris regarding KERP hearing.    0.10       1295.00         $129.50

 01/25/2021   JNP     EB        Emails to and from L. Lambert regarding KERP.        0.10       1295.00         $129.50

 01/25/2021   JNP     EB        Conference with A Stauber, K. Dine and Joshua M.     0.20       1295.00         $259.00
                                Fried regarding bonus claims and offset.

 01/25/2021   JNP     EB        Conference with J. Seery and K. Dine regarding       0.30       1295.00         $388.50
                                KERP.
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 01/25/2021   JNP     EB        Conference with J. Seery regarding KERP.               0.10        1295.00          $129.50

 01/25/2021   JNP     EB        Conference with K. Dine regarding KERP.                0.10        1295.00          $129.50

 01/25/2021   JMF     EB        Review employee summary of claims (.8); telephone      1.00        1050.00         $1,050.00
                                call with K. Dine, A. Stauber and J.N. Pomerantz re
                                same (.2).

 01/25/2021   JMF     EB        Review KERP motion and proffer and comments re         0.70        1050.00          $735.00
                                same.

 01/25/2021   JMF     EB        Review 1/22 motion and transcript re employee          0.80        1050.00          $840.00
                                compensation motion.

 01/25/2021   KBD     EB        Review correspondence regarding employee matters.      0.30        1195.00          $358.50

 01/25/2021   KBD     EB        Prepare employee list for KERP Plan.                   0.30        1195.00          $358.50

 01/25/2021   KBD     EB        Call with A. Stauber, Joshua Fried, J. Pomerantz,      0.20        1195.00          $239.00
                                Gregory Demo regarding employee matters.

 01/25/2021   KBD     EB        Draft offer of proof relating to KERP.                 1.80        1195.00         $2,151.00

 01/25/2021   KBD     EB        Call with J. Pomerantz and J. Seery regarding bonus    0.30        1195.00          $358.50
                                matters.

 01/25/2021   KBD     EB        Telephone call with J. Seery regarding employee        0.50        1195.00          $597.50
                                chart.

 01/25/2021   KBD     EB        Draft email to US Trustee regarding employee chart.    0.10        1195.00          $119.50

 01/26/2021   KBD     EB        Revisions to proposed proffer.                         0.30        1195.00          $358.50

 01/26/2021   KBD     EB        Participate in court hearing relating to KERP.         0.40        1195.00          $478.00

 01/27/2021   KBD     EB        Prepare order relating to KERP.                        0.20        1195.00          $239.00

                                                                                       72.20                      $83,393.00

  Executory Contracts [B185]
 12/30/2020   IDK     EC        Review and consider draft of stipulation with CLO      0.20        1145.00          $229.00
                                issuers to assume management contract.

 01/04/2021   IDK     EC        Review of correspondence re issues on assumption       0.20        1325.00          $265.00
                                of limited part agreement, and consider.

 01/04/2021   JNP     EC        Review and respond to Gregory V. Demo email            0.10        1295.00          $129.50
                                regarding assumption of Partnership Agreement.

 01/04/2021   GVD     EC        Correspondence re HCMLP limited partnership            0.20         950.00          $190.00
                                agreement
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 01/05/2021   IDK     EC        Review briefly numerous correspondence with CLO          0.30       1325.00         $397.50
                                issuers re potential deal, DSI re need for financial
                                information for same, as well as DSI Dec re same
                                (.3).

 01/06/2021   IDK     EC        Review of E-mails with CEO, G Demo re                    0.20       1325.00         $265.00
                                correspondence with CLO issuers re potential
                                assumption stipulation on management agreements
                                (.2).

 01/06/2021   IDK     EC        E-mails with G Demo and M Calloway on need for           0.50       1325.00         $662.50
                                review and summary of executory contracts for
                                potential assumption/rejection (.3); E-mails with
                                UCC counsel, G Demo, others on status on plan
                                objection and need to coordinate (.2).

 01/06/2021   JEO     EC        Work on executory contract list for plan                 1.60       1050.00        $1,680.00

 01/06/2021   JEO     EC        Emails with Mike Held, counsel for landlord, to          0.60       1050.00         $630.00
                                reconcile cure claim

 01/06/2021   JEO     EC        Emails with Jack Donohue of DSI re landlord cure         0.90       1050.00         $945.00
                                claim

 01/06/2021   GVD     EC        Conference with B. Sharp on executory contract           0.20        950.00         $190.00

 01/07/2021   KKY     EC        Draft (.1) and prepare for filing (.1) certificate of    0.20        460.00          $92.00
                                service for 1st assumption notice

 01/07/2021   KKY     EC        Draft (.1) and prepare for filing (.1) supplemental      0.20        460.00          $92.00
                                certificate of service for 1st assumption notice

 01/07/2021   JEO     EC        Review executory contract issues                         1.30       1050.00        $1,365.00

 01/07/2021   GVD     EC        Conference with DSI and M. Caloway re review of          0.50        950.00         $475.00
                                executory contracts

 01/08/2021   JEO     EC        Work on Executory Contract List for plan                 3.50       1050.00        $3,675.00

 01/08/2021   JMF     EC        Review emails and pleading re additional contracts       0.40       1050.00         $420.00
                                to be assumed under Plan.

 01/08/2021   GVD     EC        Conference with B. Sharp re status of executory          0.20        950.00         $190.00
                                contract review

 01/11/2021   JEO     EC        Work to resolve landlord cure claim                      0.50       1050.00         $525.00

 01/11/2021   JEO     EC        Emails with Mary Caloway and Greg Demo                   2.10       1050.00        $2,205.00
                                regarding executory contract list

 01/11/2021   GVD     EC        Attend to issues re notice of executory contracts        1.00        950.00         $950.00

 01/11/2021   GVD     EC        Conference with J. Seery re executory contracts          0.20        950.00         $190.00
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 01/13/2021   KKY     EC        Review and revise service list re 1st assumption        0.20        460.00         $92.00
                                notice

 01/14/2021   GVD     EC        Conference with M. Caloway re executory contract        0.20        950.00        $190.00
                                issues

 01/16/2021   IDK     EC        Review of correspondence from CLO issuers re their      0.20       1325.00        $265.00
                                revised draft agreement and gatekeeper request (.2).

 01/16/2021   JMF     EC        Review list of proposed assumed contracts.              0.30       1050.00        $315.00

 01/17/2021   GVD     EC        Correspondence with M. Caloway re executory             0.10        950.00         $95.00
                                contract issues

 01/18/2021   IDK     EC        Review briefly E-mails with M Calloway re her           0.20       1325.00        $265.00
                                memo on assuming partnership interests, including
                                feedback of J. Pomerantz re same (.2).

 01/19/2021   GVD     EC        Review research re limited partnership agreements       0.20        950.00        $190.00

 01/20/2021   IDK     EC        E-mails with CEO, G Demo re outstanding issues          0.20       1325.00        $265.00
                                with settlement with CLO issuers (.2).

 01/20/2021   GVD     EC        Review limited partnership issues                       0.20        950.00        $190.00

 01/21/2021   IDK     EC        Review of correspondence with G Demo, J Fried on        0.10       1325.00        $132.50
                                assumption of contracts under plan and when
                                effective.

 01/21/2021   KKY     EC        Review and revise service list re 1st assumption        1.00        460.00        $460.00
                                notice

 01/21/2021   GVD     EC        Review Dondero objection to assumption of               0.20        950.00        $190.00
                                contracts

 01/21/2021   GVD     EC        Correspondence with local counsel re landlord           0.20        950.00        $190.00
                                issues

 01/22/2021   KKY     EC        Review and revise service list re 1st assumption        1.00        460.00        $460.00
                                notice

 01/22/2021   GVD     EC        Attend to issues re lease assumption                    0.10        950.00         $95.00

 01/24/2021   JEO     EC        Email with Jack Donohue re contract cure for            0.40       1050.00        $420.00
                                headquarters landlord.

 01/25/2021   KKY     EC        Review and revise service list re 1st assumption        0.20        460.00         $92.00
                                notice

 01/25/2021   JEO     EC        Review draft stipulation extending time to assume or    0.40       1050.00        $420.00
                                reject headquarters lease

 01/25/2021   JEO     EC        Analyze and reconcile cure claim for headquarters       0.80       1050.00        $840.00
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                                lease
 01/26/2021   JEO     EC        Review stipulation extending time to assume or         0.40        1050.00          $420.00
                                reject headquarters lease

 01/29/2021   GVD     EC        Draft reply to Dondero objection to contract           2.60         950.00         $2,470.00
                                assumption

                                                                                       24.30                      $23,819.00

  General Business Advice [B410]
 12/22/2020   RJF     GB        Attend portions of Board meeting.                      0.80        1245.00          $996.00

 12/23/2020   RJF     GB        Attend Board Meeting.                                  1.20        1245.00         $1,494.00

 12/23/2020   RJF     GB        Call with Wilmer Hale regarding fund issues.           0.60        1245.00          $747.00

 12/29/2020   IDK     GB        E-mails with Board, others re need for call now, as    1.50        1145.00         $1,717.50
                                well as draft agenda of numerous issues for same
                                (.2); Attend Board meeting on open case issues,
                                UBS meet and confer result re discovery/depo
                                requests, other (1.3).

 12/29/2020   RJF     GB        Attend Board Meeting.                                  1.30        1245.00         $1,618.50

 12/31/2020   IDK     GB        Attend Board call on open issues, litigation with      1.10        1145.00         $1,259.50
                                Dondero and related discovery, new employee
                                claims, plan confirmation.

 12/31/2020   RJF     GB        Attend Board of Directors meeting.                     1.00        1245.00         $1,245.00

 01/02/2021   IAWN GB           Telephone conference with Ira D Kharasch re            0.10        1145.00          $114.50
                                coverage issue

 01/02/2021   IAWN GB           Review file re government re policy                    0.20        1145.00          $229.00

 01/02/2021   IAWN GB           Review, analyze policy and draft lengthy email re      2.80        1145.00         $3,206.00
                                same

 01/02/2021   IAWN GB           Exchange texts with Ira D Kharasch re insurance        0.10        1145.00          $114.50

 01/02/2021   IAWN GB           Telephone conference with Ira D Kharasch re            0.10        1145.00          $114.50
                                coverage issue

 01/03/2021   IAWN GB           Review and respond to insurance questions from Ira     0.20        1145.00          $229.00
                                D Kharasch

 01/03/2021   IDK     GB        E-mail to G Demo re agenda for today’s board call      1.50        1325.00         $1,987.50
                                (.1); Attend conference call with Board, J.
                                Pomerantz, others re numerous issues in case (1.4).

 01/03/2021   JNP     GB        Participate on Board call regarding UBS, Dondero       1.50        1295.00         $1,942.50
                                and related issues.
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 01/03/2021   JAM     GB        telephone conference with Board, J. Pomerantz, I.        1.40       1245.00        $1,743.00
                                Kharasch, G. Demo, R. Feinstein re: litigation
                                issues, UBS settlement

 01/03/2021   GVD     GB        Draft board agenda                                       0.20        950.00         $190.00

 01/03/2021   GVD     GB        Attend board meeting                                     1.50        950.00        $1,425.00

 01/04/2021   JNP     GB        Review and revise Board minutes.                         0.50       1295.00         $647.50

 01/04/2021   GVD     GB        Draft board minutes                                      2.70        950.00        $2,565.00

 01/05/2021   IDK     GB        Attend Board call re result of deposition today and      1.70       1325.00        $2,252.50
                                various next steps in case (.7); Attend Board call re
                                follow up re employee related issues and termination
                                re same, Jan 8 hearing issues, and plan objections
                                (1.0).

 01/05/2021   JNP     GB        Conference with Board after J. Dondero deposition.       0.70       1295.00         $906.50

 01/05/2021   JAM     GB        Telephone conference with Board, J. Pomerantz, I.        1.00       1245.00        $1,245.00
                                Kharasch, G. Demo re: litigation issues,
                                confirmation (1.0).

 01/05/2021   JAM     GB        Telephone conference with Board, J. Pomerantz, I.        0.70       1245.00         $871.50
                                Kharasch, G Demo re: Dondero deposition and
                                strategic issues (0.7);

 01/05/2021   GVD     GB        Conference with Board re status of case and next         0.90        950.00         $855.00
                                steps

 01/05/2021   GVD     GB        Attend board conference re deposition of J. Dondero      0.80        950.00         $760.00
                                and next steps

 01/06/2021   IDK     GB        E-mails with CEO, J Morris, re Waterhouse issues         0.10       1325.00         $132.50
                                on cooperation.

 01/09/2021   GVD     GB        Conference with K. Dine re employee issues               0.20        950.00         $190.00

 01/09/2021   GVD     GB        Conference with WilmerHale, PSZJ, and J. Seery re        0.60        950.00         $570.00
                                employee issues

 01/12/2021   JNP     GB        Conference with Gregory V. Demo regarding Board          0.10       1295.00         $129.50
                                call.

 01/12/2021   JNP     GB        Review and respond to emails regarding D&O               0.10       1295.00         $129.50
                                insurance.

 01/12/2021   GVD     GB        Attend board/committee call                              1.30        950.00        $1,235.00

 01/13/2021   IDK     GB        E-mails with Board, others on status and                 0.20       1325.00         $265.00
                                coordination of Board call (.2).
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 01/13/2021   JNP     GB        Conference with F. Caruso, AON, Iain A. W.              0.50       1295.00         $647.50
                                Nasatir and Gregory V. Demo regarding D&O
                                insurance issues.

 01/13/2021   GVD     GB        Conference with Aon re insurance issues                 0.50        950.00         $475.00

 01/14/2021   IDK     GB        Attend Board meeting on open items, bonus plan          1.00       1325.00        $1,325.00
                                (.7); Review of UCC counsel’s extensive memo to
                                Dondero counsel on plan negotiations, including
                                correspondence to Board re same (.1); E-mails with
                                J. Pomerantz re insurance issues for post-petition
                                claims vs employees that are indemnified (.2).

 01/14/2021   JNP     GB        Conference with Board regarding.Plan issues.            0.70       1295.00         $906.50

 01/14/2021   GVD     GB        Attend board meeting                                    0.70        950.00         $665.00

 01/18/2021   JNP     GB        Conference with Gregory V. Demo and F. Caruso           0.10       1295.00         $129.50
                                regarding status of AON pursuit of insurance
                                coverage.

 01/18/2021   GVD     GB        Conference with F. Caruso and J. Pomerantz re           0.20        950.00         $190.00
                                insurance issues

 01/19/2021   JNP     GB        Conference with Gregory V. Demo, Ira D. Kharasch        0.20       1295.00         $259.00
                                and Gov Re directors regarding response to letter.

 01/19/2021   JNP     GB        Review and respond to email regarding employee          0.10       1295.00         $129.50
                                retention plan.

 01/20/2021   IDK     GB        Attend Board call with internal team on case status,    1.00       1325.00        $1,325.00
                                plan status, Dondero potential plan update,
                                objections to plan, D&O (1.0).

 01/20/2021   JNP     GB        Conference with J. Dubel regarding D&O issues and       0.40       1295.00         $518.00
                                related (2x).

 01/20/2021   JNP     GB        Conference with Board regarding Plan issues.            1.00       1295.00        $1,295.00

 01/20/2021   JNP     GB        Email to F. Caruso regarding D&O insurance              0.10       1295.00         $129.50
                                coverage.

 01/20/2021   JNP     GB        Conference with F. Caruso regarding D&O issues.         0.10       1295.00         $129.50

 01/20/2021   GVD     GB        Conference with J. Pomerantz re insurance issues        0.20        950.00         $190.00

 01/21/2021   JNP     GB        Conference with J. Dubel regarding D&O insurance        0.30       1295.00         $388.50
                                issues (3x).

 01/21/2021   JNP     GB        Email to M.Tauber regarding call regarding D&O          0.10       1295.00         $129.50
                                insurance.

 01/21/2021   JNP     GB        Conference with M. Tauber, Iain A. W. Nasatir, F.       0.30       1295.00         $388.50
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                                                                                        Hours           Rate       Amount
                                Caruso and Gregory V. Demo regarding insurance
                                issues.
 01/21/2021   JNP     GB        Emails with M. Tauber regarding insurance issues.        0.10       1295.00         $129.50

 01/21/2021   GVD     GB        Attend board/committee call                              1.20        950.00        $1,140.00

 01/21/2021   GVD     GB        Conference re insurance issues                           0.30        950.00         $285.00

 01/22/2021   JNP     GB        Conference with F. Caruso regarding D&O status.          0.20       1295.00         $259.00

 01/22/2021   JNP     GB        Email to M. Tauber regarding D&O insurance               0.10       1295.00         $129.50
                                issues.

 01/25/2021   JNP     GB        Conference with M. Tauber regarding D&O.                 0.10       1295.00         $129.50

 01/25/2021   JNP     GB        Emails regarding call to discuss D&O insurance.          0.10       1295.00         $129.50

 01/25/2021   JNP     GB        Conference with Sidley, FTI, F. Caruso and M.            0.80       1295.00        $1,036.00
                                Tauber regarding D&O insurance issues.

 01/25/2021   JNP     GB        Conference with Board regarding UBS agreement.           0.60       1295.00         $777.00

 01/25/2021   JNP     GB        Conference with J. Seery regarding call with J. Terry    0.20       1295.00         $259.00
                                regarding D&O insurance.

 01/26/2021   JNP     GB        Conference with Board regarding hearings and next        0.30       1295.00         $388.50
                                steps.

 01/26/2021   GVD     GB        Conference with Board re preliminary injunction          0.40        950.00         $380.00
                                hearing

 01/27/2021   JNP     GB        Conference with J. Dubel regarding insurance             0.30       1295.00         $388.50
                                issues.

 01/27/2021   JNP     GB        Email to and from Sidley regarding D&O issues.           0.10       1295.00         $129.50

 01/27/2021   JNP     GB        Conference with J. Seery regarding insurance issues.     0.20       1295.00         $259.00

 01/27/2021   GVD     GB        Review correspondence re insurance issues                0.10        950.00          $95.00

 01/28/2021   JNP     GB        Conference with M. Clemente regarding D&O                0.10       1295.00         $129.50
                                insurance.

 01/28/2021   JNP     GB        Conference with M. Tauber regarding D&O                  0.10       1295.00         $129.50
                                insurance.

 01/28/2021   JNP     GB        Conference with J. Dubel regarding insurance             0.10       1295.00         $129.50
                                issues.

 01/28/2021   JNP     GB        Conference with Iain A. W. Nasatir regarding D&O         0.10       1295.00         $129.50
                                and emails to M. Clemente regarding same.

 01/28/2021   JNP     GB        Conference with Iain A. W. Nasatir regarding D&O         0.10       1295.00         $129.50
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                                                                                    Hours            Rate        Amount
                                insurance and call with brokers.
 01/28/2021   JNP     GB        Emails with M. Clemente regarding call to discuss    0.10        1295.00          $129.50
                                D&O.

 01/28/2021   JNP     GB        Conference with J. Dubel regarding D&O insurance.    0.10        1295.00          $129.50

 01/29/2021   JNP     GB        Conference with J. Dubel regarding call regarding    0.10        1295.00          $129.50
                                D&O insurance.

                                                                                     42.10                      $49,298.50

  General Creditors Comm. [B150]
 01/04/2021   IDK     GC        E-mails with Board re rescheduling of call with      0.10        1325.00          $132.50
                                UCC.

 01/06/2021   IDK     GC        Attend conference call with UCC, Board, all          1.50        1325.00         $1,987.50
                                professionals on case issues/status (1.5).

 01/06/2021   JNP     GC        Participate on call with Committee, Board and        1.50        1295.00         $1,942.50
                                professionals.

 01/06/2021   JNP     GC        Conference with J. Seery regarding upcoming          0.20        1295.00          $259.00
                                Committee call.

 01/11/2021   JNP     GC        Review proposed materials for Committee meeting      0.20        1295.00          $259.00
                                and email regarding same.

 01/11/2021   JNP     GC        Conference with Gregory V. Demo regarding            0.10        1295.00          $129.50
                                weekly call with Committee.

 01/12/2021   IDK     GC        Telephone conference with J. Pomerantz re            1.10        1325.00         $1,457.50
                                upcoming call today with UCC (.1); Attend most of
                                conference call with UCC and all professionals re
                                case issues (1.0).

 01/12/2021   JNP     GC        Participate in call with Board and Committee.        1.30        1295.00         $1,683.50

 01/12/2021   JNP     GC        Conference with J. Seery regarding Committee         0.10        1295.00          $129.50
                                meeting and projections.

 01/12/2021   JNP     GC        Conference with Gregory V. Demo regarding            0.20        1295.00          $259.00
                                Committee meeting and projections and review
                                same.

 01/20/2021   JNP     GC        Email to and from M. Clemente regarding              0.10        1295.00          $129.50
                                Committee call with debtor.

 01/21/2021   IDK     GC        E-mails with Board, G Demo, J. Pomerantz re need     0.20        1325.00          $265.00
                                for call with UCC today and coordination (.2).

 01/21/2021   IDK     GC        Attend most of conference call with UCC, its         1.10        1325.00         $1,457.50
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                                                                                        Hours            Rate        Amount
                                professionals, Board, others re case status and plan
                                issues, Senior Employees (1.1).
 01/21/2021   JNP     GC        Call with Debtor and Committee regarding Plan            1.20        1295.00         $1,554.00
                                issues.

 01/25/2021   JNP     GC        Conference with Board and Committee regarding            0.60        1295.00          $777.00
                                Plan status.

 01/26/2021   GVD     GC        Correspondence re Board/Committee meeting                0.10         950.00           $95.00

                                                                                          9.60                      $12,517.50

  Mediation
 12/29/2020   IDK     M         E-mails with Board re reaction to today’s                0.20        1145.00          $229.00
                                correspondence from mediators offering new
                                mediation re UBS, and how to respond.

 01/11/2021   JNP     M         Email to and from J. Gropper regarding scheduling a      0.10        1295.00          $129.50
                                call.

 01/12/2021   IDK     M         E-mails with mediators, J. Pomerantz re their request    0.20        1325.00          $265.00
                                for call and status (.2).

 01/13/2021   IDK     M         Telephone conference with J. Pomerantz re result of      0.10        1325.00          $132.50
                                call with mediators (.1).

 01/13/2021   JNP     M         Conference with J. Dubel regarding call with             0.30        1295.00          $388.50
                                Mediators.

 01/13/2021   JNP     M         Conference with Ira D. Kharasch regarding call with      0.10        1295.00          $129.50
                                Mediators.

 01/13/2021   JNP     M         Conference with Mediators regarding status of            0.50        1295.00          $647.50
                                mediation.

 01/15/2021   JNP     M         Review mediators final report and email regarding        0.10        1295.00          $129.50
                                same.

 01/17/2021   GVD     M         Correspondence re filing of mediators report             0.20         950.00          $190.00

                                                                                          1.80                       $2,241.00

  Plan & Disclosure Stmt. [B320]
 01/29/2021   JNP     PD        Conference with J. Dubel regarding Plan                  0.20        1295.00          $259.00
                                confirmation discovery.

 01/29/2021   JNP     PD        Conference with J. Dubel, Iain A. W. Nasatir,            0.50        1295.00          $647.50
                                Committee and broker regarding D&O.

 01/29/2021   JNP     PD        Conference with J. Dubel after call with broker and      0.20        1295.00          $259.00
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                                                                                         Hours           Rate       Amount
                                Committee.
 12/11/2020   JNP     PD        Review and respond to email from M. Rosenthal             0.10       1075.00         $107.50
                                regarding Plan voting and forward on for handling.

 12/30/2020   IDK     PD        E-mails with J Fried re issues on getting contract        0.20       1145.00         $229.00
                                assumption notices out.

 12/31/2020   IDK     PD        Review of correspondence with CEO re CDO                  0.20       1145.00         $229.00
                                issuers request for provision in plan re assumption of
                                CDO management agreement.

 01/01/2021   IDK     PD        Review of correspondence with CEO on plan                 0.20       1325.00         $265.00
                                changes re potential deal with CLO issuers, as well
                                as with CLO issuers.

 01/02/2021   IDK     PD        E-mails with attorneys re UCC comments on trust           0.20       1325.00         $265.00
                                agreements and related issues on work product
                                privilege, and summary of same to CEO (.2).

 01/02/2021   JNP     PD        Emails with Gregory V. Demo regarding work                0.10       1295.00         $129.50
                                product and Claimant Trust Agreement.

 01/02/2021   GVD     PD        Review and revise trust agrements                         1.50        950.00        $1,425.00

 01/03/2021   RJF     PD        Call with Jeffrey N. Pomerantz, Gregory V. Demo           0.20       1395.00         $279.00
                                and RS regarding privilege issue.

 01/03/2021   RJF     PD        Review research regarding work product issue.             0.30       1395.00         $418.50

 01/04/2021   IDK     PD        Numerous correspondence with Acis counsel, DSI,           0.40       1325.00         $530.00
                                G Demo, CEO re Acis concerns on Plan treatment of
                                its $1 million claim and Acis threat to object (.4).

 01/04/2021   IDK     PD        Review briefly J Fried draft of initial confirmation      0.40       1325.00         $530.00
                                brief (.2); Review of correspondence with UST on
                                its concerns on plan releases/exculpations (.2).

 01/04/2021   IDK     PD        Attend conference call with J Morris, others on work      0.70       1325.00         $927.50
                                product issues re trust agreement and UCC request
                                for same (.2); E-mails with attorneys re same and
                                need for research on issues (.1); E-mail and
                                telephone conference with R Saunders re same (.2);
                                Review and consider R Saunders memos on same,
                                including feedback of others re same (.2).

 01/04/2021   IDK     PD        Review of correspondence from Senior Employee             0.40       1325.00         $530.00
                                counsel re their plan voting rights re convenience
                                class election, as well as draft response to same by G
                                Demo, J. Pomerantz (.2); E-mails with J. Pomerantz
                                re issues on their raised concerns, as well as further
                                correspondence with their counsel re same (.2).
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 01/04/2021   JNP     PD        Review issues regarding Claimant Trust Agreement.    0.10       1295.00         $129.50

 01/04/2021   JNP     PD        Review and respond to email from L. Lambert          0.10       1295.00         $129.50
                                regarding Plan issues.

 01/04/2021   JNP     PD        Review Robert M. Saunders email regarding work       0.10       1295.00         $129.50
                                product.

 01/04/2021   JNP     PD        Email to and from J. Seery regarding Acis request    0.10       1295.00         $129.50
                                for extension of objection deadline.

 01/04/2021   JNP     PD        Conference with PSZJ regarding work product          0.20       1295.00         $259.00
                                privilege.

 01/04/2021   JNP     PD        Conference with Gregory V. Demo and Joshua M.        0.30       1295.00         $388.50
                                Fried regarding Plan and employee claims.

 01/04/2021   JNP     PD        Conference with Gregory V. Demo regarding            0.20       1295.00         $259.00
                                Harbourvest and Claimant Trust Agreement.

 01/04/2021   JNP     PD        Conference with Gregory V. Demo regarding Plan       0.10       1295.00         $129.50
                                and related issues.

 01/04/2021   JNP     PD        Conference with Joshua M. Fried regarding            0.10       1295.00         $129.50
                                employee claims and votes on Plan.

 01/04/2021   JNP     PD        Begin to review confirmation brief.                  0.10       1295.00         $129.50

 01/04/2021   JNP     PD        Conference with Joshua M. Fried regarding Plan       0.30       1295.00         $388.50
                                confirmation issues.

 01/04/2021   JNP     PD        Email to and from R. Patel regarding Acis request    0.10       1295.00         $129.50
                                for extension of objection deadline.

 01/04/2021   JNP     PD        Email with employee counsel regarding convenience    0.30       1295.00         $388.50
                                class election.

 01/04/2021   RMS     PD        Work on research regarding work product              4.40        925.00        $4,070.00

 01/04/2021   RMS     PD        Telephone conference with and email exchange with    0.30        925.00         $277.50
                                Gregory V. Demo regarding research on work
                                product

 01/04/2021   RMS     PD        Telephone conference with Ira D. Kharasch            0.20        925.00         $185.00
                                regarding research on work product

 01/04/2021   RMS     PD        Conference call with Jeffrey N. Pomerantz and        0.20        925.00         $185.00
                                Gregory V. Demo (and others) regarding work
                                product

 01/04/2021   RJF     PD        Emails regarding privilege issue under trust.        0.40       1395.00         $558.00

 01/04/2021   RJF     PD        Internal telephone conference with regarding         0.30       1395.00         $418.50
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                                privilege issue.
 01/04/2021   JMF     PD        Telephone call with J.N. Pomerantz re confirmation         4.40       1050.00        $4,620.00
                                issues; (.3) and voting issues (.2); review disclosure
                                statement and plan re feasibility objections (.8) draft
                                confirmation brief(3.1).

 01/04/2021   GVD     PD        Correspondence with R. Patel re Acis plan issues           0.20        950.00         $190.00

 01/04/2021   GVD     PD        Multiple conferences with E. Bromagen re open plan         0.20        950.00         $190.00
                                issues

 01/04/2021   GVD     PD        Review issues re transfer of attorney work product         0.20        950.00         $190.00

 01/04/2021   GVD     PD        Correspondence with KCC re lost ballot                     0.20        950.00         $190.00

 01/04/2021   GVD     PD        Conference with PSZJ working group re transfer of          0.20        950.00         $190.00
                                attorney work product issues

 01/04/2021   GVD     PD        Attend to issues re filing of plan supplement              0.80        950.00         $760.00

 01/04/2021   GVD     PD        Multiple correspondence with attorney for senior           0.50        950.00         $475.00
                                employee re convenience class election

 01/04/2021   GVD     PD        Conference with J. Pomerantz re open plan issues           0.10        950.00          $95.00

 01/05/2021   CHM     PD        Email correspondence with I. Kharasch re plan              1.40        750.00        $1,050.00
                                voting issues and review solicitation order.

 01/05/2021   IDK     PD        E=-mails with C Mackle re need for memo on                 1.00       1325.00        $1,325.00
                                Senior Employee plan objection re ability to split
                                claims for voting and distribution purposes, and info
                                re related plan definitions and DS Order re relevant
                                solicitation provisions, including review of same,
                                and related caselaw (.6); E-mails with J Elkin re
                                issues raised by Dondero, others on debtor releases,
                                exculpation, injunctions, along with short memo by J
                                Fried re same, including review of same (.4).

 01/05/2021   IDK     PD        E-mails with J Fried, J Pomerantz re potential of          0.20       1325.00         $265.00
                                designating Ellington/Leventon votes and related
                                voting issues (.2).

 01/05/2021   IDK     PD        Review briefly just filed objections to confirmation       1.20       1325.00        $1,590.00
                                of Dondero, Dugaboy, UST, NPA/CLO Holdco,
                                Senior Employees (.7); E-mails with various
                                attorneys re coordinating responses to the numerous
                                objections (.3); Review briefly numerous emails
                                with UCC counsel on their request for extension to
                                object to plan and concerns (.2).

 01/05/2021   IDK     PD        Attend conference call with attorneys re prep for          1.20       1325.00        $1,590.00
                                tomorrow’s UCC call re plan issues, as well as
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                                various confirmation issues raised by objections
                                filed today (1.0); Telephone conferences with J.
                                Pomerantz re plan confirmation issues (.2).
 01/05/2021   IDK     PD        E-mails with J. Pomerantz, G Demo re responding to       0.20       1325.00         $265.00
                                further issues by Senior Employees new counsel
                                (.2).

 01/05/2021   IDK     PD        Review of numerous correspondence with KCC, J            0.40       1325.00         $530.00
                                O’Neill re ballot report summary and issues and
                                problems with various ballots, including confusion
                                on ballots of Senior Employees and their splitting of
                                claims (.4).

 01/05/2021   JNP     PD        Conference with Gregory V. Demo regarding Plan           0.10       1295.00         $129.50
                                issues.

 01/05/2021   JNP     PD        Conference with Ira D. Kharasch regarding research       0.10       1295.00         $129.50
                                regarding Plan confirmation issues.

 01/05/2021   JNP     PD        Review J. Dondero opposition.                            0.20       1295.00         $259.00

 01/05/2021   JNP     PD        Review of Plan objections.                               0.80       1295.00        $1,036.00

 01/05/2021   JNP     PD        Conference with Ira D. Kharasch, Gregory V. Demo         0.10       1295.00         $129.50
                                and Joshua M. Fried regarding objections and
                                confirmation issues.

 01/05/2021   JNP     PD        Conference with Ira D. Kharasch regarding Plan           0.10       1295.00         $129.50
                                confirmation issues.

 01/05/2021   JNP     PD        Review emails regarding convenience class election;      0.20       1295.00         $259.00
                                Conference with Gregory V. Demo regarding same.

 01/05/2021   RMP     PD        Conference with I. Kharasch re plan issues.              0.40       1595.00         $638.00

 01/05/2021   JMF     PD        Draft confirmation brief.                                1.30       1050.00        $1,365.00

 01/05/2021   JMF     PD        Telephone call with I. Kharasch, J.N. Pomerantz, G.      1.00       1050.00        $1,050.00
                                Demo re plan voting issues.

 01/05/2021   JMF     PD        Review Dondero and related party confirmation            1.60       1050.00        $1,680.00
                                objections.

 01/05/2021   JMF     PD        Multiple telephone calls with G. Demo re                 0.40       1050.00         $420.00
                                confirmation objections.

 01/05/2021   JMF     PD        Research re injunction and exculpation plan issues.      3.80       1050.00        $3,990.00

 01/05/2021   GVD     PD        Review draft correspondence to counsel to senior         0.30        950.00         $285.00
                                employees re plan issues

 01/05/2021   GVD     PD        Conference with J. Fried re voting issues                0.20        950.00         $190.00
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 01/05/2021   GVD     PD        Multiple correspondence with A. Russell re               0.30        950.00         $285.00
                                Committee objection to plan

 01/05/2021   GVD     PD        Conference with J. Pomerantz, I. Kharasch, and J.        1.00        950.00         $950.00
                                Fried re voting issues

 01/05/2021   GVD     PD        Review issues with potential erroneous ballots           1.30        950.00        $1,235.00

 01/05/2021   GVD     PD        Review objections to plan                                0.60        950.00         $570.00

 01/05/2021   GVD     PD        Multiple conferences with E. Bromagen re plan            0.30        950.00         $285.00
                                issues

 01/05/2021   JE      PD        Correspondence with Mr. Kharasch regarding plan          0.60       1195.00         $717.00
                                objections

 01/05/2021   JE      PD        Quick review of certain pleadings and research.          0.60       1195.00         $717.00

 01/06/2021   CHM     PD        Legal research and begin preparation of briefing re      9.30        750.00        $6,975.00
                                split claims and voting.

 01/06/2021   DG      PD        Review and analyze objection to confirmation (1.4);      3.70       1295.00        $4,791.50
                                begin research reL same (2); emails to Ira Kharasch
                                re: same (.3)

 01/06/2021   IDK     PD        Attend conference call with J. Pomerantz, G Demo,        2.00       1325.00        $2,650.00
                                J Fried on the numerous issues raised by all plan
                                objections and how to respond (2.0).

 01/06/2021   IDK     PD        Numerous E-mails with D Grassgreen re NPA/CLO            0.80       1325.00        $1,060.00
                                Holdco objections to confirmation re assumption of
                                CLO management agreements and various issues re
                                same, including 5th Cir law on actual vs
                                hypothetical test, and personal services, and
                                securities law concerns (.6); E-mails with G Demo
                                re same and need for separate assistance on
                                securities related issues (.2).

 01/06/2021   IDK     PD        Telephone conferences with J. Pomerantz re plan          0.40       1325.00         $530.00
                                issues on splitting votes by employees, other voting
                                issues, releases (.2); E-mails and telephone
                                conference with J. Pomerantz re Frontier class and
                                vote (.2).

 01/06/2021   IDK     PD        Review and consider in detail plan, Order approving      1.40       1325.00        $1,855.00
                                solicitation procedures, ballot issues and
                                correspondence with KCC, others on claim voting
                                issues re various confirmation objections, especially
                                re employee objections and their voting against plan
                                in separate classes (.7); Numerous E-mails with G
                                Demo, others re KCC ballot mistakes re Senior
                                Employees, feedback of KCC, and arguments in
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                                                                                         Hours           Rate       Amount
                                response to Senior Employee objection (.3); E-mails
                                with G Demo re Senior Employee Stipulation,
                                including review of same re their plan objection (.4).
 01/06/2021   IDK     PD        E-mails with G Demo, V Newmark re need for                0.40       1325.00         $530.00
                                memo on plan objections re 553 setoff rights,
                                including brief review of memo on same (.2);
                                E-mails with V Newmark re plan/DS Order conflicts
                                and Russ Nelms’s suggested case, and with CEO, J.
                                Pomerantz re same (.2).

 01/06/2021   IDK     PD        E-mails with G Demo re his draft chart with               0.30       1325.00         $397.50
                                summaries of all objections, including Senior
                                Employees, and brief review of same (.3).

 01/06/2021   IDK     PD        E-mails with Acis counsels re status on plan and          0.70       1325.00         $927.50
                                need for call (.1); Attend conference call with Acis
                                counsel on Dondero confirmation objection re
                                releases, injunction (.6).

 01/06/2021   IDK     PD        E-mails with V Newmark re need for research on            1.30       1325.00        $1,722.50
                                conflicts between plan and DS solicitation order and
                                ballots, including review of same memo (.4);
                                E-mails with C Mackle re her preliminary memo on
                                whether Senior Employees can split claims for
                                treatment/voting, including review of same and
                                further questions (.4); E-mails with G Demo re need
                                for list of conflicting evidence on Senior Employee
                                objection to conference (.2); E-mails with J Fried, G
                                Demo, K Dine on research on various plan objection
                                re employee claims for voting, splitting, and
                                retention of post-confirmation jurisdiction (.3).

 01/06/2021   JNP     PD        Conference with Ira D. Kharasch, Gregory V.               0.60       1295.00         $777.00
                                Demo , R. Patel and A. Chiarello regarding Plan
                                issues.

 01/06/2021   JNP     PD        Conference with Gregory V. Demo , Ira D. Kharasch         2.00       1295.00        $2,590.00
                                and Joshua M. Fried regarding Plan objections.

 01/06/2021   JNP     PD        Conference with J. Seery regarding pending Plan           0.30       1295.00         $388.50
                                objections.

 01/06/2021   JNP     PD        Review summary of Plan objections.                        0.20       1295.00         $259.00

 01/06/2021   JNP     PD        Review Dondero subpoena and emails relating               0.10       1295.00         $129.50
                                thereto.

 01/06/2021   JNP     PD        Conference with J. Dubel regarding employee               0.30       1295.00         $388.50
                                litigation and Plan issues.

 01/06/2021   JNP     PD        Review email regarding case on Plan interpretation.       0.10       1295.00         $129.50
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                                                                                         Hours           Rate       Amount

 01/06/2021   JNP     PD        Conference with J. Seery regarding Plan issues.           0.30       1295.00         $388.50

 01/06/2021   JNP     PD        Conference with Ira D. Kharasch regarding Plan            0.30       1295.00         $388.50
                                issues and objections (several).

 01/06/2021   JNP     PD        Email to and from press regarding inquiry on              0.10       1295.00         $129.50
                                confirmation objections.

 01/06/2021   JNP     PD        Conference with Gregory V. Demo regarding Plan            0.20       1295.00         $259.00
                                objection.

 01/06/2021   JNP     PD        Conference with Ira D. Kharasch and Joshua M.             0.10       1295.00         $129.50
                                Fried regarding Plan research.

 01/06/2021   JNP     PD        Review revisions of issuers to proposed insert to         0.10       1295.00         $129.50
                                Confirmation Order.

 01/06/2021   MFC     PD        Reviewing contracts potentially to be assumed under       2.00       1095.00        $2,190.00
                                Plan.

 01/06/2021   JMF     PD        Telephone call with J.N. Pomerantz, I. Kharasch and       2.00       1050.00        $2,100.00
                                G. Demo re plan objections.

 01/06/2021   JMF     PD        Telephone calls with K. Dine (.4) and J. Elkin (.5) re    0.90       1050.00         $945.00
                                reply to plan objections.

 01/06/2021   JMF     PD        Telephone calls with G. Demo re plan objections.          0.30       1050.00         $315.00

 01/06/2021   JMF     PD        Telephone call with J.N. Pomerantz, I. Kharasch, J.       0.90       1050.00         $945.00
                                O'Neill, G. Demo re plan hearing and objection
                                issues.

 01/06/2021   JMF     PD        Review IRS language re confirmation order.                0.40       1050.00         $420.00

 01/06/2021   JMF     PD        Draft confirmation order.                                 2.70       1050.00        $2,835.00

 01/06/2021   JMF     PD        Review objections and summary of unresolved               2.20       1050.00        $2,310.00
                                objections.

 01/06/2021   VAN     PD        Research and analysis regarding plan confirmation         5.90       1050.00        $6,195.00
                                objection issues.

 01/06/2021   LSC     PD        Retrieve and transmit plan filings, including             0.70        460.00         $322.00
                                objections.

 01/06/2021   GVD     PD        Attend to issues re research allocation                   0.40        950.00         $380.00

 01/06/2021   GVD     PD        Conference with PSZJ team re plan objections and          2.00        950.00        $1,900.00
                                next steps

 01/06/2021   GVD     PD        Address issues re ballots                                 0.60        950.00         $570.00

 01/06/2021   GVD     PD        Draft summary of objections to plan                       6.10        950.00        $5,795.00
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 01/06/2021   GVD     PD        Conference with PSZJ and Winstead re plan issues          0.50        950.00          $475.00

 01/06/2021   JE      PD        Review miscellaneous pleadings and case law on            7.20       1195.00         $8,604.00
                                release/exculpation issues; call with Mr. Fried.

 01/06/2021   KBD     PD        Telephone call with Joshua Fried regarding                0.70       1195.00          $836.50
                                objections to confirmation and next steps.

 01/06/2021   KBD     PD        Review senior employee objection to plan                  0.40       1195.00          $478.00
                                confirmation.

 01/06/2021   KBD     PD        Review research issues relating to confirmation           0.60       1195.00          $717.00
                                objection.

 01/07/2021   CHM     PD        Legal research and draft briefing re Senior              14.40        750.00        $10,800.00
                                Employee reply.

 01/07/2021   DG      PD        Review documents re: confirmation objection and           2.30       1295.00         $2,978.50
                                briefing including 365 research (1.7); call with Greg,
                                Harry and Ira (.6)

 01/07/2021   HDH     PD        Conference with Ira D. Kharasch regarding                 0.30       1095.00          $328.50
                                confirmation objection

 01/07/2021   HDH     PD        Conference call with Ira D. Kharasch, Debra               0.60       1095.00          $657.00
                                Grassgreen, and Gregory V. Demo regarding
                                confirmation objection

 01/07/2021   HDH     PD        Review pleadings and research regarding CLO               1.80       1095.00         $1,971.00
                                confirmation .obj

 01/07/2021   IAWN PD           Telephone conference with Jeffrey N Pomerantz re          0.10       1145.00          $114.50
                                insurance issue

 01/07/2021   IDK     PD        Attend conference call with H Hochman, D                  0.60       1325.00          $795.00
                                Grassgreen, G Demo on NPA objection to
                                confirmation re assumption of CLO management
                                agreement and potential responses (.6).

 01/07/2021   IDK     PD        Review of D Grassgreen outline of response to             0.20       1325.00          $265.00
                                objections to CLO assumption, and other comments,
                                and consider (.2).

 01/07/2021   IDK     PD        Review briefly correspondence with V Newmark              0.60       1325.00          $795.00
                                and G Demo re V Newmark’s further research on
                                553 setoff objections to plan (.3); E-mails with V
                                Newmark on her initial draft memo on
                                post-confirmation jurisdiction, including review of
                                same (.3).

 01/07/2021   IDK     PD        Telephone conference with G Demo re issues in             0.80       1325.00         $1,060.00
                                response to NPA objection to confirmation re CLO
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                                assumption (.1); E-mails with D Grassgreen and G
                                Demo re caselaw on opposing NPA objection to
                                assumption through plan, and memo on Advisors
                                Act allegations by NPA, and pass through issues
                                (.4); Office conference with H Hochman re same
                                and outline of argument in response (.2); Further
                                office conference with H Hochman re standing issue
                                re same (.1).
 01/07/2021   IDK     PD        E-mails with C Mackle re further issues in opposing      0.60       1325.00         $795.00
                                Senior Employees objection to confirmation,
                                including plan provisions and provisions in DS order
                                and caselaw (.4); E-mails with J Fried, K Dine, C
                                Mackle re same and coordination of related issues
                                on amounts due to Senior Employees (.2).

 01/07/2021   IDK     PD        Review of correspondence with counsel for CLO            0.20       1325.00         $265.00
                                investors on CLO funds, Servicing Agreements and
                                accounting (.2).

 01/07/2021   IDK     PD        E-mails with J Fried re Senior Employee objection        0.30       1325.00         $397.50
                                and voting, and how votes counted (.3).

 01/07/2021   IDK     PD        Attend part of conference call with UCC counsel,         0.90       1325.00        $1,192.50
                                others, on coordination re plan confirmation
                                objections, and CLO issuers (.7); Telephone
                                conference with J. Pomerantz and G Demo re same
                                (.1); Telephone conference with J. Pomerantz re
                                senior employee issues (.1).

 01/07/2021   IDK     PD        E-mails with J Elkin re her initial thoughts on          2.40       1325.00        $3,180.00
                                opposing objections based on exculpation,
                                injunctions, and relevant background of Dondero
                                litigation (.4); Attend conference call with J Elkin
                                and J. Pomerantz re plan issues re Exculpation,
                                releases, injunctions (1.5); E-mails with L Forrester
                                on her research re law on same (.2); E-mails with J
                                Elkin re issues on Palco holding and need to discuss,
                                as well as re potential use of Barton Doctrine re
                                same (.3).

 01/07/2021   IDK     PD        Attend conference call with attorneys on status of       0.80       1325.00        $1,060.00
                                responding to numerous plan objections (.8)

 01/07/2021   JKH     PD        Emails from, to, telephone conference with Ira D.        2.10       1095.00        $2,299.50
                                Kharasch regarding research project 365(c) cases
                                and review advisors' objection, cited cases

 01/07/2021   JNP     PD        Conference with Sidley, Gregory V. Demo and Ira          1.20       1295.00        $1,554.00
                                D. Kharasch regarding Plan issues.

 01/07/2021   JNP     PD        Conference with J. Seery regarding Plan issues and       0.10       1295.00         $129.50
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                                                                                       Hours           Rate       Amount
                                call with Sidley.
 01/07/2021   JNP     PD        Conference with Ira D. Kharasch, Gregory V. Demo        0.80       1295.00        $1,036.00
                                and Joshua M. Fried regarding Plan issues.

 01/07/2021   JNP     PD        Conference with J. Seery regarding employee claims      0.20       1295.00         $259.00
                                and Plan.

 01/07/2021   JNP     PD        Conference with John A. Morris in preparation for       0.10       1295.00         $129.50
                                call with KCC.

 01/07/2021   JNP     PD        Conference with Joshua M. Fried regarding Plan.         0.10       1295.00         $129.50

 01/07/2021   JNP     PD        Review case law on Plan issues; Conference with Ira     0.50       1295.00         $647.50
                                D. Kharasch regarding same.

 01/07/2021   JNP     PD        Conference with Ira D. Kharasch regarding Plan          0.10       1295.00         $129.50
                                issues.

 01/07/2021   JNP     PD        Conference with Ira D. Kharasch and J. Elkin            1.50       1295.00        $1,942.50
                                regarding Plan objection issues.

 01/07/2021   JNP     PD        Email to and from M. Clemente regarding Plan            0.10       1295.00         $129.50
                                timing.

 01/07/2021   JNP     PD        Review Plan objections.                                 0.30       1295.00         $388.50

 01/07/2021   JNP     PD        Conference with J. Seery regarding Plan                 0.10       1295.00         $129.50
                                confirmation hearing.

 01/07/2021   JNP     PD        Review emails regarding set-off.                        0.10       1295.00         $129.50

 01/07/2021   JNP     PD        Conference with KCC, John A. Morris and H.              0.20       1295.00         $259.00
                                Winograd regarding subpoena.

 01/07/2021   JNP     PD        Consider issues regarding exculpation and               0.40       1295.00         $518.00
                                injunction.

 01/07/2021   JNP     PD        Conference with J. Dubel regarding Plan issues          0.70       1295.00         $906.50
                                (several).

 01/07/2021   JNP     PD        Conference with John A. Morris regarding subpoena       0.10       1295.00         $129.50
                                for ballots.

 01/07/2021   JNP     PD        Review and respond to emails regarding Barton           0.10       1295.00         $129.50
                                doctrine.

 01/07/2021   PJJ     PD        Research docket regarding service of Plan materials;    1.80        460.00         $828.00
                                update confirmation order regarding same.

 01/07/2021   RMP     PD        Conference with I. Kharasch and telephone               0.60       1595.00         $957.00
                                conference with J. Pomerantz re plan and litigation
                                issues.
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 01/07/2021   MFC     PD        Email correspondence to/from B. Sharp regarding        0.30       1095.00         $328.50
                                rabbi trust agreements.

 01/07/2021   MFC     PD        Emails to/from and call with C. Robinson regarding     0.20       1095.00         $219.00
                                contract review for Plan Supplement.

 01/07/2021   MFC     PD        Review and summarize Company contracts to              7.50       1095.00        $8,212.50
                                potentially be assumed under Plan.

 01/07/2021   MFC     PD        Drafting second notice of contracts to be assumed.     0.30       1095.00         $328.50

 01/07/2021   MFC     PD        Call with DSI regarding executory contracts for        0.50       1095.00         $547.50
                                inclusion in Plan Supplement.

 01/07/2021   RJF     PD        Telephone conference with Jeffrey N. Pomerantz         0.10       1395.00         $139.50
                                regarding disclosure statement adjournment.

 01/07/2021   RJF     PD        Call with Clubok regarding disclosure statement        0.20       1395.00         $279.00
                                adjournment, etc.

 01/07/2021   JMF     PD        Telephone call with L. Spindler re Dallas and Texas    0.70       1050.00         $735.00
                                Tax issues re plan objection (.3); review plan re
                                issues re treatment issues (.4).

 01/07/2021   JMF     PD        Review plan treatment issues re class 7 and class 8    0.80       1050.00         $840.00
                                claims.

 01/07/2021   JMF     PD        Telephone calls with K. Dine re employee plan          0.30       1050.00         $315.00
                                objection.

 01/07/2021   JMF     PD        Telephone call with Cia Mackle re employee issues.     0.30       1050.00         $315.00

 01/07/2021   JMF     PD        Review IRS requested language re Objection and         0.40       1050.00         $420.00
                                plan issues re same.

 01/07/2021   JMF     PD        Draft responses to confirmation objections.            3.70       1050.00        $3,885.00

 01/07/2021   JMF     PD        Telephone call with G. Demo, J.N. Pomerantz, I.        0.80       1050.00         $840.00
                                Kharasch re plan confirmation issues.

 01/07/2021   JMF     PD        Research re plan injunction issues.                    1.50       1050.00        $1,575.00

 01/07/2021   JMF     PD        Draft confirmation order.                              0.80       1050.00         $840.00

 01/07/2021   JMF     PD        Draft confirmation brief.                              1.40       1050.00        $1,470.00

 01/07/2021   VAN     PD        Research and analysis regarding plan confirmation      6.60       1050.00        $6,930.00
                                objection issues; draft/revise confirmation brief
                                inserts regarding same.

 01/07/2021   CRR     PD        Review executory contract lists and provide            3.30        925.00        $3,052.50
                                summary to Mary Caloway regarding assumption or
                                rejection
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 01/07/2021   GVD     PD        Research issues re NPA objection to plan                 1.60        950.00         $1,520.00

 01/07/2021   GVD     PD        Conference with Sidley re status of objections           1.00        950.00          $950.00

 01/07/2021   GVD     PD        Conference with PSZJ working team re                     0.60        950.00          $570.00
                                NPA/HCMFA objection

 01/07/2021   GVD     PD        Conference with PSZJ team re plan issues                 0.80        950.00          $760.00

 01/07/2021   JE      PD        Review miscellaneous pleadings and case law on           9.40       1195.00        $11,233.00
                                release/exculpation issues (7.6); correspondence
                                with Mr. Fried and Mr. Kharasch regarding briefing
                                (.3); call with Mr. Kharasch and Mr. Pomerantz
                                regarding exculpation and releases (1.5).

 01/07/2021   KBD     PD        Draft memorandum regarding legal issues relating to      1.00       1195.00         $1,195.00
                                employee objections.

 01/07/2021   KBD     PD        Telephone conference with Joshua Fried regarding         0.20       1195.00          $239.00
                                plan objection issues.

 01/07/2021   KBD     PD        Research legal issues relating to senior employees       3.80       1195.00         $4,541.00
                                objection to confirmation.

 01/07/2021   KBD     PD        Review complaint relating to employee actions.           0.30       1195.00          $358.50

 01/08/2021   CHM     PD        Finalize initial draft of insert re senior employee      5.40        750.00         $4,050.00
                                objection and email same to I. Kharasch and J.
                                Fried.

 01/08/2021   HDH     PD        Research and begin drafting confirmation response        4.80       1095.00         $5,256.00
                                segment

 01/08/2021   IDK     PD        Review and consider G Demo memo on further               0.40       1325.00          $530.00
                                background issues for response to NPA objection to
                                CLO assumption (.2); E-mails with D Grassgreen, H
                                Hochman, G Demo re further issues re same,
                                caselaw, and timing (.2).

 01/08/2021   IDK     PD        E-mails with J Fried re summaries of remaining           0.30       1325.00          $397.50
                                disputes with taxing authorities (.2); E-mails with G
                                Demo re UCC request on objection timing (.1).

 01/08/2021   IDK     PD        Review of C Mackle draft of response to Senior           0.30       1325.00          $397.50
                                Employee objection.

 01/08/2021   IDK     PD        E-mails internal team re court’s allowing                0.60       1325.00          $795.00
                                continuance of next week’s confirmation hearing,
                                next steps re same (.3); E-mails J Pomerantz, G
                                Demo, J Fried, J Morris re need for call tomorrow re
                                confirmation next steps and agenda of issues for
                                same (.3).
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 01/08/2021   JKH     PD        Emails, telephone conferences with Harry D.               3.90       1095.00        $4,270.50
                                Hochman, Gregory V. Demo regarding footnote 4 to
                                Advisors' objection, prior ruling and review
                                pleadings, transcript regarding same (1.0); Complete
                                review, analysis of 365(c), 365(e) cases cited by
                                Advisors in objection and emails from, to Debra
                                Grassgreen regarding same (2.9).

 01/08/2021   JNP     PD        Conference with J. Seery regarding Plan issues.           0.10       1295.00         $129.50

 01/08/2021   JNP     PD        Review emails regarding internal call regarding           0.10       1295.00         $129.50
                                Plan.

 01/08/2021   JNP     PD        Conference with Gregory V. Demo regarding Plan            0.10       1295.00         $129.50
                                issues.

 01/08/2021   RMP     PD        Conference with I. Kharasch re plan status and            0.40       1595.00         $638.00
                                issues.

 01/08/2021   MFC     PD        Multiple emails regarding updates to confirmation         0.20       1095.00         $219.00
                                schedule.

 01/08/2021   MFC     PD        Emails from/to G. Demo regarding confirmation             0.10       1095.00         $109.50
                                hearing issues.

 01/08/2021   MFC     PD        Drafting second notice of assumed contracts and           3.50       1095.00        $3,832.50
                                compiling service data.

 01/08/2021   MFC     PD        Emails from DSI regarding contract review update          0.20       1095.00         $219.00
                                and decisions.

 01/08/2021   MFC     PD        Emails from/to and call with Jamie O'Neill                0.40       1095.00         $438.00
                                regarding contract list issues.

 01/08/2021   MFC     PD        Emails to/from K. Yee regarding service issues.           0.20       1095.00         $219.00

 01/08/2021   MFC     PD        Revisions to Notice of contracts.                         0.50       1095.00         $547.50

 01/08/2021   JMF     PD        Review IRS and Texas objections (.8); telephone           4.80       1050.00        $5,040.00
                                call with J. Rodgers re same (.3); telephone call with
                                D. Adamson at IRS and J. Rogers re IRS language re
                                objection (.8); draft language re IRS and Texas Tax
                                authorities (1.8); analyze Plan re tax treatment
                                issues raised by taxing authorities (1.1).

 01/08/2021   JMF     PD        Research re 1123 issues and draft confirmation brief.     3.30       1050.00        $3,465.00

 01/08/2021   GVD     PD        Conference with KCC re voting issues                      0.20        950.00         $190.00

 01/08/2021   GVD     PD        Correspondence with PSZJ team re NPA/HCMFA                0.80        950.00         $760.00
                                objection to plan

 01/08/2021   JE      PD        Outline brief on release, exculpation and injunction      8.10       1195.00        $9,679.50
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                                                                                       Hours           Rate       Amount
                                issues (1.3); call with Mr. Karasch regarding same
                                (.3); review additional case law and research and
                                review prior and subsequent history of Pacific
                                Lumber including plans and orders (3.3); start
                                drafting brief (3.2).
 01/08/2021   KBD     PD        Review information relating to employees.               0.20       1195.00         $239.00

 01/08/2021   KBD     PD        Review draft of insert for objection response.          0.20       1195.00         $239.00

 01/08/2021   KBD     PD        Review disclosure statement and plan.                   0.80       1195.00         $956.00

 01/09/2021   IAWN PD           Exchange emails with Jeffrey N Pomerantz re             0.10       1145.00         $114.50
                                insurance issue

 01/09/2021   IDK     PD        Review of correspondence between Dondero                0.20       1325.00         $265.00
                                counsel and UCC counsel re various plan
                                negotiation issues (.2).

 01/09/2021   IDK     PD        E-mails with J. Pomerantz and J Elkin re her initial    0.40       1325.00         $530.00
                                draft of exculpation argument and initial issues re
                                same, including brief review of same (.4).

 01/09/2021   JNP     PD        Review and respond to email from J. Elkin regarding     0.20       1295.00         $259.00
                                release and exculpation provisions.

 01/09/2021   JNP     PD        Emails to and from M. Clemente and M. Lynn              0.20       1295.00         $259.00
                                regarding possibility of global Plan settlement.

 01/09/2021   JNP     PD        Review U. S. Trustee objection to Plan.                 0.10       1295.00         $129.50

 01/09/2021   JNP     PD        Conference with J. Seery regarding Plan and             0.40       1295.00         $518.00
                                litigation issues.

 01/09/2021   JNP     PD        Conference with Iain A. W. Nasatir regarding            0.20       1295.00         $259.00
                                Post-Confirmation D&O issues.

 01/09/2021   JNP     PD        Conference with Joshua M. Fried, John A. Morris,        2.00       1295.00        $2,590.00
                                Gregory V. Demo and Ira D. Kharasch regarding
                                Plan and litigation issues.

 01/09/2021   JNP     PD        Conference with J. Dubel regarding Plan issues.         0.10       1295.00         $129.50

 01/09/2021   JMF     PD        Review confirmation objections and responses to         1.70       1050.00        $1,785.00
                                same.

 01/09/2021   JMF     PD        Telephone call with G. Demo, I. Kharasch, J. Morris     2.00       1050.00        $2,100.00
                                and J.N. Pomerantz re plan and upcoming hearing
                                issues.

 01/09/2021   JMF     PD        Draft summary and memo re open plan and related         0.80       1050.00         $840.00
                                hearing and litigation issues.

 01/09/2021   JMF     PD        Review Texas Tax Authorities calculations re            0.80       1050.00         $840.00
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                                                                                         Hours           Rate       Amount
                                assertion re prepetition taxes.
 01/09/2021   GVD     PD        Draft agenda for PSZJ internal call re plan issues        0.40        950.00         $380.00
                                and circulate same

 01/09/2021   GVD     PD        Internal meeting with PSZJ team re open plan issues       2.00        950.00        $1,900.00
                                and next steps

 01/09/2021   JE      PD        Work on confirmation brief on exculpation issue           7.00       1195.00        $8,365.00
                                (6.7); correspondence with Mr. Kharasch and Mr.
                                Pomerantz regarding exculpation, release and
                                injunction provisions of plan (.3).

 01/09/2021   KBD     PD        Call with Gregory Demo, J. Seery, T. Silva and A.         0.60       1195.00         $717.00
                                Stauber regarding plan issues.

 01/09/2021   KBD     PD        Telephone call with Gregory Demo regarding                0.20       1195.00         $239.00
                                revising plan documents.

 01/09/2021   KBD     PD        Revise plan documents.                                    1.20       1195.00        $1,434.00

 01/10/2021   IDK     PD        Conference call with J. Pomerantz re plan and             1.00       1325.00        $1,325.00
                                injunction provisions (.4); E-mails with J Elkin re
                                expanding exculpation to negligence as well, and
                                Palco issues, Palco appellate briefs, and other briefs
                                re exculpation (.3); E-mails with J Elkin, J.
                                Pomerantz re her further research, issues on plan
                                releases, and more on exculpation (.3).

 01/10/2021   IDK     PD        Review of latest correspondence with Dondero and          0.20       1325.00         $265.00
                                UCC on plan issues, including J. Pomerantz E-mails
                                with same (.2).

 01/10/2021   IDK     PD        Extensive E-mails with C Mackle re my feedback on         0.60       1325.00         $795.00
                                arguments in response to Senior Employee
                                objections to confirmation (.5); E-mails with J Fried
                                re his feedback as well and on their related claims
                                (.1).

 01/10/2021   IDK     PD        Telephone conference with J. Pomerantz and J Elkin        1.00       1325.00        $1,325.00
                                re plan release and injunction provisions (1.0).

 01/10/2021   JNP     PD        Conference with Ira D. Kharasch regarding Plan and        0.40       1295.00         $518.00
                                injunction provisions.

 01/10/2021   JNP     PD        Email to and from M. Lynn regarding call to discuss       0.10       1295.00         $129.50
                                plan.

 01/10/2021   JNP     PD        Conference with J. Elkin and Ira D. Kharasch              1.00       1295.00        $1,295.00
                                regarding Plan release and injunction provisions.

 01/10/2021   JNP     PD        Review emails between M. Clemente and M. Lynn             0.20       1295.00         $259.00
                                regarding Plan and emails with Board regarding
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                                                                                       Hours           Rate       Amount
                                same.
 01/10/2021   JNP     PD        Conference with J. Seery regarding Plan issues.         0.10       1295.00         $129.50

 01/10/2021   JNP     PD        Conference with J. Dubel regarding Plan issues.         0.10       1295.00         $129.50

 01/10/2021   JNP     PD        Continued review of Plan issues.                        0.20       1295.00         $259.00

 01/10/2021   JMF     PD        Analyze plan issues re IRS and Dallas county            0.80       1050.00         $840.00
                                treatment issues.

 01/10/2021   JMF     PD        Review summary and issues re TRO motion re plan         0.60       1050.00         $630.00
                                objection.

 01/10/2021   JMF     PD        Telephone calls with J.N. Pomerantz, G. Demo, J.        0.50       1050.00         $525.00
                                Morris and I. Kharasch re plan issues.

 01/10/2021   JMF     PD        Review response re employee plan objections and         1.70       1050.00        $1,785.00
                                draft comments to same.

 01/10/2021   GVD     PD        Review correspondence re memo on plan issues            0.10        950.00          $95.00

 01/10/2021   GVD     PD        Correspondence with KCC re ballots                      0.20        950.00         $190.00

 01/10/2021   GVD     PD        Review revised confirmation notice                      0.20        950.00         $190.00

 01/10/2021   JE      PD        Work on injunction provisions of brief and outline      7.90       1195.00        $9,440.50
                                same (3.3); review and revise exculpation provisions
                                of brief (1.4); call with Mr. Kharasch and Mr.
                                Pomerantz (1.0); review Fifth Circuit briefs in
                                Pacific Lumber and miscellaneous research on
                                debtor releases and concept of successor to debtor
                                (1.3); miscellaneous correspondence with Mr.
                                Pomerantz regarding plan and review provisions of
                                plan and disclosure statement as to implementation
                                of plan (.9).

 01/10/2021   KBD     PD        Review responses to plan objections.                    0.20       1195.00         $239.00

 01/11/2021   CHM     PD        Update insert re senior employee objection.             5.60        750.00        $4,200.00

 01/11/2021   HDH     PD        Continue research and drafting reply to F&A             6.60       1095.00        $7,227.00
                                confirmation objection

 01/11/2021   IAWN PD           Exchange emails with Jeffrey N Pomerantz re file        0.10       1145.00         $114.50
                                review.

 01/11/2021   IDK     PD        Telephone conference with J. Pomerantz re plan          0.10       1325.00         $132.50
                                issues and voting and discharge (.1).

 01/11/2021   IDK     PD        Telephone conference with C Mackle re draft             0.90       1325.00        $1,192.50
                                response to Senior Employee objection (.1); Review
                                of C Mackle’s substantial revised response to Senior
                                Employee objection (.4); Telephone conference with
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                                                                                         Hours           Rate       Amount
                                J. Pomerantz re same (.1); E-mails with C Mackle re
                                further issues and provisions in solicitation order re
                                claim splitting and voting (.3).
 01/11/2021   IDK     PD        E-mails with C Mackle re timing on next draft of          0.80       1325.00        $1,060.00
                                response to Senior Employee objection for CEO
                                Review, including Review and consider same (.4);
                                E-mail C Mackle re my markup of her draft insert re
                                same, including prep of same (.4).

 01/11/2021   IDK     PD        Attend conference call with CEO, attorneys re status      1.80       1325.00        $2,385.00
                                on responding to various plan objections (1.0);
                                Attend conference call with internal team, J.
                                Pomerantz, J Fried, G Demo, on all plan objections
                                and next steps (.8).

 01/11/2021   IDK     PD        Attend conference call with Dondero counsels, CEO         1.00       1325.00        $1,325.00
                                and J. Pomerantz re Dondero “new” potential plan
                                proposal (.8); Telephone conference with CEO and
                                J. Pomerantz re same (.1); Telephone conference
                                with J. Pomerantz re further confirmation objections
                                re Seery compensation (.1).

 01/11/2021   IDK     PD        Attend conference call with J Elkin, J. Pomerantz re      1.30       1325.00        $1,722.50
                                plan objection re releases, exculpation, injunctions
                                and counter-arguments (1.0); E-mails with J Elkin, J.
                                Pomerantz re Elkin’s draft outline of argument re
                                same and feedback (.3).

 01/11/2021   IDK     PD        E-mails with K Dine re issues and need for                0.40       1325.00         $530.00
                                memo/motion to either designate or disallow votes
                                of employees that will be terminated (.4).

 01/11/2021   IDK     PD        E-mails with D Grassgreen and H Hochman re status         0.10       1325.00         $132.50
                                on response to NPA objection (.1).

 01/11/2021   JNP     PD        Conference with J. Seery regarding call with M.           0.20       1295.00         $259.00
                                Clemente regarding Plan issues and call with
                                committee.

 01/11/2021   JNP     PD        Review J. Elkin outline regarding Plan confirmation       0.20       1295.00         $259.00
                                objections to release and exculpation.

 01/11/2021   JNP     PD        Conference with B. Sharp regarding provision of           0.10       1295.00         $129.50
                                information and Plan issues.

 01/11/2021   JNP     PD        Review objection based upon lack of disclosure            0.20       1295.00         $259.00
                                regarding insider compensation and draft email
                                regarding same.

 01/11/2021   JNP     PD        Conference with J. Dubel regarding Plan issues.           0.20       1295.00         $259.00

 01/11/2021   JNP     PD        Conference with Ira D. Kharasch, Gregory V. Demo          0.70       1295.00         $906.50
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                                                                                        Hours           Rate       Amount
                                and Joshua M. Fried regarding Plan issues (partial).
 01/11/2021   JNP     PD        Conference with J. Elkin and Ira D. Kharasch             1.00       1295.00        $1,295.00
                                regarding release, exculpation and injunction
                                provisions.

 01/11/2021   JNP     PD        Conference with M. Lynn, J. bonds, Ira D. Kharasch       0.80       1295.00        $1,036.00
                                and J. Seery regarding Plan issues.

 01/11/2021   JNP     PD        Conference with M. Clemente regarding Plan issues.       0.30       1295.00         $388.50

 01/11/2021   JNP     PD        Review cases regarding Barton Doctrine.                  0.20       1295.00         $259.00

 01/11/2021   JNP     PD        Conference with M. Hankin regarding Plan issues.         0.30       1295.00         $388.50

 01/11/2021   JNP     PD        Review proposed insert into confirmation brief to        0.10       1295.00         $129.50
                                address insider compensation issues.

 01/11/2021   JNP     PD        Review ballot summary and email regarding same.          0.10       1295.00         $129.50

 01/11/2021   JNP     PD        Conference with Ira D. Kharasch regarding Plan           0.30       1295.00         $388.50
                                issues (3x).

 01/11/2021   JNP     PD        Conference with J. Seery, Gregory V. Demo and Ira        1.00       1295.00        $1,295.00
                                D. Kharasch regarding Plan issues.

 01/11/2021   JNP     PD        Conference with Ira D. Kharasch and J. Seery after       0.10       1295.00         $129.50
                                call with Bonds Ellis.

 01/11/2021   MFC     PD        Emails to/from G. Demo regarding status of               0.10       1095.00         $109.50
                                assumed contracts list.

 01/11/2021   MFC     PD        Revisions to assumed contract list, notice and           0.80       1095.00         $876.00
                                counter party list.

 01/11/2021   MFC     PD        EMails from/to J. O'Neill regarding filing Plan          0.10       1095.00         $109.50
                                Supplement.

 01/11/2021   MFC     PD        Review additional list of contracts and revise notice    2.30       1095.00        $2,518.50
                                to incorporate same.

 01/11/2021   MFC     PD        Multiple emails to/from J. Donohue regarding             0.30       1095.00         $328.50
                                contract list issues.

 01/11/2021   MFC     PD        EMails regarding filing and service of assumed           0.40       1095.00         $438.00
                                contract list/Plan Supplement.

 01/11/2021   MFC     PD        Numerous emails to/from local counsel and KCC            0.60       1095.00         $657.00
                                regarding filing and service of Plan supplement.

 01/11/2021   MFC     PD        Finalizing service lists for second notice of assumed    0.80       1095.00         $876.00
                                contracts.

 01/11/2021   MFC     PD        Call with B. Sharp . assumed contracts questions.        0.20       1095.00         $219.00
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 01/11/2021   MFC     PD        Call with G. Demo re second contract assumption        0.20       1095.00         $219.00
                                notice and filing.

 01/11/2021   MFC     PD        EMails with DSI and G. Demo regarding                  0.50       1095.00         $547.50
                                finalization of contract list for Plan Supplement.

 01/11/2021   MFC     PD        EMails from/to DSI re revisions to Plan Supplement.    0.10       1095.00         $109.50

 01/11/2021   JMF     PD        Draft confirmation brief (3.6); Review and edit        5.20       1050.00        $5,460.00
                                confirmation response re objections (1.6).

 01/11/2021   JMF     PD        Telephone call with G. Demo, J.N. Pomerantz, I.        0.80       1050.00         $840.00
                                Kharasch re confirmation issues.

 01/11/2021   JMF     PD        Review IRS and Dallas revisions re confirmation        0.60       1050.00         $630.00
                                objection (.6); emails to D. Adams and L. Spindler
                                re same.

 01/11/2021   JMF     PD        Telephone call with B. Sharp re plan issues.           0.10       1050.00         $105.00

 01/11/2021   GVD     PD        Conference with E. Bromagen re open plan items         0.20        950.00         $190.00

 01/11/2021   GVD     PD        Conference with PSZJ re open plan items                0.80        950.00         $760.00

 01/11/2021   GVD     PD        Correspondence with Bonds Ellis re ballots             0.40        950.00         $380.00

 01/11/2021   GVD     PD        Conference with PSZJ and J. Seery re open issues re    1.00        950.00         $950.00
                                plan and next steps

 01/11/2021   JE      PD        Work on outline of injunction/gatekeeper issues        7.20       1195.00        $8,604.00
                                (3.4); call with Mr. Kharasch and Mr. Pomerantz
                                (1.0); additional research on Barton Doctrine and
                                exculpation (2.8).

 01/11/2021   KBD     PD        Review issues relating to response to plan             0.20       1195.00         $239.00
                                objections.

 01/12/2021   CHM     PD        Update briefing re senior employees per I. Kharasch    5.50        750.00        $4,125.00
                                and J. Fried comments; email same to I. Kharasch.

 01/12/2021   HDH     PD        Further work on reply to F&A confirmation              5.20       1095.00        $5,694.00
                                objection

 01/12/2021   IAWN PD           Review file and create chronology re placement of      2.20       1145.00        $2,519.00
                                insurance by Aon

 01/12/2021   IAWN PD           Draft email with chronology                            0.20       1145.00         $229.00

 01/12/2021   IAWN PD           Exchange emails with Jeffrey N Pomerantz re            0.20       1145.00         $229.00
                                placement

 01/12/2021   IAWN PD           Exchange emails with Ira D Kharasch re Highland        1.00       1145.00        $1,145.00
                                as insured
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 01/12/2021   IAWN PD           Review file and exchange emails with Jeffrey N           0.40       1145.00         $458.00
                                Pomerantz re Dubel involvement

 01/12/2021   IAWN PD           Exchange emails with Ira D Kharasch re policy as         0.20       1145.00         $229.00
                                property of estate

 01/12/2021   IAWN PD           Exchange emails with demo and Jeffrey N                  0.10       1145.00         $114.50
                                Pomerantz re call with Aon

 01/12/2021   IDK     PD        Review of J Elkin updated next outline of arguments      1.30       1325.00        $1,722.50
                                on injunction/exculpation issues (.3); Attend initial
                                conference call with J Elkin and J. Pomerantz re
                                response to objections to releases, exculpation,
                                injunctions (.7); Attend 2d conference call re same
                                (.3).

 01/12/2021   IDK     PD        E-mails with C Mackle re timing on next draft re         1.20       1325.00        $1,590.00
                                response to senior employee objection (.2); Review
                                of revised draft re same (.2); Telephone conference
                                with C Mackle re need to reorganize response to
                                Senior Employee objection to confirmation (.2);
                                E-mail J. Pomerantz re his feedback re same (.1);
                                Review and consider C Mackle’s further revised
                                memo/response re same, along with my extensive
                                feedback on same (.5).

 01/12/2021   IDK     PD        Telephone conference with J. Pomerantz re plan           0.40       1325.00         $530.00
                                issues including partnership agreement
                                assumption/rejection issues (.1); E-mails with G
                                Demo re memo on extensive issues on assuming part
                                agreement, as well as relevant parts of plan/trust
                                agreement for withholding funds for indemnification
                                claims (.3).

 01/12/2021   IDK     PD        Attend telephone conference with J. Pomerantz, J         1.00       1325.00        $1,325.00
                                Fried, G Demo on all outstanding plan objections
                                and potential responses (.9); Review briefly
                                correspondence re draft voting report (.1).

 01/12/2021   JNP     PD        Conference with CLO issuers counsel and Gregory          0.30       1295.00         $388.50
                                V. Demo regarding Plan.

 01/12/2021   JNP     PD        Review employee voting and discrimination section        0.10       1295.00         $129.50
                                of confirmation brief.

 01/12/2021   JNP     PD        Conference with J. Dubel regarding Plan issues.          0.10       1295.00         $129.50

 01/12/2021   JNP     PD        Conference with Wilmer Hale and Gregory V.               0.30       1295.00         $388.50
                                Demo regarding Plan issues relating to partnership
                                agreement.

 01/12/2021   JNP     PD        Conference with Ira D. Kharasch and J. Elkin             0.80       1295.00        $1,036.00
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                                                                                        Hours           Rate       Amount
                                regarding exculpation and release provisions of Plan
                                (2x).
 01/12/2021   JNP     PD        Conference with Gregory V. Demo regarding Plan           0.10       1295.00         $129.50
                                indemnification provisions.

 01/12/2021   JNP     PD        Conference with Gregory V. Demo regarding Plan           0.10       1295.00         $129.50
                                related issues.

 01/12/2021   JNP     PD        Review and comment on proposed Plan ballot               0.20       1295.00         $259.00
                                summary.

 01/12/2021   JNP     PD        Review further outline of Plan release and injunction    0.20       1295.00         $259.00
                                provisions.

 01/12/2021   JNP     PD        Emails with Sidley regarding compensation of             0.10       1295.00         $129.50
                                liquidating trustee and independent oversight
                                committee member.

 01/12/2021   JNP     PD        Emails with DSI regarding expected distribution to       0.10       1295.00         $129.50
                                creditors.

 01/12/2021   JNP     PD        Conference with Gregory V. Demo regarding call           0.10       1295.00         $129.50
                                with issuers counsel.

 01/12/2021   JNP     PD        Conference with Gregory V. Demo, Joshua M. Fried         0.90       1295.00        $1,165.50
                                and Ira D. Kharasch regarding Plan issues.

 01/12/2021   MFC     PD        Draft third notice of assumed contracts.                 0.50       1095.00         $547.50

 01/12/2021   MFC     PD        Emails from/to G. Demo and DSI regarding loan            0.20       1095.00         $219.00
                                agreements included on assumed contract list.

 01/12/2021   MFC     PD        Emails from/to G. Demo regarding additional              0.20       1095.00         $219.00
                                contract issues.

 01/12/2021   MFC     PD        Emails from/to KCC regarding service issues.             0.10       1095.00         $109.50

 01/12/2021   MFC     PD        Emails to/from G. Demo regarding assumed contract        0.20       1095.00         $219.00
                                list service issue.

 01/12/2021   MFC     PD        Prepare list of open contract issues.                    0.40       1095.00         $438.00

 01/12/2021   MFC     PD        Call with KCC regarding service issues.                  0.10       1095.00         $109.50

 01/12/2021   JEO     PD        Review issues of plan voting and voting procedures       1.40       1050.00        $1,470.00

 01/12/2021   JMF     PD        Telephone call with J.N. Pomerantz, I. Kharasch, G.      0.90       1050.00         $945.00
                                Demo re confirmation issues.

 01/12/2021   JMF     PD        Review voting summary and report and comments to         0.80       1050.00         $840.00
                                same.

 01/12/2021   JMF     PD        Research 1129 issues, voting issues, and draft           2.70       1050.00        $2,835.00
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                                                                                         Hours           Rate        Amount
                                confirmation brief.
 01/12/2021   JMF     PD        Review Texas Taxing claims (.4) and IRS claim (.2);       0.90       1050.00          $945.00
                                telephone call with J. Donahue re same (.3).

 01/12/2021   GVD     PD        Conference with PSZJ plan team re open plan issues        0.90        950.00          $855.00

 01/12/2021   GVD     PD        Correspondence with J. Pomerantz re claimant trust        0.40        950.00          $380.00
                                issues

 01/12/2021   JE      PD        Work on confirmation brief outline relating to           11.70       1195.00        $13,981.50
                                exculpation, release and injunction and certain
                                related research and review of objections filed on
                                these issues (10.6); two call with Mr. Kharasch and
                                Mr. Pomerantz regarding brief issues (.7); review
                                miscellaneous correspondence with Mr. Demo
                                regarding indemnification provisions in trust and
                                new corporate formation documents relating to plan
                                (.2); correspondence with Mr. Fried regarding larger
                                brief and structure issues (.2).

 01/13/2021   CHM     PD        Further updates to confirmation brief re senior           2.40        750.00         $1,800.00
                                employees.

 01/13/2021   CHM     PD        Updates and email correspondence with J.                  1.00        750.00          $750.00
                                Pomerantz and I. Kharash re senior employees.

 01/13/2021   DG      PD        Review research and draft insert to confirmation          3.70       1295.00         $4,791.50
                                brief (2.8); review insert from H. Hochman (.5);
                                further revisions to insert (.4)

 01/13/2021   HDH     PD        Review correspondence and analysis regarding              0.40       1095.00          $438.00
                                confirmation issues

 01/13/2021   IAWN PD           Exchange emails with demo and Jeffrey N                   0.10       1145.00          $114.50
                                Pomerantz and Dubel re telephone conference re
                                Aon

 01/13/2021   IAWN PD           Exchange emails with Aon re availability                  0.10       1145.00          $114.50

 01/13/2021   IAWN PD           Telephone conference with Aon and Caruso and              0.60       1145.00          $687.00
                                Jeffrey N Pomerantz re confirmation hearing

 01/13/2021   IDK     PD        Telephone conference with J. Pomerantz re my              0.10       1325.00          $132.50
                                markup of response to Senior Employee objection
                                (.1).

 01/13/2021   IDK     PD        Telephone conference with J. Pomerantz re Stinson         0.30       1325.00          $397.50
                                settlement and request for them to vote for plan (.1);
                                Review of correspondence re new revised Senior
                                Employee stipulation for Waterhouse, Sugent and
                                brief review (.2).
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                                                                                         Hours           Rate       Amount

 01/13/2021   IDK     PD        Review of J Elkin’s initial revise memo earlier today     2.40       1325.00        $3,180.00
                                on injunctions, releases, exculpation, as well as more
                                fulsome draft later on all issues (.7); Telephone
                                conference with J. Pomerantz re same (.1); Attend
                                conference call with J. Pomerantz and J Elkin re her
                                extensive revised memo on exculpation, releases,
                                injunctions (1.6).

 01/13/2021   IDK     PD        Attend conference call with J. Pomerantz, G Demo,         0.80       1325.00        $1,060.00
                                J Fried on status of responses to objections, CEO
                                bonus status and potential motion (.7); E-mails with
                                J Davidson re need for assistance on injunction
                                related issues (.1).

 01/13/2021   IDK     PD        E-mails with H Hochman and D Grassgreen on                0.50       1325.00         $662.50
                                initial draft of part of response to CLO objectors and
                                status (.3); E-mail to G Demo re same and draft
                                settlement agreement with CLO issuers for consent
                                to assumption, including brief review (.2).

 01/13/2021   IDK     PD        Numerous E-mails with C Mackle on her various             1.30       1325.00        $1,722.50
                                revisions to response to senior employee claim
                                confirmation objections, including my
                                feedback/changes to same, as well as J. Pomerantz’s,
                                and further revisions (.9); E-mails with CEO re our
                                draft response re same, including CEO and J.
                                Pomerantz further comments, and C Mackle
                                feedback to same (.4).

 01/13/2021   IDK     PD        Review of revisions to summary chart of plan              0.20       1325.00         $265.00
                                objections and status of responses (.2).

 01/13/2021   JNP     PD        Conference with Gregory V. Demo, Ira D. Kharasch          0.70       1295.00         $906.50
                                and Joshua M. Fried regarding Plan objections call.

 01/13/2021   JNP     PD        Conference with J. Elkin and Ira D. Kharasch              1.60       1295.00        $2,072.00
                                regarding Plan injunction and release provisions.

 01/13/2021   JNP     PD        Review and revise insert to brief section on              0.20       1295.00         $259.00
                                employee stipulation and emails regarding same.

 01/13/2021   JNP     PD        Review and revise employee Plan insert; Conference        0.60       1295.00         $777.00
                                with Ira D. Kharasch regarding same and email with
                                Cia H. Mackle regarding same.

 01/13/2021   KKY     PD        Draft (.1) and prepare for filing (.1) certificate of     0.20        460.00          $92.00
                                service for [signed] disclosure statement order

 01/13/2021   MFC     PD        Research regarding limited partnership agreement as       3.70       1095.00        $4,051.50
                                executory contract and Plan issues.

 01/13/2021   JEO     PD        Email to claims agent re ballots                          0.20       1050.00         $210.00
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 01/13/2021   JEO     PD        Email with Jeff Pomerantz re ballots                      0.20       1050.00         $210.00

 01/13/2021   JMF     PD        Draft edits to plan to address confirmation               2.30       1050.00        $2,415.00
                                objections.

 01/13/2021   JMF     PD        Draft reply to objections and confirmation brief          4.40       1050.00        $4,620.00
                                (3.7); telephone call with G. Demo, I. Kharasch re
                                same (.7).

 01/13/2021   JMF     PD        Draft summary and status of responses to objections.      0.80       1050.00         $840.00

 01/13/2021   GVD     PD        Conference with E. Bromagen re plan issues                0.40        950.00         $380.00

 01/13/2021   GVD     PD        Correspondence re open issues re confirmation brief       0.10        950.00          $95.00

 01/13/2021   GVD     PD        Conference with J. Fried re plan issues                   0.10        950.00          $95.00

 01/13/2021   GVD     PD        Conference with PSZJ team re plan issues                  0.70        950.00         $665.00

 01/13/2021   GVD     PD        Review and revise draft senior employee stipulation       0.70        950.00         $665.00

 01/13/2021   JE      PD        Work on brief outline (5.7); conference call with Mr.     7.30       1195.00        $8,723.50
                                Kharasch and Mr. Pomerantz regarding outline (1.6).

 01/14/2021   CHM     PD        Review of Highland hearing transcripts and                2.80        750.00        $2,100.00
                                correspond with G. Demo re same.

 01/14/2021   CHM     PD        Update senior employee response.                          0.60        750.00         $450.00

 01/14/2021   DG      PD        Review HH draft insert to confirmation objection          0.70       1295.00         $906.50
                                and emails with I. Kharasch and G. Demo re: same

 01/14/2021   HDH     PD        Revise response to confirmation objection                 5.60       1095.00        $6,132.00

 01/14/2021   HDH     PD        Review 365 analysis regarding confirmation                0.20       1095.00         $219.00
                                objection

 01/14/2021   IAWN PD           Exchange emails with Aon re call                          0.10       1145.00         $114.50

 01/14/2021   IAWN PD           Exchange emails with Jeffrey N Pomerantz re               0.10       1145.00         $114.50
                                examination of Aon

 01/14/2021   IAWN PD           Review Caruso email re Aon                                0.10       1145.00         $114.50

 01/14/2021   IDK     PD        Review of correspondence with J Morris re depos of        0.70       1325.00         $927.50
                                Leventon/Ellington re objection (.1); E-mails with J
                                Morris, J. Pomerantz re hook for relevancy on same
                                depos re Gov Re payments and tie to confirmation
                                (.3); E-mails with J Morris, J. Pomerantz re issues re
                                indemnification claims asserted by Senior
                                Employees and related confirmation issues (.3).

 01/14/2021   IDK     PD        Review of D Grassgreen initial insert to response of      0.70       1325.00         $927.50
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                                                                                        Hours           Rate       Amount
                                CLOs on objection to conference and objection to
                                assumption of management agreements, including
                                her correspondence re same (.4); Further
                                correspondence with D Grassgreen and H Hochman
                                re other parts of same brief, and research results on
                                hypothetical/actual test cases in 5th Cir (.3).
 01/14/2021   IDK     PD        E-mails with G Demo, J. Pomerantz re status on           0.20       1325.00         $265.00
                                settlement with CLO issuers, and their request for
                                gatekeeper protection (.2).

 01/14/2021   IDK     PD        E-mail to Senior Employee counsels re Gov Re and         0.70       1325.00         $927.50
                                prior funding from policy to Neier (.2); E-mails
                                with G Demo re evidence in support of same on
                                Neier (.2); Telephone conference with J. Pomerantz
                                re same and next steps as well as issues on
                                indemnity, Gov Re payments to law firms (.3).

 01/14/2021   IDK     PD        E-mails with J Elkin re her next turn of response        0.50       1325.00         $662.50
                                outline of injunctions, etc., including review of
                                same, as well as form of next turn (.5).

 01/14/2021   IDK     PD        E-mails with C Husnick, J. Pomerantz re C Husnick        2.10       1325.00        $2,782.50
                                materials/ideas on exculpation arguments made in
                                SD Texas, and Calpine case (.4); E-mails with I
                                Pachulski and J Davidson re background of case and
                                issues re exculpation, injunctions, releases in Plan
                                and need for call today on same (.4); Attend
                                conference call with I Pachulski, J Davidson, J.
                                Pomerantz, J Elkin on objections re exculpation,
                                releases, injunctions, indemnities (1.3).

 01/14/2021   IDK     PD        Attend internal group conference call on status of       1.00       1325.00        $1,325.00
                                responses to all objections to plan (1.0).

 01/14/2021   IDK     PD        E-mails with K Dine, others on issues of terminating     0.20       1325.00         $265.00
                                plans and whether that defeats claims for voting re
                                deferred compensation plan (.2).

 01/14/2021   IDK     PD        E-mails with G Demo re plan treatment issues re          1.30       1325.00        $1,722.50
                                “employees” for exculpation question on
                                indemnification claims by Senior Employees (.2);
                                Prep of draft response to counsel for Senior
                                Employees on its indemnification claims, demand
                                for extending D&O insurance, and administrative
                                reserve (.5); Numerous E-mails with J. Pomerantz
                                re same, including his feedback on changes, and
                                need to get copies of cited documents in senior
                                employees’ demand letter before officially
                                responding (.5); E-mail Senior Employee counsel re
                                same (.1).
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 01/14/2021   IDK     PD        E-mails with CEO, others on voting issues and          0.20       1325.00         $265.00
                                employees’ remaining claims even after termination
                                of bonus plan for voting (.2).

 01/14/2021   JNP     PD        Conference with Gregory V. Demo regarding Plan         0.20       1295.00         $259.00
                                issues.

 01/14/2021   JNP     PD        Conference with J. Elkin, Ira D. Kharasch, Jeffrey     1.30       1295.00        $1,683.50
                                H. Davidson and Isaac M. Pachulski regarding Plan
                                and injunction provisions.

 01/14/2021   JNP     PD        Conference with M. Clemente regarding Plan issues.     0.10       1295.00         $129.50

 01/14/2021   JNP     PD        Conference with Ira D. Kharasch regarding response     0.30       1295.00         $388.50
                                to latest letter from employees counsel and related
                                matters.

 01/14/2021   JNP     PD        Conference with J. Seery regarding Plan issues.        0.50       1295.00         $647.50

 01/14/2021   MFC     PD        Emails to/from G. Demo regarding Plan issue.           0.10       1095.00         $109.50

 01/14/2021   MFC     PD        Review Plan related pleadings docketed.                0.20       1095.00         $219.00

 01/14/2021   MFC     PD        Email to PSZJ group regarding LP agreement issue.      0.10       1095.00         $109.50

 01/14/2021   MFC     PD        Call with G. Demo regarding Plan issues.               0.20       1095.00         $219.00

 01/14/2021   MFC     PD        FinalizeThird notice of assumed contracts and          0.40       1095.00         $438.00
                                service list issues.

 01/14/2021   JEO     PD        Follow up with KCC re Redeemer Claim                   0.30       1050.00         $315.00

 01/14/2021   JMF     PD        Draft response to objections and memorandum in         4.50       1050.00        $4,725.00
                                support of plan.

 01/14/2021   JMF     PD        Telephone call with I. Kharasch, J.N. Pomerantz, G.    1.00       1050.00        $1,050.00
                                Demo re plan issues.

 01/14/2021   JMF     PD        Research re 1129 issues and post confirmation bios     0.80       1050.00         $840.00
                                of professionals.

 01/14/2021   JHD     PD        Correspondence from Gregory V. Demo re trust           2.40       1645.00        $3,948.00
                                documents and LP documents; preliminary review
                                of trust documents and LP documents; prepare
                                correspondence re same

 01/14/2021   JHD     PD        Correspondence from Judy Elkin re plan issues;         0.70       1645.00        $1,151.50
                                analyze memo re same

 01/14/2021   JHD     PD        Correspondence from Ira D. Kharasch re plan issues;    0.20       1645.00         $329.00
                                prepare correspondence to Ira D. Kharasch re same;
                                correspondence from Isaac M. Pachulski re same
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 01/14/2021   JHD     PD        Conference call with PSZJ team re plan issues and       1.30       1645.00         $2,138.50
                                strategies

 01/14/2021   IMP     PD        Exchange emails re follow-up call                       0.10       1695.00          $169.50

 01/14/2021   IMP     PD        Review email from Ira D. Kharasch                       0.10       1695.00          $169.50

 01/14/2021   IMP     PD        Exchange emails with Ira D. Kharasch, review email      0.20       1695.00          $339.00
                                from Jeffrey H. Davidson re plan matters/call

 01/14/2021   IMP     PD        Extended conference call with office attorneys re       1.30       1695.00         $2,203.50
                                plan issues

 01/14/2021   IMP     PD        Exchange emails re call                                 0.10       1695.00          $169.50

 01/14/2021   IMP     PD        Prepare for conference call re plan issues; partial     0.50       1695.00          $847.50
                                review of memo re same

 01/14/2021   IMP     PD        Review email from Pomerantz re documents                0.10       1695.00          $169.50

 01/14/2021   IMP     PD        Review email re confirmation objections                 0.10       1695.00          $169.50

 01/14/2021   IMP     PD        Review/analysis of memo re plan issues                  1.10       1695.00         $1,864.50

 01/14/2021   GVD     PD        Review transcripts re plan issues                       0.20        950.00          $190.00

 01/14/2021   GVD     PD        Conference with PSZJ team re plan issues                1.00        950.00          $950.00

 01/14/2021   JE      PD        Work on brief outline and do additional research        9.90       1195.00        $11,830.50
                                (8.6); conference call with Mr. Kharasch, Mr.
                                Davidson, Mr. Pachulski and Mr. Pomerantz
                                regarding outline (1.3).

 01/15/2021   DG      PD        Review and revise insert to brief (1.1); emails with    1.20       1295.00         $1,554.00
                                H. Hochman and I. Kharasch (.1)

 01/15/2021   HDH     PD        Review and respond to correspondence regarding          0.30       1095.00          $328.50
                                F&A objection

 01/15/2021   HDH     PD        Revise reply insert                                     0.40       1095.00          $438.00

 01/15/2021   IAWN PD           Telephone conference with Jeffrey N Pomerantz re        0.10       1145.00          $114.50
                                insurance issue

 01/15/2021   IAWN PD           Review emails between Aon and Jeffrey N                 0.10       1145.00          $114.50
                                Pomerantz re approval for testimony and timing

 01/15/2021   IAWN PD           Telephone conference with Aon, Morris and Jeffrey       0.20       1145.00          $229.00
                                N Pomerantz re testimony needed

 01/15/2021   IDK     PD        Review and consider G Demo’s markup of response         0.70       1325.00          $927.50
                                to Senior Employee objection (.2); E-mails with
                                counsel to Senior Employees re their desire for
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                                                                                        Hours           Rate       Amount
                                settlement call and coordination (.3); E-mails with G
                                Demo and J. Pomerantz re G Demo markup and
                                concerns on Senior Employee attached chart on
                                amounts, including my feedback on further changes
                                (.2).
 01/15/2021   IDK     PD        E-mails with J Morris, others re correspondence          0.80       1325.00        $1,060.00
                                with counsel to Leventon/Ellington, and need for
                                call (.2); Attend conference call with J Morris, G
                                Demo, J. Pomerantz on various plan objections,
                                getting depos of Leventon and Ellington, standing
                                issues, Dondero, NextPoint (.5); Review of
                                correspondence with AON on expert testimony for
                                confirmation (.1).

 01/15/2021   IDK     PD        Numerous E-mails with I Pachulski, J Davidson, J         0.90       1325.00        $1,192.50
                                Elkin on post-confirmation jurisdiction, Barton
                                Doctrine, vexatious litigant doctrine, questions on
                                trust and partner agreements, as well as I Pachulski
                                markup of trust agreement for jurisdiction issues
                                (.6); E-mails with J Elkin re need to address other
                                similar objections to jurisdiction, injunctions, etc.
                                and issues of CLO contract rights (.3).

 01/15/2021   IDK     PD        Attend conference call with I Pachulski, J.              1.40       1325.00        $1,855.00
                                Davidson, J. Pomerantz, others on injunction,
                                exculpation, releases and various objection and
                                potential plan amendments (1.1); Telephone
                                conference with J. Pomerantz re same and next steps
                                (.1); E-mails with J Davidson re same and drafting
                                logistics (.2).

 01/15/2021   IDK     PD        Review and revise summary chart on all plan              0.20       1325.00         $265.00
                                objection and responses (.4); E-mails with J Fried
                                and other attorneys re same chart and next steps for
                                same (.2).

 01/15/2021   IDK     PD        E-mails with J. Pomerantz, UBS on communications         0.30       1325.00         $397.50
                                with Dondero counsel on his plan offer (.1); Review
                                of Dondero’s next version of his plan proposal (.2).

 01/15/2021   IDK     PD        Numerous E-mails with G Demo, J. Pomerantz re G          0.50       1325.00         $662.50
                                Demo’s extensive revisions to response brief on
                                Senior Employees’ objections, including review and
                                consider same, issues on the chart relied on by
                                Senior Employees, including my feedback to
                                changes (.5).

 01/15/2021   IDK     PD        Review draft from H Hochman of response to CLO           1.30       1325.00        $1,722.50
                                objecting parties to assumption through plan of
                                management agreements (.4); Numerous E-mails
                                with H Hochman, D Grassgreen re my list of
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                                                                                       Hours           Rate       Amount
                                changes to same, and further issues to explore (.6);
                                Review briefly D Grassgreen insert on actual vs
                                hypothetical test (.3).
 01/15/2021   JNP     PD        Prepare bullet point outline of injunction and          0.30       1295.00         $388.50
                                exculpation provisions.

 01/15/2021   JNP     PD        Conference with J. Dubel regarding Dondero Term         0.10       1295.00         $129.50
                                Sheet.

 01/15/2021   JNP     PD        Conference with Iain A. W. Nasatir regarding            0.10       1295.00         $129.50
                                confirmation hearing evidence.

 01/15/2021   JNP     PD        Conference with M. Clemente regarding post              0.10       1295.00         $129.50
                                effective date compensation of Claimant Trustee.

 01/15/2021   JNP     PD        Review J. Dondero proposed term sheet.                  0.10       1295.00         $129.50

 01/15/2021   JNP     PD        Email to J. Elkin regarding research on independent     0.10       1295.00         $129.50
                                directors.

 01/15/2021   JNP     PD        Email to and from AON regarding confirmation            0.10       1295.00         $129.50
                                evidence.

 01/15/2021   JNP     PD        Review email from senior employees counsel              0.10       1295.00         $129.50
                                regarding Plan issues.

 01/15/2021   JNP     PD        Email with Board regarding new proposed term            0.10       1295.00         $129.50
                                sheet from Dondero.

 01/15/2021   JNP     PD        Conference with Gregory V. Demo and Jones               0.30       1295.00         $388.50
                                Walker regarding CLO issues.

 01/15/2021   JNP     PD        Email to and from D. Dandeneau regarding call to        0.10       1295.00         $129.50
                                discuss settlement.

 01/15/2021   JNP     PD        Conference with Isaac M. Pachulski, Jeffrey H.          1.10       1295.00        $1,424.50
                                Davidson, Ira D. Kharasch and J. Elkin regarding
                                Plan issues.

 01/15/2021   JNP     PD        Conference with John A. Morris, Ira D. Kharasch         0.50       1295.00         $647.50
                                and Gregory V. Demo regarding Plan discovery
                                issues and related.

 01/15/2021   JNP     PD        Conference with J. Landis regarding AON                 0.20       1295.00         $259.00
                                testimony.

 01/15/2021   JNP     PD        Conference with Gregory V. Demo regarding Plan          0.10       1295.00         $129.50
                                issue.

 01/15/2021   JNP     PD        Conference with J Seery regarding UBS,                  0.30       1295.00         $388.50
                                confirmation issues, NPA note and related.

 01/15/2021   JNP     PD        Review Gregory V. Demo comments to senior               0.10       1295.00         $129.50
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                                employee stipulation and comment thereon.
 01/15/2021   JNP     PD        Conference with Ira D. Kharasch regarding Plan           0.20       1295.00         $259.00
                                issues.

 01/15/2021   JNP     PD        Email to J. Bonds regarding term sheet.                  0.30       1295.00         $388.50

 01/15/2021   PJJ     PD        Prepare Plan confirmation binder.                        0.20        460.00          $92.00

 01/15/2021   MFC     PD        EMails regarding revised notice and filing/service of    0.20       1095.00         $219.00
                                same.

 01/15/2021   MFC     PD        Additional research regarding partnership                3.20       1095.00        $3,504.00
                                agreements and draft email correspondence
                                summary

 01/15/2021   JMF     PD        Review bonus motion and pleadings re plan                0.80       1050.00         $840.00
                                objections.

 01/15/2021   JMF     PD        Draft opposition to objections to confirmation and       4.60       1050.00        $4,830.00
                                brief.

 01/15/2021   JMF     PD        Review plan supplement claimant trust and litigation     0.80       1050.00         $840.00
                                trust documents.

 01/15/2021   JMF     PD        Update chart re pending/status of objections.            0.80       1050.00         $840.00

 01/15/2021   JHD     PD        Conference call with PSZJ team re response to plan       1.30       1645.00        $2,138.50
                                objections

 01/15/2021   JHD     PD        Research re jurisdiction issues                          0.60       1645.00         $987.00

 01/15/2021   JHD     PD        Correspondence from Isaac M. Pachulski re plan           0.30       1645.00         $493.50
                                issues under new LP agreement; correspondence
                                from Gregory V. Demo re same

 01/15/2021   JHD     PD        Analyze trust agreements                                 1.50       1645.00        $2,467.50

 01/15/2021   JHD     PD        Prepare correspondence to PSZJ team re plan issues       0.30       1645.00         $493.50

 01/15/2021   JHD     PD        Correspondence from Jeff Pomerantz re response to        0.20       1645.00         $329.00
                                plan objections

 01/15/2021   JHD     PD        Analyze proposed revisions to trust agreement and        0.20       1645.00         $329.00
                                correspondence from Isaac M. Pachulski re same

 01/15/2021   JHD     PD        Research re plan objections                              0.80       1645.00        $1,316.00

 01/15/2021   JHD     PD        Correspondence from Isaac M. Pachulski re                0.40       1645.00         $658.00
                                response to plan objections; analyze draft outline of
                                arguments; prepare correspondence re same

 01/15/2021   JHD     PD        Analyze limited partnership agreements                   2.10       1645.00        $3,454.50
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 01/15/2021   JHD     PD        Correspondence from Gregory V. Demo re plan              0.30       1645.00         $493.50
                                structure; analyze slides re same

 01/15/2021   JHD     PD        Correspondence from Ira D. Kharasch re response to       0.20       1645.00         $329.00
                                plan objections; prepare correspondence to Ira D.
                                Kharasch re same

 01/15/2021   JHD     PD        Correspondence from Judy Elkin re plan issues            0.10       1645.00         $164.50

 01/15/2021   JHD     PD        Correspondence from Judy Elkin re plan issues            0.10       1645.00         $164.50

 01/15/2021   JHD     PD        Multiple emails with Isaac M. Pachulski and              0.40       1645.00         $658.00
                                Gregory V. Demo re plan issues and related matters

 01/15/2021   JHD     PD        Correspondence from Judy Elkin re precedents             0.30       1645.00         $493.50
                                supporting plan provisions; correspondence from
                                Isaac M. Pachulski re same

 01/15/2021   IMP     PD        Review email from Jeffrey H. Davidson re plan            0.10       1695.00         $169.50
                                issue

 01/15/2021   IMP     PD        Review email from Elkin re research                      0.10       1695.00         $169.50

 01/15/2021   IMP     PD        Review email from Elkin re confirmation issue            0.10       1695.00         $169.50

 01/15/2021   IMP     PD        Review new partnership agreement for debtor re           0.50       1695.00         $847.50
                                certain plan issues; analyze issues; draft email to
                                PSZJ group re same

 01/15/2021   IMP     PD        Review/analyze/respond to email from Elkin re            0.20       1695.00         $339.00
                                follow-up research re plan issue

 01/15/2021   IMP     PD        Review materials, research, to prepare for group call    0.60       1695.00        $1,017.00
                                re confirmation issues

 01/15/2021   IMP     PD        Extended conference call with office attorneys re        1.30       1695.00        $2,203.50
                                plan issues, arguments, briefing

 01/15/2021   IMP     PD        Review email from Elkin re follow-up question            0.10       1695.00         $169.50

 01/15/2021   IMP     PD        Review email from Gregory V. Demo re plan                0.10       1695.00         $169.50
                                structure

 01/15/2021   IMP     PD        Review email from Gregory V. Demo re plan issue          0.10       1695.00         $169.50

 01/15/2021   IMP     PD        Exchange emails with Gregory V. Demo re trust            0.10       1695.00         $169.50
                                agreements

 01/15/2021   IMP     PD        Draft outline of arguments re certain confirmation       1.30       1695.00        $2,203.50
                                issues

 01/15/2021   IMP     PD        Review emails from Jeffrey H. Davidson and Jeff          1.70       1695.00        $2,881.50
                                Pomerantz re plan issues and potential solutions;
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                                                                                       Hours           Rate       Amount
                                analyze issues; review documents to assist analysis;
                                draft responses to emails; partial review of trust
                                agreement and comment
 01/15/2021   IMP     PD        Review email from Gregory V. Demo re issues re          0.10       1695.00         $169.50
                                partnership structure

 01/15/2021   IMP     PD        Review email from Gregory V. Demo re responding         0.10       1695.00         $169.50
                                to questions

 01/15/2021   GVD     PD        Review open plan issues                                 0.30        950.00         $285.00

 01/15/2021   GVD     PD        Conference with PSZJ working team re injunction         1.30        950.00        $1,235.00
                                and release issues

 01/15/2021   GVD     PD        Review and revise response to Senior Employee           2.60        950.00        $2,470.00
                                plan objection

 01/15/2021   GVD     PD        Correspondence with I. Pachulski re post effective      1.20        950.00        $1,140.00
                                date structure issues

 01/15/2021   GVD     PD        Correspondence with D. Barton re appointment of         0.10        950.00          $95.00
                                trustee

 01/15/2021   GVD     PD        Conference with P. O'Malley re post effective date      0.40        950.00         $380.00
                                tax issues

 01/15/2021   JE      PD        Work on brief outline and do additional research on     6.20       1195.00        $7,409.00
                                gatekeeper and vexatious litigant injunctions (3.8);
                                conference call with Mr. Kharasch, Mr. Davidson,
                                Mr. Pachulski and Mr. Pomerantz regarding outline
                                (1.3); review and respond to various correspondence
                                from PSZJ team regarding objections chart, various
                                provisions in limited and general partnership
                                agreements and plan-related revisions to same,
                                potential plan revisions and related issues (1.1).

 01/16/2021   CHM     PD        Update senior employee response and email G.            0.60        750.00         $450.00
                                Demo re same.

 01/16/2021   IDK     PD        Telephone conference with J. Pomerantz re               0.10       1325.00         $132.50
                                upcoming calls re plan issues and Senior Employee
                                reach out (.1).

 01/16/2021   IDK     PD        Telephone conferences with G Demo re issues on          0.30       1325.00         $397.50
                                NPA plan objection and relationship to TRO re
                                CLOs and arguments (.3).

 01/16/2021   IDK     PD        Extensive review of updated memo on exculpation,        2.20       1325.00        $2,915.00
                                etc., as well as work arounds re same (.4); E-mails
                                with J Davidson on jurisdiction, automatic
                                stay/injunction issues (.2); Attend conference call
                                with I Pachulski, J Davidson, others on argument
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                                                                                       Hours           Rate       Amount
                                and changes to plan re same (1.6).
 01/16/2021   IDK     PD        Brief review of J Fried’s draft confirmation brief,     0.40       1325.00         $530.00
                                along with J. Pomerantz intro section (.4).

 01/16/2021   JNP     PD        Conference with Ira D. Kharasch, Gregory V. Demo        0.90       1295.00        $1,165.50
                                and John A. Morris regarding Plan confirmation
                                litigation and discovery issues.

 01/16/2021   JNP     PD        Conference with Ira D. Kharasch, Jeffrey H.             1.60       1295.00        $2,072.00
                                Davidson, Isaac M. Pachulski and J. Elkin regarding
                                Plan release and injunction provisions .

 01/16/2021   JNP     PD        Work on confirmation brief introduction.                0.30       1295.00         $388.50

 01/16/2021   JNP     PD        Conference with M. Lynn regarding status of             0.20       1295.00         $259.00
                                information requests.

 01/16/2021   JNP     PD        Review and comment on confirmation brief.               1.00       1295.00        $1,295.00

 01/16/2021   JNP     PD        Review Dugaboy objection to Plan.                       0.40       1295.00         $518.00

 01/16/2021   JNP     PD        Conference with Ira D. Kharasch regarding Plan          0.20       1295.00         $259.00
                                confirmation issues.

 01/16/2021   JNP     PD        Email to J. Landis regarding confirmation discovery.    0.10       1295.00         $129.50

 01/16/2021   JNP     PD        Review proposed language regarding CLO issuers          0.10       1295.00         $129.50
                                resolution.

 01/16/2021   JNP     PD        Conference with John A. Morris regarding Plan           0.50       1295.00         $647.50
                                litigation and discovery issues.

 01/16/2021   JMF     PD        Draft confirmation brief.                               5.70       1050.00        $5,985.00

 01/16/2021   JMF     PD        Draft confirmation order.                               1.80       1050.00        $1,890.00

 01/16/2021   JAM     PD        Telephone conference with J. Pomerantz, I.              0.90       1245.00        $1,120.50
                                Kharasch, G. Demo re: plan issues and related
                                matters (0.9).

 01/16/2021   JHD     PD        Correspondence from Isaac M. Pachulski and review       0.30       1645.00         $493.50
                                comments re responses to plan objections

 01/16/2021   JHD     PD        Research re responses to plan objections; prepare       2.30       1645.00        $3,783.50
                                correspondence to PSZJ team re same

 01/16/2021   JHD     PD        Correspondence from Isaac M. Pachulski re               0.40       1645.00         $658.00
                                precedents for responses to plan objections; review
                                opinions

 01/16/2021   JHD     PD        Prepare detailed outline of responses to plan           1.90       1645.00        $3,125.50
                                objections; multiple emails with PSZJ team re same
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 01/16/2021   JHD     PD        Conference call with PSZJ team re responses to plan       1.60       1645.00         $2,632.00
                                objections

 01/16/2021   JHD     PD        Correspondence from Judy Elkin re plan issues;            0.20       1645.00          $329.00
                                prepare correspondence re same

 01/16/2021   IMP     PD        Review/analyze/respond to email from Jeffrey H.           0.20       1695.00          $339.00
                                Davidson re plan issue

 01/16/2021   IMP     PD        Extended conference call with office attorneys re         1.60       1695.00         $2,712.00
                                confirmation issues, arguments, brief

 01/16/2021   IMP     PD        Research re jurisdictional issues and draft multiple      0.90       1695.00         $1,525.50
                                emails to Elkin re same

 01/16/2021   IMP     PD        Partial review of draft memo re confirmation              0.50       1695.00          $847.50
                                arguments and comment on same

 01/16/2021   IMP     PD        Review/analyze/respond to email from Jeffrey H.           0.30       1695.00          $508.50
                                Davidson re research re potential plan strategy

 01/16/2021   IMP     PD        Further review/revision of memo outlining                 0.80       1695.00         $1,356.00
                                confirmation issues and arguments

 01/16/2021   GVD     PD        Review draft response to NexPoint objection to plan       0.20        950.00          $190.00

 01/16/2021   GVD     PD        Conference with PSZJ team re plan issues                  1.60        950.00         $1,520.00

 01/16/2021   GVD     PD        Conference with PSZJ team re plan issues                  0.90        950.00          $855.00

 01/16/2021   JE      PD        Work on brief and do additional research on issues       10.10       1195.00        $12,069.50
                                related to exculpation, injunction and releases (7.3);
                                review and respond to miscellaneous
                                correspondence on various legal issues and contents
                                of certain plan documents (1.2); call with team (1.6).

 01/17/2021   HDH     PD        Review revised draft of confirmation reply                0.30       1095.00          $328.50

 01/17/2021   IAWN PD           Exchange emails with Morris re subpoena                   0.10       1145.00          $114.50

 01/17/2021   JNP     PD        Review and revised latest version of confirmation         0.50       1295.00          $647.50
                                brief.

 01/17/2021   JNP     PD        Review insert regarding injunction and emails             0.20       1295.00          $259.00
                                regarding same.

 01/17/2021   JNP     PD        Email to and from Iain A. W. Nasatir regarding            0.10       1295.00          $129.50
                                subpoena.

 01/17/2021   JNP     PD        Review and revise brief portion regarding                 0.50       1295.00          $647.50
                                exculpation.

 01/17/2021   JNP     PD        Conference with John A. Morris regarding Plan             0.10       1295.00          $129.50
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                                                                                      Hours           Rate       Amount
                                discovery.
 01/17/2021   JNP     PD        Review emails regarding discovery production to        0.10       1295.00         $129.50
                                Dondero.

 01/17/2021   JNP     PD        Review and revise draft memo to Board regarding        0.50       1295.00         $647.50
                                Plan issues and emails with Ira D. Kharasch
                                regarding same.

 01/17/2021   JNP     PD        Review and respond to email regarding vote             0.10       1295.00         $129.50
                                tabulation.

 01/17/2021   JNP     PD        Review and respond to Joshua M. Fried email            0.10       1295.00         $129.50
                                regarding ballots.

 01/17/2021   JNP     PD        Conference with Joshua M. Fried, Ira D. Kharasch       0.90       1295.00        $1,165.50
                                and Gregory V. Demo regarding Plan ballots,
                                confirmation documents and related.

 01/17/2021   JNP     PD        Emails regarding equitable mootness.                   0.10       1295.00         $129.50

 01/17/2021   JNP     PD        Review emails for production to objecting parties.     0.20       1295.00         $259.00

 01/17/2021   JMF     PD        Draft confirmation brief.                              3.70       1050.00        $3,885.00

 01/17/2021   JMF     PD        Review plan and analyze issues re release and          0.80       1050.00         $840.00
                                related provisions.

 01/17/2021   JMF     PD        Review IRS and taxing authorities issues re            0.60       1050.00         $630.00
                                objections and potential resolution in confirmation
                                order.

 01/17/2021   JMF     PD        Telephone call with G. Demo, I. Kharasch, J.N.         0.90       1050.00         $945.00
                                Pomerantz re plan confirmation issues.

 01/17/2021   JMF     PD        Review voting report.                                  1.20       1050.00        $1,260.00

 01/17/2021   VAN     PD        Research and analysis regarding jurisdiction           3.10       1050.00        $3,255.00
                                provisions of plan and objections to same.

 01/17/2021   JHD     PD        Correspondence from Judy Elkin re objections to        0.30       1645.00         $493.50
                                plan exculpation provisions; correspondence from
                                Jeff Pomerantz re same; correspondence from Isaac
                                M. Pachulski re same

 01/17/2021   JHD     PD        Correspondence from Isaac M. Pachulski re              0.10       1645.00         $164.50
                                exculpation issues

 01/17/2021   JHD     PD        Correspondence from Gregory V. Demo re                 0.50       1645.00         $822.50
                                amendments to plan provisions; correspondence
                                from Judy Elkin re same; correspondence from Isaac
                                M. Pachulski re same

 01/17/2021   JHD     PD        Correspondence from Judy Elkin re exculpation          0.20       1645.00         $329.00
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                                                                                       Hours           Rate       Amount
                                issues; correspondence from Isaac M. Pachulski re
                                same
 01/17/2021   JHD     PD        Correspondence from Judy Elkin re responses to          0.20       1645.00         $329.00
                                debtor release objections; prepare correspondence to
                                Judy Elkin re same

 01/17/2021   JHD     PD        Prepare responses to objections to plan exculpation     2.70       1645.00        $4,441.50
                                provisions; emails with Judy Elkin re same

 01/17/2021   JHD     PD        Correspondence from Jeffrey N. Pomerantz re             0.30       1645.00         $493.50
                                exculpation responses; analyze revisions re same

 01/17/2021   JHD     PD        Correspondence from Jeffrey N. Pomerantz re             0.20       1645.00         $329.00
                                exculpation issues; correspondence from Judy Elkin
                                re same

 01/17/2021   JHD     PD        Correspondence from Isaac M. Pachulski and              0.50       1645.00         $822.50
                                analyze revisions to response to objections to
                                debtor's release; prepare correspondence to Isaac M.
                                Pachulski re same

 01/17/2021   JHD     PD        Correspondence from Ira D. Kharasch re plan             0.20       1645.00         $329.00
                                objections and strategy; correspondence from Jeff
                                Pomerantz re same; correspondence from Judith
                                Elkin re same

 01/17/2021   JHD     PD        Prepare response to objections to debtor release;       1.80       1645.00        $2,961.00
                                emails with Judith Elkin re same

 01/17/2021   JHD     PD        Correspondence from Isaac M. Pachulski re               0.10       1645.00         $164.50
                                response to objections to debtor release; prepare
                                correspondence to Isaac M. Pachulski re same

 01/17/2021   JHD     PD        Correspondence from Isaac M. Pachulski and              0.30       1645.00         $493.50
                                analyze revisions to responses re exculpation
                                objections

 01/17/2021   JHD     PD        Correspondence from Jeff Pomerantz re objections        0.20       1645.00         $329.00
                                to plan releases; correspondence from Judy Elkin re
                                same

 01/17/2021   JHD     PD        Correspondence from Judy Elkin re plan                  0.10       1645.00         $164.50
                                amendments

 01/17/2021   JHD     PD        Correspondence from Isaac M. Pachulski re plan          0.20       1645.00         $329.00
                                strategy

 01/17/2021   JHD     PD        Correspondence from Judy Elkin re response to plan      0.10       1645.00         $164.50
                                objections

 01/17/2021   JHD     PD        Correspondence from Gregory V. Demo re plan             0.20       1645.00         $329.00
                                releases; correspondence from Jeffrey N. Pomerantz
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                                                                                       Hours           Rate        Amount
                                re same; correspondence from Judy Elkin re same
 01/17/2021   IMP     PD        Review/comment on proposed plan revision                0.30       1695.00          $508.50

 01/17/2021   IMP     PD        Draft email to Elkin                                    0.10       1695.00          $169.50

 01/17/2021   IMP     PD        Review/edit/comment on portions of draft                1.60       1695.00         $2,712.00
                                confirmation brief

 01/17/2021   IMP     PD        Review multiple emails re plan confirmation issues;     0.90       1695.00         $1,525.50
                                analyze and respond; research and draft email to
                                Elkin re confirmation issue; review/analyze/respond
                                to additional emails re plan confirmation issues

 01/17/2021   IMP     PD        Review multiple emails re plan and confirmation         0.40       1695.00          $678.00
                                issues, potential plan changes, respond as
                                appropriate

 01/17/2021   IMP     PD        Review additional emails re confirmation brief          0.10       1695.00          $169.50

 01/17/2021   IMP     PD        Review additional emails re confirmation brief          0.20       1695.00          $339.00
                                issues; draft responses

 01/17/2021   IMP     PD        Review/respond to additional emails re confirmation     0.20       1695.00          $339.00
                                issues

 01/17/2021   IMP     PD        Exchange additional emails with office attorneys re     0.20       1695.00          $339.00
                                plan confirmation issues

 01/17/2021   IMP     PD        Review/edit/comment on portion of confirmation          0.80       1695.00         $1,356.00
                                brief

 01/17/2021   GVD     PD        Review revisions to voting declaration from J. Fried    0.20        950.00          $190.00

 01/17/2021   GVD     PD        Revise insert to confirmation brief on objection of     5.10        950.00         $4,845.00
                                NexPoint

 01/17/2021   GVD     PD        Conference with PSZJ team re plan issues                0.90        950.00          $855.00

 01/17/2021   GVD     PD        Draft revised insert to plan on injunction issues       0.90        950.00          $855.00

 01/17/2021   JE      PD        Work on brief inserts on exculpation, injunction,      13.00       1195.00        $15,535.00
                                release and gatekeeper including reviewing and
                                revising per comments received (10.3);
                                miscellaneous correspondence with PSZJ team on
                                various related issues and potential plan revisions
                                (1.6); review main confirmation brief and comment
                                on same (.7); review and revised potential plan
                                revisions to exculpation, injunction, release and
                                gatekeeper provisions (.4).

 01/18/2021   IAWN PD           Review emails between Aon and Jeffrey N                 0.80       1145.00          $916.00
                                Pomerantz re timing and scope of Tauber testimony,
                                .3, draft subpoena for Tauber .3, exchange emails
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                                                                                        Hours           Rate       Amount
                                with John Morris re scope of testimony email, .1,
                                review Jeffrey N Pomeramtz email with changes, .1
 01/18/2021   IDK     PD        Attend conference call with Senior Employee              1.60       1325.00        $2,120.00
                                Counsel re their settlement offer on plan objection
                                (.7); Attend conference call with J. Pomerantz, J
                                Morris, G Demo re same, plan litigation, and
                                injunctions (.5); Telephone conference with J.
                                Pomerantz re pot settlement with Senior Employees
                                (.1); Review of J. Pomerantz correspondence to
                                Senior Employee on question on potential settlement
                                (.1); E-mails with J. Pomerantz re their response to
                                same and his draft of response on offer (.2).

 01/18/2021   IDK     PD        Attend conference call with CEO, internal team on        1.40       1325.00        $1,855.00
                                plan objections, litigation, settlement offer from
                                Senior Employees and how to respond, confirmation
                                prep (1.4).

 01/18/2021   IDK     PD        E-mails with I Pachulski, J. Pomerantz, J Davidson,      0.80       1325.00        $1,060.00
                                J Elkin re further revisions to response brief on
                                exculpation, injunction, releases and various issues
                                theories for same (.8).

 01/18/2021   IDK     PD        Telephone conference with J. Pomerantz re                0.80       1325.00        $1,060.00
                                post-confirmation jurisdiction (.2); Telephone
                                conference with J Elkin re issues on response brief
                                on injunction, exculpation, releases (.6).

 01/18/2021   IDK     PD        Review of correspondence with G Demo, J.                 0.20       1325.00         $265.00
                                Pomerantz re indemnity agreements and assumption
                                of related agreements (.2).

 01/18/2021   IDK     PD        Numerous and extensive E-mails with V Newmark            1.90       1325.00        $2,517.50
                                re need for further briefing on other post-conference
                                jurisdiction to support gatekeeper and other
                                provisions, related to jurisdiction and nexus for
                                same, as well as her memo/insert to brief re same,
                                including review of cases (1.1); E-mails with J.
                                Pomerantz re same and potential problems (.3);
                                E-mails with I Pachulski re same, relevance of
                                indemnification obligations for nexus on jurisdiction
                                and 1141c provision for same, including review of
                                same (.5).

 01/18/2021   IDK     PD        E-mails with G Demo re correlation of                    0.40       1325.00         $530.00
                                post-conference provisions in plan vs in trust
                                agreements, and compare, and consider pot plan
                                amendments.

 01/18/2021   IDK     PD        E-mails with J. Pomerantz and J Elkin re further         1.10       1325.00        $1,457.50
                                post-confirmation jurisdictions issues, and need to
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                                amend gatekeeper provision in plan re same to avoid
                                problem on court having exclusive jurisdiction to
                                determine underlying claim, and Craig’s Store case
                                (.4); E-mails with I Pachulski and J Davidson re
                                same and other related cases and articles (.7).
 01/18/2021   IDK     PD        Review and consider J Elkin’s full revised draft       1.70       1325.00        $2,252.50
                                insert to injunction, releases, exculpation issues,
                                need for changes on same, and review of various
                                caselaw (.7); E-mails with J Elkin re my list of
                                changes and further items for discussion in same
                                memo, and need for references to Dondero threats
                                for record (.7); E-mails with I Pachulski and J
                                Davidson re their further markups on same (.3).

 01/18/2021   IDK     PD        E-mails with J Fried re his further revised            0.30       1325.00         $397.50
                                confirmation brief, including feedback of J.
                                Pomerantz re same and voting issues with Senior
                                Employees (.3).

 01/18/2021   IDK     PD        E-mails with J Fried, G Demo on inserts for            0.30       1325.00         $397.50
                                omnibus response brief, including draft of response
                                to CLO objectors and Senior Employees, including
                                review of latest drafts (.3).

 01/18/2021   JNP     PD        Conference with Gregory V. Demo, Ira D. Kharasch       0.50       1295.00         $647.50
                                and John A. Morris after call with Senior Employees
                                counsel.

 01/18/2021   JNP     PD        Conference with J. dubel regarding Plan issues.        0.20       1295.00         $259.00

 01/18/2021   JNP     PD        Review Ballot Summary.                                 0.10       1295.00         $129.50

 01/18/2021   JNP     PD        Conference with John A. Morris and Iain A. W.          0.30       1295.00         $388.50
                                Nasatir regarding AON insurance related issues and
                                Plan confirmation.

 01/18/2021   JNP     PD        Emails regarding Harbourvest claim for voting          0.10       1295.00         $129.50
                                purposes.

 01/18/2021   JNP     PD        Review insert to confirmation brief regarding          1.00       1295.00        $1,295.00
                                injunction, exculpation and releases; review and
                                respond to emails regarding same.

 01/18/2021   JNP     PD        Conference with J. Seery,John A. Morris, Ira D.        1.40       1295.00        $1,813.00
                                Kharasch and Gregory V. Demo regarding Plan
                                related matters and pending litigation.

 01/18/2021   JNP     PD        Conference with Ira D. Kharasch regarding proposed     0.10       1295.00         $129.50
                                settlement with Senior Employees.

 01/18/2021   JNP     PD        Review emails regarding post-confirmation              0.20       1295.00         $259.00
                                jurisdiction and emails regarding same.
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                                                                                        Hours           Rate       Amount

 01/18/2021   JNP     PD        Review and respond regarding email to Senior             0.10       1295.00         $129.50
                                Employees counsel.

 01/18/2021   JNP     PD        Continue to review objections to Plan.                   0.30       1295.00         $388.50

 01/18/2021   JNP     PD        Conference with Senior Employees counsel, Ira D.         0.70       1295.00         $906.50
                                Kharasch, John A. Morris and Gregory V. Demo
                                regarding Plan issues and related matters.

 01/18/2021   JNP     PD        Conference with Joshua M. Fried regarding Ballot         0.30       1295.00         $388.50
                                Summary.

 01/18/2021   JNP     PD        Email to and from D. Darndeneau regarding                0.30       1295.00         $388.50
                                proposed settlement.

 01/18/2021   JNP     PD        Review and respond to email from J. Landis.              0.10       1295.00         $129.50

 01/18/2021   JNP     PD        Conference with Ira D. Kharasch regarding                0.20       1295.00         $259.00
                                post-confirmation jurisdiction.

 01/18/2021   JNP     PD        Review revised confirmation brief.                       0.50       1295.00         $647.50

 01/18/2021   MFC     PD        Emails from/to DSI regarding consulting                  0.20       1095.00         $219.00
                                agreements.

 01/18/2021   MFC     PD        EMails regarding PLan issues.                            0.10       1095.00         $109.50

 01/18/2021   MFC     PD        Reviewing consulting agreements and issues related       0.60       1095.00         $657.00
                                to same.

 01/18/2021   JEO     PD        Review confirmation issues                               0.90       1050.00         $945.00

 01/18/2021   JMF     PD        Review senior employee stipulation re potential          0.40       1050.00         $420.00
                                settlements of plan objections.

 01/18/2021   JMF     PD        Review language re plan injunction provisions.           0.80       1050.00         $840.00

 01/18/2021   JMF     PD        Draft confirmation brief.                                2.80       1050.00        $2,940.00

 01/18/2021   JMF     PD        Review voting declaration, claims and exhibits (1.8);    2.50       1050.00        $2,625.00
                                multiple telephone calls with J. Pomerantz (.4) and
                                P. Leathem (.3) re filing of same.

 01/18/2021   JMF     PD        Review charts re affiliation re Advisor and Fund         0.50       1050.00         $525.00
                                party objections.

 01/18/2021   JMF     PD        Review draft response to confirmation objections         2.70       1050.00        $2,835.00
                                and draft omnibus reply to same.

 01/18/2021   VAN     PD        Research and analysis regarding jurisdiction             4.50       1050.00        $4,725.00
                                provisions of plan and objections to same.

 01/18/2021   JHD     PD        Correspondence from Jeffrey N. Pomerantz re              0.60       1645.00         $987.00
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                                                                                        Hours           Rate       Amount
                                post-confirmation jurisdiction issues;
                                correspondence from Ira D. Kharasch re same;
                                analyze memo re same; correspondence from Tori
                                Newmark re same; correspondence from Judy Elkin
                                re same
 01/18/2021   JHD     PD        Correspondence from Isaac M. Pachulski re plan           0.20       1645.00         $329.00
                                amendments; correspondence from Ira D. Kharasch
                                re same

 01/18/2021   JHD     PD        Research re post-confirmation jurisdictional issues;     1.90       1645.00        $3,125.50
                                prepare memo re same; correspondence with PSZJ
                                team re same

 01/18/2021   JHD     PD        Correspondence from Judy Elkin re plan revisions;        0.20       1645.00         $329.00
                                correspondence from Jeffrey N. Pomerantz re same

 01/18/2021   JHD     PD        Correspondence from Judy Elkin re responses to           0.40       1645.00         $658.00
                                plan objections; review draft objections re same;
                                prepare correspondence to Judy Elkin re same

 01/18/2021   JHD     PD        Correspondence from Isaac M. Pachulski re                0.10       1645.00         $164.50
                                responses to objection to exculpation provisions of
                                plan; correspondence from Judy Elkin re same

 01/18/2021   JHD     PD        Preparation of responses to plan objections; multiple    3.80       1645.00        $6,251.00
                                emails with PSZJ team re same

 01/18/2021   JHD     PD        Correspondence from Isaac M. Pachulski re                0.50       1645.00         $822.50
                                jurisdiction issues; correspondence from Ira D.
                                Kharasch re same; analyze research materials re
                                same; correspondence from Judy Elkin re same

 01/18/2021   JHD     PD        Correspondence from Ira D. Kharasch re                   0.30       1645.00         $493.50
                                jurisdiction; correspondence from Tori Newmark re
                                same; review opinion re same

 01/18/2021   IMP     PD        Review proposed revisions to portions of                 1.70       1695.00        $2,881.50
                                confirmation brief; review/comment/edit draft

 01/18/2021   IMP     PD        Review additional emails re draft confirmation brief     0.10       1695.00         $169.50
                                and respond

 01/18/2021   IMP     PD        Review/edit/comment on portions of draft brief           2.50       1695.00        $4,237.50

 01/18/2021   IMP     PD        Review research re plan and confirmation issues;         1.60       1695.00        $2,712.00
                                review and prepare multiple emails re plan and
                                confirmation issues and potential arguments for
                                confirmation brief

 01/18/2021   IMP     PD        Review additional research re plan issue and email       0.30       1695.00         $508.50
                                re same
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                                                                                        Hours           Rate        Amount

 01/18/2021   IMP     PD        Additional work on confirmation brief and emails re      0.40       1695.00          $678.00
                                same

 01/18/2021   GVD     PD        Draft chart re objector standing                         1.00        950.00          $950.00

 01/18/2021   GVD     PD        Conference with PSZJ and J. Seery re open plan           1.30        950.00         $1,235.00
                                issues

 01/18/2021   GVD     PD        review retention of jurisdiction issues                  1.00        950.00          $950.00

 01/18/2021   GVD     PD        Conference with J. Fried re open plan items              0.20        950.00          $190.00

 01/18/2021   GVD     PD        Conference with counsel to the Senior Employees          0.70        950.00          $665.00

 01/18/2021   GVD     PD        Review draft confirmation brief                          0.30        950.00          $285.00

 01/18/2021   JE      PD        Work on brief inserts on exculpation, injunction,       10.20       1195.00        $12,189.00
                                release and gatekeeper including reviewing and
                                revising per comments received (8.3); miscellaneous
                                correspondence with PSZJ team on various related
                                issues and additional research on jurisdiction (1.6);
                                call with Mr. Kharasch regarding jurisdiction issues
                                (.3).

 01/19/2021   IAWN PD           Review emails between Aon, Caruso, Jeffrey N             0.20       1145.00          $229.00
                                Pomerantz, demo and John Morris re confirmation
                                hearing. .1 and new insurance,.1

 01/19/2021   IDK     PD        Telephone conference with J. Pomerantz re                1.00       1325.00         $1,325.00
                                outstanding issues re plan, indemnification issues re
                                LP agreement (.1); Further telephone conference
                                with J. Pomerantz on later revisions to response to
                                injunction/gatekeeper provisions (.1); Numerous
                                E-mails with I Pachulski, J Davidson, J Elkin, J.
                                Pomerantz re further issues on same as well as
                                discharge issues, further markups to brief and
                                amendments to plan (.7); E-mail I Pachulski on
                                TMXS case by Judge Jurnigan (.1).

 01/19/2021   IDK     PD        Review and consider next revision by J Elkin to          1.20       1325.00         $1,590.00
                                response brief on injunctions, exculpation, releases,
                                gatekeeper (.4); E-mails with J Eklin, I Pachulski, J
                                Davidson, J. Pomerantz re my suggested changes to
                                same and issues on meaning of “consummation” re
                                new caselaw, and feedback of others (.8).

 01/19/2021   IDK     PD        Numerous E-mails with V Newmark re further               1.50       1325.00         $1,987.50
                                caselaw and issues for her post-confirmation
                                jurisdiction response to objections, including 9th
                                Circuit case and Brooks May decision by Jurnigan re
                                same, as well as her TMXS case (.3); Review of
                                further caselaw re same issues, as well as underlying
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                                                                                         Hours           Rate       Amount
                                bankruptcy briefs in Pacific Lumber re exculpation
                                issues in that case (1.2).
 01/19/2021   IDK     PD        Telephone conference with J. Pomerantz re his             4.70       1325.00        $6,227.50
                                revisions to draft of memo to Board on key plan
                                issues (.2); Telephone conference with J. Pomerantz
                                later re my further correspondence for changes to
                                Plan on Injunction (.1); Further prep of next sections
                                of extensive memo to Board on plan risks, including
                                further issues on gatekeeper denial, injunction
                                issues, alternatives to plan to diminish risks,
                                reserving funds and related amendments to clarify
                                same and to gatekeeper (2.5); E-mails with J.
                                Pomerantz re same and his feedback for changes and
                                need for additional section (.3); Further revise,
                                modify extensive memo to Board re same (1.2);
                                E-mails with J. Pomerantz re same and his further
                                feedback (.4).

 01/19/2021   IDK     PD        E-mails with internal team, J. Pomerantz on list of       0.90       1325.00        $1,192.50
                                pleadings to file on 1/22 for confirmation and for
                                upcoming call (.2); Attend conference call with
                                CEO, internal team on evidence for confirmation
                                issues (.5); E-mails with attorneys re same for
                                upcoming depos (.2).

 01/19/2021   IDK     PD        Attend conference call with J. Pomerantz and              0.70       1325.00         $927.50
                                internal team on status of plan prep, responses to all
                                objections (.7).

 01/19/2021   IDK     PD        Attend conference call with internal team on              1.80       1325.00        $2,385.00
                                separate revised brief responding to objections to
                                injunctions, releases, gatekeeper (1.5); Attend
                                conference call with J. Pomerantz and G Demo on
                                Demo’s proposed plan revisions re injunction and
                                gatekeeper and need for other revisions (.3).

 01/19/2021   IDK     PD        Review of numerous E-mails with M Calloway, J.            0.50       1325.00         $662.50
                                Pomerantz, G Demo on issues of terminating
                                indemnity obligations thru plan and amending
                                partnership agreement, as well as with Wilmer Hale
                                and Sidley (.5).

 01/19/2021   IDK     PD        E-mails with J Fried, G Demo, J. Pomerantz re             0.60       1325.00         $795.00
                                further revisions to memo in support of plan
                                confirmation, as well as proposed changes to plan
                                subordination provisions (.6).

 01/19/2021   IDK     PD        Review of J. Pomerantz correspondence with                0.10       1325.00         $132.50
                                Dondero counsel on his plan status (.1).

 01/19/2021   IDK     PD        Review of correspondence with Senior Employee             0.20       1325.00         $265.00
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                                                                                      Hours           Rate       Amount
                                counsel re settlement negotiations re same, as well
                                as correspondence with Board re same (.2).
 01/19/2021   JNP     PD        Further review of last version of injunction,          1.00       1295.00        $1,295.00
                                exculpation and release section.

 01/19/2021   JNP     PD        Conference with Joshua M. Fried, Ira D. Kharasch       0.70       1295.00         $906.50
                                and Gregory V. Demo regarding Plan related
                                documents.

 01/19/2021   JNP     PD        Conference with Gregory V. Demo regarding Plan         0.20       1295.00         $259.00
                                confirmation documents.

 01/19/2021   JNP     PD        Conference with John A. Morris regarding               0.20       1295.00         $259.00
                                confirmation evidence.

 01/19/2021   JNP     PD        Conference with Ira D. Kharasch regarding              0.10       1295.00         $129.50
                                partnership agreement indemnification obligations.

 01/19/2021   JNP     PD        Review materials to prepare case list for              0.50       1295.00         $647.50
                                confirmation hearing.

 01/19/2021   JNP     PD        Review modified Plan.                                  0.10       1295.00         $129.50

 01/19/2021   JNP     PD        Conference with J. Landis regarding AON and            0.20       1295.00         $259.00
                                insurance coverage.

 01/19/2021   JNP     PD        Plan call with team regarding injunction and           0.30       1295.00         $388.50
                                exculpation and gatekeeper.

 01/19/2021   JNP     PD        Review Dugaboy document request and conference         0.10       1295.00         $129.50
                                with John A. Morris regarding same.

 01/19/2021   JNP     PD        Email to J. Seery regarding confirmation brief.        0.10       1295.00         $129.50

 01/19/2021   JNP     PD        Conference with Joshua M. Fried regarding ballot       0.10       1295.00         $129.50
                                certification and tax claims.

 01/19/2021   JNP     PD        Conference with Ira D. Kharasch regarding Board        0.20       1295.00         $259.00
                                Plan memo.

 01/19/2021   JNP     PD        Conference with Ira D. Kharasch, Gregory V. Demo,      1.50       1295.00        $1,942.50
                                J. Elkin and Jeffrey H. Davidson regarding
                                injunction issues.

 01/19/2021   JNP     PD        Conference with J. Seery regarding confirmation        0.10       1295.00         $129.50
                                evidence.

 01/19/2021   JNP     PD        Review and revise risk memo.                           0.40       1295.00         $518.00

 01/19/2021   JNP     PD        Email to and from J. Bonds regarding Plan              0.10       1295.00         $129.50
                                discussions.

 01/19/2021   JNP     PD        Conference with Joshua M. Fried regarding Plan         0.10       1295.00         $129.50
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                                                                                       Hours           Rate       Amount
                                confirmation documents and email to team regarding
                                same.
 01/19/2021   JNP     PD        Continue to review confirmation brief.                  1.00       1295.00        $1,295.00

 01/19/2021   JNP     PD        Conference with Ira D. Kharasch regarding               0.10       1295.00         $129.50
                                evidentiary support for confirmation.

 01/19/2021   JNP     PD        Email to team regarding evidence needed for             0.10       1295.00         $129.50
                                confirmation.

 01/19/2021   JNP     PD        Review email regarding Senior Employee settlement       0.10       1295.00         $129.50
                                and email to Board regarding same.

 01/19/2021   JNP     PD        Email to Joshua M. Fried regarding potential Plan       0.10       1295.00         $129.50
                                modification.

 01/19/2021   JNP     PD        Conference with Ira D. Kharasch regarding January       0.10       1295.00         $129.50
                                9, 2021 order and exculpation.

 01/19/2021   JNP     PD        Conference with Ira D. Kharasch and Gregory V.          0.30       1295.00         $388.50
                                Demo regarding Plan provision amendments.

 01/19/2021   JNP     PD        Review of omnibus reply brief.                          0.10       1295.00         $129.50

 01/19/2021   JNP     PD        Continue review brief section on indemnification        0.20       1295.00         $259.00
                                and exculpation.

 01/19/2021   JNP     PD        Conference with J. Dubel regarding confirmation         0.10       1295.00         $129.50
                                evidence.

 01/19/2021   JNP     PD        Email to and from J. Bonds regarding status of          0.10       1295.00         $129.50
                                Dondero proposal.

 01/19/2021   JNP     PD        Conference with Ira D. Kharasch, Gregory V. Demo,       0.50       1295.00         $647.50
                                John A. Morris, J. Dubel and J. Seery regarding
                                confirmation evidence.

 01/19/2021   JNP     PD        Conference with J. Seery regarding ballot               0.10       1295.00         $129.50
                                certification.

 01/19/2021   JNP     PD        Conference with John A. Morris regarding Plan           0.10       1295.00         $129.50
                                discovery.

 01/19/2021   JNP     PD        Email to and from Z. Annabelle regarding Plan           0.10       1295.00         $129.50
                                confirmation documents.

 01/19/2021   JNP     PD        Review and revise Board Plan memo.                      1.60       1295.00        $2,072.00

 01/19/2021   PJJ     PD        Prepare binder of case law for Jeffrey N. Pomerantz.    1.50        460.00         $690.00

 01/19/2021   MFC     PD        Research regarding indemnity obligations.               2.40       1095.00        $2,628.00

 01/19/2021   MFC     PD        Emails from/to J. Pomerantz regarding Plan issue.       0.30       1095.00         $328.50
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 01/19/2021   MFC     PD        Emails from/to G. Demo regarding indemnity issues.           0.30       1095.00         $328.50

 01/19/2021   MFC     PD        Review Korean corporate documents.                           0.30       1095.00         $328.50

 01/19/2021   JEO     PD        Review IRS objection to confirmation and begin               0.90       1050.00         $945.00
                                drafting response

 01/19/2021   JEO     PD        Research precedent for IRS issues at plan                    0.90       1050.00         $945.00
                                confirmation

 01/19/2021   JMF     PD        Draft omnibus reply to confirmation objections               2.00       1050.00        $2,100.00
                                (1.2); telephone call with J.N. Pomerantz, I.
                                Kharasch re same (.8).

 01/19/2021   JMF     PD        Telephone calls with G. Demo re reply to objections.         0.20       1050.00         $210.00

 01/19/2021   JMF     PD        Draft plan amendments.                                       1.30       1050.00        $1,365.00

 01/19/2021   JMF     PD        Review voting declaration and exhibits.                      0.60       1050.00         $630.00

 01/19/2021   JMF     PD        Draft confirmation brief.                                    4.60       1050.00        $4,830.00

 01/19/2021   JMF     PD        Research re post confirmation sale issues (.8) and           2.40       1050.00        $2,520.00
                                plan modification issues under 1127(a) and (b) re
                                objections (1.6).

 01/19/2021   JAM     PD        Telephone conference with J. Pomerantz, I.                   0.40       1245.00         $498.00
                                Kharasch, J. Fried, G. Demo re: confirmation issues
                                (0.4).

 01/19/2021   VAN     PD        Research and analysis regarding objections to                9.50       1050.00        $9,975.00
                                retention of jurisdiction in plan; draft/revise insert to
                                plan confirmation brief regarding same.

 01/19/2021   JHD     PD        Correspondence from Isaac M. Pachulski re plan               0.40       1645.00         $658.00
                                injunction issues; research re same; prepare
                                correspondence to Isaac M. Pachulski re same

 01/19/2021   JHD     PD        Correspondence from Isaac M. Pachulski re plan               0.30       1645.00         $493.50
                                amendments; correspondence from Jeffrey N.
                                Pomerantz re same; correspondence from Judy Elkin
                                re same; review draft amendments

 01/19/2021   JHD     PD        Correspondence from Judy Elkin re plan                       0.10       1645.00         $164.50
                                amendments

 01/19/2021   JHD     PD        Conference call with PSZJ team re responses to plan          1.50       1645.00        $2,467.50
                                objections

 01/19/2021   JHD     PD        Correspondence from Judy Elkin re release issues;            0.20       1645.00         $329.00
                                prepare correspondence to Judy Elkin re same

 01/19/2021   JHD     PD        Correspondence from Jeffrey N. Pomerantz re plan             0.20       1645.00         $329.00
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                                                                                      Hours           Rate       Amount
                                amendments; correspondence from Judy Elkin re
                                same; correspondence from Gregory V. Demo re
                                same; prepare correspondence re same;
                                correspondence to Ira D. Kharasch re same
 01/19/2021   JHD     PD        Conference call with PSZJ team re plan amendments      0.30       1645.00         $493.50

 01/19/2021   JHD     PD        Correspondence from Gregory V. Demo re                 0.30       1645.00         $493.50
                                amendments to plan; analyze draft amendments

 01/19/2021   JHD     PD        Correspondence from Ira D. Kharasch re jurisdiction    0.40       1645.00         $658.00
                                issues; review precedents re same

 01/19/2021   JHD     PD        Prepare responses to plan objections; multiple         4.60       1645.00        $7,567.00
                                emails re same

 01/19/2021   JHD     PD        Correspondence from Judy Elkin re amendments to        0.20       1645.00         $329.00
                                plan; correspondence from Jeffrey N. Pomerantz re
                                same

 01/19/2021   JHD     PD        Correspondence from Isaac M. Pachulski and             0.30       1645.00         $493.50
                                analyze revisions to draft plan amendments

 01/19/2021   JHD     PD        Research re release issues; prepare correspondence     0.30       1645.00         $493.50
                                to Judy Elkin re same

 01/19/2021   IMP     PD        Review comments on draft of portions of                0.30       1695.00         $508.50
                                confirmation brief; draft email re draft

 01/19/2021   IMP     PD        Review emails from Ira D. Kharasch, Elkin re           0.20       1695.00         $339.00
                                confirmation brief issue, analyze, respond

 01/19/2021   IMP     PD        Review emails re plan provision                        0.10       1695.00         $169.50

 01/19/2021   IMP     PD        Brief call with group, followed by research and        0.80       1695.00        $1,356.00
                                review of case re confirmation issues

 01/19/2021   IMP     PD        Review/comment on draft of plan revision               0.20       1695.00         $339.00

 01/19/2021   IMP     PD        Review email re potential plan amendment, respond,     0.30       1695.00         $508.50
                                follow-up and draft edit

 01/19/2021   IMP     PD        Exchange emails with Jeffrey N. Pomerantz re plan      0.10       1695.00         $169.50
                                issue

 01/19/2021   IMP     PD        Review/prepare multiple emails re plan issues and      0.30       1695.00         $508.50
                                confirmation brief issues

 01/19/2021   IMP     PD        Review/edit/comment on portions of draft               3.30       1695.00        $5,593.50
                                confirmation brief and analyze related issues

 01/19/2021   IMP     PD        Review email re plan provision                         0.10       1695.00         $169.50

 01/19/2021   IMP     PD        Review comments on draft of portion of                 0.30       1695.00         $508.50
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                                                                                      Hours           Rate        Amount
                                confirmation brief
 01/19/2021   IMP     PD        Review email re plan amendments                        0.10       1695.00          $169.50

 01/19/2021   LSC     PD        Begin compiling document production in connection      0.60        460.00          $276.00
                                with plan discovery.

 01/19/2021   GVD     PD        Correspondence with J. Fried re voting report          0.20        950.00          $190.00

 01/19/2021   GVD     PD        Review and revise confirmation brief                   2.30        950.00         $2,185.00

 01/19/2021   GVD     PD        Conference with I. Kharasch and J. Pomerantz re        0.30        950.00          $285.00
                                revisions to plan injunction

 01/19/2021   GVD     PD        Review and circulate revised senior employee           0.40        950.00          $380.00
                                stipulation to the Committee

 01/19/2021   GVD     PD        Call with PSZJ team re insert to confirmation brief    1.50        950.00         $1,425.00

 01/19/2021   GVD     PD        Draft omnibus response to objections to plan           4.60        950.00         $4,370.00

 01/19/2021   GVD     PD        Conference with Board re preparation for               0.50        950.00          $475.00
                                confirmation hearing

 01/19/2021   GVD     PD        Review draft demonstrative for confirmation brief      0.20        950.00          $190.00

 01/19/2021   GVD     PD        Deposition prep with J. Seery, J. Morris and J.        0.70        950.00          $665.00
                                Pomerantz

 01/19/2021   GVD     PD        Conference with PSZJ team re open plan items           0.70        950.00          $665.00

 01/19/2021   GVD     PD        Conference with E. Bromagen re plan issues             0.20        950.00          $190.00

 01/19/2021   GVD     PD        Conference with PSZJ team re plan release and          0.30        950.00          $285.00
                                injunction

 01/19/2021   JE      PD        Call with brief team to review (1.5); work on brief   12.10       1195.00        $14,459.50
                                revisions and review various potential plan
                                amendments as implicated in brief on exculpation,
                                release, injunction and gatekeeper sections (10.6).

 01/20/2021   CHM     PD        Review email from I. Kharasch re plan summary and      0.10        750.00           $75.00
                                reply.

 01/20/2021   CHM     PD        Draft plan summary chart for Senior Employee           3.30        750.00         $2,475.00
                                objection and email I. Kharasch re same.

 01/20/2021   IAWN PD           Telephone conference with Llandis, Caruso, Tauber,     0.20       1145.00          $229.00
                                John Morris and Jeffrey N Pomerantz re witness
                                testimony

 01/20/2021   IAWN PD           Review Dubel and Caruso emails re Tauber and new       0.10       1145.00          $114.50
                                insurance
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                                                                                         Hours           Rate       Amount

 01/20/2021   IDK     PD        Telephone conference with J. Pomerantz re problem         0.30       1325.00         $397.50
                                of getting D&O insurance post-Effective Date and
                                consequences, as well as issues on counter-proposal
                                of Senior Employees (.3).

 01/20/2021   IDK     PD        Review of all objections to confirmation and              1.10       1325.00        $1,457.50
                                compare to draft responses, especially re objections
                                on jurisdiction related grounds.

 01/20/2021   IDK     PD        Review of I Pachulski latest revisions to plan,           2.00       1325.00        $2,650.00
                                response brief re injunction related issues (.3);
                                Continue research re support for plan injunction,
                                related language re objections (.4); E-mails with J
                                Elkin re same (.3); Numerous and extensive E-mails
                                with team on further substantial changes to plan
                                injunction related provisions and issues re same (.7);
                                E-mails with L Forrester re need for further research
                                on post-conference injunctions and jurisdiction and
                                results (.3).

 01/20/2021   IDK     PD        Numerous correspondence with I Pachulski, J               1.00       1325.00        $1,325.00
                                Davidson re potential modification of plan re
                                revocation/termination of plan if certain provisions
                                overturned on appeal (.6); E-mails with I Pachulski,
                                J Davidson re issues on extending Barton Doctrine
                                to employees and agents, and caselaw, article in
                                support (.4).

 01/20/2021   IDK     PD        Review of further modification by J Elkin to              1.10       1325.00        $1,457.50
                                response brief on injunction, exculpation, gatekeeper
                                (.4); Numerous E-mails with I Pachulski, J.
                                Pomerantz, J Davidson re feedback to same, Jan 9
                                order, evidence re need for gatekeeper, exculpation
                                issues (.7).

 01/20/2021   IDK     PD        Extensive E-mails with V Newmark re her expanded          0.50       1325.00         $662.50
                                brief on post-conference jurisdiction, gatekeeper
                                issues re same, and our latest plan amendments
                                altering response re same (.5).

 01/20/2021   IDK     PD        Telephone conference with J. Pomerantz re                 0.30       1325.00         $397.50
                                communication with UCC on D&O insurance
                                problem, CLO objections to confirmation and need
                                to revise plan (.3).

 01/20/2021   IDK     PD        E-mails with G Demo, J. Pomerantz re initial draft        0.80       1325.00        $1,060.00
                                of omnibus reply to all plan objection and feedback
                                (.3); E-mails with J. Pomerantz, Zach re timing on
                                submitting conference order (.1); Review of E-mails
                                with attorneys re G Demo revisions to omnibus
                                reply and concerns on IRS responses and next steps,
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                                                                                        Hours           Rate       Amount
                                including communications with IRS on potential
                                resolution (.4).
 01/20/2021   IDK     PD        E-mails with I Pachulski, J Davidson re my               0.50       1325.00         $662.50
                                discharge questions/concerns as to whether needed
                                given automatic stay and other injunction provisions,
                                and their feedback re same (.5).

 01/20/2021   IDK     PD        Review of J. Pomerantz feedback, changes to              1.40       1325.00        $1,855.00
                                extensive risk memo to Board from last night (.2);
                                Telephone conference with G Demo re need for
                                information re plan changes and for memo to Board
                                re same and risks (.1); Review of further revisions
                                by G Demo, J. Pomerantz, to memo to Board on
                                plan issues, risks (.3); Telephone conference with J.
                                Pomerantz re same and insurance issue (.1); Further
                                revise same memo to Board, including sending to
                                Board (.5); Telephone conference with J. Pomerantz
                                re same memo, D&O insurance and effective date
                                potential modification (.2).

 01/20/2021   IDK     PD        Telephone conference with J. Pomerantz re status on      0.40       1325.00         $530.00
                                plan and D&O, including calling in Redeemer
                                counsel re same (.3); Telephone conference with J.
                                Pomerantz re same and next steps on plan (.1).

 01/20/2021   IDK     PD        Attend initial conference call with internal team re     0.70       1325.00         $927.50
                                status of responding to all plan objection, and on
                                amendments to plan provisions, Senior Employee
                                negotiations (.4); Attend 2d conference call re same
                                (.3).

 01/20/2021   IDK     PD        E-mails with J Fried re latest revisions to plan         0.60       1325.00         $795.00
                                objection/response summary chart, including review
                                of same (.3); E-mails with C Mackle, H Hochman
                                and D Grassgreen re need for their revisions to same
                                on their sections (.3).

 01/20/2021   IDK     PD        Review and consider briefly various E-mails with         0.30       1325.00         $397.50
                                Wilmer Hale, Sidley, M Calloway re indemnity
                                issues raised by amending partnership agreement
                                (.3).

 01/20/2021   JNP     PD        Review cases in connection with injunction and           0.20       1295.00         $259.00
                                exculpation.

 01/20/2021   JNP     PD        Conference with M. Clemente regarding Plan issues        0.90       1295.00        $1,165.50
                                (3x).

 01/20/2021   JNP     PD        Conference with Ira D. Kharasch regarding Plan and       0.30       1295.00         $388.50
                                CLO issues.
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                                                                                       Hours           Rate       Amount

 01/20/2021   JNP     PD        Review memo to Board regarding Plan and emails          0.20       1295.00         $259.00
                                regarding same.

 01/20/2021   JNP     PD        Review and comment on exculpation part of brief.        2.30       1295.00        $2,978.50

 01/20/2021   JNP     PD        Conference with J. Dubel regarding Plan issues (2x).    0.30       1295.00         $388.50

 01/20/2021   JNP     PD        Conference with M. Hankin regarding Plan issues.        0.40       1295.00         $518.00

 01/20/2021   JNP     PD        Review and respond to emails regarding IRS Plan         0.10       1295.00         $129.50
                                objection.

 01/20/2021   JNP     PD        Conference with J. Seery regarding Pan issues.          0.10       1295.00         $129.50

 01/20/2021   JNP     PD        Conference with Gregory V. Demo regarding Plan          0.10       1295.00         $129.50
                                demonstrative.

 01/20/2021   JNP     PD        Conference with D. Dardeneau regarding settlement       0.30       1295.00         $388.50
                                of employee claims objections to Plan.

 01/20/2021   JNP     PD        Conference with Ira D. Kharasch regarding AON,          0.30       1295.00         $388.50
                                D&O issues and related matters.

 01/20/2021   JNP     PD        Brief review regarding reply to objections.             0.10       1295.00         $129.50

 01/20/2021   JNP     PD        Review email from Bonds Ellis regarding discovery;      0.20       1295.00         $259.00
                                Conference with John A. Morris regarding same.

 01/20/2021   JNP     PD        Participate on call with Ira D. Kharasch, Gregory V.    0.50       1295.00         $647.50
                                Demo and Joshua M. Fried regarding Plan issues
                                (partial).

 01/20/2021   JNP     PD        Draft settlement email to D. Dardeneau regarding        0.30       1295.00         $388.50
                                Senior Employees.

 01/20/2021   JNP     PD        Review chart regarding Dondero entities objecting       0.20       1295.00         $259.00
                                to Plan; Conference with Gregory V. Demo
                                regarding same.

 01/20/2021   JNP     PD        Conference with AON, F. Caruso and Iain A. W.           0.30       1295.00         $388.50
                                Nasatir regarding Plan issues and D&O.

 01/20/2021   JNP     PD        Review email in response to Dugaboy document            0.20       1295.00         $259.00
                                request; Conference with Ira D. Kharasch regarding
                                same.

 01/20/2021   MFC     PD        Research regarding Plan issues.                         4.90       1095.00        $5,365.50

 01/20/2021   MFC     PD        Emails from/to G. Demo regarding Plan issue             0.10       1095.00         $109.50

 01/20/2021   JEO     PD        Review IRS objection to plan confirmation               0.60       1050.00         $630.00

 01/20/2021   JEO     PD        Research issues related to IRS Objection to plan        0.70       1050.00         $735.00
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                                                                                            Hours           Rate       Amount
                                confirmation
 01/20/2021   JEO     PD        Calls and emails with Josh Fried re IRS objection to         0.60       1050.00         $630.00
                                confirmation

 01/20/2021   JEO     PD        Call with Julie Rodgers of Wilmer Hale re IRS                0.30       1050.00         $315.00
                                objection to confirmation

 01/20/2021   JEO     PD        Review and provide comments to insert to                     0.80       1050.00         $840.00
                                confirmation reply re IRS issues

 01/20/2021   JEO     PD        Further drafting of insert for reply to IRS                  1.00       1050.00        $1,050.00
                                confirmation objection

 01/20/2021   JMF     PD        Telephone calls with G. Demo re omnibus reply and            0.30       1050.00         $315.00
                                1/26 hearing issues.

 01/20/2021   JMF     PD        Research re IRS objection and requested language             3.00       1050.00        $3,150.00
                                (1.6); draft response to same (1.4).

 01/20/2021   JMF     PD        Draft chart summarizing plan changes and proposed            0.80       1050.00         $840.00
                                modifications.

 01/20/2021   JMF     PD        Telephone call with L. Spindler re Dallas County             1.30       1050.00        $1,365.00
                                Tax issues and objections (.8) review revised
                                proposal regarding objection to plan (.5).

 01/20/2021   JMF     PD        Draft exhibit to reply summarizing responses to              1.40       1050.00        $1,470.00
                                exhibits.

 01/20/2021   JMF     PD        Edit plan re modifications.                                  0.40       1050.00         $420.00

 01/20/2021   JMF     PD        Telephone calls (2x) with J.N. Pomerantz, J. O'Neill,        0.70       1050.00         $735.00
                                I. KHarasch, G. Demo re plan issues.

 01/20/2021   JAM     PD        Review/revise omnibus reply to plan objections               3.30       1245.00        $4,108.50
                                (2.4); telephone conference with Board, J.
                                Pomerantz, I. Kharasch, G. Demo re: plan issues,
                                D&O insurance, exculpation (0.9).

 01/20/2021   VAN     PD        Research and analysis regarding objections to                2.40       1050.00        $2,520.00
                                retention of jurisdiction in plan; draft/revise insert to
                                plan confirmation brief regarding same.

 01/20/2021   JHD     PD        Correspondence from Ira D. Kharasch re revisions to          0.20       1645.00         $329.00
                                plan objections; correspondence from Judy Elkin re
                                same

 01/20/2021   JHD     PD        Correspondence from Isaac M. Pachulski re                    0.10       1645.00         $164.50
                                severability issues

 01/20/2021   JHD     PD        Correspondence from Ira D. Kharasch re plan                  0.60       1645.00         $987.00
                                severability provisions; prepare correspondence to
                                Ira D. Kharasch re same; research re same
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                                                                                      Hours           Rate       Amount

 01/20/2021   JHD     PD        Correspondence from Isaac M. Pachulski re plan         0.10       1645.00         $164.50
                                revisions

 01/20/2021   JHD     PD        Correspondence from Isaac M. Pachulski re plan         0.10       1645.00         $164.50
                                issues

 01/20/2021   JHD     PD        Correspondence from Gregory V. Demo re revised         1.80       1645.00        $2,961.00
                                plan amendments; analyze revised amendments;
                                correspondence from Judy Elkin re same;
                                correspondence from Ira D. Kharasch re same;
                                prepare revisions of same; prepare correspondence
                                re same

 01/20/2021   JHD     PD        Correspondence from Isaac M. Pachulski re              0.20       1645.00         $329.00
                                exculpation issues; correspondence from Jeffrey N.
                                Pomerantz re same; correspondence from Judy Elkin
                                re same

 01/20/2021   JHD     PD        Correspondence from Judy Elkin re plan issues;         1.40       1645.00        $2,303.00
                                research re same; prepare correspondence to Judy
                                Elkin re same; correspondence from Jeffrey N.
                                Pomerantz re same

 01/20/2021   JHD     PD        Prepare responses to plan objections; multiple         5.20       1645.00        $8,554.00
                                emails with PSZJ team re same

 01/20/2021   JHD     PD        Correspondence from Judy Elkin re plan                 0.20       1645.00         $329.00
                                amendments; correspondence from Jeffrey N.
                                Pomerantz re same

 01/20/2021   JHD     PD        Correspondence from Isaac M. Pachulski re              0.10       1645.00         $164.50
                                severability issues

 01/20/2021   JHD     PD        Correspondence from Isaac M. Pachulski re plan         0.50       1645.00         $822.50
                                issues; review research materials re same; prepare
                                correspondence re same; correspondence from
                                Jeffrey N. Pomerantz re same

 01/20/2021   JHD     PD        Correspondence from Judy Elkin re response to plan     0.20       1645.00         $329.00
                                objections; prepare correspondence to Judy Elkin re
                                same

 01/20/2021   JHD     PD        Correspondence from Judy Elkin re response to plan     0.30       1645.00         $493.50
                                objections; correspondence from Jeffrey N.
                                Pomerantz re same; prepare correspondence re same

 01/20/2021   JHD     PD        Multiple emails with PSZJ team re discharge and        0.40       1645.00         $658.00
                                injunction issues

 01/20/2021   IMP     PD        Review emails re potential plan amendments             0.20       1695.00         $339.00

 01/20/2021   IMP     PD        Review/analyze/respond to emails from Ira D.           0.30       1695.00         $508.50
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                                                                                       Hours           Rate        Amount
                                Kharasch and Jeffrey H. Davidson re plan issue
 01/20/2021   IMP     PD        Research re plan issue and draft multiple emails re     0.80       1695.00         $1,356.00
                                same; review multiple emails re issues re plan
                                amendment and confirmation brief

 01/20/2021   IMP     PD        Review emails from Jeffrey H. Davidson and Ira D.       0.20       1695.00          $339.00
                                Kharasch re potential plan language and respond;
                                review/respond to email from Jeffrey N. Pomerantz
                                re confirmation brief

 01/20/2021   IMP     PD        Review multiple emails re plan issues; analyze          0.70       1695.00         $1,186.50
                                issues and draft responses

 01/20/2021   IMP     PD        Review/comment on/edit revised draft of                 1.10       1695.00         $1,864.50
                                confirmation brief inserts

 01/20/2021   IMP     PD        Review multiple emails re plan issue and respond        0.20       1695.00          $339.00

 01/20/2021   IMP     PD        Review multiple emails re plan issues; analyze          0.60       1695.00         $1,017.00
                                issues; respond to certain emails; review and
                                comment on proposed plan revision

 01/20/2021   IMP     PD        Review markup of potential plan amendment               0.10       1695.00          $169.50

 01/20/2021   IMP     PD        Review/comment on proposed plan revision                0.10       1695.00          $169.50

 01/20/2021   IMP     PD        Review and comment on portion of revised draft of       0.90       1695.00         $1,525.50
                                confirmation brief sections

 01/20/2021   IMP     PD        Review and comment on draft sections of                 1.50       1695.00         $2,542.50
                                confirmation brief

 01/20/2021   GVD     PD        Review revised organizational chart                     0.30        950.00          $285.00

 01/20/2021   GVD     PD        Conference with board re confirmation issues            1.00        950.00          $950.00

 01/20/2021   GVD     PD        review omnibus response to plan objections              3.60        950.00         $3,420.00

 01/20/2021   GVD     PD        Conference with PSZJ team re plan issues                0.70        950.00          $665.00

 01/20/2021   GVD     PD        Review and revise memo to board on confirmation         0.60        950.00          $570.00

 01/20/2021   GVD     PD        Correspondence with Committee re revisions to plan      0.20        950.00          $190.00

 01/20/2021   JE      PD        Work on brief revisions and review various potential   12.60       1195.00        $15,057.00
                                plan amendments as implicated in brief on
                                exculpation, release, injunction and gatekeeper
                                sections and miscellaneous correspondence
                                regarding related matters for brief.

 01/20/2021   HRW     PD        Review draft plan of reorganization (0.3).              0.30        695.00          $208.50

 01/21/2021   HDH     PD        Review objection and chart and draft inserts            1.20       1095.00         $1,314.00
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 01/21/2021   IAWN PD           Prepare for witness prep with outline, .2, attend        3.40       1145.00        $3,893.00
                                Tauber witness prep, .9, redact exhibits for morris,
                                .1, review file re history to prep bullet outline for
                                Tauber testimony for John Morris, .6, prep bullets,
                                .1, telephone conference with Tauber with Jeffrey N
                                Pomerantz and John Morris re prep, .2; review and
                                exchange emails with Tauber, John Morris and
                                Jeffrey N Pomerantz re testimony,.2, review Tauber
                                marketing files, .8, review emails between Tauber
                                and Jeffrey N Pomerantz re timing , .1, exchange
                                emails with John Morris re documents, .1; exchange
                                emails with Jeffrey N Pomerantz re SIR issue

 01/21/2021   IDK     PD        Telephone conference with J. Pomerantz re new            0.20       1325.00         $265.00
                                develop on D&O insurance and related plan issues
                                (.2).

 01/21/2021   IDK     PD        Review of correspondence with M Calloway, J Fried        0.20       1325.00         $265.00
                                re potential subordination of indemnity claims and
                                Enron (.2).

 01/21/2021   IDK     PD        Attend conference call with J. Pomerantz and G           0.90       1325.00        $1,192.50
                                Demo re potential further amendments of plan
                                injunction provisions (.3); Numerous
                                correspondence with same, J Davidson re further
                                issues on substantial plan injunction amendments,
                                including UCC feedback, need to redefine Enjoined
                                Parties, and other issues to address (.6).

 01/21/2021   IDK     PD        Review and revise substantially V Newmark                1.00       1325.00        $1,325.00
                                jurisdictional responses to objections to plan (.7);
                                E-mails with J Elkin re same and need to insert in
                                response to injunction/post-confirmation jurisdiction
                                issues (.3).

 01/21/2021   IDK     PD        Review and consider J Elkin’s further revised brief      1.10       1325.00        $1,457.50
                                section on injunction, releases, other, as well as
                                feedback of J. Pomerantz on injunction/exculpation
                                amendments (.4); E-mails with J Elkin, J Davidson, I
                                Pachulski, J. Pomerantz re my revisions to same,
                                including 1123b3, jurisdiction section (.5);
                                Telephone conference with J. Pomerantz re same
                                and status of confirmation hearing and potential
                                continuance (.2).

 01/21/2021   IDK     PD        Review of J Elkin’s latest brief on response on          1.40       1325.00        $1,855.00
                                injunction related issues (.4); Numerous E-mails
                                with J Elkin, others re need for modifications of
                                same, including blackline of plan changes in text,
                                effective date alterations and related provisions in
                                amended plan (.7); E-mails with I Pachulski re his
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                                further markups on same, as well as J Elkin’s status
                                on finalizing (.3).
 01/21/2021   IDK     PD        Attend internal conference call with J Morris, others     1.40       1325.00        $1,855.00
                                re Grant Scott depo, evidence in support of plan (.5);
                                Attend conference call with J. Pomerantz, others on
                                changes to plan, discharge issues, responses to
                                objections (.9).

 01/21/2021   IDK     PD        Review in detail draft of confirmation brief and          0.50       1325.00         $662.50
                                omnibus reply brief for potential revisions as well as
                                for evidence needed at confirmation hearing

 01/21/2021   IDK     PD        E-mails with attorneys re need for catch up call (.1);    1.20       1325.00        $1,590.00
                                Attend conference call with J. Pomerantz and G
                                Demo, and later J Davidson re discharge/injunction
                                issues (.5); Telephone conference with J. Pomerantz
                                later tonight on evidence issues for confirmation,
                                Dugaboy objection re fiduciary duty, and potential
                                plan negotiations with UCC and Dondero (.3);
                                E-mails with I Pachulski re discharge/automatic stay
                                termination issues and related injunction issues (.4).

 01/21/2021   IDK     PD        E-mail G Demo re his modification of conference           1.00       1325.00        $1,325.00
                                order re inclusion of new deal with CLO issues,
                                including review of same, as well as correspondence
                                with CLO issuers re same and gatekeepter (.3);
                                Review briefly revised omnibus reply to all
                                objection (.3); E-mails with G Demo, J Fried, J.
                                Pomerantz re further amendments to plan re
                                indemnification provisions and revisions to litigation
                                trust and claimant trust agreements (.4).

 01/21/2021   IDK     PD        Numerous E-mails with H Hochman, others on                0.40       1325.00         $530.00
                                issues, modifications of chart for court summarizing
                                all plan objections and responses, including review
                                of same (.4).

 01/21/2021   IDK     PD        Numerous E-mails with V Newmark re need for               0.60       1325.00         $795.00
                                research and memo for insert to omnibus reply brief
                                on discharge issues, including meaning of
                                liquidation and engaging in business, including
                                review of her memo/insert on same.

 01/21/2021   IDK     PD        Review of J. Pomerantz memo to Board on need to           0.80       1325.00        $1,060.00
                                continue confirmation hearing, as well as
                                communications with Sidley and Court clerk re same
                                (.3); Numerous E-mails with J. Pomerantz, J Fried,
                                G Demo re issues raised by objecting parties to best
                                interest test, and their claim of inconsistent duties
                                and lack of fiduciary duty, including review of
                                plan/claimant trust provisions, and my feedback for
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                                                                                        Hours           Rate       Amount
                                potential amendment to plan re same (.5).
 01/21/2021   IDK     PD        Prep of extensive memo for list of evidence needed       1.60       1325.00        $2,120.00
                                at confirmation hearing for our burden on
                                establishing requirements, as well as our responses
                                to all objections (1.3); E-mails with J. Pomerantz re
                                same as well as his separate list of evidence (.3).

 01/21/2021   JNP     PD        Emails to and from J. Elkin regarding brief insert.      0.10       1295.00         $129.50

 01/21/2021   JNP     PD        Conference with Jeffrey H. Davidson, Ira D.              0.50       1295.00         $647.50
                                Kharasch and Gregory V. Demo regarding
                                injunction provisions.

 01/21/2021   JNP     PD        Conference with M. Clemente regarding Plan issues        0.70       1295.00         $906.50
                                (several).

 01/21/2021   JNP     PD        Conference with Ira D. Kharasch and Gregory V.           0.30       1295.00         $388.50
                                Demo regarding injunction and Plan provisions.

 01/21/2021   JNP     PD        Conference with Ira D. Kharasch, Joshua M. Fried         0.90       1295.00        $1,165.50
                                and Gregory V. Demo regarding Plan confirmation
                                documents.

 01/21/2021   JNP     PD        Review and comment on objection chart to Plan            0.60       1295.00         $777.00
                                confirmation pleadings.

 01/21/2021   JNP     PD        Conference with Joshua M. Fried regarding final          0.30       1295.00         $388.50
                                order issues in Plan.

 01/21/2021   JNP     PD        Email to Board regarding continuance of Plan             0.10       1295.00         $129.50
                                confirmation hearing.

 01/21/2021   JNP     PD        Conference with John A. Morris, Gregory V. Demo,         0.50       1295.00         $647.50
                                Ira D. Kharasch and Joshua M. Fried regarding
                                evidence for confirmation hearing.

 01/21/2021   JNP     PD        Email to Joshua M. Fried and Gregory V. Demo             0.10       1295.00         $129.50
                                regarding Plan issues.

 01/21/2021   JNP     PD        Conference with Ira D. Kharasch regarding Plan           0.30       1295.00         $388.50
                                issues (multiple).

 01/21/2021   JNP     PD        Conference with John A. Morris regarding status of       0.20       1295.00         $259.00
                                Plan confirmation and related issues.

 01/21/2021   JNP     PD        Prepare memo regarding evidence and documents            1.70       1295.00        $2,201.50
                                needed for Plan confirmation hearing.

 01/21/2021   JNP     PD        Conference with J. Seery regarding Plan issues (3x).     0.60       1295.00         $777.00

 01/21/2021   JNP     PD        Final review of exculpation insert.                      0.90       1295.00        $1,165.50

 01/21/2021   JNP     PD        Review and revise provisions regarding                   0.10       1295.00         $129.50
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                                                                                       Hours           Rate       Amount
                                indemnification reserve under Trust Agreement.
 01/21/2021   JNP     PD        Review email to Bond Ellis regarding discovery;         0.10       1295.00         $129.50
                                Conference with John A. Morris regarding same.

 01/21/2021   JNP     PD        Review and respond various emails regarding Plan        0.70       1295.00         $906.50
                                issues and responses.

 01/21/2021   MFC     PD        Draft notice of removal of certain assumed              0.80       1095.00         $876.00
                                contracts.

 01/21/2021   MFC     PD        Emails to/from G. Demo regarding Plan issues.           0.20       1095.00         $219.00

 01/21/2021   MFC     PD        Emails from/to G. Demo regarding notice of              0.20       1095.00         $219.00
                                withdrawal issue.

 01/21/2021   MFC     PD        Research regarding Plan issues.                         4.00       1095.00        $4,380.00

 01/21/2021   JEO     PD        Work on revisions to insert to confirmation reply to    0.90       1050.00         $945.00
                                address IRS objection

 01/21/2021   JMF     PD        Telephone calls with G. Demo, J.N. Pomerantz, J.        0.40       1050.00         $420.00
                                Morris and I. Kharasch re plan confirmation issues.

 01/21/2021   JMF     PD        Review claimant trust agreement re plan                 0.70       1050.00         $735.00
                                modifications.

 01/21/2021   JMF     PD        Draft confirmation brief.                               3.80       1050.00        $3,990.00

 01/21/2021   JMF     PD        Draft chart to omnibus reply re summary of              1.70       1050.00        $1,785.00
                                objections.

 01/21/2021   JMF     PD        Telephone call with G. Demo, J.N. Pomerantz re          0.90       1050.00         $945.00
                                objections and status of plan.

 01/21/2021   JMF     PD        Review and draft updates to plan.                       2.70       1050.00        $2,835.00

 01/21/2021   JMF     PD        Review reply and injunction provisions re amended       0.80       1050.00         $840.00
                                plan.

 01/21/2021   JAM     PD        Telephone conference with J. Pomerantz, I.              0.60       1245.00         $747.00
                                Kharasch, G. Demo, J. Fried re: confirmation issues,
                                exhibits, briefing (0.6).

 01/21/2021   VAN     PD        Research and analysis regarding discharge               3.00       1050.00        $3,150.00
                                argument; draft same.

 01/21/2021   JHD     PD        Multiple emails with PSZJ team re plan                  1.80       1645.00        $2,961.00
                                amendments; review additional amendments

 01/21/2021   JHD     PD        Conference call with Jeffrey N. Pomerantz, Ira D.       0.30       1645.00         $493.50
                                Kharasch and Gregory V. Demo re plan amendment
                                issues
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                                                                                        Hours           Rate       Amount

 01/21/2021   JHD     PD        Analyze committee comments on plan injunction            0.30       1645.00         $493.50
                                amendments; correspondence from Gregory V.
                                Demo re same; prepare correspondence to Gregory
                                V. Demo re same

 01/21/2021   JHD     PD        Correspondence from Gregory V. Demo re revisions         0.70       1645.00        $1,151.50
                                to plan amendments; prepare further revisions to
                                plan amendments; prepare correspondence to PSZJ
                                team re same

 01/21/2021   JHD     PD        Correspondence from Judy Elkin re additional             0.30       1645.00         $493.50
                                precedent in support of responses to plan objections;
                                analyze opinion re same

 01/21/2021   JHD     PD        Telephone conference with Isaac M. Pachulski re          0.20       1645.00         $329.00
                                brief in response to plan objections

 01/21/2021   JHD     PD        Correspondence from Jeffrey N. Pomerantz re brief        0.30       1645.00         $493.50
                                in response to plan objections; prepare
                                correspondence re same

 01/21/2021   JHD     PD        Prepare brief responding to plan objections; multiple    4.80       1645.00        $7,896.00
                                emails with PSZJ team re same

 01/21/2021   JHD     PD        Correspondence from Judy Elkin re revisions to           0.20       1645.00         $329.00
                                responses to plan objections

 01/21/2021   JHD     PD        Correspondence from Jeffrey N. Pomerantz re plan         0.20       1645.00         $329.00
                                strategy; prepare correspondence to Jeffrey N.
                                Pomerantz re same

 01/21/2021   IMP     PD        Review multiple emails re further plan revisions         0.20       1695.00         $339.00

 01/21/2021   IMP     PD        Review/comment on proposed plan change                   0.10       1695.00         $169.50

 01/21/2021   IMP     PD        Review emails and proposed markup of plan                0.50       1695.00         $847.50
                                revision; review and respond to multiple emails re
                                confirmation brief and related issues and analyze
                                same

 01/21/2021   IMP     PD        Review/comment on redline of inserts to                  0.80       1695.00        $1,356.00
                                confirmation brief

 01/21/2021   IMP     PD        Review revision of plan amendment                        0.10       1695.00         $169.50

 01/21/2021   IMP     PD        Review and comment on revised draft of portions of       1.30       1695.00        $2,203.50
                                confirmation brief

 01/21/2021   IMP     PD        Review/analyze/respond to email from Ira D.              0.40       1695.00         $678.00
                                Kharasch re plan/confirmation issues

 01/21/2021   IMP     PD        Review multiple emails re plan and confirmation          0.40       1695.00         $678.00
                                issues and plan revisions; respond as appropriate
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                                                                                       Hours           Rate        Amount

 01/21/2021   GVD     PD        Conference with K. Dine re senior employee              0.30        950.00          $285.00
                                stipulation

 01/21/2021   GVD     PD        Revise omnibus reply to objections                      3.60        950.00         $3,420.00

 01/21/2021   GVD     PD        Review and revise plan of reorganization and            1.40        950.00         $1,330.00
                                supplement documents

 01/21/2021   GVD     PD        Conference with PSZJ team re plan issues                0.90        950.00          $855.00

 01/21/2021   GVD     PD        Conference with J. Pomerantz and I. Kharasch re         0.40        950.00          $380.00
                                plan revisions

 01/21/2021   GVD     PD        Prepare demonstratives for hearing                      0.20        950.00          $190.00

 01/21/2021   GVD     PD        Attend to issues re filing of confirmation papers       1.10        950.00         $1,045.00

 01/21/2021   GVD     PD        Review emails re Senior Employee discovery              0.30        950.00          $285.00
                                request

 01/21/2021   JE      PD        Continue to review, revise and assimilate comments      9.70       1195.00        $11,591.50
                                on brief insert on injunctions, exculpation and
                                release; review and comment on various revisions to
                                plan sections pertinent to same.

 01/22/2021   IAWN PD           Review email exchange with Jeffrey N Pomerantz          1.10       1145.00         $1,259.50
                                and creditors committee re timing with Tauber,.1
                                review Jeffrey N Pomerantrz email re tasks for
                                confirmation hearing, .1, exchange emails with
                                Tauber re documentation for exhibits, .1, review
                                documentation, .6, finalize exhibits with John
                                Morris and Jeffrey N Pomerantz, .2

 01/22/2021   JNP     PD        Emails to and from Court and other parties regarding    0.20       1295.00          $259.00
                                continuance of Plan Confirmation hearing.

 01/22/2021   JNP     PD        Review email from M. Clemente regarding                 0.10       1295.00          $129.50
                                insurance and forward same.

 01/22/2021   JNP     PD        Conference with J. Dubel regarding Plan issue           0.40       1295.00          $518.00
                                (multiple).

 01/22/2021   JNP     PD        Conference with John A. Morris, Ira D. Kharasch         0.50       1295.00          $647.50
                                and Gregory V. Demo regarding witness list and
                                exhibit list for Plan Confirmation hearing.

 01/22/2021   JNP     PD        Review and respond to emails regarding Plan issues.     0.20       1295.00          $259.00

 01/22/2021   JNP     PD        Conference with Joshua M. Fried, Ira D. Kharasch        0.40       1295.00          $518.00
                                and Gregory V. Demo regarding Plan Confirmation
                                documents.

 01/22/2021   JNP     PD        Conference with John A. Morris regarding                0.30       1295.00          $388.50
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                                                                                       Hours           Rate       Amount
                                confirmation hearing and evidence issues (multiple).
 01/22/2021   JNP     PD        Conference with J. Seery regarding Plan issues (2x).    0.40       1295.00         $518.00

 01/22/2021   JNP     PD        Review Plan amendments, Partnership Agreement           1.80       1295.00        $2,331.00
                                amendments and latest brief inserts; Conference
                                with Ira D. Kharasch, Joshua M. Fried and Gregory
                                V. Demo regarding same (several).

 01/22/2021   JNP     PD        Review latest Dondero proposal, email to Board and      0.20       1295.00         $259.00
                                conference with J. Dubel regarding same.

 01/22/2021   JNP     PD        Conference with M.Tauber, Iain A. W. Nasatir and        0.90       1295.00        $1,165.50
                                John A. Morris regarding witness preparation for
                                confirmation hearing.

 01/22/2021   JNP     PD        Review pleadings regarding Plan confirmation            0.20       1295.00         $259.00
                                filings.

 01/22/2021   MFC     PD        Working on finalization of assumed contract list.       2.20       1095.00        $2,409.00

 01/22/2021   MFC     PD        Multiple emails from/to G. Demo and DSI regarding       0.50       1095.00         $547.50
                                final list of assumed contracts.

 01/22/2021   JEO     PD        Edits on confirmation brief re IRS Objection to         0.80       1050.00         $840.00
                                confirmation

 01/22/2021   JMF     PD        Telephone calls with P. Leathem re service issues re    0.30       1050.00         $315.00
                                plan document filings.

 01/22/2021   JMF     PD        Review and edits to plan.                               2.50       1050.00        $2,625.00

 01/22/2021   JMF     PD        Finalize confirmation brief.                            4.70       1050.00        $4,935.00

 01/22/2021   JMF     PD        Review omnibus reply and inserts re issues re           3.40       1050.00        $3,570.00
                                injunction issues(1.6); draft chart re summary of
                                objections (1.8).

 01/22/2021   JMF     PD        Multiple telephone calls with I. Kharasch, G. Demo      0.80       1050.00         $840.00
                                and J.N. Pomerantz re brief and reply issues.

 01/22/2021   VAN     PD        Further research and analysis regarding discharge       2.10       1050.00        $2,205.00
                                argument; draft same.

 01/22/2021   JHD     PD        Multiple emails with PSZJ team re revisions to brief    4.80       1645.00        $7,896.00
                                in response to plan objections; review and revise
                                brief responding to plan objections

 01/22/2021   JHD     PD        Final revisions to brief re plan objections;            0.70       1645.00        $1,151.50
                                correspondence with PSZJ team re same

 01/22/2021   JHD     PD        Correspondence from Gregory V. Demo re                  0.40       1645.00         $658.00
                                amendments to plan provisions; prepare
                                correspondence re same
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 01/22/2021   IMP     PD        Review multiple emails re confirmation brief and          2.90       1695.00         $4,915.50
                                related issues; review/comment on/edit latest draft of
                                inserts

 01/22/2021   IMP     PD        Review revised draft of inserts to confirmation brief     0.40       1695.00          $678.00
                                and comment; review additional emails re
                                confirmation brief

 01/22/2021   IMP     PD        Review multiple additional emails re matters re           0.40       1695.00          $678.00
                                inserts to confirmation brief; review redline of
                                revised inserts

 01/22/2021   LSC     PD        Preparation of exhibit & witness lists and exhibits       9.60        460.00         $4,416.00
                                for confirmation hearing/preliminary injunction
                                hearing, including teleconferences and
                                correspondence regarding the same (7.5); prepare
                                document production re senior employee
                                ballots/claims (2.1).

 01/22/2021   GVD     PD        Conference with PSZJ working team re evidentiary          0.50        950.00          $475.00
                                issues in support of confirmation

 01/22/2021   GVD     PD        Prepare and file papers in support of confirmation of    11.00        950.00        $10,450.00
                                plan

 01/22/2021   JE      PD        Review and revise brief insert and various                9.00       1195.00        $10,755.00
                                correspondence with PSZJ team regarding same
                                (6.8); work on inserts to Objection Response chart as
                                to exculpation, injunction and release provisions
                                (.8); prepare plan red line sections for inclusion in
                                brief (.8); call with Mr. Kharasch regarding final
                                changes (.3); call with Mr. Demo regarding final
                                changes to brief insert and inclusion into main brief
                                (.3).

 01/23/2021   IAWN PD           Review email from Jeffrey N Pomerantz re                  0.20       1145.00          $229.00
                                subpoena, .1, review file re sending subpoena to
                                John Morris, .1

 01/23/2021   JNP     PD        Conference with J. Dubel regarding Plan issues,           0.40       1295.00          $518.00
                                insurance status, and J. Dondero proposal (multiple).

 01/23/2021   JNP     PD        Conference with J. Seery regarding Plan issues.           0.40       1295.00          $518.00

 01/23/2021   JNP     PD        Email to M. Lynn to discuss Plan.                         0.10       1295.00          $129.50

 01/23/2021   JNP     PD        Conference with John A. Morris and Ira D.                 0.50       1295.00          $647.50
                                Kharasch regarding Plan discovery issue.

 01/23/2021   JNP     PD        Emails with Board regarding call with J. Dondero.         0.10       1295.00          $129.50

 01/23/2021   JNP     PD        Conference with Ira D. Kharasch regarding Plan            0.10       1295.00          $129.50
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                                                                                      Hours           Rate       Amount
                                exculpation.
 01/23/2021   JNP     PD        Begin to prepare for Plan Confirmation hearing.        5.00       1295.00        $6,475.00

 01/23/2021   LSC     PD        Preparation of binders and materials in preparation    4.70        460.00        $2,162.00
                                for confirmation and preliminary injunction hearing
                                for John Morris.

 01/23/2021   JE      PD        Review Reply Brief and UCC brief in support of         2.10       1195.00        $2,509.50
                                confirmation.

 01/24/2021   IAWN PD           Review emails from Jeffrey N Pomerantz to Tauber       0.10       1145.00         $114.50
                                re timing of call with Alliant

 01/24/2021   JNP     PD        Continue to prepare for Plan Confirmation hearing.     3.30       1295.00        $4,273.50

 01/24/2021   JNP     PD        Conference with DSI, Ira D. Kharasch, John A.          0.80       1295.00        $1,036.00
                                Morris and Gregory V. Demo regarding Plan
                                discovery.

 01/24/2021   JNP     PD        Conference with M. Clemente regarding Plan issues.     0.20       1295.00         $259.00

 01/24/2021   JNP     PD        Emails to and from Davor regarding competing           0.20       1295.00         $259.00
                                Plan.

 01/24/2021   JNP     PD        Conference with J. Dubel regarding Plan issues.        0.30       1295.00         $388.50

 01/24/2021   JNP     PD        Review competing Plan from Dondero.                    0.50       1295.00         $647.50

 01/24/2021   JNP     PD        Conference with J. Seery regarding Plan issues.        0.20       1295.00         $259.00

 01/24/2021   JMF     PD        Review omnibus reply (1.1) and proposed IRS            1.50       1050.00        $1,575.00
                                language re settlement of objection (.4).

 01/24/2021   JMF     PD        Review committee response re plan confirmation.        0.40       1050.00         $420.00

 01/25/2021   IAWN PD           Exchange emails with Jeffrey N Pomerantz re            0.30       1145.00         $343.50
                                Alliant call. 1, and email.1 and telephone call re
                                notice issue, .1

 01/25/2021   JNP     PD        Continue to prepare for confirmation hearing.          2.80       1295.00        $3,626.00

 01/25/2021   JNP     PD        Conference with M. Clemente regarding Next Point       0.20       1295.00         $259.00
                                motion to file Plan.

 01/25/2021   JNP     PD        Conference with J. Dubel after call with J. Dondero    0.20       1295.00         $259.00
                                and representatives regarding Plan.

 01/25/2021   JNP     PD        Review Next Point motion regarding filing Plan.        0.10       1295.00         $129.50

 01/25/2021   JNP     PD        Conference with Ira D. Kharasch regarding strategy     0.10       1295.00         $129.50
                                regarding responding to motion to file Plan.

 01/25/2021   JNP     PD        Conference with J. Seery regarding Next Point          0.10       1295.00         $129.50
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                                motion to file Plan.
 01/25/2021   JNP     PD        Conference with J. Seery regarding upcoming call         0.10       1295.00         $129.50
                                with Dondero and related issues.

 01/25/2021   JNP     PD        Conference with J. Dondero, Bond Ellis, Davor            0.50       1295.00         $647.50
                                Rukavina, Board, Ira D. Kharasch and Gregory V.
                                Demo regarding Plan status.

 01/25/2021   PJJ     PD        Pull case law for Jeffrey N. Pomerantz.                  0.20        460.00          $92.00

 01/25/2021   MFC     PD        Draft 4th notice of assumed contracts.                   0.70       1095.00         $766.50

 01/25/2021   MFC     PD        Reviewing additional contract info received from         0.60       1095.00         $657.00
                                DSI.

 01/25/2021   MFC     PD        Review revised Plan provisions.                          0.20       1095.00         $219.00

 01/25/2021   MFC     PD        EMails from/to G. Demo and DSI regarding addition        0.30       1095.00         $328.50
                                contracts to be assumed under Plan.

 01/25/2021   MFC     PD        More emails regarding additional contracts to be         0.40       1095.00         $438.00
                                assumed.

 01/25/2021   MFC     PD        Emails from/to J. O'Neill and G. Demo regarding          0.10       1095.00         $109.50
                                assumed contract list and confirmation issues.

 01/25/2021   JMF     PD        Draft confirmation order.                                1.70       1050.00        $1,785.00

 01/25/2021   JMF     PD        Review claimant trust agreement and litigation trust     0.70       1050.00         $735.00
                                re plan supplement.

 01/25/2021   JMF     PD        Review reply to objections re injunction and             0.70       1050.00         $735.00
                                gatekeeper issues.

 01/25/2021   GVD     PD        Attend Board/Committee call re Dondero proposal          0.60        950.00         $570.00

 01/26/2021   JNP     PD        Conference with Joshua M. Fried and James E.             0.80       1295.00        $1,036.00
                                O'Neill regarding IRS tax issues.

 01/26/2021   JNP     PD        Email to and from D. Dandereau regarding                 0.10       1295.00         $129.50
                                employee objections.

 01/26/2021   JNP     PD        Continue preparing for Confirmation hearing.             4.50       1295.00        $5,827.50

 01/26/2021   JNP     PD        Review FTI email regarding Plan comparison.              0.10       1295.00         $129.50

 01/26/2021   PJJ     PD        Prepare confirmation exhibit binders.                    3.40        460.00        $1,564.00

 01/26/2021   MFC     PD        Revisions to 4th notice of assumed contracts             1.00       1095.00        $1,095.00

 01/26/2021   MFC     PD        Emails from/to DSI regarding assumed contracts list.     0.20       1095.00         $219.00

 01/26/2021   MFC     PD        Attention to service issues for 4th notice of assumed    0.20       1095.00         $219.00
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                                                                                        Hours           Rate       Amount
                                contracts.
 01/26/2021   MFC     PD        EMails from/to G. Demo and DSI regarding notice          0.50       1095.00         $547.50
                                and hearing issues.

 01/26/2021   MFC     PD        Review Plan related filings.                             0.30       1095.00         $328.50

 01/26/2021   JEO     PD        Draft revised language to address IRS confirmation       2.50       1050.00        $2,625.00
                                objection

 01/26/2021   JEO     PD        Call with Jeff Pomerantz and Josh Fried regarding        0.50       1050.00         $525.00
                                IRS Confirmation Objection

 01/26/2021   JMF     PD        Review IRS counterproposal (.3); telephone call          0.90       1050.00         $945.00
                                with J. O'Neill and J.N. Pomerantz re same (.6).

 01/26/2021   JMF     PD        Review tax spreadsheet and emails re payments re         0.40       1050.00         $420.00
                                Texas Taxing Authorities.

 01/26/2021   JMF     PD        Draft confirmation order.                                4.80       1050.00        $5,040.00

 01/26/2021   JMF     PD        Review and comment re plan confirmation hearing          0.80       1050.00         $840.00
                                presentation issues.

 01/26/2021   GVD     PD        Correspondence re withdrawal of senior employee          0.20        950.00         $190.00
                                objection to plan

 01/27/2021   IAWN PD           Review emails between Jeffrey N Pomerantz and            0.20       1145.00         $229.00
                                Tauber re call.1 and insurance current quotes, .1

 01/27/2021   JNP     PD        Participate on call with DSI and PSZJ regarding          1.00       1295.00        $1,295.00
                                projections and liquidation analysis.

 01/27/2021   JNP     PD        Conference with Baker regarding Plan settlement.         0.30       1295.00         $388.50

 01/27/2021   JNP     PD        Conference with John A. Morris regarding F.              0.10       1295.00         $129.50
                                Waterhouse deposition.

 01/27/2021   JNP     PD        Conference with J. Seery regarding negotiation with      0.10       1295.00         $129.50
                                employees.

 01/27/2021   JNP     PD        Email to T. Ellison regarding update on potential        0.10       1295.00         $129.50
                                settlements to Plan confirmation.

 01/27/2021   JNP     PD        Conference with Gregory V. Demo regarding Plan           0.10       1295.00         $129.50
                                confirmation hearing demonstratives.

 01/27/2021   JNP     PD        Email to Z. Anabale regarding status of resolution of    0.10       1295.00         $129.50
                                Plan objections.

 01/27/2021   JNP     PD        Review email from D. Dandereau regarding                 0.30       1295.00         $388.50
                                settlement of objections and forward on and consider
                                counter-proposal.
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 01/27/2021   JNP     PD        Conference with Ira D. Kharasch regarding Plan         0.20       1295.00         $259.00
                                confirmation issues.

 01/27/2021   JNP     PD        Conference with John A. Morris regarding Plan          0.10       1295.00         $129.50
                                settlement.

 01/27/2021   JNP     PD        Conference with A. Russell regarding call with         0.20       1295.00         $259.00
                                Baker regarding Plan settlement.

 01/27/2021   JNP     PD        Email to Joshua M. Fried regarding reaching out to     0.10       1295.00         $129.50
                                former employees regarding new language in Plan.

 01/27/2021   JNP     PD        Continue preparing for Confirmation hearing.           0.50       1295.00         $647.50

 01/27/2021   JNP     PD        Conference with Joshua M. Fried regarding Texas        0.10       1295.00         $129.50
                                Plan objection and emails regarding same.

 01/27/2021   JNP     PD        Email to and from D. Dandereau regarding               0.30       1295.00         $388.50
                                settlement with Isaac Leventon and Scott Ellington
                                and conference with regarding.

 01/27/2021   JNP     PD        Conference with M. Clemente regarding Plan and         0.30       1295.00         $388.50
                                insurance issues.

 01/27/2021   JNP     PD        Conference with Ira D. Kharasch regarding              0.10       1295.00         $129.50
                                settlement with employees.

 01/27/2021   JNP     PD        Conference with J. Seery regarding transition and      0.20       1295.00         $259.00
                                employee settlements.

 01/27/2021   JNP     PD        Email to and from Committee counsel regarding          0.10       1295.00         $129.50
                                counter-proposal from employees.

 01/27/2021   MFC     PD        Emails from/to DSI and G. Demo regarding 4th           0.30       1095.00         $328.50
                                Notice and additional contracts to be assumed.

 01/27/2021   MFC     PD        Review additional contracts received from DSI.         0.20       1095.00         $219.00

 01/27/2021   MFC     PD        Finalize 4th notice for filing.                        0.20       1095.00         $219.00

 01/27/2021   JEO     PD        Emails with client team re filing of Form 720 to       1.30       1050.00        $1,365.00
                                address IRS confirmation objection

 01/27/2021   JEO     PD        Emails and calls with David Adams to review            0.90       1050.00         $945.00
                                proposed language/issues re IRS objection to
                                confirmation

 01/27/2021   JMF     PD        Review issues re examiner motion and plan              0.70       1050.00         $735.00
                                confirmation (.5); telephone call with C. Mackle re
                                same (.2).

 01/27/2021   JMF     PD        Analyze Plan tax issues re IRS and Texas Taxing        0.90       1050.00         $945.00
                                authorities.
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                                                                                       Hours           Rate       Amount

 01/27/2021   JMF     PD        Emails to/from L. Spindler re Texas Taxing              0.30       1050.00         $315.00
                                authorities objection and language re resolution.

 01/27/2021   JMF     PD        Draft confirmation order.                               3.20       1050.00        $3,360.00

 01/27/2021   LSC     PD        Continued preparation for confirmation hearing,         2.70        460.00        $1,242.00
                                including preparation/revisions to exhibit lists and
                                redacted exhibits.

 01/27/2021   GVD     PD        Correspondence with T. Silva re Investment              0.20        950.00         $190.00
                                Company Act issues

 01/27/2021   GVD     PD        Conference with DSI and PSZJ re liquidation             1.00        950.00         $950.00
                                analysis

 01/27/2021   GVD     PD        Conference with J. Pomerantz re open plan items         0.20        950.00         $190.00

 01/27/2021   GVD     PD        Conference with J. Pomerantz re confirmation            0.20        950.00         $190.00
                                outline

 01/27/2021   GVD     PD        Correspondence with E. Bromagen re plan issues          0.20        950.00         $190.00

 01/28/2021   IAWN PD           Telephone conference with Jeffrey N Pomerantz re        0.20       1145.00         $229.00
                                Alliant, .1; telephone conference and email with
                                Jeffrey N Pomerantz re call with Alliant, .1

 01/28/2021   JNP     PD        Conference with D. Draper and John A. Morris            0.20       1295.00         $259.00
                                regarding Plan discovery meet and confer.

 01/28/2021   JNP     PD        Prepare for confirmation hearing.                       2.20       1295.00        $2,849.00

 01/28/2021   JNP     PD        Conference with Gregory V. Demo regarding call          0.10       1295.00         $129.50
                                with Sidley regarding Plan issues.

 01/28/2021   JNP     PD        Participate on deposition preparation call with J.      2.50       1295.00        $3,237.50
                                Seery, Gregory V. Demo, John A. Morris and Ira D.
                                Kharasch.

 01/28/2021   JNP     PD        Emails to and from M. Clemente regarding revision       0.10       1295.00         $129.50
                                to Claimant Trust Agreement to address Seery
                                compensation.

 01/28/2021   JNP     PD        Review and comment on proposed resolution of tax        0.10       1295.00         $129.50
                                language for IRS.

 01/28/2021   JNP     PD        Email to and from J. Kathman regarding right to         0.10       1295.00         $129.50
                                receive Dondero Plan subject to protective order.

 01/28/2021   JNP     PD        Conference with J. Seery regarding                      0.20       1295.00         $259.00
                                post-confirmation compensation, Plan issues, and
                                UBS issues.

 01/28/2021   MFC     PD        Review open issues and call with B. Sharp regarding     0.60       1095.00         $657.00
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                                                                                       Hours           Rate       Amount
                                contract issues. Call with T. Cairns regarding wage
                                issues.
 01/28/2021   MFC     PD        Multiple emails from/to DSI regarding contract          0.40       1095.00         $438.00
                                issues.

 01/28/2021   MFC     PD        Research regarding appeal issues.                       0.80       1095.00         $876.00

 01/28/2021   MFC     PD        Prepare 5th notice of assumed contracts.                0.20       1095.00         $219.00

 01/28/2021   JEO     PD        Calls and emails working to resolve IRS                 3.00       1050.00        $3,150.00
                                confirmation objecition

 01/28/2021   JMF     PD        Review IRS default language and proposed plan           0.70       1050.00         $735.00
                                changes.

 01/28/2021   JMF     PD        Draft confirmation order.                               4.60       1050.00        $4,830.00

 01/28/2021   JMF     PD        Review Daugherty objection and issues re injunction     0.40       1050.00         $420.00
                                provisions.

 01/28/2021   JMF     PD        Review plan supplements and notices re contracts to     0.50       1050.00         $525.00
                                be assumed.

 01/28/2021   LSC     PD        Continued preparation for preliminary injunction        3.70        460.00        $1,702.00
                                hearing, including preparation/revisions to exhibit
                                lists and redacted exhibits.

 01/28/2021   GVD     PD        Conference with J. Donohue re timing of liquidation     0.10        950.00          $95.00
                                analysis

 01/28/2021   GVD     PD        Conference with E. Bromagen re plan issues              0.20        950.00         $190.00

 01/28/2021   GVD     PD        Prepare demonstratives for hearing                      0.30        950.00         $285.00

 01/29/2021   IAWN PD           Telephone conference with Dubel, FTI, Clemente,         0.70       1145.00         $801.50
                                Jeffrey N Pomerantz, and Alliant team re d & o
                                market

 01/29/2021   JNP     PD        Participate in J. Seery deposition regarding Plan       5.20       1295.00        $6,734.00
                                confirmation.

 01/29/2021   JNP     PD        Conference with Ira D. Kharasch regarding Plan          0.30       1295.00         $388.50
                                confirmation and preparation.

 01/29/2021   JNP     PD        Conference with Ira D. Kharasch and John A.             0.70       1295.00         $906.50
                                Morris regarding additional preparation for J. Seery
                                for Plan confirmation.

 01/29/2021   JNP     PD        Conference with J. Seery regarding deposition.          0.30       1295.00         $388.50

 01/29/2021   JNP     PD        Continue preparing for Confirmation hearing.            2.30       1295.00        $2,978.50

 01/29/2021   JNP     PD        Conference with James E. O'Neill, Gregory V.            0.70       1295.00         $906.50
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                                                                                        Hours           Rate       Amount
                                Demo, John A. Morris and Ira D. Kharasch
                                regarding preparation for Confirmation hearing.
 01/29/2021   JEO     PD        Participate in part of PSZJ team call re confirmation    0.30       1050.00         $315.00
                                issues

 01/29/2021   JEO     PD        Calls and emails with David Adams of DOJ re IRS          1.90       1050.00        $1,995.00
                                confirmation objection

 01/29/2021   JEO     PD        Call with Julie Rodgers re IRS confirmation              0.30       1050.00         $315.00
                                objection

 01/29/2021   JMF     PD        Telephone call with J. Morris, J.N. Pomerantz, G.        0.70       1050.00         $735.00
                                Demo, I. Kharasch re confirmation hearing issues.

 01/29/2021   JMF     PD        Analyze plan edits and committee comments and            2.20       1050.00        $2,310.00
                                draft changes to same.

 01/29/2021   JMF     PD        Review edits re IRS confirmation order language.         0.50       1050.00         $525.00

 01/29/2021   JMF     PD        Draft confirmation order.                                2.60       1050.00        $2,730.00

 01/29/2021   JMF     PD        Review issues re subordination of claims and             0.60       1050.00         $630.00
                                treatment issues (.5); emails to J. Kathman and D.
                                Winikka re changes to plan and resolution of
                                objections to same (.1).

 01/29/2021   JHD     PD        Correspondence from Josh Fried re plan issues;           0.40       1645.00         $658.00
                                prepare correspondence to Josh Fried re same;
                                correspondence from Jeffrey N. Pomerantz re same;
                                review code provisions re same

 01/29/2021   JHD     PD        Correspondence from Isaac M. Pachulski re plan           0.20       1645.00         $329.00
                                issues; prepare correspondence re same

 01/29/2021   IMP     PD        Review/analyze/respond to multiple emails re plan        0.30       1695.00         $508.50
                                issue

 01/29/2021   LSC     PD        Teleconference with DSI and Hayley regarding             5.80        460.00        $2,668.00
                                additional redacted exhibits and prepare same (3.2);
                                continued preparation for confirmation hearing,
                                including preparation/revisions to exhibit lists and
                                additional exhibits (2.6).

 01/29/2021   GVD     PD        Conference with PSZJ team re confirmation                0.70        950.00         $665.00
                                strategies

 01/29/2021   GVD     PD        Conference with J. Fried and J. Pomerantz re plan        0.10        950.00          $95.00
                                interpretation issues

 01/29/2021   GVD     PD        Multiple conferences with E. Bromagen re open plan       0.20        950.00         $190.00
                                issues
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                                                                                      Hours           Rate       Amount

 01/29/2021   GVD     PD        Conference with J. Fried re open plan issues           0.20        950.00         $190.00

 01/29/2021   GVD     PD        Revise demonstratives for confirmation hearing         0.20        950.00         $190.00

 01/30/2021   IAWN PD           Exchange emails with Jeffrey N Pomerantz and Jon       0.20       1145.00         $229.00
                                Morris re direct script for Tauber

 01/30/2021   JNP     PD        Conference with Ira D. Kharasch, John A. Morris        1.80       1295.00        $2,331.00
                                and Gregory V. Demo regarding Plan Confirmation
                                hearing.

 01/30/2021   JNP     PD        Continue preparing for confirmation hearing.           3.50       1295.00        $4,532.50

 01/30/2021   MFC     PD        Research regarding direct appeal.                      1.30       1095.00        $1,423.50

 01/30/2021   JMF     PD        Review demonstrative exhibits and plan re              1.10       1050.00        $1,155.00
                                confirmation hearing.

 01/30/2021   JMF     PD        Review plan documents and claimant trust re plan       0.80       1050.00         $840.00
                                implementation issues.

 01/30/2021   JMF     PD        Review confirmation order re inclusion of plan         1.40       1050.00        $1,470.00
                                implementation provisions.

 01/30/2021   JMF     PD        Analyze issues re committee proposed changes (.5);     0.70       1050.00         $735.00
                                internal emails re same (.2).

 01/30/2021   VAN     PD        Research regarding plan confirmation discharge         1.30       1050.00        $1,365.00
                                issue.

 01/30/2021   GVD     PD        Further review and revise demonstratives for           0.30        950.00         $285.00
                                confirmation hearing

 01/30/2021   GVD     PD        Conference with PSZJ team re confirmation issues       1.80        950.00        $1,710.00

 01/30/2021   GVD     PD        Conference with I. Kharasch re response to CLO         0.50        950.00         $475.00
                                objection

 01/30/2021   GVD     PD        Correspondence with J. Pomerantz re outline for        0.10        950.00          $95.00
                                confirmation argument

 01/31/2021   IAWN PD           Review Morris email re facts needed for Jeffrey N      3.20       1145.00        $3,664.00
                                Pomerantz, .2, review Jeffrey N Pomerantz emails re
                                same.1, draft direct script using materials and
                                internet, 2.8, review emails with John Morris and
                                Tauber and Jeffrey N Pomerantz re timing, .1

 01/31/2021   JNP     PD        Witness preparation for Jim Seery with John A.         3.50       1295.00        $4,532.50
                                Morris, Ira D. Kharasch and Gregory V. Demo.

 01/31/2021   JNP     PD        Email to and from D. Dandeneau regarding               0.10       1295.00         $129.50
                                employee claims.
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                                                                                         Hours            Rate         Amount

 01/31/2021   JNP     PD        Review and comment on Dondero objection to                 0.20       1295.00           $259.00
                                executory contract assumption.

 01/31/2021   JNP     PD        Prepare for Confirmation hearing.                          7.50       1295.00         $9,712.50

 01/31/2021   MFC     PD        Emails from/to DSI and G. Demo regarding contract          0.10       1095.00           $109.50
                                issues.

 01/31/2021   JEO     PD        Emails with Josh Fried re resolution of IRS                0.90       1050.00           $945.00
                                Objection

 01/31/2021   JMF     PD        Review and edit Plan re amendments and objections          1.70       1050.00         $1,785.00
                                re confirmation hearing (1.4); telephone call with E.
                                Bromagen re committee comments re same (.3).

 01/31/2021   JMF     PD        Review confirmation order.                                 1.60       1050.00         $1,680.00

 01/31/2021   JAM     PD        Telephone conference with J. Seery, J. Pomerantz, I.       3.50       1245.00         $4,357.50
                                Kharasch, G. Demo re: Seery direct testimony (3.5).

 01/31/2021   VAN     PD        Research regarding plan confirmation discharge             1.00       1050.00         $1,050.00
                                issue; draft memo to Ira Kharasch regarding same.

 01/31/2021   GVD     PD        Attend J. Seery trial preparation                          3.50        950.00         $3,325.00

 01/31/2021   GVD     PD        Correspondence with I. Kharasch re CLO issues              0.30        950.00           $285.00

 01/31/2021   GVD     PD        Review confirmation outline for J. Pomerantz               1.30        950.00         $1,235.00

 01/31/2021   GVD     PD        Review and revise outline re J. Seery direct               0.50        950.00           $475.00

                                                                                        1122.10                      $1,304,869.
                                                                                                                             50

  Ret. of Prof./Other
 01/06/2021   KKY     RPO       Draft (.1) and prepare for filing (.1) notice re OCP       0.20        460.00            $92.00
                                monthly report for November 2020

 01/13/2021   KKY     RPO       Draft (.1) and prepare for filing (.1) certificate of      0.20        460.00            $92.00
                                service for OCP monthly report for November 2020

 01/25/2021   KKY     RPO       Draft notice of additional services provided by            0.80        460.00           $368.00
                                Deloitte

                                                                                           1.20                         $552.00

  TOTAL SERVICES FOR THIS MATTER:                                                                            $2,557,604.00
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 Expenses
 11/20/2020   LV        Legal Vision Atty/Mess. Service- Inv. 51282, Delivery to      60.00
                        Residence, JNP
 11/23/2020   FF        Filing Fee [E112] USDC, Southern District of New York,        19.00
                        JNP
 11/23/2020   LV        Legal Vision Atty/Mess. Service- Inv. 51283, Delivery to      33.75
                        Residence, JNP
 12/01/2020   CC        Conference Call [E105] AT&T Conference Call, JAM                2.15
 12/01/2020   CC        Conference Call [E105] AT&T Conference Call, JAM              11.14
 12/01/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD           83.89
 12/01/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD           22.82
 12/01/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD           10.01
 12/01/2020   FE        36027.00002 FedEx Charges for 12-01-20                        71.66
 12/01/2020   FE        36027.00002 FedEx Charges for 12-01-20                        79.77
 12/01/2020   FE        36027.00002 FedEx Charges for 12-01-20                        75.34
 12/01/2020   FE        36027.00002 FedEx Charges for 12-01-20                        75.34
 12/01/2020   FE        36027.00002 FedEx Charges for 12-01-20                        75.34
 12/01/2020   FE        36027.00002 FedEx Charges for 12-01-20                        75.34
 12/01/2020   FE        36027.00002 FedEx Charges for 12-01-20                        75.34
 12/01/2020   FE        36027.00002 FedEx Charges for 12-01-20                        75.34
 12/01/2020   FE        36027.00002 FedEx Charges for 12-01-20                        75.34
 12/01/2020   FE        36027.00002 FedEx Charges for 12-01-20                        75.34
 12/01/2020   FE        36027.00002 FedEx Charges for 12-01-20                        71.66
 12/01/2020   FE        36027.00002 FedEx Charges for 12-01-20                        67.74
 12/01/2020   FE        36027.00002 FedEx Charges for 12-01-20                        67.74
 12/01/2020   FE        36027.00002 FedEx Charges for 12-01-20                        67.74
 12/01/2020   FE        36027.00002 FedEx Charges for 12-01-20                        67.74
 12/01/2020   LN        36027.00002 Lexis Charges for 12-01-20                          4.23
 12/02/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD             4.27
 12/02/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD           49.67
 12/02/2020   CC        Conference Call [E105] Loop Up Conference Call, JNP           13.02
 12/02/2020   FE        36027.00002 FedEx Charges for 12-02-20                        16.78
 12/02/2020   FE        36027.00002 FedEx Charges for 12-02-20                        16.78
 12/02/2020   FE        36027.00002 FedEx Charges for 12-02-20                        16.78
 12/02/2020   LN        36027.00002 Lexis Charges for 12-02-20                          4.23
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 12/02/2020   PO        36027.00002 :Postage Charges for 12-02-20                  7.80
 12/02/2020   PO        36027.00002 :Postage Charges for 12-02-20                  2.60
 12/03/2020   CC        Conference Call [E105] AT&T Conference Call, JAM           0.95
 12/03/2020   FE        36027.00002 FedEx Charges for 12-03-20                   16.78
 12/03/2020   FE        36027.00002 FedEx Charges for 12-03-20                   16.78
 12/03/2020   FE        36027.00002 FedEx Charges for 12-03-20                   16.78
 12/03/2020   FE        36027.00002 FedEx Charges for 12-03-20                   16.78
 12/03/2020   LN        36027.00002 Lexis Charges for 12-03-20                     1.27
 12/03/2020   LN        36027.00002 Lexis Charges for 12-03-20                     4.23
 12/04/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      17.73
 12/04/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      79.17
 12/04/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        1.96
 12/04/2020   LN        36027.00002 Lexis Charges for 12-04-20                     8.62
 12/04/2020   LN        36027.00002 Lexis Charges for 12-04-20                   26.27
 12/04/2020   LN        36027.00002 Lexis Charges for 12-04-20                     4.23
 12/04/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/04/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/04/2020   RE2       SCAN/COPY ( 119 @0.10 PER PG)                            11.90
 12/04/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/04/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/04/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20
 12/05/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        8.00
 12/06/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      21.87
 12/07/2020   CC        Conference Call [E105] AT&T Conference Call, JMF           8.18
 12/07/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      13.78
 12/07/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        6.31
 12/07/2020   DC        36027.00002 Advita Charges for 12-07-20                    7.50
 12/07/2020   LN        36027.00002 Lexis Charges for 12-07-20                     8.98
 12/07/2020   LN        36027.00002 Lexis Charges for 12-07-20                     4.81
 12/07/2020   LN        36027.00002 Lexis Charges for 12-07-20                     4.23
 12/07/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 12/07/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 12/07/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
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 12/07/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/08/2020   CC        Conference Call [E105] AT&T Conference Call, JAM           0.67
 12/08/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        7.63
 12/08/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        6.30
 12/08/2020   CC        Conference Call [E105] Loop Up Conference Call, JNP      19.53
 12/08/2020   LN        36027.00002 Lexis Charges for 12-08-20                     4.23
 12/09/2020   CC        Conference Call [E105] AT&T Conference Call, GVD           1.21
 12/09/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      11.97
 12/09/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        0.07
 12/09/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      15.92
 12/09/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      12.04
 12/09/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      17.40
 12/09/2020   LN        36027.00002 Lexis Charges for 12-09-20                     0.64
 12/09/2020   LN        36027.00002 Lexis Charges for 12-09-20                   19.58
 12/09/2020   LN        36027.00002 Lexis Charges for 12-09-20                     6.54
 12/09/2020   LN        36027.00002 Lexis Charges for 12-09-20                     1.79
 12/09/2020   LN        36027.00002 Lexis Charges for 12-09-20                   25.37
 12/09/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 12/09/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 12/09/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/09/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10
 12/09/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 12/09/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/09/2020   RE2       SCAN/COPY ( 21 @0.10 PER PG)                               2.10
 12/09/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/09/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/09/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/09/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/09/2020   RE2       SCAN/COPY ( 26 @0.10 PER PG)                               2.60
 12/09/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/09/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 12/10/2020   CC        Conference Call [E105] AT&T Conference Call, GVD         23.62
 12/10/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        0.21
 12/10/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        0.15
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 12/10/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        4.94
 12/10/2020   LN        36027.00002 Lexis Charges for 12-10-20                     0.64
 12/10/2020   LN        36027.00002 Lexis Charges for 12-10-20                     9.79
 12/10/2020   LN        36027.00002 Lexis Charges for 12-10-20                     8.46
 12/10/2020   LN        36027.00002 Lexis Charges for 12-10-20                   12.69
 12/10/2020   PO        36027.00002 :Postage Charges for 12-10-20                30.80
 12/10/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/10/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/10/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 12/10/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 12/10/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/10/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/11/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        9.13
 12/11/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      11.55
 12/11/2020   LN        36027.00002 Lexis Charges for 12-11-20                     2.54
 12/11/2020   LN        36027.00002 Lexis Charges for 12-11-20                     8.46
 12/14/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        8.02
 12/14/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        9.56
 12/14/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      10.98
 12/14/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        7.55
 12/14/2020   LN        36027.00002 Lexis Charges for 12-14-20                     8.46
 12/15/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      15.20
 12/15/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        0.07
 12/15/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        6.86
 12/15/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      23.03
 12/15/2020   CC        Conference Call [E105] Loop Up Conference Call, JNP        5.53
 12/15/2020   LN        36027.00002 Lexis Charges for 12-15-20                     8.46
 12/16/2020   CC        Conference Call [E105] AT&T Conference Call, JAM           1.97
 12/16/2020   CC        Conference Call [E105] AT&T Conference Call, JAM         19.05
 12/16/2020   CC        Conference Call [E105] AT&T Conference Call, GVD         22.54
 12/16/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        5.53
 12/16/2020   LN        36027.00002 Lexis Charges for 12-16-20                     8.46
 12/16/2020   RE2       SCAN/COPY ( 403 @0.10 PER PG)                            40.30
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 12/17/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        0.28
 12/17/2020   LN        36027.00002 Lexis Charges for 12-17-20                     8.94
 12/17/2020   LN        36027.00002 Lexis Charges for 12-17-20                     8.46
 12/18/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      39.78
 12/18/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      81.61
 12/18/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        8.05
 12/18/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        3.64
 12/18/2020   LN        36027.00002 Lexis Charges for 12-18-20                     0.64
 12/18/2020   LN        36027.00002 Lexis Charges for 12-18-20                     8.46
 12/20/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        9.43
 12/20/2020   CC        Conference Call [E105] Loop Up Conference Call, JNP        7.70
 12/21/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        3.41
 12/21/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        0.07
 12/21/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      10.62
 12/21/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        0.56
 12/21/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      19.46
 12/21/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        0.07
 12/21/2020   CC        Conference Call [E105] Loop Up Conference Call, JNP      27.14
 12/21/2020   LN        36027.00002 Lexis Charges for 12-21-20                   62.88
 12/21/2020   LN        36027.00002 Lexis Charges for 12-21-20                     8.46
 12/21/2020   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10
 12/21/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 12/21/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 12/21/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 12/21/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 12/21/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 12/21/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 12/21/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/21/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/21/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 12/21/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 12/21/2020   RE2       SCAN/COPY ( 24 @0.10 PER PG)                               2.40
 12/21/2020   RE2       SCAN/COPY ( 24 @0.10 PER PG)                               2.40
 12/21/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
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 12/21/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 12/21/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 12/21/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/21/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/21/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10
 12/21/2020   RE2       SCAN/COPY ( 2046 @0.10 PER PG)                          204.60
 12/21/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/21/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 12/21/2020   RE2       SCAN/COPY ( 1204 @0.10 PER PG)                          120.40
 12/21/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/21/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 12/21/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/22/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        0.07
 12/22/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        0.07
 12/22/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        6.89
 12/22/2020   CC        Conference Call [E105] Loop Up Conference Call, JNP      15.53
 12/22/2020   CC        Conference Call [E105] Loop Up Conference Call, JNP      33.95
 12/22/2020   LN        36027.00002 Lexis Charges for 12-22-20                  127.27
 12/22/2020   LN        36027.00002 Lexis Charges for 12-22-20                   17.88
 12/22/2020   LN        36027.00002 Lexis Charges for 12-22-20                     8.98
 12/22/2020   LN        36027.00002 Lexis Charges for 12-22-20                     8.46
 12/22/2020   OS        Trailgraphix, Inv. 2012-069, JAM                       1,375.00
 12/23/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      10.43
 12/23/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      13.11
 12/23/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      60.57
 12/23/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        3.74
 12/23/2020   CC        Conference Call [E105] Loop Up Conference Call, JNP        6.51
 12/23/2020   CC        Conference Call [E105] Loop Up Conference Call, JNP      27.93
 12/23/2020   LN        36027.00002 Lexis Charges for 12-23-20                     8.46
 12/24/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        5.46
 12/24/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      16.23
 12/24/2020   LN        36027.00002 Lexis Charges for 12-24-20                   29.36
 12/28/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        1.96
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 12/28/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      19.07
 12/28/2020   LN        36027.00002 Lexis Charges for 12-28-20                     7.05
 12/28/2020   LN        36027.00002 Lexis Charges for 12-28-20                   15.38
 12/28/2020   TR        Transcript [E116] TSG Reporting, Inv. 2036252, JAM     1,810.70
 12/28/2020   TR        Transcript [E116] TSG Reporting, Inv. 2036240, JAM     1,867.80
 12/29/2020   CC        Conference Call [E105] AT&T Conference Call, JAM         13.59
 12/29/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        4.76
 12/29/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      22.65
 12/29/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        9.31
 12/29/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      41.47
 12/29/2020   LN        36027.00002 Lexis Charges for 12-29-20                   89.82
 12/29/2020   LN        36027.00002 Lexis Charges for 12-29-20                   45.39
 12/29/2020   LN        36027.00002 Lexis Charges for 12-29-20                     4.81
 12/29/2020   LN        36027.00002 Lexis Charges for 12-29-20                     8.62
 12/29/2020   LN        36027.00002 Lexis Charges for 12-29-20                     8.46
 12/29/2020   LN        36027.00002 Lexis Charges for 12-29-20                     1.79
 12/29/2020   LN        36027.00002 Lexis Charges for 12-29-20                   25.38
 12/29/2020   PO        36027.00002 :Postage Charges for 12-29-20                98.00
 12/29/2020   PO        36027.00002 :Postage Charges for 12-29-20                80.90
 12/29/2020   PO        36027.00002 :Postage Charges for 12-29-20                  4.20
 12/29/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/30/2020   LN        36027.00002 Lexis Charges for 12-30-20                   17.97
 12/30/2020   LN        36027.00002 Lexis Charges for 12-30-20                   45.40
 12/30/2020   LN        36027.00002 Lexis Charges for 12-30-20                     4.81
 12/30/2020   LN        36027.00002 Lexis Charges for 12-30-20                     8.62
 12/30/2020   LN        36027.00002 Lexis Charges for 12-30-20                   11.28
 12/30/2020   LN        36027.00002 Lexis Charges for 12-30-20                   14.10
 12/30/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/30/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 12/30/2020   RE2       SCAN/COPY ( 16 @0.10 PER PG)                               1.60
 12/30/2020   RE2       SCAN/COPY ( 18 @0.10 PER PG)                               1.80
 12/30/2020   RE2       SCAN/COPY ( 720 @0.10 PER PG)                            72.00
 12/31/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD        5.32
 12/31/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      35.42
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 12/31/2020   LN        36027.00002 Lexis Charges for 12-31-20      26.80
 12/31/2020   LN        36027.00002 Lexis Charges for 12-31-20     152.68
 12/31/2020   LN        36027.00002 Lexis Charges for 12-31-20        9.07
 12/31/2020   LN        36027.00002 Lexis Charges for 12-31-20        4.81
 12/31/2020   LN        36027.00002 Lexis Charges for 12-31-20      11.28
 12/31/2020   LN        36027.00002 Lexis Charges for 12-31-20      21.15
 01/01/2021   LN        36027.00002 Lexis Charges for 01-01-21        9.32
 01/02/2021   LN        36027.00002 Lexis Charges for 01-02-21      74.52
 01/02/2021   LN        36027.00002 Lexis Charges for 01-02-21        4.98
 01/03/2021   LN        36027.00002 Lexis Charges for 01-03-21        9.32
 01/04/2021   LN        36027.00002 Lexis Charges for 01-04-21      55.29
 01/04/2021   LN        36027.00002 Lexis Charges for 01-04-21     102.47
 01/04/2021   LN        36027.00002 Lexis Charges for 01-04-21      80.41
 01/04/2021   LN        36027.00002 Lexis Charges for 01-04-21      11.68
 01/04/2021   LN        36027.00002 Lexis Charges for 01-04-21      21.90
 01/04/2021   RE        ( 1 @0.10 PER PG)                             0.10
 01/04/2021   RE        ( 3 @0.10 PER PG)                             0.30
 01/04/2021   RE        ( 396 @0.10 PER PG)                         39.60
 01/04/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                  1.40
 01/04/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                  1.20
 01/04/2021   RE2       SCAN/COPY ( 140 @0.10 PER PG)               14.00
 01/04/2021   RE2       SCAN/COPY ( 69 @0.10 PER PG)                  6.90
 01/04/2021   RE2       SCAN/COPY ( 140 @0.10 PER PG)               14.00
 01/04/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                  1.30
 01/04/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                  1.10
 01/04/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                   0.90
 01/04/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                   0.50
 01/04/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                   0.30
 01/04/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                   0.50
 01/04/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                  1.60
 01/04/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                   0.70
 01/04/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                  1.60
 01/04/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                  1.60
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 01/04/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)         1.30
 01/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/04/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/04/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/04/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/04/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/04/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/04/2021   RE2       SCAN/COPY ( 25 @0.10 PER PG)         2.50
 01/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/04/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/04/2021   RE2       SCAN/COPY ( 21 @0.10 PER PG)         2.10
 01/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/04/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/04/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)          0.10
 01/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/04/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/04/2021   RE2       SCAN/COPY ( 168 @0.10 PER PG)      16.80
 01/04/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)          0.60
 01/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/04/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)         2.00
 01/04/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)          0.50
 01/04/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/04/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
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 01/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                   0.20
 01/04/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                   0.60
 01/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                   0.20
 01/04/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                   0.60
 01/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                   0.20
 01/04/2021   RE2       SCAN/COPY ( 22 @0.10 PER PG)                  2.20
 01/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                   0.20
 01/04/2021   RE2       SCAN/COPY ( 27 @0.10 PER PG)                  2.70
 01/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                   0.20
 01/04/2021   RE2       SCAN/COPY ( 44 @0.10 PER PG)                  4.40
 01/05/2021   FE        36027.00002 FedEx Charges for 01-05-21      23.30
 01/05/2021   FE        36027.00002 FedEx Charges for 01-05-21      23.30
 01/05/2021   LN        36027.00002 Lexis Charges for 01-05-21      36.86
 01/05/2021   LN        36027.00002 Lexis Charges for 01-05-21      11.68
 01/05/2021   LN        36027.00002 Lexis Charges for 01-05-21      21.90
 01/05/2021   RE2       SCAN/COPY ( 37 @0.10 PER PG)                  3.70
 01/05/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                   0.70
 01/05/2021   RE2       SCAN/COPY ( 159 @0.10 PER PG)               15.90
 01/05/2021   RE2       SCAN/COPY ( 34 @0.10 PER PG)                  3.40
 01/05/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                   0.40
 01/05/2021   RE2       SCAN/COPY ( 35 @0.10 PER PG)                  3.50
 01/05/2021   RE2       SCAN/COPY ( 110 @0.10 PER PG)               11.00
 01/05/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                   0.70
 01/05/2021   RE2       SCAN/COPY ( 81 @0.10 PER PG)                  8.10
 01/05/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                  1.30
 01/05/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                  1.00
 01/05/2021   RE2       SCAN/COPY ( 25 @0.10 PER PG)                  2.50
 01/05/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                   0.80
 01/05/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                  1.40
 01/05/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                   0.50
 01/05/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                   0.60
 01/05/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                  1.60
 01/05/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                  4.20
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 01/05/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                               0.60
 01/05/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20
 01/05/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20
 01/05/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20
 01/05/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20
 01/05/2021   TR        Transcript [E116] TSG Reporting, Inv. 2037071, JAM    2,468.95
 01/05/2021   TR        Transcript [E116] TSG Reporting, Inv. 2037067, JAM    1,000.00
 01/06/2021   BB        36027.00002 Bloomberg Charges for 01-06-21             174.50
 01/06/2021   FE        36027.00002 FedEx Charges for 01-06-21                  18.71
 01/06/2021   LN        36027.00002 Lexis Charges for 01-06-21                  29.99
 01/06/2021   LN        36027.00002 Lexis Charges for 01-06-21                  27.64
 01/06/2021   LN        36027.00002 Lexis Charges for 01-06-21                    4.94
 01/06/2021   LN        36027.00002 Lexis Charges for 01-06-21                 102.47
 01/06/2021   LN        36027.00002 Lexis Charges for 01-06-21                  80.42
 01/06/2021   LN        36027.00002 Lexis Charges for 01-06-21                  11.68
 01/06/2021   LN        36027.00002 Lexis Charges for 01-06-21                  21.90
 01/06/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40
 01/06/2021   RE2       SCAN/COPY ( 50 @0.10 PER PG)                              5.00
 01/06/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20
 01/06/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                               0.30
 01/06/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                               0.60
 01/06/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)                              2.60
 01/06/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70
 01/06/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70
 01/06/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                               0.60
 01/06/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70
 01/06/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50
 01/06/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                               0.80
 01/06/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20
 01/06/2021   RE2       SCAN/COPY ( 38 @0.10 PER PG)                              3.80
 01/06/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20
 01/06/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20
 01/06/2021   RE2       SCAN/COPY ( 34 @0.10 PER PG)                              3.40
 01/06/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70
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 01/06/2021   RE2       SCAN/COPY ( 37 @0.10 PER PG)                     3.70
 01/06/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                      0.10
 01/06/2021   RE2       SCAN/COPY ( 178 @0.10 PER PG)                  17.80
 01/06/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)                     2.60
 01/07/2021   DC        36027.00002 Advita Charges for 01-07-21          7.50
 01/07/2021   FE        36027.00002 FedEx Charges for 01-07-21         18.10
 01/07/2021   FE        36027.00002 FedEx Charges for 01-07-21         18.10
 01/07/2021   FE        36027.00002 FedEx Charges for 01-07-21         36.10
 01/07/2021   LN        36027.00002 Lexis Charges for 01-07-21         29.99
 01/07/2021   LN        36027.00002 Lexis Charges for 01-07-21           9.59
 01/07/2021   LN        36027.00002 Lexis Charges for 01-07-21         19.96
 01/07/2021   LN        36027.00002 Lexis Charges for 01-07-21           9.32
 01/07/2021   LN        36027.00002 Lexis Charges for 01-07-21         17.87
 01/07/2021   LN        36027.00002 Lexis Charges for 01-07-21         11.68
 01/07/2021   LN        36027.00002 Lexis Charges for 01-07-21         13.10
 01/07/2021   LN        36027.00002 Lexis Charges for 01-07-21         21.90
 01/07/2021   PO        36027.00002 :Postage Charges for 01-07-21      24.00
 01/07/2021   RE        ( 1 @0.10 PER PG)                                0.10
 01/07/2021   RE        ( 9 @0.10 PER PG)                                0.90
 01/07/2021   RE        ( 4 @0.10 PER PG)                                0.40
 01/07/2021   RE2       SCAN/COPY ( 35 @0.10 PER PG)                     3.50
 01/07/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                     1.10
 01/07/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                     1.30
 01/07/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                      0.60
 01/07/2021   RE2       SCAN/COPY ( 40 @0.10 PER PG)                     4.00
 01/07/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)                     1.80
 01/07/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)                     1.80
 01/07/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                     1.30
 01/07/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                     1.40
 01/07/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)                     1.80
 01/07/2021   RE2       SCAN/COPY ( 19 @0.10 PER PG)                     1.90
 01/07/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                     1.10
 01/07/2021   RE2       SCAN/COPY ( 36 @0.10 PER PG)                     3.60
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 01/07/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)                             1.80
 01/07/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)                             2.00
 01/07/2021   RE2       SCAN/COPY ( 46 @0.10 PER PG)                             4.60
 01/07/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                             1.10
 01/07/2021   RE2       SCAN/COPY ( 25 @0.10 PER PG)                             2.50
 01/07/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20
 01/07/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)                             2.00
 01/07/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20
 01/07/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                             1.50
 01/07/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 01/07/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                             1.50
 01/07/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 01/07/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 01/07/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                              0.90
 01/08/2021   CC        Conference Call [E105] CourtCall Debit Ledger for     153.75
                        01/01/2021 through 01/31/2021, SWG
 01/08/2021   FE        36027.00002 FedEx Charges for 01-08-21                 35.51
 01/08/2021   LN        36027.00002 Lexis Charges for 01-08-21                   9.98
 01/08/2021   LN        36027.00002 Lexis Charges for 01-08-21                 18.42
 01/08/2021   LN        36027.00002 Lexis Charges for 01-08-21                 55.37
 01/08/2021   LN        36027.00002 Lexis Charges for 01-08-21                 13.14
 01/08/2021   LN        36027.00002 Lexis Charges for 01-08-21                   0.93
 01/08/2021   LN        36027.00002 Lexis Charges for 01-08-21                 21.90
 01/08/2021   LN        36027.00002 Lexis Charges for 01-08-21                 13.10
 01/08/2021   RE        ( 2 @0.10 PER PG)                                        0.20
 01/08/2021   RE        ( 5 @0.10 PER PG)                                        0.50
 01/08/2021   RE        ( 7 @0.10 PER PG)                                        0.70
 01/08/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 01/08/2021   RE2       SCAN/COPY ( 34 @0.10 PER PG)                             3.40
 01/08/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)                             2.60
 01/08/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20
 01/08/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 01/08/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 01/08/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
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 01/08/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)          0.70
 01/08/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)         1.20
 01/08/2021   RE2       SCAN/COPY ( 34 @0.10 PER PG)         3.40
 01/08/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)          0.80
 01/08/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)          0.60
 01/08/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)         1.20
 01/08/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)          0.60
 01/08/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)          0.70
 01/08/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)          0.40
 01/08/2021   RE2       SCAN/COPY ( 178 @0.10 PER PG)      17.80
 01/08/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)          0.70
 01/08/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)          0.50
 01/08/2021   RE2       SCAN/COPY ( 50 @0.10 PER PG)         5.00
 01/08/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)          0.70
 01/08/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)         1.70
 01/08/2021   RE2       SCAN/COPY ( 50 @0.10 PER PG)         5.00
 01/08/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)         1.20
 01/08/2021   RE2       SCAN/COPY ( 50 @0.10 PER PG)         5.00
 01/08/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)          0.60
 01/08/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)         2.60
 01/08/2021   RE2       SCAN/COPY ( 34 @0.10 PER PG)         3.40
 01/08/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)         1.60
 01/08/2021   RE2       SCAN/COPY ( 34 @0.10 PER PG)         3.40
 01/08/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/08/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)          0.70
 01/08/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)          0.40
 01/08/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/08/2021   RE2       SCAN/COPY ( 50 @0.10 PER PG)         5.00
 01/08/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)         1.20
 01/08/2021   RE2       SCAN/COPY ( 181 @0.10 PER PG)      18.10
 01/08/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)          0.10
 01/08/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)          0.40
 01/08/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)          0.70
 01/08/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)          0.70
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 01/08/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                   0.50
 01/08/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                   0.80
 01/08/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                   0.70
 01/08/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                   0.60
 01/08/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                  1.20
 01/08/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                   0.20
 01/08/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                   0.10
 01/08/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                   0.10
 01/08/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                   0.30
 01/08/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                  1.30
 01/08/2021   RE2       SCAN/COPY ( 56 @0.10 PER PG)                  5.60
 01/08/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                   0.60
 01/08/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                   0.30
 01/08/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)                  2.60
 01/08/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                   0.20
 01/08/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                   0.10
 01/08/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                   0.10
 01/08/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                   0.70
 01/08/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                   0.60
 01/08/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                   0.20
 01/08/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                   0.50
 01/08/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                   0.70
 01/08/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                   0.80
 01/08/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                   0.20
 01/08/2021   RE2       SCAN/COPY ( 100 @0.10 PER PG)               10.00
 01/08/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                   0.50
 01/08/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                  1.20
 01/09/2021   LN        36027.00002 Lexis Charges for 01-09-21      27.94
 01/09/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                   0.90
 01/09/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                   0.10
 01/09/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                   0.30
 01/09/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                   0.50
 01/10/2021   LN        36027.00002 Lexis Charges for 01-10-21        9.98
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 01/11/2021   LN        36027.00002 Lexis Charges for 01-11-21                    9.99
 01/11/2021   LN        36027.00002 Lexis Charges for 01-11-21                  27.94
 01/11/2021   LN        36027.00002 Lexis Charges for 01-11-21                  14.60
 01/11/2021   LN        36027.00002 Lexis Charges for 01-11-21                  13.10
 01/11/2021   LN        36027.00002 Lexis Charges for 01-11-21                  21.90
 01/11/2021   RE        ( 18 @0.10 PER PG)                                        1.80
 01/11/2021   RE        ( 1 @0.10 PER PG)                                         0.10
 01/11/2021   RE        ( 25 @0.10 PER PG)                                        2.50
 01/11/2021   RE        ( 94 @0.10 PER PG)                                        9.40
 01/11/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                               0.90
 01/11/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                               0.90
 01/11/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10
 01/11/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)                              2.00
 01/11/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10
 01/11/2021   RE2       SCAN/COPY ( 22 @0.10 PER PG)                              2.20
 01/11/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10
 01/11/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                              1.00
 01/11/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                              1.00
 01/11/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                               0.30
 01/11/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                               0.90
 01/11/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10
 01/11/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20
 01/11/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                               0.60
 01/11/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20
 01/11/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20
 01/11/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                               0.30
 01/11/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                               0.90
 01/11/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20
 01/11/2021   TR        Transcript [E116] TSG Reporting, Inv. 2037515, JAM    1,849.40
 01/12/2021   FE        36027.00002 FedEx Charges for 01-12-21                  24.03
 01/12/2021   LN        36027.00002 Lexis Charges for 01-12-21                    9.99
 01/12/2021   LN        36027.00002 Lexis Charges for 01-12-21                  59.97
 01/12/2021   LN        36027.00002 Lexis Charges for 01-12-21                  14.60
 01/12/2021   LN        36027.00002 Lexis Charges for 01-12-21                  21.86
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 01/12/2021   PO        36027.00002 :Postage Charges for 01-12-21      11.20
 01/12/2021   PO        36027.00002 :Postage Charges for 01-12-21      11.20
 01/12/2021   RE        ( 1 @0.10 PER PG)                                0.10
 01/12/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)                     1.80
 01/12/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)                     2.00
 01/12/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                     1.00
 01/12/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                      0.40
 01/12/2021   RE2       SCAN/COPY ( 48 @0.10 PER PG)                     4.80
 01/12/2021   RE2       SCAN/COPY ( 164 @0.10 PER PG)                  16.40
 01/12/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                     1.30
 01/12/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                      0.60
 01/12/2021   RE2       SCAN/COPY ( 36 @0.10 PER PG)                     3.60
 01/12/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                     1.40
 01/12/2021   RE2       SCAN/COPY ( 38 @0.10 PER PG)                     3.80
 01/12/2021   RE2       SCAN/COPY ( 110 @0.10 PER PG)                  11.00
 01/12/2021   RE2       SCAN/COPY ( 30 @0.10 PER PG)                     3.00
 01/12/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                      0.10
 01/12/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)                     2.00
 01/12/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)                     2.00
 01/12/2021   RE2       SCAN/COPY ( 138 @0.10 PER PG)                  13.80
 01/12/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                      0.80
 01/12/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)                     2.60
 01/12/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)                     2.00
 01/12/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                     1.00
 01/12/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                      0.40
 01/12/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                     1.30
 01/12/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                      0.20
 01/12/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                      0.10
 01/12/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                      0.10
 01/12/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                      0.20
 01/12/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                      0.30
 01/12/2021   RE2       SCAN/COPY ( 82 @0.10 PER PG)                     8.20
 01/12/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                      0.30
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 01/12/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                       0.10
 01/12/2021   RE2       SCAN/COPY ( 251 @0.10 PER PG)                   25.10
 01/12/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                      1.00
 01/12/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                      1.00
 01/12/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                       0.30
 01/12/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                       0.10
 01/12/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                       0.30
 01/12/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                       0.10
 01/12/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                       0.50
 01/12/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                      1.00
 01/12/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                      1.00
 01/12/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                       0.40
 01/12/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                      1.30
 01/12/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                       0.40
 01/12/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                       0.30
 01/12/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                       0.10
 01/12/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                      1.00
 01/12/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                       0.10
 01/12/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)                      1.70
 01/12/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                       0.50
 01/12/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                       0.30
 01/12/2021   RE2       SCAN/COPY ( 55 @0.10 PER PG)                      5.50
 01/12/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                       0.70
 01/12/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                      1.50
 01/12/2021   RE2       SCAN/COPY ( 19 @0.10 PER PG)                      1.90
 01/12/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                       0.10
 01/12/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                      2.40
 01/12/2021   RE2       SCAN/COPY ( 69 @0.10 PER PG)                      6.90
 01/12/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                       0.90
 01/12/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)                      1.80
 01/13/2021   BB        36027.00003 Bloomberg Charges for 01-13-21      10.00
 01/13/2021   BB        36027.00003 Bloomberg Charges for 01-13-21      10.00
 01/13/2021   LN        36027.00002 Lexis Charges for 01-13-21          14.50
 01/13/2021   LN        36027.00002 Lexis Charges for 01-13-21          14.03
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 01/13/2021   LN        36027.00002 Lexis Charges for 01-13-21                 21.75
 01/13/2021   RE        ( 40 @0.10 PER PG)                                       4.00
 01/13/2021   RE        ( 40 @0.10 PER PG)                                       4.00
 01/13/2021   RE        ( 20 @0.10 PER PG)                                       2.00
 01/13/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 01/13/2021   RE2       SCAN/COPY ( 145 @0.10 PER PG)                          14.50
 01/13/2021   RE2       SCAN/COPY ( 27 @0.10 PER PG)                             2.70
 01/13/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 01/13/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
 01/13/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
 01/13/2021   RE2       SCAN/COPY ( 145 @0.10 PER PG)                          14.50
 01/13/2021   RE2       SCAN/COPY ( 66 @0.10 PER PG)                             6.60
 01/13/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 01/13/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                             1.60
 01/13/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
 01/14/2021   CC        Conference Call [E105] CourtCall Debit Ledger for     111.75
                        01/01/2021 through 01/31/2021, SWG
 01/14/2021   LN        36027.00002 Lexis Charges for 01-14-21                 64.51
 01/14/2021   LN        36027.00002 Lexis Charges for 01-14-21                 14.50
 01/14/2021   LN        36027.00002 Lexis Charges for 01-14-21                 21.75
 01/14/2021   RE        ( 1 @0.10 PER PG)                                        0.10
 01/14/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 01/14/2021   RE2       SCAN/COPY ( 122 @0.10 PER PG)                          12.20
 01/14/2021   RE2       SCAN/COPY ( 48 @0.10 PER PG)                             4.80
 01/14/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                             1.10
 01/14/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 01/14/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
 01/14/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                              0.90
 01/14/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                             1.10
 01/14/2021   RE2       SCAN/COPY ( 28 @0.10 PER PG)                             2.80
 01/14/2021   RE2       SCAN/COPY ( 28 @0.10 PER PG)                             2.80
 01/14/2021   RE2       SCAN/COPY ( 28 @0.10 PER PG)                             2.80
 01/15/2021   FE        36027.00002 FedEx Charges for 01-15-21                 70.09
 01/15/2021   FE        36027.00002 FedEx Charges for 01-15-21                 70.09
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 01/15/2021   LN        36027.00002 Lexis Charges for 01-15-21      46.47
 01/15/2021   LN        36027.00002 Lexis Charges for 01-15-21      19.98
 01/15/2021   LN        36027.00002 Lexis Charges for 01-15-21      10.08
 01/15/2021   LN        36027.00002 Lexis Charges for 01-15-21      69.99
 01/15/2021   LN        36027.00002 Lexis Charges for 01-15-21      14.50
 01/15/2021   LN        36027.00002 Lexis Charges for 01-15-21      21.75
 01/15/2021   RE        ( 1 @0.10 PER PG)                             0.10
 01/15/2021   RE        ( 534 @0.10 PER PG)                         53.40
 01/15/2021   RE        ( 3 @0.10 PER PG)                             0.30
 01/15/2021   RE        ( 108 @0.10 PER PG)                         10.80
 01/15/2021   RE        ( 1302 @0.10 PER PG)                       130.20
 01/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                   0.20
 01/15/2021   RE2       SCAN/COPY ( 33 @0.10 PER PG)                  3.30
 01/15/2021   RE2       SCAN/COPY ( 66 @0.10 PER PG)                  6.60
 01/15/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                   0.10
 01/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                   0.20
 01/15/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                   0.10
 01/15/2021   RE2       SCAN/COPY ( 54 @0.10 PER PG)                  5.40
 01/15/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                   0.10
 01/15/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                   0.30
 01/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                   0.20
 01/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                   0.20
 01/15/2021   RE2       SCAN/COPY ( 178 @0.10 PER PG)               17.80
 01/15/2021   RE2       SCAN/COPY ( 67 @0.10 PER PG)                  6.70
 01/15/2021   RE2       SCAN/COPY ( 129 @0.10 PER PG)               12.90
 01/15/2021   RE2       SCAN/COPY ( 27 @0.10 PER PG)                  2.70
 01/15/2021   RE2       SCAN/COPY ( 145 @0.10 PER PG)               14.50
 01/15/2021   RE2       SCAN/COPY ( 30 @0.10 PER PG)                  3.00
 01/15/2021   RE2       SCAN/COPY ( 51 @0.10 PER PG)                  5.10
 01/15/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                  1.40
 01/15/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                  1.00
 01/15/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                  1.60
 01/15/2021   RE2       SCAN/COPY ( 102 @0.10 PER PG)               10.20
 01/15/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                  1.20
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 01/15/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                  1.20
 01/15/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                  2.40
 01/15/2021   RE2       SCAN/COPY ( 74 @0.10 PER PG)                  7.40
 01/15/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                  1.30
 01/15/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                  1.60
 01/15/2021   RE2       SCAN/COPY ( 697 @0.10 PER PG)               69.70
 01/15/2021   RE2       SCAN/COPY ( 22 @0.10 PER PG)                  2.20
 01/15/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                  1.00
 01/15/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                  1.00
 01/15/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                  1.00
 01/15/2021   RE2       SCAN/COPY ( 44 @0.10 PER PG)                  4.40
 01/15/2021   RE2       SCAN/COPY ( 32 @0.10 PER PG)                  3.20
 01/15/2021   RE2       SCAN/COPY ( 38 @0.10 PER PG)                  3.80
 01/15/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                   0.80
 01/15/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                  1.00
 01/15/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                   0.30
 01/15/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                   0.60
 01/15/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                   0.50
 01/15/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                  1.00
 01/15/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                  1.00
 01/15/2021   RE2       SCAN/COPY ( 159 @0.10 PER PG)               15.90
 01/15/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                   0.50
 01/15/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)                  1.70
 01/15/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                  1.40
 01/15/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                   0.70
 01/16/2021   LN        36027.00002 Lexis Charges for 01-16-21      59.98
 01/16/2021   LN        36027.00001 Lexis Charges for 01-16-21      55.49
 01/16/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                   0.60
 01/16/2021   RE2       SCAN/COPY ( 35 @0.10 PER PG)                  3.50
 01/17/2021   RE2       SCAN/COPY ( 56 @0.10 PER PG)                  5.60
 01/17/2021   RE2       SCAN/COPY ( 22 @0.10 PER PG)                  2.20
 01/17/2021   RE2       SCAN/COPY ( 67 @0.10 PER PG)                  6.70
 01/17/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                  1.40
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 01/17/2021   RE2       SCAN/COPY ( 56 @0.10 PER PG)                  5.60
 01/18/2021   LN        36027.00002 Lexis Charges for 01-18-21      69.99
 01/18/2021   LN        36027.00002 Lexis Charges for 01-18-21      46.07
 01/18/2021   LN        36027.00002 Lexis Charges for 01-18-21      14.50
 01/18/2021   LN        36027.00002 Lexis Charges for 01-18-21      21.75
 01/18/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                   0.70
 01/18/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                   0.70
 01/18/2021   RE2       SCAN/COPY ( 58 @0.10 PER PG)                  5.80
 01/18/2021   RE2       SCAN/COPY ( 49 @0.10 PER PG)                  4.90
 01/18/2021   RE2       SCAN/COPY ( 23 @0.10 PER PG)                  2.30
 01/18/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                   0.50
 01/18/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                  1.20
 01/18/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                   0.80
 01/19/2021   FE        36027.00002 FedEx Charges for 01-19-21      10.54
 01/19/2021   FE        36027.00002 FedEx Charges for 01-19-21      23.35
 01/19/2021   FE        36027.00002 FedEx Charges for 01-19-21      23.35
 01/19/2021   FE        36027.00002 FedEx Charges for 01-19-21      36.15
 01/19/2021   LN        36027.00002 Lexis Charges for 01-19-21      18.62
 01/19/2021   LN        36027.00002 Lexis Charges for 01-19-21      18.42
 01/19/2021   LN        36027.00002 Lexis Charges for 01-19-21      13.05
 01/19/2021   LN        36027.00002 Lexis Charges for 01-19-21      20.30
 01/19/2021   RE        ( 2 @0.10 PER PG)                             0.20
 01/19/2021   RE        ( 1 @0.10 PER PG)                             0.10
 01/19/2021   RE        ( 26 @0.10 PER PG)                            2.60
 01/19/2021   RE2       SCAN/COPY ( 58 @0.10 PER PG)                  5.80
 01/19/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                   0.30
 01/19/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                   0.20
 01/19/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                  1.10
 01/19/2021   RE2       SCAN/COPY ( 54 @0.10 PER PG)                  5.40
 01/19/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                   0.30
 01/19/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                   0.50
 01/19/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                  1.30
 01/19/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)                  1.80
 01/19/2021   RE2       SCAN/COPY ( 35 @0.10 PER PG)                  3.50
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 01/19/2021   RE2       SCAN/COPY ( 58 @0.10 PER PG)         5.80
 01/19/2021   RE2       SCAN/COPY ( 119 @0.10 PER PG)      11.90
 01/19/2021   RE2       SCAN/COPY ( 59 @0.10 PER PG)         5.90
 01/19/2021   RE2       SCAN/COPY ( 59 @0.10 PER PG)         5.90
 01/19/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)         1.50
 01/19/2021   RE2       SCAN/COPY ( 59 @0.10 PER PG)         5.90
 01/19/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/19/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/19/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/19/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)          0.50
 01/19/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)          0.60
 01/19/2021   RE2       SCAN/COPY ( 35 @0.10 PER PG)         3.50
 01/19/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)         1.20
 01/19/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)         1.50
 01/19/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)         1.40
 01/19/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)         1.50
 01/19/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)         1.10
 01/19/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)         1.40
 01/19/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)         1.10
 01/19/2021   RE2       SCAN/COPY ( 66 @0.10 PER PG)         6.60
 01/19/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)          0.50
 01/19/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)         1.00
 01/19/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)         1.00
 01/19/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)         1.10
 01/19/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)         1.10
 01/19/2021   RE2       SCAN/COPY ( 63 @0.10 PER PG)         6.30
 01/19/2021   RE2       SCAN/COPY ( 58 @0.10 PER PG)         5.80
 01/19/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)         1.50
 01/19/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/19/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)         1.30
 01/19/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/19/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/19/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
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 01/19/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)         0.20
 01/19/2021   RE2       SCAN/COPY ( 22 @0.10 PER PG)        2.20
 01/19/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)        1.70
 01/19/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)         0.30
 01/19/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)         0.90
 01/19/2021   RE2       SCAN/COPY ( 19 @0.10 PER PG)        1.90
 01/19/2021   RE2       SCAN/COPY ( 74 @0.10 PER PG)        7.40
 01/19/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)        1.50
 01/19/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)         0.50
 01/19/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)        1.20
 01/19/2021   RE2       SCAN/COPY ( 36 @0.10 PER PG)        3.60
 01/19/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)        1.30
 01/19/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)        1.40
 01/19/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)        1.40
 01/19/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)        1.80
 01/19/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)        2.60
 01/19/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)        1.00
 01/19/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)         0.80
 01/19/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)        1.20
 01/19/2021   RE2       SCAN/COPY ( 77 @0.10 PER PG)        7.70
 01/19/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)         0.50
 01/19/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)         0.20
 01/19/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)         0.90
 01/19/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)        2.60
 01/19/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)        1.20
 01/19/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)         0.50
 01/19/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)         0.60
 01/19/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)         0.80
 01/19/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)         0.10
 01/19/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)        1.80
 01/19/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)         0.10
 01/19/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)         0.30
 01/19/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)        1.00
 01/19/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)         0.20
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 01/19/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                   0.80
 01/19/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                   0.90
 01/19/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                   0.40
 01/19/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                   0.60
 01/19/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                   0.60
 01/19/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                  1.20
 01/19/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                   0.80
 01/19/2021   RE2       SCAN/COPY ( 88 @0.10 PER PG)                  8.80
 01/19/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                   0.20
 01/19/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                  1.20
 01/19/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                  1.50
 01/19/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                  1.50
 01/19/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                   0.20
 01/19/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                   0.80
 01/19/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                   0.20
 01/20/2021   LN        36027.00002 Lexis Charges for 01-20-21        9.32
 01/20/2021   LN        36027.00002 Lexis Charges for 01-20-21      46.46
 01/20/2021   LN        36027.00002 Lexis Charges for 01-20-21     111.23
 01/20/2021   LN        36027.00002 Lexis Charges for 01-20-21        8.85
 01/20/2021   LN        36027.00002 Lexis Charges for 01-20-21      14.93
 01/20/2021   LN        36027.00002 Lexis Charges for 01-20-21      14.50
 01/20/2021   LN        36027.00002 Lexis Charges for 01-20-21      14.50
 01/20/2021   LN        36027.00001 Lexis Charges for 01-20-21      55.88
 01/20/2021   RE        ( 51 @0.10 PER PG)                            5.10
 01/20/2021   RE        ( 3 @0.10 PER PG)                             0.30
 01/20/2021   RE2       SCAN/COPY ( 60 @0.10 PER PG)                  6.00
 01/20/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                  4.20
 01/20/2021   RE2       SCAN/COPY ( 27 @0.10 PER PG)                  2.70
 01/20/2021   RE2       SCAN/COPY ( 58 @0.10 PER PG)                  5.80
 01/20/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                   0.10
 01/20/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                   0.10
 01/20/2021   RE2       SCAN/COPY ( 150 @0.10 PER PG)               15.00
 01/20/2021   RE2       SCAN/COPY ( 32 @0.10 PER PG)                  3.20
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 01/20/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                 0.30
 01/20/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                1.60
 01/20/2021   RE2       SCAN/COPY ( 32 @0.10 PER PG)                                3.20
 01/20/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                 0.60
 01/20/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                1.20
 01/20/2021   RE2       SCAN/COPY ( 150 @0.10 PER PG)                             15.00
 01/20/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                 0.90
 01/20/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                 0.70
 01/20/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                1.60
 01/20/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                 0.30
 01/20/2021   TR        Transcript [E116] TSG Reporting, Inv. 2037579, JAM      1,416.50
 01/21/2021   BM        Business Meal [E111] Seamless, 2nd Ave Deli, Working      50.74
                        Meal, BEL
 01/21/2021   LN        36027.00002 Lexis Charges for 01-21-21                      8.93
 01/21/2021   LN        36027.00002 Lexis Charges for 01-21-21                    14.50
 01/21/2021   LN        36027.00002 Lexis Charges for 01-21-21                    21.75
 01/21/2021   RE        ( 30 @0.10 PER PG)                                          3.00
 01/21/2021   RE        ( 111 @0.10 PER PG)                                       11.10
 01/21/2021   RE        ( 100 @0.10 PER PG)                                       10.00
 01/21/2021   RE2       SCAN/COPY ( 67 @0.10 PER PG)                                6.70
 01/21/2021   RE2       SCAN/COPY ( 81 @0.10 PER PG)                                8.10
 01/21/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                 0.10
 01/21/2021   RE2       SCAN/COPY ( 68 @0.10 PER PG)                                6.80
 01/21/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                 0.30
 01/21/2021   RE2       SCAN/COPY ( 23 @0.10 PER PG)                                2.30
 01/21/2021   RE2       SCAN/COPY ( 67 @0.10 PER PG)                                6.70
 01/21/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                1.10
 01/21/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                2.40
 01/21/2021   RE2       SCAN/COPY ( 39 @0.10 PER PG)                                3.90
 01/21/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                1.20
 01/21/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                1.10
 01/21/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                 0.30
 01/21/2021   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                3.50
 01/21/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                1.20
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 01/21/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)                              2.00
 01/21/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                               0.30
 01/21/2021   RE2       SCAN/COPY ( 22 @0.10 PER PG)                              2.20
 01/21/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                               0.90
 01/21/2021   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90
 01/21/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20
 01/21/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20
 01/21/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40
 01/21/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50
 01/21/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10
 01/21/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                               0.90
 01/21/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20
 01/21/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20
 01/21/2021   TR        Transcript [E116] TSG Reporting, Inv. 2038459, JAM    1,649.90
 01/22/2021   LN        36027.00002 Lexis Charges for 01-22-21                  37.63
 01/22/2021   LN        36027.00002 Lexis Charges for 01-22-21                  14.50
 01/22/2021   LN        36027.00002 Lexis Charges for 01-22-21                  21.75
 01/22/2021   LN        36027.00001 Lexis Charges for 01-22-21                    9.32
 01/22/2021   RE        ( 18 @0.10 PER PG)                                        1.80
 01/22/2021   RE2       SCAN/COPY ( 136 @0.10 PER PG)                           13.60
 01/22/2021   RE2       SCAN/COPY ( 67 @0.10 PER PG)                              6.70
 01/22/2021   RE2       SCAN/COPY ( 23 @0.10 PER PG)                              2.30
 01/22/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50
 01/22/2021   RE2       SCAN/COPY ( 136 @0.10 PER PG)                           13.60
 01/22/2021   RE2       SCAN/COPY ( 498 @0.10 PER PG)                           49.80
 01/22/2021   RE2       SCAN/COPY ( 33 @0.10 PER PG)                              3.30
 01/22/2021   RE2       SCAN/COPY ( 132 @0.10 PER PG)                           13.20
 01/22/2021   RE2       SCAN/COPY ( 39 @0.10 PER PG)                              3.90
 01/22/2021   RE2       SCAN/COPY ( 41 @0.10 PER PG)                              4.10
 01/22/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                              1.60
 01/22/2021   TR        Transcript [E116] TSG Reporting, Inv. 2037991, JAM    1,454.80
 01/23/2021   LN        36027.00002 Lexis Charges for 01-23-21                  19.98
 01/23/2021   LN        36027.00001 Lexis Charges for 01-23-21                  18.62
 01/23/2021   RE        ( 426 @0.10 PER PG)                                     42.60
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 01/23/2021   RE        ( 68 @0.10 PER PG)                   6.80
 01/23/2021   RE2       SCAN/COPY ( 67 @0.10 PER PG)         6.70
 01/23/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)          0.70
 01/23/2021   RE2       SCAN/COPY ( 59 @0.10 PER PG)         5.90
 01/23/2021   RE2       SCAN/COPY ( 206 @0.10 PER PG)      20.60
 01/23/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)         4.20
 01/23/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/23/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)         2.40
 01/23/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)          0.10
 01/23/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)          0.50
 01/23/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)         1.00
 01/23/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/23/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/23/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)          0.60
 01/23/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)          0.50
 01/23/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)         2.60
 01/23/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/23/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)          0.40
 01/23/2021   RE2       SCAN/COPY ( 31 @0.10 PER PG)         3.10
 01/23/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)          0.60
 01/23/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/23/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)          0.10
 01/23/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)         4.20
 01/23/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/23/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)         1.00
 01/23/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)          0.60
 01/23/2021   RE2       SCAN/COPY ( 125 @0.10 PER PG)      12.50
 01/23/2021   RE2       SCAN/COPY ( 68 @0.10 PER PG)         6.80
 01/23/2021   RE2       SCAN/COPY ( 112 @0.10 PER PG)      11.20
 01/23/2021   RE2       SCAN/COPY ( 27 @0.10 PER PG)         2.70
 01/23/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/23/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)         1.40
 01/23/2021   RE2       SCAN/COPY ( 29 @0.10 PER PG)         2.90
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 01/23/2021   RE2       SCAN/COPY ( 36 @0.10 PER PG)                               3.60
 01/23/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 01/23/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20
 01/23/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                0.50
 01/23/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 01/23/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10
 01/23/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 01/23/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 01/23/2021   RE2       SCAN/COPY ( 21 @0.10 PER PG)                               2.10
 01/23/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 01/23/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10
 01/23/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 01/23/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10
 01/23/2021   RE2       SCAN/COPY ( 21 @0.10 PER PG)                               2.10
 01/23/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                               1.00
 01/23/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 01/23/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 01/23/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                0.50
 01/24/2021   LN        36027.00001 Lexis Charges for 01-24-21                   27.94
 01/24/2021   RE2       SCAN/COPY ( 125 @0.10 PER PG)                            12.50
 01/25/2021   BM        Business Meal [E111] Seameless, Naya, Working Meal,      21.24
                        BEL
 01/25/2021   FE        36027.00002 FedEx Charges for 01-25-21                   12.79
 01/25/2021   LN        36027.00002 Lexis Charges for 01-25-21                   14.50
 01/25/2021   LN        36027.00002 Lexis Charges for 01-25-21                   21.75
 01/25/2021   LN        36027.00001 Lexis Charges for 01-25-21                     9.32
 01/25/2021   RE        ( 2 @0.10 PER PG)                                          0.20
 01/25/2021   RE        ( 11 @0.10 PER PG)                                         1.10
 01/25/2021   RE        ( 525 @0.10 PER PG)                                      52.50
 01/25/2021   RE        ( 6 @0.10 PER PG)                                          0.60
 01/25/2021   RE        ( 57 @0.10 PER PG)                                         5.70
 01/25/2021   RE        ( 1 @0.10 PER PG)                                          0.10
 01/25/2021   RE        ( 1 @0.10 PER PG)                                          0.10
 01/25/2021   RE        ( 526 @0.10 PER PG)                                      52.60
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 01/25/2021   RE2       SCAN/COPY ( 125 @0.10 PER PG)      12.50
 01/25/2021   RE2       SCAN/COPY ( 34 @0.10 PER PG)         3.40
 01/25/2021   RE2       SCAN/COPY ( 249 @0.10 PER PG)      24.90
 01/25/2021   RE2       SCAN/COPY ( 34 @0.10 PER PG)         3.40
 01/25/2021   RE2       SCAN/COPY ( 249 @0.10 PER PG)      24.90
 01/25/2021   RE2       SCAN/COPY ( 125 @0.10 PER PG)      12.50
 01/25/2021   RE2       SCAN/COPY ( 66 @0.10 PER PG)         6.60
 01/25/2021   RE2       SCAN/COPY ( 68 @0.10 PER PG)         6.80
 01/25/2021   RE2       SCAN/COPY ( 68 @0.10 PER PG)         6.80
 01/25/2021   RE2       SCAN/COPY ( 66 @0.10 PER PG)         6.60
 01/25/2021   RE2       SCAN/COPY ( 68 @0.10 PER PG)         6.80
 01/25/2021   RE2       SCAN/COPY ( 68 @0.10 PER PG)         6.80
 01/25/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)         1.10
 01/25/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/25/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/25/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/25/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)          0.50
 01/25/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)          0.50
 01/25/2021   RE2       SCAN/COPY ( 56 @0.10 PER PG)         5.60
 01/25/2021   RE2       SCAN/COPY ( 125 @0.10 PER PG)      12.50
 01/25/2021   RE2       SCAN/COPY ( 97 @0.10 PER PG)         9.70
 01/25/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)         1.40
 01/25/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)         1.80
 01/25/2021   RE2       SCAN/COPY ( 59 @0.10 PER PG)         5.90
 01/25/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)          0.50
 01/25/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)          0.50
 01/25/2021   RE2       SCAN/COPY ( 27 @0.10 PER PG)         2.70
 01/25/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/25/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)          0.70
 01/25/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)          0.90
 01/25/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)          0.90
 01/25/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)         1.00
 01/25/2021   RE2       SCAN/COPY ( 27 @0.10 PER PG)         2.70
 01/25/2021   RE2       SCAN/COPY ( 62 @0.10 PER PG)         6.20
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 01/25/2021   RE2       SCAN/COPY ( 65 @0.10 PER PG)        6.50
 01/25/2021   RE2       SCAN/COPY ( 67 @0.10 PER PG)        6.70
 01/25/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)        2.60
 01/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)         0.20
 01/25/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)         0.30
 01/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)         0.20
 01/25/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)         0.30
 01/25/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)        1.20
 01/25/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)         0.90
 01/25/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)         0.90
 01/25/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)         0.50
 01/25/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)         0.50
 01/25/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)         0.50
 01/25/2021   RE2       SCAN/COPY ( 68 @0.10 PER PG)        6.80
 01/25/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)         0.60
 01/25/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)        2.00
 01/25/2021   RE2       SCAN/COPY ( 59 @0.10 PER PG)        5.90
 01/25/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)        1.80
 01/25/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)        1.20
 01/25/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)        1.20
 01/25/2021   RE2       SCAN/COPY ( 59 @0.10 PER PG)        5.90
 01/25/2021   RE2       SCAN/COPY ( 61 @0.10 PER PG)        6.10
 01/25/2021   RE2       SCAN/COPY ( 66 @0.10 PER PG)        6.60
 01/25/2021   RE2       SCAN/COPY ( 66 @0.10 PER PG)        6.60
 01/25/2021   RE2       SCAN/COPY ( 91 @0.10 PER PG)        9.10
 01/25/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)         0.30
 01/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)         0.20
 01/25/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)        1.20
 01/25/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)        1.20
 01/25/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)        1.30
 01/25/2021   RE2       SCAN/COPY ( 29 @0.10 PER PG)        2.90
 01/25/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)         0.90
 01/25/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)         0.90
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 01/25/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50
 01/25/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50
 01/25/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                    1.70
 01/25/2021   RE2       SCAN/COPY ( 66 @0.10 PER PG)                                    6.60
 01/25/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                    1.70
 01/25/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30
 01/25/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30
 01/25/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30
 01/25/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20
 01/25/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                     0.90
 01/25/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50
 01/25/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30
 01/25/2021   RE2       SCAN/COPY ( 59 @0.10 PER PG)                                    5.90
 01/25/2021   RE2       SCAN/COPY ( 56 @0.10 PER PG)                                    5.60
 01/25/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30
 01/25/2021   RE2       SCAN/COPY ( 796 @0.10 PER PG)                                 79.60
 01/25/2021   RE2       SCAN/COPY ( 748 @0.10 PER PG)                                 74.80
 01/25/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30
 01/25/2021   RE2       SCAN/COPY ( 68 @0.10 PER PG)                                    6.80
 01/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 01/25/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10
 01/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 01/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 01/25/2021   RE2       SCAN/COPY ( 125 @0.10 PER PG)                                 12.50
 01/25/2021   TR        Transcript [E116] TSG Reporting, Inv. 2037631, JAM           625.00
 01/26/2021   BM        Business Meal [E111]Seamless, Tina's Restaurant, Working      31.07
                        Meal, S. Winns
 01/26/2021   CC        Conference Call [E105] CourtCall Debit Ledger for            185.25
                        01/01/2021 through 01/31/2021, SWG
 01/26/2021   LN        36027.00002 Lexis Charges for 01-26-21                        18.62
 01/26/2021   LN        36027.00002 Lexis Charges for 01-26-21                        20.30
 01/26/2021   LN        36027.00002 Lexis Charges for 01-26-21                          3.71
 01/26/2021   LN        36027.00002 Lexis Charges for 01-26-21                        13.10
 01/26/2021   LN        36027.00002 Lexis Charges for 01-26-21                        21.75
 01/26/2021   RE        ( 293 @0.10 PER PG)                                           29.30
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 01/26/2021   RE        ( 5 @0.10 PER PG)                    0.50
 01/26/2021   RE        ( 2 @0.10 PER PG)                    0.20
 01/26/2021   RE        ( 2 @0.10 PER PG)                    0.20
 01/26/2021   RE        ( 5 @0.10 PER PG)                    0.50
 01/26/2021   RE2       SCAN/COPY ( 129 @0.10 PER PG)      12.90
 01/26/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)          0.50
 01/26/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)          0.10
 01/26/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)          0.10
 01/26/2021   RE2       SCAN/COPY ( 66 @0.10 PER PG)         6.60
 01/26/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)         2.60
 01/26/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/26/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/26/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)          0.50
 01/26/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)          0.50
 01/26/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)          0.50
 01/26/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)         1.40
 01/26/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)         1.40
 01/26/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)         1.30
 01/26/2021   RE2       SCAN/COPY ( 178 @0.10 PER PG)      17.80
 01/26/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/26/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)          0.10
 01/26/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)          0.10
 01/26/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)          0.50
 01/26/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)          0.50
 01/26/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)          0.50
 01/26/2021   RE2       SCAN/COPY ( 35 @0.10 PER PG)         3.50
 01/26/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/26/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/26/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)         1.10
 01/26/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)          0.50
 01/26/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)          0.10
 01/26/2021   RE2       SCAN/COPY ( 91 @0.10 PER PG)         9.10
 01/26/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)         1.20
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 01/26/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)         1.30
 01/26/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)          0.90
 01/26/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)          0.50
 01/26/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/26/2021   RE2       SCAN/COPY ( 68 @0.10 PER PG)         6.80
 01/26/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)          0.70
 01/26/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)         1.70
 01/26/2021   RE2       SCAN/COPY ( 84 @0.10 PER PG)         8.40
 01/26/2021   RE2       SCAN/COPY ( 68 @0.10 PER PG)         6.80
 01/26/2021   RE2       SCAN/COPY ( 27 @0.10 PER PG)         2.70
 01/26/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)          0.10
 01/26/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)          0.90
 01/26/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)          0.40
 01/26/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)          0.50
 01/26/2021   RE2       SCAN/COPY ( 150 @0.10 PER PG)      15.00
 01/26/2021   RE2       SCAN/COPY ( 132 @0.10 PER PG)      13.20
 01/26/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)          0.70
 01/26/2021   RE2       SCAN/COPY ( 59 @0.10 PER PG)         5.90
 01/26/2021   RE2       SCAN/COPY ( 61 @0.10 PER PG)         6.10
 01/26/2021   RE2       SCAN/COPY ( 67 @0.10 PER PG)         6.70
 01/26/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)          0.50
 01/26/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/26/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/26/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/26/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/26/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)          0.70
 01/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)         1.20
 01/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)         1.20
 01/26/2021   RE2       SCAN/COPY ( 29 @0.10 PER PG)         2.90
 01/26/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)          0.90
 01/26/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)          0.90
 01/26/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)          0.50
 01/26/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)          0.50
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 01/26/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/26/2021   RE2       SCAN/COPY ( 23 @0.10 PER PG)         2.30
 01/26/2021   RE2       SCAN/COPY ( 41 @0.10 PER PG)         4.10
 01/26/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/26/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)         1.70
 01/26/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)         1.30
 01/26/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)         1.60
 01/26/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/26/2021   RE2       SCAN/COPY ( 96 @0.10 PER PG)         9.60
 01/26/2021   RE2       SCAN/COPY ( 33 @0.10 PER PG)         3.30
 01/26/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)         1.30
 01/26/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)         1.40
 01/26/2021   RE2       SCAN/COPY ( 66 @0.10 PER PG)         6.60
 01/26/2021   RE2       SCAN/COPY ( 145 @0.10 PER PG)      14.50
 01/26/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)          0.10
 01/26/2021   RE2       SCAN/COPY ( 82 @0.10 PER PG)         8.20
 01/26/2021   RE2       SCAN/COPY ( 62 @0.10 PER PG)         6.20
 01/26/2021   RE2       SCAN/COPY ( 65 @0.10 PER PG)         6.50
 01/26/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/26/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)          0.30
 01/26/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)          0.90
 01/26/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)          0.90
 01/26/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)          0.90
 01/26/2021   RE2       SCAN/COPY ( 92 @0.10 PER PG)         9.20
 01/26/2021   RE2       SCAN/COPY ( 59 @0.10 PER PG)         5.90
 01/26/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)          0.10
 01/26/2021   RE2       SCAN/COPY ( 68 @0.10 PER PG)         6.80
 01/26/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)          0.10
 01/26/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/26/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)          0.20
 01/26/2021   RE2       SCAN/COPY ( 880 @0.10 PER PG)      88.00
 01/26/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)          0.10
 01/26/2021   RE2       SCAN/COPY ( 125 @0.10 PER PG)      12.50
 01/26/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)          0.10
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 01/26/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 01/26/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 01/26/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 01/26/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 01/26/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10
 01/26/2021   RE2       SCAN/COPY ( 249 @0.10 PER PG)                                 24.90
 01/26/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10
 01/26/2021   RE2       SCAN/COPY ( 66 @0.10 PER PG)                                    6.60
 01/26/2021   RE2       SCAN/COPY ( 68 @0.10 PER PG)                                    6.80
 01/26/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 01/26/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 01/26/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 01/26/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 01/27/2021   LN        36027.00002 Lexis Charges for 01-27-21                        26.10
 01/27/2021   LN        36027.00002 Lexis Charges for 01-27-21                        21.75
 01/27/2021   RE2       SCAN/COPY ( 41 @0.10 PER PG)                                    4.10
 01/27/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                     0.70
 01/27/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 01/27/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                    1.70
 01/28/2021   AS        Attorney Service [E107] TSG Reporting, Inv. 2038510, JAM     625.00
 01/28/2021   BM        Business Meal [E111] Seamless, Eden's Wok, Working            43.98
                        Meal, BEL
 01/28/2021   LN        36027.00002 Lexis Charges for 01-28-21                        37.26
 01/28/2021   LN        36027.00002 Lexis Charges for 01-28-21                        26.10
 01/28/2021   LN        36027.00002 Lexis Charges for 01-28-21                        21.75
 01/28/2021   RE        ( 1 @0.10 PER PG)                                               0.10
 01/28/2021   RE        ( 14 @0.10 PER PG)                                              1.40
 01/28/2021   RE        ( 5 @0.10 PER PG)                                               0.50
 01/28/2021   RE2       SCAN/COPY ( 65 @0.10 PER PG)                                    6.50
 01/28/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30
 01/28/2021   RE2       SCAN/COPY ( 41 @0.10 PER PG)                                    4.10
 01/28/2021   RE2       SCAN/COPY ( 49 @0.10 PER PG)                                    4.90
 01/28/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                    2.40
 01/28/2021   RE2       SCAN/COPY ( 27 @0.10 PER PG)                                    2.70
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 01/28/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                       0.70
 01/28/2021   RE2       SCAN/COPY ( 111 @0.10 PER PG)                   11.10
 01/28/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                      1.20
 01/28/2021   RE2       SCAN/COPY ( 37 @0.10 PER PG)                      3.70
 01/28/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                       0.30
 01/28/2021   RE2       SCAN/COPY ( 126 @0.10 PER PG)                   12.60
 01/28/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                       0.20
 01/28/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                      1.20
 01/28/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                       0.20
 01/28/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                      1.00
 01/28/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                       0.30
 01/28/2021   RE2       SCAN/COPY ( 32 @0.10 PER PG)                      3.20
 01/28/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                       0.30
 01/28/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                       0.70
 01/28/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                       0.20
 01/28/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                       0.20
 01/28/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                      1.50
 01/28/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                       0.30
 01/28/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                       0.80
 01/28/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                       0.80
 01/28/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                       0.30
 01/28/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                       0.40
 01/28/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                       0.30
 01/28/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                       0.40
 01/28/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                      1.30
 01/29/2021   BB        36027.00002 Bloomberg Charges for 01-29-21    1,016.79
 01/29/2021   LN        36027.00002 Lexis Charges for 01-29-21          26.10
 01/29/2021   LN        36027.00002 Lexis Charges for 01-29-21          21.75
 01/29/2021   RE        ( 96 @0.10 PER PG)                                9.60
 01/29/2021   RE        ( 2 @0.10 PER PG)                                 0.20
 01/29/2021   RE        ( 30 @0.10 PER PG)                                3.00
 01/29/2021   RE        ( 288 @0.10 PER PG)                             28.80
 01/29/2021   RE        ( 1 @0.10 PER PG)                                 0.10
 01/29/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                       0.60
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 01/29/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                  0.60
 01/29/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
 01/29/2021   RE2       SCAN/COPY ( 58 @0.10 PER PG)                                 5.80
 01/29/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
 01/29/2021   RE2       SCAN/COPY ( 47 @0.10 PER PG)                                 4.70
 01/29/2021   RE2       SCAN/COPY ( 49 @0.10 PER PG)                                 4.90
 01/29/2021   TR        Transcript [E116] TSG Reporting, Inv. 2038451, JAM       2,601.20
 01/30/2021   LN        36027.00001 Lexis Charges for 01-30-21                       9.32
 01/30/2021   LN        36027.00001 Lexis Charges for 01-30-21                      14.95
 01/31/2021   LN        36027.00002 Lexis Charges for 01-31-21                       9.21
 01/31/2021   LN        36027.00001 Lexis Charges for 01-31-21                      65.20
 01/31/2021   PAC       Pacer - Court Research                                   1,958.20

   Total Expenses for this Matter                                            $32,906.65
